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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
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In re: Ape
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WELLPATH HOLDINGS, INC,, et al., "m9 aby
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Debtors. a,
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OF,
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§ Chapter 11
§ Case No. 24-90533 (ARP)
§ (Jointly Administered)

FIRST DECLARATION OF DR. KANWAR PARTAP SINGH GILL
IN SUPPORT OF SUPPLEMENTAL BRIEF FILED IN SUPPORT
OF DKTS. 1897, 2049, AND 2075

NOTICE TO THE COURT AND ALL PARTIES

This declaration has been carefully for organized, tabulated, and indexed, Each section is
clearly labeled and referenced to ensure absolute clarity. This declaration and attached exhibits
are being submitted physically and in compliance with all applicable Federal Rules and Local
Bankruptcy Rules.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 4estarzegp=

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CERTIFICATION OF ACCURACY

I, Dr. Kanwar Partap Singh Gill, personally verified each Declaration page referenced above. The
sections and pages are exact and accurate, fully resolving previous procedural concerns.

Filed by:
Dr. Kanwar Partap Singh Gill
Pro Se Statutory Creditor | ADA-Protected Physician | Federal Whistleblower

Date: April 19, 2025

Place of Execution: Fresno County, California

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

In re:

WELLPATH HOLDINGS, INC., et al., ~
Debtors.

§ Chapter 11

§ Case No. 24-90533 (ARP)

§ Vointly Administered)

DECLARATION OF DR. KANWAR PARTAP SINGH GILL IN SUPPORT OF SUPPLEMENTAL
BRIEF FILED IN SUPPORT OF DKTS. 1897, 2049, AND 2075

Pursuant to 28 U.S.C. § 1746, |, Dr. Kanwar Partap Singh Gill, do hereby submit this
Declaration as a formal evidentiary statement under penalty of perjury, in support of the
legal and factual positions set forth in my Supplemental Brief filed April 14, 2025, and in
further support of the following motions presently before this Court:

1. Dkt. No. 1897 — Motion for Relief from the Automatic Stay;
2. Dkt. No. 2049 — Emergency Motion to Stay Plan Solicitation and Voting;
3. Dkt. No. 2075 — Motion to Strike Improper Third-Party Releases,

This Declaration is not submitted as a mere factual affidavit but as a jurisdictional and
statutory record for the purposes of judicial determination, regulatory scrutiny, and
evidentiary preservation. It is anchored in firsthand, contemporaneously documented
experience as a California-licensed physician, a pro se movant, a statutory creditor under
11 U.S.C. § 101(10), and a whistleblower-employee of California Forensic Medical! Group,
Inc. (“CFMG”), a physician-owned, state-regulated professional medical corporation.

The factual assertions contained herein derive from my direct professional observations,
preserved internal correspondence, payroll and fiduciary records, and protected
disclosures made to relevant oversight bodies and legal counsel. Each statement is
grounded in verifiable evidence, forming the foundation of the statutory and constitutional
violations described in the Supplemental Brief and accompanying Exhibits 1 through 5.

This Declaration is submitted for consideration by the United States Bankruptcy Court for
the Southern District of Texas, with the understanding that it may be subject to appellate

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review, regulatory investigation, and disciplinary referral pursuant to the Bankruptcy Code,
the Federal Rules of Bankruptcy Procedure, and applicable federal and state law. It is
respectfully tendered in service of the Court’s duty to adjudicate only those plans
proposed in good faith and in accordance with law, as required by 11 U.S.C. § 1129(a)(3)
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— Exhibit 3 ~ 409A Tax Impact Documentation

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X. Judicial Oversight and Ethical Considerations
XI. Closing Affirmation and Reservation of Rights

|, PROFESSIONAL BACKGROUND AND LEGAL STANDING
1, Physician Licensure and Employment with CFMG

1.1 ama duly licensed physician in the State of California, in good standing with the
Medical Board of California (License No. A109884), with no history of disciplinary action,
suspension, or professional censure. My license is active and unrestricted. | remain bound
by, and in full compliance with, the regulatory framework set forth in the California
Medical Practice Act, codified at Cal. Bus. & Prof, Code § 2000 et seq.

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2. 1am employed full-time as a Senior Staff Physician by California Forensic Medical Group,
Inc. (“CFMG”), a California professional medical corporation lawfully registered under Cal.
Corp. Code § 13400 et seq., and governed by the statutory requirements of physician
ownership, control, and governance as imposed by Cal. Bus. & Prof. Code § 2400 et seq.

3. CFMG, by legal structure and operational practice, is distinct and independent from
Weilpath Holdings, Inc. and its debtor-affiliated entities. It exists and Operates asa
physician-controlled, state-licensed medical entity, and is not subject to the corporate
governance of any lay-owned or private equity-controlled MSO. | have no contractual,
fiduciary, or employment relationship with Wellpath Holdings, Inc.

2. Clinical History at Fresno County Detention Facility

4. Since September 2019, | have continuously served as a licensed physician assigned to
the Fresno County Adult Detention Facility, a state-sanctioned correctional medical site
providing care to one of California’s highest-acuity, highest-liability patient populations.
My responsibilities encompass intake evaluations, chronic care management, acute itfness
intervention, suicide risk assessments, and emergency stabilization—delivered under
conditions of operational constraint, legal scrutiny, and institutional vulnerability.

5. My role is one of record. | am recognized within the facility by custody command staff,
including the ranking officers of the Fresno County Sheriff’s Office, as a consistent, ethical,
and evidence-based clinical provider. This recognition is corroborated by internal CFMG
performance records and by the absence of any adverse peer review or disciplinary
referral. | remain in good standing with both my employer and the state correctional
healthcare system. ~

6. My professional conduct, medical decision-making, and scope of care are governed not
only by the California Business and Professions Code but also by Title 15, California Code of
Regulations §§ 1200-1230, which regulate healthcare in correctional institutions. | remain
in full compliance with those provisions.

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3. Creditor Status and Standing as NQDCP Participant

7.1 assert standing in this matter as a non-contingent, liquidated, and statutorily protected
creditor of the Debtors’ estate. My claim arises from the wrongful classification and
withholding of deferred compensation earned exclusively through my W-2 employment at
CFMG.

8. These earnings, accumulated under the terms of a Non-Qualified Deferred
Compensation Plan (NQDCP}, constitute earned, vested wages held in trust, not
discretionary bonuses or employer contributions. The source of the funds is CEMG—a non-
debtor under this Court’s jurisdiction—and all amounts are reported on tax documents
issued under CFMG’s Employer Identification Number (XX-XXXXXXX).

9. My deferred compensation account, as reflected in my Fidelity NetBenefits statement
dated November 12, 2024, contains a vested balance of $162,597.08, accumulated solely
from wages earned through licensed medical labor. These funds are not, and have never
been, part of Wellpath’s equitable estate. The Debtors’ administrative custody over the
NQDCP does not confer beneficial ownership and falls squarely within the exclusionary
language of 11 U.S.C. § 541(d).

10. The improper freeze and reclassification of these funds constitute a breach of fiduciary
duty under ERISA § 404, 29 U.S.C. § 1104, as well asa retaliatory interference with
protected plan rights under ERISA § 510, 29 U.S.C. § 1140. Further, the Plan’s triggering of
a constructive distribution under IRC § 409A imposes upon me immediate income
inclusion, a 20% excise tax penalty, and exposure to accuracy-related assessments under
IRC § 6662, all of which are documented in Exhibit 3 and incorporated herein by reference.

11, As a plan participant, whistleblower, and non-debtor employee, | am entitled to
independent statutory protection under federal and state Jaw, none of which have been
acknowledged or preserved by the Fifth Amended Plan.

4. Pro Se Representation and Scope of Filings
12. | appear in these proceedings pro se, having submitted all pleadings, declarations, and
supporting exhibits independently and without retained counsel. | have done so not as an

act of protest, but in defense of my professional, statutory, and constitutional rights.

13. My filings include the following motions:

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« Dkt. No, 1897 ~ Motion for Relief from the Automatic Stay, seeking to adjudicate
non-estate claims, including deferred compensation, CPOM violations, and
employment retaliation;

« Dkt. No, 2049 — Emergency Motion to Stay Plan Solicitation and Voting, challenging
the use of opt-out third-party releases, deceptive disclosure language, and
structurally coercive solicitation practices;

e Dkt. No. 2075 — Motion to Strike Improper Third-Party Releases, seeking invalidation
of non-consensual discharge provisions that violate 11 U.S.C. § 52A4(e), Fifth Circuit
precedent, and constitutional due process.

14, These motions are not isolated grievances. They forma single, unified legal record
supported by:

¢ The April 14, 2025 Supplemental Brief,
e Exhibits 1 through 5, and
¢ The statutory and evidentiary foundation presented in this Declaration.

15. The legal rights at stake span multiple jurisdictions and legal regimes, including:

« Employment governance and licensure rights under California’s CPOM doctrine;

¢ Fiduciary protections and anti-retaliation provisions under ERISA;

¢ Asset classification and tax timing under the Bankruptcy Code and IRC § 409A;

« Procedural protections under the Due Process Clause of the Fifth Amendment, as
interpreted in Mullane v. Central Hanover Bank, and by the Fifth Circuit in Zale Corp.
and Pacific Lumber.

16. | invoke these rights not in resistance to the reorganization process, but to ensure that
it proceeds in accordance with law, equity, and the constitutional guarantees that apply to
every person and professional appearing before this Court.

li. SUMMARY OF ECONOMIC AND STRUCTURAL CLAIMS
Introduction

17, The injuries asserted herein are not theoretical or speculative, but instead are
verifiable, traceable, and statutorily redressable harms—economic, structural, regulatory,
and constitutional in nature. These harms stem directly from the design, operation, and
legal defects of the Fifth Amended Plan of Reorganization (Dkt. 1835), and implicate
foundational doctrines governing trust law, tax administration, fiduciary integrity,
employment licensure, and procedural due process. The evidentiary record before this
Court—including W-2s, IRS filings, ERISA-covered documents, internal HR emaiis, and legal

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memoranda—renders these harms not only established, but incapable of lawful
ratification under the Bankruptcy Code or federal constitutional norms.

1. Deferred Compensation Misappropriation and Constructive Distribution

18. My first and most immediate injury arises from the misappropriation and functional
termination of earned, vested deferred compensation—contractual wages held in trust
under a Non-Qualified Deferred Compensation Plan (NQDCP). While the Debtors acted as
ministerial administrators of the plan, the funds were earned solely through W-2
employment with California Forensic Medical Group, Inc. (CFMG)—a non-debtor,
physician-governed professional medical corporation.

19. As of November 12, 2024, my Fidelity NetBenefits account reflected a fully vested
balance of $162,597.08, derived entirely from base wages | affirmatively elected to defer.
These funds are not bonuses, equity, or employer-contributed assets. They are earned
wages, documented on CFMG W-2s, and held in constructive trust for my exclusive benefit.
The Debtors’ administrative custody conveyed no equitable interest, and under 11 U.S.C. §
541(d), such property is excluded from the bankruptcy estate.

20. The Debtors’ unilateral freeze and reclassification of these trust-held wages violated
multiple statutes, including:

e ERISA § 404 (29 U.S.C. § 1104) — by breaching fiduciary duties of loyalty and
exclusive purpose;

* ERISA § 510 (29 U.S.C. § 1140) — by retaliating against a plan participant for asserting
protected rights;

¢ California Labor Code §§ 200-223 - by unlawfully withholding earned wages;

« IRC § 409A(a) — by triggering constructive distribution, with immediate income
inclusion, a 20% excise tax, and exposure to further penalties under IRC § 6662:

* Treas. Reg. § 1.409A-3(j)(4)(ix) — by failing to satisfy the regulatory conditions for
plan termination and liquidation.

21. The Plan termination failed every element of the regulatory safe harbor under §
1.409A-3 (j}(4)(ix):

e It was not part of a plan-wide termination;

¢ No 12-month deferral was observed;

¢ No 24-month liquidation window was honored;

« Norepresentation was made that no new NODC plan would be adopted within
three years;

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e And the termination was triggered within the context of financial distress and
bankruptcy—an explicit disqualifier under the regulation.

22. As a result, | suffered a constructive distribution of the entire deferred balance, even
though I received no funds. The IRS treated the termination as an acceleration of deferred
income, resulting in:

* Immediate gross income inclusion under IRC § 409A{a}{1)(A);

e A 20% excise tax under § 409A(a)(1)(B);

» Exposure to accuracy-related penalties and audit risk under § 6662, as substantiated
in Exhibit 3, including my IRS Form 8275.

23. These tax consequences are tangible, irreversible, and legally attributable to the
Debtors’ misconduct. The Plan provides no indemnification, no disclosure of the 409A risk,
and no mechanism for tax relief. It thus transforms a statutory fiduciary obligation into a
litigation weapon—using trust-backed wages to suppress protected legal activity, as
documented in Exhibit 4.

2. CPOM Governance Violations and Professional Corporation Statutory Conflict

24. Parallel to the financial injury is the structural violation of California’s Corporate
Practice of Medicine (CPOM) doctrine, codified in Cal. Bus. & Prof. Code §§ 2400-2417,
which prohibits lay entities from controlling physician employment or clinical judgment.

25. As reaffirmed by People v. Cole, 38 Cal. 2d 99 (1951), Conway v. State Bd. of Med.
Examiners, 47 Cal. App. 2d 105 (1941), and 76 Ops. Cal. Atty. Gen. 133 (1993), such
governance arrangements are not merely voidable—they are void ab initio as a matter of
public policy.

26. The Fifth Amended Plan (Dkt. 1835) codifies a structure in which Wellpath—a lay-
owned, private equity-controlled MSO—exercises de facto control over CFMG’s licensed
physicians. This includes scheduling, disciplinary actions, compensation decisions, and HR
investigations, all documented in Exhibit 2.

27. The Plan contains no governance carve-out, no transition mechanism, and no
compliance clause to restore lawful physician-led oversight. Confirmation of this Plan
would amount to federal ratification of an illegal employment structure, in violation of §
1129(a)(1) and § 1129{a)(3).

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3. Coercive and Unlawful Plan Structure and Solicitation Design

28. The third category of injury arises from the coercive opt-out release structure
embedded in Article IX of the Plan, which purports to bind creditors to sweeping third-
party releases unless they take affirmative steps to object, regardless of whether they
received meaningful notice or possessed procedural Capacity to respond.

29. This violates:

¢ Mullane v. Central Hanover Bank, 339 U.S. 306 (1950) — requiring notice “reasonably
calculated” to inform;

¢ iInre Zale Corp., 62 F.3d 746 (5th Cir. 1995) — prohibiting non-consensual third-party
releases;

¢ Inre Pacific Lumber Co., 584 F.3d 229 (5th Cir. 2009) — requiring individualized
findings to approve releases;

e Inre Highland Capital Mgmt., 48 F.4th 419 (5th Cir. 2022) — affirming strict limits on
opt-out release structures..

30. The Plan’s solicitation process, as detailed in Exhibit 4, employed:

« Ambiguous ballot language, including double negatives;

¢ Buried release provisions within dense procedural instructions;

e No plain-language summary, especially for pro se, disabled, or incarcerated
creditors.

31. Moreover, the Debtors attempted to condition the release of my deferred
compensation—a trust-held wage asset—on my withdrawal of legal filings and execution
of a non-disclosure agreement. This conduct violates:

« Model Rule 4.4{a)— misuse of means with no substantial purpose other than
coercion;

« Model Rule 8.4(c) — conduct involving deception, fraud, or misrepresentation;

¢ Model Rule 1.7(a)(2) — conflicts arising from self-interested legal representation.

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4. Procedural and Legal Consequences: Tax, Regulatory, and Constitutional Harms

32. The above injuries are not isolated. They are compound, systemic, and implicate
multiple overlapping bodies of law. They must be understood through the following
framework:

a. Economic Injury
33. | have incurred direct financial harm including:

e Loss of deferred compensation access;
e IRS penalties under IRC §§ 409A and 6662;
e Unreimbursed tax liability and long-term audit exposure.

b. Regulatory Injury
34. | remain employed within an illegal governance framework, exposing me to:

e Licensure risk under California law;
e Unlawful HR oversight by non-physicians;
« Ongoing CPOM violations institutionalized through confirmation.

c. Due Process and Procedural Injury
35. | have been subjected to:

e Arelease mechanism that presumed consent through procedural design;
e A solicitation framework that obscured legal consequence and deterred objection.

d. Constitutional and Ethical Harm

36. The Plan process has been wielded not to reorganize, but to suppress protected legal
conduct, leveraging wage access to extort silence and avoid judicial scrutiny.

5. Evidentiary Record and Judicial Obligations

37. Each of the above harms is documented, traceable, and non-speculative. The record
includes:

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« Exhibit 1 — Retaliation timeline and HR correspondence;

e Exhibit 2—CPOM governance violations;

e Exhibit 3 — 409A tax impact documentation and IRS Form 8275;

e Exhibit 4— Legal memoranda and coercion communications;

¢ Exhibit 5 — April 14 Supplemental Brief, integrating all statutory claims.

38. This is not a claim of theoretical injury. It is a complete legal and evidentiary record of
multi-layered violations, now presented for adjudication before a Court empowered—and
obligated—to reject any Plan proposed “by any means forbidden by law" or in violation of
federal or state rights.

39. These harms—economic, regulatory, procedural, and constitutional—are not only
legally cognizable; they are inextricably intertwined with the structural design and
execution of the Plan itself. The Debtors’ conduct has transformed an otherwise neutral
reorganization vehicle into a mechanism for institutionalizing statutory violations, shielding
fiduciary breaches from scrutiny, extinguishing protected claims through engineered
sitence, and imposing tax liabilities through unlawful plan administration. The evidentiary
record confirms that these outcomes were neither unintended nor unforeseeable—they
were warned of in advance, preserved in the formal record, and pursued despite actual
legal notice. The resulting injury to me is not abstract. It is concrete, continuing, and
incapable of judicial cure absent structural modification, creditor-specific carve-outs, or full
denial of Plan confirmation under 11 U.S.C. §§ 1129(a}(1) and (a)(3).

lll. CORPORATE PRACTICE OF MEDICINE (CPOM) VIOLATIONS

Lay Control! Over Physician Governance in Violation of Cal. Bus. & Prof. Code §§ 2400—
2417

40. California law prohibits lay entities and non-ticensed individuals from exercising any
ownership, governance, or decision-making authority in the employment, supervision, or
compensation of licensed physicians. This doctrine—codified at Cal. Bus. & Prof. Code §§
2400-2417, and reinforced by criminal liability under § 2052 and professional discipline
under § 2264—represents a jurisdictional boundary designed to preserve the
independence, ethics, and integrity of the medical profession.

41. The statutory language at § 2400 is absolute: “Corporations and other artificial legal
entities shall have no professional rights, privileges, or powers in the practice of
medicine.” Under § 2052, it is a misdemeanor for an unlicensed individual to practice or
even “attempt to practice” medicine, including through administrative delegation. Under §
2264, any physician who permits a layperson to interfere in clinical or employment
judgment may be subject to disciplinary sanction.

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42, The California Supreme Court in People v. Cole, 38 Cal. 2d 99 (1951), reaffirmed that
any employment structure subjecting a physician to lay corporate control is void ab initio
as against public policy. The Court of Appeal in Conway v. State Bd. of Med. Examiners, 47
Cal. App. 2d 105 (1941), held that physicians who submit to such control may themselves
be subject to revocation of licensure. The Attorney General confirmed in 76 Ops. Cal. Atty.
Gen. 133 (1993) that no MSO, management agreement, or contractual delegation may
circumvent the fundamental statutory bar on layperson control,

Evidentiary Examples of Clinical Interference by Wellpath Personnel

43. As documented in Exhibit 2 (Internal CPOM Violation Evidence) and corroborated in
Exhibit 4, Wellpath Holdings, Inc., a private equity-controlled lay MSO, has exercised
direct and unlawful control over clinical and employment governance at California
Forensic Medical Group (CFMG), a physician-owned professional corporation registered
under Cal. Corp. Code § 13400 et seq.

44. Internal documentation confirms:

* Non-licensed Wellpath administrators issued scheduling mandates, disciplinary
directives, and triage instructions to licensed physicians;

« Investigations were conducted by Angie Baldwin, Deanna Huff, and Eric Krenz,
none of whom hold any California medical license or oversight authority under
CPOM or Title 15;

« Reassignment of patient care duties occurred without shareholder physician
knowledge or consent;

e Wage freezes, employment threats, and structural marginalization were imposed on
me following the lawful disclosure of governance and fiduciary violations.

45. These acts represent systemic and ongoing violations of the CPOM doctrine and
demonstrate an intentional disregard for the physician governance mandate embedded in
California law. Wellpath functionally operated as the employer and supervisor of CFMG’s
clinical staff, in contravention of every statutory and case law authority governing
professional corporations in this state.

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Absence of Governance Carve-Outs or Corrective Structure in the Fifth Amended Plan

46. Despite receiving formal legal notice—including the April 10, 2025 memorandum
preserved in Exhibit 4—the Debtors have refused to amend, restructure, or disclaim the
CPOM-violative aspects of the Fifth Amended Plan (Dkt. 1835). The Plan:

e Contains no physician-majority carve-out;

« Omits any transitional restructuring framework;

e Retains the current model in which a lay-owned MSO exercises ultimate operational
and disciplinary authority.

47. The Disclosure Statement fails to reference CPOM at all. No disclosure of state
licensure risk or physician governance conflicts was provided to creditors, regulatory
authorities, or the Court. The result is a proposed reorganization that affirms an illegal
employment structure under state law and fails to preserve the regulatory firewall
between physician judgment and non-medical influence.

48. This is not a formal defect. It is a structural violation that renders the Plan facially
unconfirmable. It violates California’s licensure and corporate practice laws, and its
continuation post-confirmation would expose all participating physicians, including
myself, to licensure risk, civil liability, and enforcement action by state authorities.

Preemption Risks and Legal Consequences under 11 U.S.C. § 1129(a)(1)-(3)

49. The CPOM violations embedded in the Plan constitute a legal bar to confirmation
under 11 U.S.C. § 1129(a)(1). This provision requires that any plan comply with “the
applicable provisions of this title,” which include not only bankruptcy law, but also
nonbankruptcy law when that law governs property, contracts, employment, or fiduciary
structure.

50. The Plan also violates § 1129(a){3), which mandates that any plan be proposed “in
good faith and not by any means forbidden by law.” A plan that institutionalizes a CPOM-
violative governance framework—particularly after written notice, formal objection, and
evidentiary submission—cannot meet this standard.

51. Continued judicial approval of the Plan, in its current form, would constitute a de facto
preemption of state licensure authority—a power that Congress has not conferred upon
bankruptcy courts. The U.S. Supreme Court has long recognized that health and safety
regulation, including medical licensure, is a matter of state police power. Bankruptcy

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courts may not override those protections by confirming an illegal corporate structure
under the guise of reorganization.

52. Should the Plan be confirmed as drafted, the following state and federal enforcement
mechanisms are likely to be triggered:

e Medical Board of California — disciplinary action against physician-shareholders for
aiding and abetting unauthorized practice;

e California Attorney General — civil enforcement under Bus. & Prof. Code § 17200
for unlawful, unfair, and fraudulent business acts;

« Department of Managed Health Care — breach of clinical compliance provisions in
publicly funded contracts;

¢ Department of Industrial Relations — investigation of illegal physician employment
practices;

« U.S. Department of Labor and IRS — fiduciary and tax enforcement related to ERISA
and IRC § 409A violations linked to the same governance conduct.

93. In summary, the CPOM violations at issue are not discretionary. They are non-waivable
statutory mandates, whose breach renders the Plan illegal in form and function. These
violations require correction, carve-out, or structural excision prior to confirmation. Failing
that, confirmation would constitute judicial ratification of a licensing violation—an act this
Court has no Jawful authority to perform.

IV. IMPROPER HUMAN RESOURCES OVERSIGHT AND RETALIATION
Unlawful HR Investigations Conducted by Non-Physicians

54. As detailed in Exhibit 1 (HR and Retaliation Timeline) and corroborated by
contemporaneous internal communications preserved in the record, | was subjected to
internal Human Resources investigations and employment oversight actions executed by
non-physician corporate personnel employed by Wellpath Holdings, Inc.—specifically
including Angie Baldwin, a non-licensed administrator operating within Wellpath’s
corporate HR structure.

55. These investigations were undertaken without the knowledge, involvement, or
authorization of any California-licensed physician-officer or CFMG shareholder, despite
the fact that |am employed by CFMG, a physician-owned California professional
corporation governed by the Medical Practice Act and the Corporate Practice of Medicine
(CPOM) doctrine, codified in Cal. Bus. & Prof. Code §§ 2400-2417.

56. Under California law—and as reaffirmed in People v. Cole, 38 Cal. 2d 99 (1951), and 76
Ops. Cal. Atty. Gen. 133 (1993)—any administrative interference by non-physicians in

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employment matters involving licensed physicians is not only improper—it is legally
prohibited. The CPOM doctrine explicitly forbids lay corporations and non-licensed actors
from exercising control over any element of the practice of medicine, including
employment discipline, HR oversight, and clinical authority.

57. Moreover, Cal. Bus. & Prof. Code § 2052 prohibits the unauthorized practice of
medicine, and § 2264 bars physicians from allowing interference in their professional
judgment by unlicensed individuals. The use of HR personnel with no medical licensure to
supervise, discipline, or investigate my conduct as a physician represents an ongoing
statutory violation and directly undermines the public policy purposes of physician self-
governance and patient protection.

58. The Fifth Amended Plan (Dkt. 1835) fails to remedy or even acknowledge these
violations. It continues to entrench a governance model wherein Wellpath—a private
equity-backed, non-licensed MSO—retains functional control over the employment and
discipline of California-licensed physicians. This failure constitutes a structural defect that
renders the Plan noncompliant with 11 U.S.C. § 1129(a)(1) and subject to legal challenge
under both federal and California law.

Breach of CPOM Doctrine and Retaliatory Delegation of Clinical Governance

59. The specific administrative actions taken against me—initiated and executed by
unlicensed Wellpath administrators—constitute textbook violations of the CPOM
doctrine. These actions include:

¢ Initiating pretextual HR investigations based on protected whistleblower activity;

¢ &xcluding physician shareholders from employment decisions regarding a clinical
staff member;

e Conducting workplace interviews, scheduling reviews, and disciplinary conferences
without oversight or signature authority of any licensed California physician.

60. As set forth in Exhibit 2 (Internal CPOM Violation Evidence), these actions were not
anomalies. They reflect the standard operating procedure of Wellpath’s MSO structure,
which is designed to conceal ultimate control by private equity investors behind a
nominally physician-owned corporation. The record confirms that the CPOM firewall was
not merely compromised—it was eliminated.

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61. California law does not recognize such circumvention. No agreement, title, or
delegation of authority may authorize a non-physician to direct or interfere in the clinical
judgment, employment rights, or disciplinary status of a licensed medical professional.
The failure to respect this boundary undermines the validity of the Plan and exposes the
reorganized entity to ongoing regulatory and professional enforcement.

ADA-Protected Activity and Whistleblower Retaliation

62. In addition to CPOM violations, the adverse HR actions taken against me must be
understood in the context of my protected legal activity under multiple federal and state
statutes, including:

e The Americans with Disabilities Act (ADA), 42 U.S.C. §§ 12101 et seq., which
protects employees who request medical accommodation or oppose discriminatory
workplace conditions;

e The California Fair Employment and Housing Act (FEHA), Gov. Code §§ 12900—
12996, which offers equivalent and, in some respects, broader protection against
retaliation and disability-based discrimination;

¢ California Labor Code § 1102.5; which protects whistleblowers who report
violations of state or federal law, whether internally or externally;

» ERISA § 510, 29 U.S.C. § 1140, which prohibits employers from interfering with or
retaliating against plan participants for asserting their statutory rights.

63. Following my internal and external disclosures concerning:

« CPOM violations and unauthorized lay control over clinical governance;

e The unlawful freeze and misclassification of my Non-Qualified Deferred
Compensation Plan (NQDCP);

e Procedural coercion embedded in Plan solicitation and the unlawful use of opt-out
third-party releases;

..| was subjected to a coordinated campaign of retaliation, including:

« Exclusion from governance meetings;

¢ Reconfiguration of clinical responsibilities designed to disrupt continuity of care;

¢ Obstruction and delay of reasonable accommodation requests tied to a
documented medical condition.

64. These acts occurred in close temporal proximity to the filings of Dkts. 1897, 2049, and
2075, as well as protected activity documented in Exhibit 1 (Retaliation Timeline). They

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were perpetrated by Wellpath HR personnel while the company was simultaneously
negotiating the conditional release of my deferred compensation, as preserved in Exhibit
4.

Constructive Termination and Exclusion from Clinical Leadership

65. The cumulative impact of these actions has rendered my working conditions
intolerable, retaliatory, and legally actionable under both California and federal law.
Specifically, | have been:

e _ Excluded from clinical leadership forums;

¢ Removed from team roles | previously held based on merit and experience;

e Denied reasonable accommodations despite medical documentation;

* Subjected to a hostile and exclusionary environment engineered to suppress my
protected speech and clinical autonomy.

66. Under California law, these facts satisfy the test for constructive discharge. In
Shephard v. Loyola Marymount Univ., 102 Cal. App. 4th 837 (2002), the court held that
resignation may be deemed involuntary where employer conduct leaves the employee no
reasonable alternative but to quit. In Yanowitz v. L’Oreal USA, Inc., 36 Cal. 4th 1028
(2005), the California Supreme Court confirmed that exclusion, reconfiguration, and
retaliation in response to protected activity may constitute wrongful termination.

67. My situation reflects the core elements of constructive termination as articulated in
both Shephard and Yanowitz. | have been:

e Pressured into silence;

e Excluded from professional development and governance;

* Monitored and subjected to discipline by non-physicians in violation of CPOM;
e And retaliated against for asserting legally protected rights.

68. These facts are not disputed in principle. They are evidenced through documents and
emails already submitted to the Court and referenced in this Declaration. They forma
legally sufficient and factually substantiated basis for employment claims under FEHA,
ADA, ERISA, and the California Labor Code, and constitute further proof that the Plan—as
drafted—ratifies a pattern of legal retaliation that precludes its confirmation under 11
U.S.C. § 1129(a}(1) and (a)(3). .

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V. DEFERRED COMPENSATION MISCLASSIFICATION AND TAX EXPOSURE
Wrongful Reclassification of NQDCP Assets as Estate Property in Violation of § 541(d)

69. Central to my claim is the Debtors’ unlawful reclassification of deferred compensation
earned through non-debtor CFMG as estate property. These funds, totaling $162,597.08 as
of November 12, 2024, are traceable solely to physician services rendered under my W-2
employment with California Forensic Medical Groug, Inc. (“CFMG”), a non-debtor,
physician-owned professional corporation regulated under the California Medical Practice
Act.

70. | affirmatively elected to defer a portion of my base wages into a Non-Qualified
Deferred Compensation Plan (“NQDCP”}, which was administered by Wellpath ina
ministerial capacity. Wellpath held no beneficial ownership interest in the deferred funds.
The source of funds was CFMG; the wages were earned, vested, and deposited pursuant
to a voluntary deferral election.

71. Under IRC § 3401(a) and supporting Treasury regulations, wages for purposes of
federal income tax withholding include all remuneration for services performed. The
deferred amounts were W-2 reportable and earned without contingency. These earnings
were contractually vested and functionally irrevocable—held in constructive trust on my
behalf.

72. The Debtors’ administrative custody over the NQDCP did not convert these funds into
estate property. Under 11 U.S.C. § 541(d), “property in which the debtor holds only legal
title and not an equitable interest... shall not become property of the estate.” As
reaffirmed by the U.S. Supreme Court in Begier v. IRS, 496 U.S. 53, 59 (1990), § 541(d)
prohibits the inclusion of trust-backed assets—such as deferred wages—in the bankruptcy
estate absent a beneficial claim.

73. The Debtors’ seizure, freeze, and unilateral rectassification of my NQDCP balance
violated ERISA § 404(a)(1) (29 U.S.C. § 1104), which imposes a duty of loyalty, prudence,
and exclusive purpose on plan fiduciaries. Their conduct also implicates ERISA § 510, 29
U.S.C. § 1140, by interfering with my right to accrued benefits and retaliating against my
assertion of rights under the Plan.

Violations of California Labor Code and State Trust Law

74. These funds—earned exclusively from physician labor—were further protected under
California Labor Code §§ 200~—223, which prohibit:

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« Unauthorized withholding of earned wages;
« Recapture or forfeiture without statutory authority;
e Diversion of trust-held funds intended for wage disbursement.

75. Under Cal. Labor Code § 221, no employer may lawfully recover or withhold wages
once earned, unless specifically authorized by law. Additionally, under California Civil Code
§§ 2223-2224, any party holding such wages in violation of trust principles is liable in
restitution and subject to constructive trust remedies.

76. These statutes are not discretionary. They embody the non-waivable public policy of
California to preserve the sanctity of wage integrity. By converting earned wages into
leverage—contingent upon legal withdrawal or NDA execution—the Debtors engaged in
conduct that is both tortious and per se unlawful.

Triggering of Constructive Distribution Under IRC § 409A and Treasury Regulations

77. The mishandling of my NQDCP by the Debtors triggered a constructive distribution
under IRC § 409A(a)(1). Under this provision, any distribution that fails to meet the
requirements of a qualifying plan termination results in:

e Immediate inclusion in gross income under IRC § 409A(a)(1)(A);
* A20% excise tax under IRC § 409A(a){1)(B);

« Exposure to accuracy-related penalties under IRC § 6662;

2 Federal and state interest accrual.

78. The termination of the NQDCP did not comply with the conditions enumerated in
Treas. Reg. § 1.409A-3(j)(4)(ix), which requires:

e« Termination of all similar arrangements;

e A12-month deferral period before any distribution;

e Full liquidation within 24 months;

e Nore-adoption of similar plans within three years;

e And no termination due to financial distress or bankruptcy.

79. None of these safe harbor elements were satisfied. The Debtors executed the freeze
unilaterally, outside of plan-wide termination, and triggered constructive receipt without
any qualifying distribution event. The result was a tax burden imposed without any actual
distribution.

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Full Federal and State Tax Exposure

80. Based on my 2024 AGI of approximately $575,000, the constructive distribution caused
by the Plan’s illegal structure resulted in a total tax liability of $200,591.04, composed of:

» Federal Income Tax (37%) — $60,160.92

» IRC§ 409A Excise Tax (20%) — $32,519.42

» IRC § 6662 Accuracy Penalty (20%) — $32,519.42

e IRS Interest (7%, over ~3.03 years) — $28,793.37

¢ California Income Tax (13.3%) — $21,625.41

¢ California FTB Penalty (10%) — $16,259.71

¢ California FTB Interest (7%, over “3.03 years) — $8,712.80

This revised total reflects updated calculations assuming my deferred compensation
eligibility began in January 2022, with interest accrual continuing through the present.
These liabilities arise from a constructive distribution event triggered by the Plan’s non-
compliant termination of a Non-Qualified Deferred Compensation Plan (NQDCP),
maintained without adherence to Treasury Regulation § 1.409A-3(j)(4)(ix). Under IRC

§ 409A(a}(1)(A), the deferred amount must be treated as immediately includible in gross
income, followed by the mandatory 20% excise tax under § 409A(a)(1)(B), and an
additional 20% penalty under § 6662 for accuracy-related misstatements. These burdens
are further compounded by accruing interest at 7% on both federal and state obligations.
The California Franchise Tax Board applies both base income tax under Cal. Rev. & Tax
Code § 17041 and a statutory 10% penalty for deferred income errors. This cumulative tax
harm—now exceeding $200,000—was triggered solely by the Debtors’ unlawful handling
of trust-backed earnings and stands as a direct, irreversible injury substantiated in Exhibit
3, including my IRS Form 8275.

IRS Form 8275 Filing and Protective Disclosure

81. | have submitted IRS Form 8275 to disclose the disputed 409A income inclusion. This
disclosure—now part of Exhibit 3—was filed to preserve my right to challenge the tax
treatment imposed by the Debtors’ actions. It establishes that:

¢« The harm is not speculative;

e The exposure is currently enforceable by the IRS and FTB;

e And the Plan’s design has rendered me personally liable for non-dischargeable tax
debt triggered by third-party misconduct.

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Plan Confirmation Barred by Tax Code, Fiduciary Duty, and Procedural Integrity

82. These tax harms are not subject to equitable reclassification, waiver, or discharge |
through bankruptcy. Under federal tax law, IRC § 409A penalties, excise taxes, and related
interest are non-dischargeable personal obligations, especially when caused by third-party
plan administrators. The Bankruptcy Code offers no shelter for fiduciaries who misclassify
trust assets or trigger unlawful tax distributions.

83. Furthermore, ERISA § 404 prohibits the use of plan assets for any purpose other than
the benefit of participants. Conditioning the release of my funds on litigation withdrawal
and NDA execution—as detailed in Exhibit 4—constitutes a fiduciary breach subject to DOL
enforcement and private civil action.

84. Under § 1129(a)(1), the Plan must comply with all applicable provisions of the
Bankruptcy Code and nonbankruptcy law. It fails to do so. Under § 1129(a)(3), the Plan
must be proposed in good faith and not by means forbidden by law. It fails this test as well.

85. The Debtors’ handling of the NQDCP represents a deliberate misapplication of
fiduciary and tax law. The resulting liabilities are not accidental—they are the foreseeable
result of design flaws that were highlighted in pre-confirmation legal memoranda and
ignored. Confirmation of the Plan under these circumstances would render this Court
complicit in a tax violation and fiduciary breach that are prosecutable under federal law.

VI. PROCEDURAL DEFECTS IN THIRD-PARTY RELEASES AND PLAN SOLICITATION
Coercive Nature of Article 1X Opt-Out Release Mechanisms

86. The Fifth Amended Plan of Reorganization (Dkt. 1835) imposes non-consensual third-
party releases via an opt-out mechanism embedded in Article IX. These provisions purport
to bind all creditors—including pro se parties, statutory claimants, and non-voting
participants—unless they affirmatively opt out by a fixed deadline, using procedures that
are procedurally opaque, constitutionally deficient, and legally unenforceable under
binding Fifth Circuit law.

87. The structure of Article IX does not merely reflect poor drafting. It represents a
deliberate and coercive mechanism designed to engineer silence into legal surrender,
invoking procedural inaction as a proxy for informed consent. This formulation is not only
inconsistent with constitutional due process but is categorically prohibited under 11 U.S.C.
§ 524(e) and binding Fifth Circuit precedent, including:

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e Inre Zale Corp., 62 F.3d 746 (5th Cir. 1995) — holding that § 524{e) prohibits
discharge of non-debtors’ liabilities without express creditor consent and
individualized judicial findings;

e Inre Pacific Lumber Co., 584 F.3d 229 (5th Cir. 2009) — invalidating release
provisions not grounded in specific factual records and evidentiary hearings;

e Inre Hightand Capital Mgmt., L.P., 48 F.4th 419 (5th Cir. 2022) — reaffirming that
opt-out structures are not substitutes for consent and that generalized release
language cannot shield insiders, professionals, or affiliates absent specific judicial
findings of fairness and necessity.

Constitutional Violations of Due Process Under Mullane v. Central Hanover Bank

88. In Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306 (1950), the United States
Supreme Court held that “An elementary and fundamental requirement of due process in
any proceeding which is to be accorded finality is notice reasonably calculated, under all
the circumstances, to apprise interested parties of the pendency of the action and afford
them an opportunity to present their objections.” The Fifth Amended Plan violates this
standard at every level of implementation.

89. The Plan’s opt-out mechanism is functionally designed to convert non-response into
involuntary consent—without ensuring that affected parties received adequate notice,
understood the legal consequences, or had a meaningful opportunity to object. The
accompanying Disclosure Statement does not:

e identify the scope of third-party releases in plain language;

e Distinguish between releases of the Debtors and non-debtor insiders;

e Provide a summary of legal effect accessible to unrepresented, disabled, or digitally
excluded creditors;

« Or flag the statutory implications of releasing claims against fiduciaries, counsel, or
Plan administrators.

90. For pro se claimants—including whistleblowers like myself—this structure constitutes
procedural entrapment. The failure to include a summary of consequences, coupled with
form ballots featuring double negatives, buried disclaimers, and unexplained legal terms,
is not neutral design. It is an intentional effort to obscure creditor rights and suppress
objection. Such conduct is incompatible with both constitutional notice principles and the
disclosure obligations imposed by 11 U.S.C. § 1125.

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Non-Compliance with Fifth Circuit Precedent

91. Even if the Plan’s due process violations could be excused—which they cannot—the
third-party release structure remains legally void under controlling Fifth Circuit law. As
stated in Zale, Pacific Lumber, and Highland Capital, a non-debtor cannot obtain discharge
or release without:

« Anadversary proceeding;
« Individualized judicial findings of fairness, necessity, and creditor benefit;
° Affirmative consent from the affected creditor.

92. The Debtors have made no such showing. There is no adversary proceeding, no
evidentiary hearing, and no record of individualized findings with respect to any creditor.
The releases cover non-debtor professionals, executives, and insiders, including the very
counsel who drafted the Plan—without separate scrutiny, legal justification, or a factual
basis upon which this Court could make a fairness determination.

93. Under § 1129(a)(1), a plan must comply with the applicable provisions of the
Bankruptcy Code. Under § 1129(a}(3), it must be proposed in good faith and not by any
means forbidden by law. The non-consensual releases embedded in this Plan violate both.
They represent not settlement, but procedural overreach—drafted to shield parties from
liability without adversarial adjudication.

Deceptive Disclosure Design and Obfuscation of Material Legal Consequences

94. The Disclosure Statement, in both form and substance, fails to meet the standard of
adequate information as required under 11 U.S.C. § 1125. It does not provide creditors
with a clear explanation of:

e Whois being released;

e What claims are being discharged;

» What consent is being presumed;

e What procedural rights are being waived.

95. In fact, the Plan’s opt-out provision does not inform creditors that their silence will
extinguish legal claims against non-debtors. There is no warning that such claims may
include:

e ERISA fiduciary breaches;
« CPOM violations;

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e ADA/FEHA retaliation;
e Whistleblower claims under Cal. Labor Code § 1102.5;
e Or tax injuries under IRC § 409A.

96. The use of ambiguous release language, misleading ballot structures, and the failure
to differentiate between debtor and non-debtor obligations creates a record that is
fundamentally inconsistent with Fifth Circuit precedent, due process, and the procedural
mandates of Rule 3016(c) and Rule 9011(b).

Structural Attack on Creditor Autonomy and Legal Recourse

97. The Debtors’ use of third-party releases to shield parties implicated in misconduct—
without a hearing, consent, or disclosure—is not simply a drafting failure. !t is a structural
attack on creditor autonomy, judicial review, and the public interest in lawful plan
confirmation. It seeks to enshrine legal immunity by engineering inadvertent silence—
converting the absence of objection into a waiver of rights never clearly conveyed.

98. This framework violates the rule that silence is not consent—a principle embedded in
bankruptcy practice, constitutional law, and fiduciary ethics. It further undermines the
integrity of the bankruptcy process by allowing those who designed, approved, and
financially benefitted from an unlawful Plan to exit the reorganization with de facto
immunity, insulated from the very judicial and regulatory scrutiny they were warned
would be triggered.

Regulatory and Ethical Consequences of Procedural Coercion

99. The non-consensual release structure employed here is now the subject of national
scrutiny, including in Harrington v. Purdue Pharma L.P., 603 U.S. __ (2024), where the
U.S. Supreme Court is examining whether a bankruptcy plan may discharge claims against
non-debtors without creditor consent and without individualized judicial findings. That
question is now ripe in this case.

100. The Plan’s release provisions are structurally indistinguishable from those at issue in
Purdue. Like Purdue, they are crafted to extinguish claims not adjudicated, not consented
to, and not fully disclosed—in exchange for no consideration. Such mechanisms are not
only legally unenforceable, they are ethically indefensible.

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101. As a statutory creditor, ERISA plan participant, ADA-protected employee, and
whistleblower, | cannot be silenced through procedural default, deceptive design, or
coerced omission. The Fifth Amended Plan’s release structure violates my rights under
federal, state, and constitutional law, and renders the Plan unconfirmable under §
1129(a)(1) and (a)(3).

VII. INTERNAL ETHICS AND PROFESSIONAL MISCONDUCT BY MCDERMOTT WILL & EMERY
LLP (MWE)

A. Introduction: Structural Misconduct as Ethical Breach

102. The conduct of McDermott Will & Emery LLP (“MWE”), lead restructuring counsel for
the Debtors, constitutes not merely a sequence of isolated ethical lapses, but a
coordinated scheme of professional misconduct. This scheme was executed by licensed
attorneys with actual knowledge of structural plan illegality, statutory violations, and
procedural coercion—and was pursued in the face of formal pre-confirmation legal
memoranda, privileged notice, and repeated requests for amendment. These acts,
individually and collectively, violate core rules of professional responsibility in the states of
Illinois, Texas, and New York, and rise to the level of misconduct requiring formal
disciplinary referral.

403. The attorneys identified herein failed to correct filings, failed to disclose adverse law
to the Court, knowingly advanced a structurally unconfirmable plan, and actively
participated in a campaign to condition the release of earned wages on the suppression of
legal objections. Their conduct implicates the following rules of professional conduct:

e ABA Mode! Rule 1.2(d) / Tex. Disciplinary R. Prof. Conduct 1.02(c): Prohibiting
assistance in conduct known to be criminal or fraudulent;

¢ Rule 3.3(a)(1): Prohibiting false statements of law or failure to correct prior
misstatements to the tribunal;

« Rule 4.1: Requiring truthfulness in statements to others;

» Rule 4.4(a): Prohibiting means that have no substantial purpose other than to
burden a third party;

° Rule 5.1/5.2: Imposing duties on supervising and subordinate attorneys to prevent
and correct ethical breaches;

¢ Rule 8.4(c): Barring conduct involving dishonesty, fraud, deceit, or
misrepresentation;

» Rule 8.4(d): Prohibiting conduct prejudicial to the administration of justice.

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B. Individualized Attorney Conduct
Felicia Perlman (Illinois)

104. Felicia Perlman, as principal architect of the Fifth Amended Plan and chief
restructuring strategist for the Debtors, was directly and personally served with pre-
confirmation memoranda outlining:

e The Plan’s unlawful inclusion of non-consensual third-party releases;

e CPOM violations under California law;

* Deferred compensation misclassification under ERISA and IRC § 409A;
e Fiduciary abuse in the administration of the NQDCP;

« Procedural coercion embedded in opt-out ballot structures;

« Ethical violations under ABA Model Rules and Fifth Circuit precedent.

105. Despite receiving this notice, Ms. Perlman proceeded to:

e Certify the Plan without amendment;
e Present no curative language in the Disclosure Statement;
e Permit solicitation of creditor votes under a design known to mislead.

106. Her conduct violates:

© Illinois Rules of Professional Conduct Rule 1.2(d): Knowingly assisting a client in
advancing an unlawful scheme;

« Rule 3.3(a)(1): Failure to correct legal misrepresentations to the Court;

« Rule 8.4(c): Deceptive continuation of an unconfirmable Plan after written notice.

Marcus Helt (Texas)

107. Marcus Helt, certifying local counsel before the Southern District of Texas, bore direct
responsibility for ensuring the Plan complied with applicable law. As filing attorney for Dkt.
Nos. 1835 and related documents, Mr. Helt was required by Rule 9011(b) to certify that:

e The legal contentions were warranted by existing law;
e The filings were not presented for any improper purpose;
« The representations were factually grounded.

108. The Plan filed by Mr. Helt included:

e Non-consensua! third-party releases in violation of § 524{e);

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e No adversary proceeding or judicial findings as required under Zale, Pacific Lumber,
and Highland Capital;
» Concealed discharge of attorney and executive liability.

109. His conduct violates:

» Texas Rule of Professional Conduct 3.03{a)(1): Making or failing to correct a false
statement of law;

« Rule 8.04(a)(3): Engaging in conduct involving dishonesty or misrepresentation;

e Rule 1.01(b)(1): Neglecting a legal matter entrusted to the lawyer by omitting
known legal infirmities.

Steven Szanzer (New York)

110. Steven Szanzer was responsible for the Disclosure Statement, voting materials, and
solicitation mechanics. He designed and approved opt-out forms, notices, and ballots
containing:

* Double negatives and ambiguous opt-out mechanics;
« Buried release language shielding non-debtor actors;
¢ No plain-language explanation of the legal effects of non-response.

111. Mr. Szanzer received written pre-confirmation memoranda explaining that these
materials:

« Failed to comply with Fifth Circuit opt-out standards;
e Violated due process under Mullane v. Central Hanover Bank;
e Would bind creditors without consent or judicial review.

112. His conduct violates:

e New York Rule of Professional Conduct 4.1: Failing to be truthful in statements to
others;

e Rule 8.4(c) and (d): Engaging in conduct prejudicial to the administration of justice
and misleading in nature;

* Rule 5.1(b): Failing to correct known ethical breaches within the firm.

Carole Wurzelbacher (Illinois)

113. As a junior associate participating in the drafting of Article IX, Ms. Wurzelbacher was
directly copied on memoranda explaining:

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« The-legal consequences of non-consensual releases;
« The CPOM violations raised in Dkt. Nos. 1897 and 2075;
o Her independent duty to object under ABA Mode! Rule 5.2(a).

114. Despite this, she continued work on the Plan and failed to raise objections or seek
internal review. While subordinate status is not dispositive, Mode! Rule 5.2(a) imposes
personal liability when the subordinate knows the proposed conduct is unethical.

115. Ms. Wurzelbacher’s failure to act under these circumstances constitutes:
e Passive complicity in a known violation;

» Professional negligence under Illinois Rule 5.2(a);
e Conduct unbefitting the fiduciary responsibilities of a licensed attorney.

C. Use of Trust Assets to Suppress Protected Legal Activity

116. Beyond structural misconduct, MWE attorneys engaged in a campaign of economic
coercion designed to suppress legal filings and chill protected conduct. As documented in
Exhibit 4, | was offered partial or conditional release of my earned deferred compensation
only upon execution of a non-disclosure agreement and withdrawal of pending federal
motions.

117. These negotiations occurred:

e After pre-confirmation memoranda were delivered to all MWE attorneys named
above;

* During the active solicitation and confirmation period;

e With full awareness that the deferred compensation was trust-held, ERISA-
governed, and constructively distributed under IRC § 409A.

118. This conduct violates:

¢ Model Rule 4.4{a): Prohibiting tactics intended solely to burden or silence third
parties;

e Rule 8.4(c): Using fiduciary-held funds to suppress adversarial filings;

e Rule 1.7(a)(2): Proceeding despite material personal conflict arising from self-
interest in Plan approval.

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D. Consequences of Ethical Noncompliance
119. The professional misconduct detailed above is not speculative. It is confirmed by:

« Timestamps and emails preserved in Exhibit 4;
e Ongoing filing of structurally defective materials;
e Absence of any curative amendment, withdrawal, or disclosure.

120. No MWE attorney:

e Sought internal review;
e Corrected !egal errors;
e Ordisclosed adverse precedent to the Court or U.S. Trustee.

121. These omissions occurred despite:

« Written warnings and legal memoranda;
« Preserved evidence of plan illegality;
* Imminent confirmation with judicial reliance on certified disclosures.

122. Under these facts, the conduct of MWE attorneys satisfies the threshold for:

¢ Formal disciplinary referral to the State Bars of Hlinois, Texas, and New York;

e Ethics investigation by the ABA Center for Professional Responsibility:

e Referral by the United States Trustee and DOJ Office of Professional
Responsibility;

e Civil liability under Rule 9011(b) and the professional rules adopted in each
jurisdiction.

123. These actions are not merely inconsistent with ethical norms. They are prejudicial to
the administration of justice, betray the confidence of the Court, and exploit creditor
vulnerability for institutional gain.

124. | respectfully submit that this record, in its entirety, warrants regulatory review,
disciplinary referral, and ethical enforcement under the governing rules of the legal
profession.

Vil. SUBSTANTIVE FEDERAL AND STATE STATUTORY VIOLATIONS

The Plan, as structured and advanced, constitutes a systemic and ongoing violation of
numerous provisions of federal law, California statutory authority, and the governing
framework of the United States Bankruptcy Code. These violations are not isolated. They

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are interlocking, interjurisdictional, and calculated to extinguish lawful claims, coerce
silence, and institutionalize regulatory noncompliance through the imprimatur of judicial
confirmation. The following violations are fully supported by the evidentiary record,
including Exhibits 1 through 5, and form the legal predicate for agency referral,
enforcement, and post-confirmation liability.

A. California Business and Professions Code §§ 2400-2417 (CPOM Doctrine Violations)

125. California Business and Professions Code §§ 2400-2417 establish the state’s
Corporate Practice of Medicine (CPOM) doctrine, prohibiting lay entities from employing,
supervising, or compensating licensed physicians. Under § 2400, “Corporations and other
artificial legal entities shall have no professional rights, privileges, or powers in the practice
of medicine.” Violations are criminally enforceable under § 2052 and subject to disciplinary
action under § 2264.

126. As detailed in Exhibit 2, Wellpath Holdings, Inc.—a private equity-backed MSO—
exercises de facto governance over CFMG’s physicians through unlicensed administrators.
This control includes scheduling, compensation, HR investigations, and employment
discipline, in violation of the CPOM doctrine and Cal. Corp. Code § 13400 et seq.

127. These CPOM violations are structurally embedded in the Plan. There is no carve-out,
no transition mechanism, and no remedial governance reform. The Fifth Amended Plan
codifies an illegal employment framework and is unconfirmable under 11 U.S.C.

~ § 1129(a)(1) and (a)(3).

B. California Labor Code § 1102.5 (Whistleblower Retaliation)

128. California Labor Code § 1102.5 prohibits retaliation against employees who disclose

violations of state or federal law. The statute applies regardless of whether the disclosure
is made internally or externally and is designed to protect employee whistleblowers from
adverse action tied to their lawful reports.

129. As detailed-in Exhibit 1, | disclosed CPOM violations, ERISA breaches, improper Plan
solicitation tactics, and tax code violations under IRC § 409A. Following these disclosures, |
was:

e Subjected to HR investigations led by unlicensed parties;
e Excluded from governance;

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» Reassigned clinical duties; and
¢ Retaliated against for filing Dkts. 1897, 2049, and 2075,

130. These retaliatory acts are both chronologically and causally connected to my
protected activity and constitute a per se violation of § 1102.5.

C. California Government Code §§ 12900-12996 (FEHA Retaliation and ADA/ Disability
Violations)

131. Under FEHA, Cal. Gov. Code § 12940 et seq., and the Americans with Disabilities Act
(ADA), 42 U.S.C. § 12101 et seq., employers are prohibited from retaliating against
employees for requesting accommodation or opposing disability-based discrimination. The
law mandates engagement in the interactive process and prohibits interference with
protected activity.

132. As documented in Exhibits 1 and 4, | requested medical accommodation pursuant to
a recognized disability. In response, | was isolated, denied scheduling flexibility, reassigned
duties to induce conflict, and excluded from team meetings. These actions violated:

e FEHA § 12940(m), (n), and (h);
e Cal. Gov. Code § 12945.2;
e ADA § 12203 (retaliation provision).

133. These acts constitute direct retaliation and obstruction of the interactive process,
actionable under both state and federal civil rights law.

D. California Labor Code §§ 200-223 (Wage Misappropriation and Trust Diversion)

134. Under Labor Code §§ 200-223, earned wages are the property of the employee and
may not be withheld, diverted, or subjected to post hoc reclassification. Under § 221, an
employer is prohibited from recovering or redirecting any portion of previously paid or
earned wages unless expressly permitted by statute.

135. My NQDCP balance of $162,597.08, earned through W-2 employment with non-
debtor CFMG, was unilaterally frozen and misclassified by the Debtors as estate property.
This freeze occurred without judicial order, adversary proceeding, or statutory authority.

136. These funds were held in constructive trust, and their seizure violates:

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California wage protection statutes;
Common law trust principles under Cal. Civ. Code §§ 2223-2224.

The fiduciary principles of ERISA § 404.

E. ERISA §§ 404 and 510 (Fiduciary Breach and Retaliation)

137. Under ERISA § 404, 29 U.S.C. § 1104, plan administrators must act solely in the
interest of participants and beneficiaries, with the care and diligence of a prudent
fiduciary. Under § 510, 29 U.S.C. § 1140, they may not retaliate against participants for
asserting plan rights or participating in inquiries.

138. The Debtors breached both provisions by:

Reclassifying trust-held assets as estate property in violation of ERISA fiduciary duty;
Withholding deferred compensation to coerce withdrawal of federal court filings;
Conditioning access to earned funds on NDA execution and silence:

Retaliating against my plan-related assertions through HR discipline and exclusion.

139. These violations are substantiated in Exhibit 4 and support DOL and EBSA
enforcement under 29 C.F.R. § 2560.502c-2 and related regulations.

F. Internal Revenue Code §§ 409A, 6662, 3401(a) (Tax Law Violations)

140. Under IRC § 409A, any noncompliant deferral or distribution triggers:

Immediate income inclusion under § 409A{a)(1)(A);

A 20% excise tax under § 409A(a)(1)(B);
Accuracy-related penalties under § 6662;

Interest and audit exposure under IRS and FTB regimes.

141. The Plan’s unilateral freeze of my deferred compensation violated Treas. Reg.

§ 1.409A-3(j)(4){ix). No plan-wide termination occurred. No 12-month deferral or 24-
month liquidation window was observed. No qualifying event was triggered. The
termination occurred under financial distress and without plan participant consent.

142. As documented in Exhibit 3, the constructive receipt triggered by the Debtors’
misconduct resulted in the following cumulative tax liabilities:

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« Federal income tax liability: $60,160.92

» IRC § 409A excise tax: $32,519.42

« IRC § 6662 penalty: $32,519.42

« IRS interest (7%, accrued over ~3.03 years): $28,793.37

* California FTB income tax: $21,625.41

e California FTB penalty: $16,259.71

e California FTB interest (7%, accrued over ~3.03 years): $8,712.80
e Total combined liability: $200,591.04

This figure represents the constructive distribution tax impact arising from the non-
compliant termination and misclassification of trust-held deferred compensation earned
solely through W-2 employment with non-debtor CFMG. These penalties are enforceable
and were disclosed via IRS Form 8275 to preserve the disputed position. They are not
hypothetical. They are current, irreversible, and directly attributable to fiduciary and
administrative misconduct detailed throughout this record.

143. | filed IRS Form 8275 in connection with the disputed inclusion. That form, included in
Exhibit 3, establishes that these liabilities are current, enforceable, and directly caused by
fiduciary and administrative misconduct.

G. Bankruptcy Code §§ 524(e), 541(d), 1129(a}(1) and (a)(3)

144. The Plan is unconfirmable under the Bankruptcy Code for multiple independent
reasons:

e §524(e) prohibits the discharge of claims against non-debtors. The Plan uses opt-
out releases to immunize attorneys, executives, and MSO personnel from liability
without consent or consideration.

e §541(d) excludes trust-held property from the estate. The Plan treats my deferred
compensation—earned through non-debtor employment—as general estate
property without adjudication.

e §1129{a)(1) requires compliance with applicable nonbankruptcy law. The Plan
violates the CPOM doctrine, ERISA, IRC, ADA, FEHA, and California wage laws.

e §1129(a)(3) requires good faith and a plan not proposed by any means forbidden
by law. The Plan, having been advanced with knowledge of these violations, fails
this requirement in both form and intent.

Conclusion: Cumulative Violations Require Enforcement and Denial of Confirmation

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145. The Plan as structured:

e Misappropriates trust assets;

e Subverts California licensure law;

« Chills statutory filings through economic coercion;

e Immunizes wrongdoers through unlawful third-party releases;

e And imposes tax liabilities on non-debtor whistleblowers through fiduciary
misconduct.

146. These actions are enforceable violations of multiple legal regimes, including:

« The Bankruptcy Code;

« ERISA;

e IRC and Treasury regulations;

e ADA and FEHA civil rights laws;

e California’s CPOM and wage protection statutes.

147. Judicial confirmation of this Plan would constitute federal ratification of violations
that state and federal agencies are duty-bound to prevent. These harms are not subject to
waiver, and the Plan may not be confirmed under any standard consistent with law,
equity, or the institutional legitimacy of this Court.

IX. EXHIBITS INCORPORATED BY REFERENCE

148. In support of the factual assertions and legal conclusions set forth in this Declaration
and in the Supplemental Brief filed April 14, 2025, | hereby incorporate by reference the
following five exhibits. Each exhibit has been independently authenticated, .
contemporaneously preserved, and submitted in accordance with the Federal Rules of
Evidence, including Rule 901(b)(4) (authentication by distinctive characteristics), and may
be properly reviewed as part of the unified record in support of Dkts. 1897, 2049, and
2075. These materials are not supplementary—they are central evidentiary artifacts that
substantiate the statutory violations, structural defects, and ethical breaches necessitating
judicial relief and regulatory response.

Exhibit 1 — HR and Retaliation Timeline
149, Exhibit 1 provides a detailed chronological account of retaliatory workplace conduct

executed by Wellpath Holdings, Inc. following my protected disclosures regarding unlawful
Plan provisions, governance misconduct, and fiduciary breach. This timeline includes:

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e Internal Human Resources communications initiated and directed by Angie Baldwin,
a non-licensed administrative employee of We!lpath;

e Evidence of exclusion from governance meetings, clinical marginalization, and
targeted reconfiguration of duties intended to destabilize protected employment;

» Obstruction of ADA accommodation requests, including failure to engage in the
interactive process and interference with disability-related scheduling.

150. This exhibit substantiates the claims made in Section IV of this Declaration, and
supports causes of action and enforcement under:

« ADA-42U.5S.C. § 12112 and § 12203 (retaliation and accommodation failure),
« FEHA-— Cal. Gov. Code §§ 12940(h), (m), (n), 12945.2,

* California Labor Code § 1102.5 (whistleblower retaliation),

e ERISA § 510-29 U.S.C. § 1140 (retaliation for plan-based activity).

Exhibit 2 — Internal CPOM Violation Evidence

151. Exhibit 2 includes internal emails, schedules, triage directives, and policy documents
confirming that Wellpath—a private equity-controlled MSO—exercised unlawful control
over core clinical functions at CFMG. The record reflects:

e Non-physician administrators at Wellpath issuing staffing and triage directives;

« Unauthorized reassignment of physician-patient responsibilities;

e Exclusion of physician-shareholders from compensation, employment, and
disciplinary decisions.

152. These documents confirm systemic and sustained CPOM doctrine violations, as
described in Sections i and VIII, and establish statutory breaches of:

e Cal. Bus. & Prof. Code §§ 2400-2417 (prohibiting lay control of medical practice),

e Cal. Bus. & Prof. Code § 2052 and § 2264 (unauthorized practice and delegation of
judgment},

e Cal. Corp. Code §§ 13400 et seq. {professional corporation governance
requirements).

These acts render the Plan unconfirmable under 11 U.S.C. §§ 1129(a}(1) and (a)(3), and
subject the governance model to licensure enforcement by the Medical Board of
California.

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Exhibit 3 — 409A Tax Impact Documentation

153. Exhibit 3 documents the constructive distribution, excise tax penalties, and audit
exposure resulting from the Debtors’ unlawful handling and reclassification of the Non-
Qualified Deferred Compensation Plan (NQDCP). It includes:

- Acertified Fidelity NetBenefits account statement showing a vested balance of
$162,597.08, earned exclusively through W-2 employment with non-debtor CFMG;

e IRS Form 8275, filed to disclose the disputed tax position resulting from forced
income inclusion under IRC § 409A(a)(1);

» Acomprehensive tax analysis demonstrating federal and California liabilities
totaling $200,591.04, consisting of:

Tax Category Amount (USD)

Federal Income Tax {37%) $60,160.92
IRC § 409A Excise Tax (20%) $32,519.42
{RC § 6662 Accuracy Penalty (20%) $32,519.42
IRS Interest (7%, accrued over “3.03 years) $28,793.37
California Income Tax (13.3%) $21,625.41
California FTB Penalty (10%) $16,259.71
California FTB interest (7%, ~3.03 years) $8,712.80
Total Combined Tax Liability $200,591.04

154. This exhibit substantiates the claims presented in Sections V and VIII of the
Declaration and supports multiple causes of action and regulatory enforcement under:

« IRC §§ 409A(a)(1)(A), 409A(a)(1)(B), and 6662 (constructive receipt, 20% excise tax,
and accuracy-related penalties);

e Treas. Reg. § 1.409A-3(j)(4){ix) (termination without required liquidation and
compliance timeline);

» Cal. Rev. & Tax Code § 17041, FTB penalty rules, and interest accrual regimes;

e 110.5S.C. § 541(d) (exclusion of trust property from the bankruptcy estate);

e ERISA § 404 (fiduciary breach due to misuse of plan assets held for the exclusive
benefit of the participant).

This tax liability is not speculative. It is real, enforceable, and has been directly triggered by
noncompliant Plan conduct and the Debtors’ failure to adhere to the mandatory
requirements of IRC § 409A and its accompanying Treasury regulations.

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Exhibit 4 -— Legal Memoranda and Coercion Evidence
155. Exhibit 4 contains:

e Formal, confidential memoranda sent to MWE attorneys Felicia Perlman, Marcus
Helt, Steven Szanzer, and Carole Wurzelbacher, warning of CPOM violations, ERISA
breaches, tax penalties, and ethical violations;

e Emails from Wellpath executives and MWE counsel conditioning the release of
trust-backed deferred compensation on the withdrawal of pending motions and
the execution of NDAs;

e Screenshots and transcripts evidencing explicit efforts to suppress whistleblower
claims through economic leverage.

156. This exhibit forms the factual core of Section VII, and supports disciplinary
proceedings and regulatory action under:

¢ ABA Model Rules 1.2(d), 3.3(a)(1), 4.4{a), 5.1, 5.2, 8.4(c) and (d);
e Rule 9011(b) (misrepresentations to the Court),
© 110U.5S.C. § 1129(a)(3) (good faith and lawful proposal requirement).

These communications demonstrate that the Plan was advanced with actual knowledge of
its legal defects and that attorneys knowingly used fiduciary assets to silence dissent.

Exhibit 5 — April 14, 2025 Supplemental Brief

157. Exhibit 5 contains my April 14, 2025 Supplemental Brief, filed in support of Dkts.
1897, 2049, and 2075. This brief:

« Consolidates lega! arguments regarding structural illegality of the Plan;

» Applies binding Fifth Circuit authority including Zale, Pacific Lumber, and Highland
Capital;

e Analyzes tax harm under IRC § 409A, ERISA fiduciary breaches, CPOM violations,
and due process failures.

158. The Supplemental Brief is cross-referenced throughout this Declaration and functions
as its legal counterpart. It satisfies the analytical and statutory burden required under 11
U.S.C. § 1129 and Rule 9011, and should be considered part of the formal evidentiary
record for all motions on file,

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Final Integration Statement
159. The above exhibits are not illustrative. They are the evidentiary basis for:

© Judicial denial of confirmation under §§ 524(e), 541(d), 1129(a)(1) and (a)(3);

» State and federal enforcement actions under CPOM, ERISA, and the Internal
Revenue Code;

e Disciplinary proceedings under state bar codes and the ABA Model Rules.

Each exhibit is individually authenticated and jointly incorporated by reference under
penalty of perjury pursuant to 28 U.S.C. § 1746.

X. JUDICIAL OVERSIGHT AND ETHICAL CONSIDERATIONS
A. Supervisory Duties of the Court Under § 1129(a)(3) and Rule 9011(b)

160. The confirmation of a plan under Chapter 11 is not a ministerial act. tt is the exercise
of a core Article | judicial function that must be executed in fidelity to law, in defense of
constitutional rights, and with full awareness of the ethical obligations of officers of the
court. Under 11 U.S.C. § 1129(a)(3), the Court bears a non-delegable duty to determine
whether the Plan “has been proposed in good faith and not by any means forbidden by
law.” This determination requires more than a mechanical checklist. It demands a
substantive inquiry into the integrity of the Plan, the conduct of its proponents, and the
nature of the process by which it was advanced.

161. Under Federal Rule of Bankruptcy Procedure 9011({b), attorneys appearing before
this Court are required to certify that their submissions are legally warranted, factually
grounded, and not interposed for an improper purpose. The certification is not symbolic.
it is a legal representation to the Court that every element of the filing is consistent with
statutory, regulatory, and ethical mandates.

162. In this case, the record is unambiguous. The Plan was:

« Advanced with actual notice of CPOM violations under Californta law;

« Structured to obscure ERISA fiduciary breaches, IRC § 409A penalties, and Section
541(d) misclassifications;

« Used to condition the release of trust-held deferred compensation on silence,
withdrawal of objections, and execution of NDAs;

e Solicited using ballots and disclosures designed to mislead, coerce, and
procedurally entrap.

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163. A plan built on such foundations cannot be confirmed in good faith. A confirmation
proceeding cannot become a shield for ethical misconduct, nor may the bankruptcy
process be transformed into a vessel for immunizing fiduciaries from the consequences of
their statutory violations.

B. Disclosure Failures and Structural Concealment of Legal Defects

164. The Court’s responsibility under § 1125 of the Bankruptcy Code is to ensure that the
Disclosure Statement provides “adequate information” to permit creditors to make
informed decisions. In this case, the Disclosure Statement failed to disclose—intentionally
and with material consequence—the following structural violations:

e The existence of 409A excise tax exposure and constructive distribution liabilities;

e ERISA § 404 and § 510 fiduciary violations and their DOL-enforceable
consequences,

e The unlawful control exercised by Wellpath in violation of the CPOM doctrine and
Cal. Bus. & Prof. Code §§ 2400-2417;

« The existence of protected ADA/FEHA accommodation requests, and subsequent
retaliation;

e The Plan’s reliance on non-consensual third- “party releases to extinguish statutory,
regulatory, and constitutional claims.

165. These omissions are not errors. They are deliberate. They constitute a pattern of
structural concealment designed to:

e Facilitate creditor silence through uninformed consent;

» Shield non-debtor professionals—including MWE attorneys—from liability;

e Subvert judicial review by depriving the Court of a full evidentiary record at the time
of confirmation.

166. The result is a constructive fraud on the Court. This term is not used lightly. It reflects
the systemic suppression of material facts known to be essential to judicial review and
required under statute, rule, and ethical obligation.

C. Institutional Referral Pathways for Professional Review and Regulatory Oversight

167. Based on the foregoing, | respectfully request that this Court refer the conduct of
counsel and Plan proponents to the following oversight and enforcement bodies:

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e The State Bars of Illinois, Texas, and New York, for ethics review of:
Felicia Perlman (IL); :

Marcus Helt (TX);

Steven Szanzer (NY);

Carole Wurzelbacher (IL).

o oO 9 9

Each of these attorneys has violated, inter alia:

e ABA Model Rules 1.2(d), 3.3(a), 4.4(a), 5.1, 5.2, 8.4(c), and 8.4(d).
e The United States Trustee Program, pursuant to 28 U.S.C. § 586(a)(3), for:
o Monitoring attorney conduct;
o Referring matters for disciplinary action under Rule 9011;
o Objecting to confirmation under § 1129(a)(3).
e° The DO) Office of Professional Responsibility, for:
o Investigating whether the Debtors’ attorneys engaged in conduct prejudicial
to federal court proceedings.
e The IRS Office of Chief Counsel, for:
o Reviewing the Plan’s creation of constructive tax events under IRC § 409A,
§ 6662, and § 3401(a);
o Investigating tax harm and enforcement jurisdiction over trust-held deferred
compensation.
e The California Attorney General — Health Quality Enforcement Section, for:
o Enforcement of the CPOM doctrine under Cal. Bus. & Prof. Code § 17200;
o Investigation of the MSO control structure and disciplinary referral to the
Medical Board of California.
e The California Department of Industrial Relations, and California Civil Rights
Department, for:
e Enforcement of wage, whistleblower, and accommodation rights under:
« Cal. Labor Code §§ 1102.5, 200-223;
« Cal. Gov. Code §§ 12940, 12945.2, 12965.

D. Recommendation for Record Preservation and Conditional Referral

168. This Court now possesses a complete evidentiary record documenting structural
illegality, ethical violation, and professional misconduct. If the Plan proceeds to
confirmation without structural correction, the Court will have:

e Endorsed the use of economic coercion to silence objectors;
» Ratified the concealment of nonbankruptcy statutory violations;

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+ Validated a solicitation and disclosure process that fails under both constitutional
and statutory standards.

169. The Court must act.

If confirmation is granted, | request that the Court sua sponte refer the evidentiary
record—including this Declaration, Dkts. 1897, 2049, and 2075, and Exhibits 1 through 5—
to the aforementioned oversight bodies.

If confirmation is denied, | respectfully request that the Court condition any future
confirmation on:

° The removal of illegal third-party releases;

» Arestructuring of the Plan to comply with CPOM, ERISA, and IRC § 409A;

e And certification to the U.S. Trustee that all disclosure failures have been corrected
under penalty of Rule 9011.

170. The judicial power conferred under Chapter 11 does not include the power to ratify
illegality, institutionalize coercion, or ignore misconduct presented in the evidentiary
record. The law, and the legitimacy of this Court, demand better.

XI. CLOSING AFFIRMATION AND RESERVATION OF RIGHTS
1. Declaration Under Penalty of Perjury

171. |, Dr. Kanwar Partap Singh Gill, hereby declare under penalty of perjury, pursuant to
28 U.S.C. § 1746, that the foregoing Declaration is true and correct to the best of my
knowledge, information, and belief. The facts recited herein are based on my direct
experience, contemporaneous records, and good-faith legal understanding. The legal
assertions contained herein reflect my independent analysis, supported by cited authority
and attached exhibits.

172. This Declaration is submitted not as a complete catalog of all legal or regulatory
remedies available to me, but as a verified evidentiary statement responsive to the
procedural posture of the present case. It does not purport to identify all potential harms,
violations, or liabilities that may arise from the conduct described herein, nor does it
exhaustively document all statutory, administrative, or equitable grounds for redress.

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2. Reservation of Legal, Administrative, and Regulatory Remedies
173. | expressly reserve all rights and remedies available to me:

e Under federal and state law, including but not limited to:
o Labor, licensure, fiduciary, disability, tax, and anti-retaliation statutes;
o The Bankruptcy Code, Internal Revenue Code, ERISA, ADA, FEHA, and the
California Business and Professions Code;
o The U.S. Constitution, including First, Fifth, and Fourteenth Amendment
protections;
* Inany tribunal or proceeding, whether judicial, administrative, or investigatory;
e Whether now known or arising hereafter;
e Whether sounding in law, equity, or administrative function;
e And without prejudice to any statutory or constitutional defense or privilege.

174. Nothing in this Declaration shall be construed as a waiver, limitation, or disclosure of
confidential legal strategy, future litigation posture, or enforcement pathway—whether in
this proceeding or any parallel forum. All rights are reserved without limitation and
without prejudice.

3. Request for Judicial Relief and/or Referral

175. The purpose of this Declaration is singular: to present a truthful, factually supported,
and legally anchored record in support of judicial and regulatory oversight. | seek no
punitive remedy, only lawful adjudication consistent with governing statutes,
constitutional obligations, and the institutional integrity of the bankruptcy process.

176. To the extent this Declaration compels judicial notice, regulatory referral, or post-
confirmation inquiry, such measures are requested not as instruments of reprisal, but as
procedural safeguards—designed to preserve the legitimacy of this Court, to protect the
public’s interest in lawful plan confirmation, and to ensure that no legal or ethical violation
is inadvertently ratified through silence or oversight.

177. If the Court determines that the conduct described herein falls outside its jurisdiction
to remedy directly, | respectfully request that the full evidentiary record be preserved and
transmitted to the appropriate disciplinary, regulatory, or enforcement bodies for
independent review.

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4, Formal Execution & Non-Waiver Clause

178. Executed this 14th day of April, 2025, in Fresno, California, under the laws of the
United States of America.

179. No part of this Declaration shall be construed to waive any objection, defense, right,
or remedy—procedural or substantive, statutory or constitutional-—-that may otherwise
be available to me, individually or in conjunction with similarly situated claimants. Any
omission or ambiguity shall be construed Jiberally in favor of the preservation of such
rights.

Respectfully submitted,

/s/ Dr. Kanwar Partap Singh Gill
Dr. Kanwar Partap Singh Gill

April 19™ 2025

Pro Se Movant and Creditor

Senior Staff Physician

California Forensic Medical Group

Fresno County Adult Detention Facility
Email: kpsgill@kpsgill.com

Phone: (559) 447-8490

Address: 8408 N. Ann Ave, Fresno, CA 93720

CERTIFICATE OF SERVICE
| hereby certify that on April 19, 2025, | caused a true and correct copy of the:

Declaration of Dr. Kanwar Partap Singh Gill in Support of Supplemental Brief Filed in
Support of Dkts. 1897, 2049, and 2075

together with all referenced exhibits, to be served via First-Class U.S. Mail upon the
following parties:

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Counsel for Debtors — McDermott Will & Emery LLP

1. Felicia Perlman

2, Marcus Helt -

3. Steven Szanzer

4. Carole Wurzelbacher
5. Darren Azman-—

Office of the U.S. Trustee (Region 7 — SDTX)

6. Susan Her — susan.her@usdoj.gov
7. Ha Nguyen — ha.nguyen@usdoj.gov
8. 515 Rusk Street, Suite 3516, Houston, TX 77002

Official Committee of Unsecured Creditors — Stinson LLP

9. Zachary Hemenway
10. Nicholas Zluticky
11. Lucas Schneider

Wellpath & CFMG Officers

12. Marc Goldstone — Chief Legal Officer

13. Dr. Dheeraj Taranath — Interim Chief Clinical
Officer

14, Grady J. Bazzel - CEO, CFMG

15. Scott Kennedy — CFO, CFMG

16. Richard Medrano — Secretary, CFMG

Regulatory and Oversight Agencies

18. Medical Board of California

19. California Attorney General ~ Health Quality Enforcement

20. California Labor Commissioner — Lilia Garcia-Brower

21./RS Office of Professional Responsibility

22.U.S. Department of Labor — EBSA

23. Department of Justice — Office of Professional Responsibility

24. Daniel C. Cederborg — dcederborg@fresnocountyca.gov (Fresno County Counsel)

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| certify under penalty of perjury that the foregoing is true and correct.

Executed on April 19, 2025, in Fresno, Dt Che.

/s/ Dr. Kanwar Partap Singh Gill
Dr. Kanwar Partap Singh Gill

EXHIBIT SUMMARY

1. Exhibit 1—HR and Retaliation Timeline
Chronology and internal correspondence showing retaliation after ADA and
whistleblower disclosures.
2. Exhibit 2 — internal CPOM Violation Evidence
Emails and documents evidencing Wellpath’s lay control over CFMG physician
functions.
3. Exhibit 3 — 409A Tax Impact Documentation
Fidelity NetBenefits statement, IRS Form 8275, and full tax penalty breakdown.
4. Exhibit 4 — Legal Memoranda and Coercion Evidence
Memoranda to MWE and emails conditioning wage release on litigation silence.
5. Exhibit 5 — April 14 Supplemental Brief
Procedural and legal foundation for motions and this Declaration.

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Exhibit Cover Sheets — Dr. Kanwar Partap Singh Gill

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EXHIBIT 1 ~ HR and Retaliation Timeline
Filed in Support of Dkts. 1897, 2049, 2075

Declarant: Dr. Kanwar Partap Singh Gill

Case: In re Wellpath Holdings, Inc., Case No. 24-90533 (S.D. Tex.)

Declaration Cross-Reference
Referenced in Sections: [V, VIII

Cited in Paragraphs: J] 54-67, 120-130, 149-150

Description of Contents

This exhibit contains contemporaneous communications and timeline documentation
demonstrating retaliatory actions against Dr. Gill following protected ADA and
whistleblower disclosures.

Included Decuments:

e -HRemails from Angie Baldwin

*® - Accommodation requests and denials
e - Governance exclusion notices

e -Retaliation chronology

Legal Basis and Relevance
Statutes, regulations, and ethical rules implicated:

» -ADA (42 U.S.C. §§ 12101 et seq.)

e -FEHA (Cal. Gov. Code §§ 12940, 12945.2]
/ @ ~ERISA§510 (29 U.S.C. § 1140)

* -Cal. Labor Code §1102,5

Authentication Status

Authenticated under Rule 901(b)(4) through contemporaneous email records, internal HR
correspondence, and declaration-backed documentation. Preserved March-April 2025,

Evidentiary Purpose
Supports employment retaliation claims and whistleblower protections.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 47

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KPSGILL. COM Kanwar Partap Singh Gill <kpsgili@kpsqill.com>

Request to Reschedule HR Meeting Due to Active Litigation and Oversight

Requirements Under California Law
1 message

Kanwar Partap Singh Gill <kpsgill@kpsqill.com> Wed, Apr 9, 2025 at 11:17 AM
To: Angie Baldwin <ARBaldwin@wellpath.us>, Marc Goldstone <MGaldstone@wellpath.us>
Bec: Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

Subject: Request to Reschedule HR Meeting Due to Active Litigation and Oversight Requirements Under
California Law

Dear Ms. Baldwin,

Thank you for your message and the ongoing communication regarding the HR/ER meeting originally
scheduled for April 15, 2025.

As you may be aware, ] am currently an active litigant in In re Wellpath. Holdings, Inc., Case No. 24-90533
(Bankr. $.D. Tex.), where I have raised substantial legal claims involving physician compensation, corporate
practice of medicine violations, ERISA noncompliance, and improper wage deferral involving California
Forensic Medical Group (CFMG). These claims are legally and factually supported in Docket Nos. 1897 and
2049. The deadline for opposition filings in this matter is April 15, 2025, and 1 am presently preparing and
finalizing legal pleadings in that context.

The amount at stake exceeds $375,000, and includes not only unpaid deferred compensation but also tax
liabilities, penalty exposure, accrued interest, and the substantial opportunity cost associated with legal
drafting, research, and case management since March 4, 2025. These losses arise entirely from the
mishandling of my deferred compensation by CFMG, which permitted Weilpath—its management
services contractor—to assume control over funds that constituted my earned wages and were never intended
to be subject to corporate commingling or bankruptcy risk. The reckless failure to safeguard these wages in a
separate trust or protected account—as required under ERISA principles and California compensation law—
has resulted in extraordinary financial harm. It is this harm that I am seeking to remedy through the ongoing
bankruptcy proceedings.

Given this context, I must respectfully request that our HR meeting be rescheduled until after April 22,
2025, the date of the bankruptcy court’s scheduled hearing. This is not a refusal to engage—it is a legally
necessary measure to:

e Prevent any procedural or substantive prejudice to my pending federal litigation;

e Avoid crossover risks between an internal HR fact-finding process and external judicial
proceedings;

» Maintain compliance with the Americans with Disabilities Act (ADA) and California’s Fair
Employment and Housing Act (FEHA), including protections related to workplace accommodations
and clinical scheduling;

e Ensure that California’s Corporate Practice of Medicine (CPOM) doctrine, as codified in
Business & Professions Code §§ 2400 et seq., is fully respected, including with respect to physician
oversight of disciplinary or employment matters.

First Declaration of Dr Kanwar Partap Singh Gilt MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 48

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In light of my current role as a salaried physician employed by CFMG—a California professional medical

corporation—any employment-related investigation involving my conduct must be directly authorized or
supervised by a California-licensed physician-officer of CFMG. I have not received such confirmation,
and as raised in prior correspondence, I respectfully request that the following be clarified in writing:

1. Whether this investigation is being carried out under the formal delegation or supervision of any
CFMG physician-officer, such as Dr. Grady Bazzel;

2. Whether any findings made through this process will be used to support, justify, or inform CFMG
employment actions, including discipline, remediation, or termination;

3. Whether any emergent employment issue presently exists that cannot be deferred until after April
22:

4. Whether Wellpath is asserting that this HR review satisfies the standards applicable to California
professional medical corporations regarding physician employment governance.

This request is submitted out of an abundance of caution, and with a view toward avoiding any perception of
interference, delay, or noncooperation. If a critical matter arises before April 22 requiring urgent discussion, I
remain available for timely coordination—as long as the meeting is convened under appropriate physician-
led oversight and legal safeguards.

To reiterate, this limited postponement is necessary to avoid undue hardship, protect procedural rights, and
preserve a clean record in ongoing federal and regulatory proceedings. I appreciate your continued
professionalism, and I remain committed to resolving all outstanding issues through Jawful, cooperative, and
structured channels.

Sincerely,

Dr. Kanwar P. Gill

Senior Physician — Fresno County Adult Detention Facitity

Email: kpsgill@kpsgill.com | Sent from personal account for independence and documentation purposes

On Wed, Apr 9, 2025 at 8:39 AM Angie Baldwin <ARBaldwin@weilpath.us> wrote:
Dr. Gill,

You have raised concerns that fall under different disciplines. CFMG has received your email
alleging a number of serious matters. Compliance will be reaching out to you to separately
investigate your compliance-related concerns. As you know, | have been tasked with
conducting an investigation of your workplace discrimination and retaliation allegations.
Wellpath is contracted to perform this function on behalf of CFMG, and lam the designated
investigator for these concerns. As it relates fo the HR/ER investigation, | ask that you refrain from
including others on communications related to this investigation, as that could adversely impact
the integrity of the investigation.

We are still scheduled to meet on the 15!" to discuss issues you've raised within the scope of this
investigation. The main purpose of this initial meeting is to gather information from you. Please
direct any additional concems or questions about the investigation into your allegations of
workplace discrimination and retaliation solely to my attention. After we meet, | will identify
witnesses or other appropriate people to inferview and plan the next steps in the investigation.
lf you are aware of additional facts or evidence relevant to your allegations, please send them
to me. It goes without saying that interference with the investigation is not permitted and will

First Declaration of Dr Kanwar Partap Singh Gilt MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 49

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| only serve to will slow the process down and potentially damage the integrity of the

| investigation. Thank you for your cooperation, and | hope to speak with you soon.

ANGIE BALDWIN, PHR, SPHR

Sr, Employee Relations Manager

3340 Perimeter Hill Dr., Nashville, TN 37244
PH 615-312-7272// CELL 615-636-7045

WellpathCare,com

From: Kanwar Partap Singh Gill <kpsgill@kpsgill.com>
Sent: Tuesday, April 8, 2025 4:09 PM
To: Dheeraj Taranath <DTaranath@wellpath.us>; Angie Baldwin <ARBaldwin@wellpath.us>
Cc: webmaster@mbc.ca.gov
Subject: [EXT] Re: Urgent Request for CFMG-Led HR Oversight:

_ CAUTION: This Email is from an EXTERNAL source: Do not click links or open attachments unless you -
~fecognize the:sender.and. know the content is safe. . Report suspicious messages to'SFAM@Wellpath.us”

| Subject: Clarification of HR Jurisdiction and Demand for Physician-Led Oversight of CFMG Employment Matters
* Dr, Grady Judson Bazzel — California P&S License No. C 53908, Chief Executive Officer, CFMG

:° Dr. Richard M. Medrano — California P&S License No, A 103477, Secretary, CPMG

* Dr. Scott Herbert Kennedy ~ California P&S License No. C 171808, Chief Financial Officer, CFMG

In re Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. S.D. Tex.)

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 18th, 2025 (Notarized) Page 50

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Dear Ms. Baldwin,
Thank you for acknowledging receipt of my recent emails and for including them in your investigative file.

Let me respectfully and unequivocally state that it is my continuing intent to communicate with California Forensic
Medical Group (CFMG) leadership and request that any human resources investigation into my employment as a
CFMG-employed physician be conducted either:

1. By an HR representative employed and directly supervised by a California-licensed physician within CFMG, or
2. Under the exclusive oversight of a physician-led panel consistent with the mandates of the California Medical
Practice Act and the corporate practice of medicine (CPOM) doctrine.

| must also ask you to clearly identify your role in this matter:

« Are you conducting this HR investigation under the direction of CFMG or Wellpath?

« Do any of CFMG’s physician-officers (such as Dr. Bazzel) formally supervise or approve your actions?

* Will your findings be considered binding for purposes of CFMG employment discipline, remediation, or
termination?

These are critical threshold questions, particularly given your recent statement that | do not need to include Dr.
Grady Bazzel—-CFMG’s CEQ—in these communications. With respect, | must request a written confirmation of that
assertion, as this statement will need to be forwarded to the Medical Board of California in connection with the
active investigation into CFMG’s HR governance structure and its compliance with California law.

As you are aware, I have made extensive disclosures concerning the misclassification of my wages, interference with
patient care, retaliatory administrative behavior, and race- and national origin-based discrimination—all of which

/ occurred under CFMG's direct authority. To that end, | am compelled to reiterate that these are not Wellpath
matters. These are physician employment grievances governed under California law, requiring physician-led
adjudication.

Your role as a Wellpath-employed HR professional may create an inherent conflict of interest when reviewing
concerns that implicate CFMG’s legal structure and Catifornia-specific employment protections. Without a clear
delegation of investigatory authority from a CFMG physician-officer, any HR process led exclusively by you may be
legally insufficient and procedurally invalid under California Business & Professions Code 882400 et seq.

As a reminder, | previously addressed these issues in my April 3, 2025 letter to Wellpath’s Chief Legal Officer Marc
Goldstone, which was copied to Kerrie Webb, Staff Counsel for the Medical Board of California. That letter outlines
how Wellpath’s HR and corporate structure continue to violate CPOM restrictions, ERISA standards, and IRC §409A
deferred compensation laws—all of which are now under regulatory scrutiny.

Additionally, | have communicated the urgency of these concerns to Dr, Dheeraj Taranath and CFMG leadership,
including in my April 3 email regarding the April 11 meeting. | have clearly laid out the binding physician-led
resolution terms that must be finalized in that meeting to avoid external escalation. These terms include
employment protections, compensation parity, deferred compensation recovery, and full whistleblower safeguards—
all of which are grounded in California’s statutory protections for physicians and employees.

In light of the above, please confirm the following:

1. Whether your investigation is authorized by any of the California-licensed physician-officers of CFMG.

2. Whether your findings will be used to support or justify any future CFMG disciplinary actions.

3. Whether you have any direct reporting obligations to CFMG leadership.

4, Whether CFMG’s physician-shareholders have delegated their non-delegable duties (under California law) to
Wellpath’s HR.

5. Whether Wellpath is asserting that your investigation satisfies California HR standards for professional medical!
corporations.

Absent affirmative and documented answers to these questions, | must regard the current HR review process as
procedurally flawed and noncompliant with state law.

For the record, | am still fully open to an internal resolution—as emphasized in my prior correspondence, However, if
this process continues without physician oversight, or if Dr. Bazzel is excluded from further communication, | will be
Zé

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 51

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| obligated to report this as further evidence of CFMG’s failure to retain legally required physician control over

employment matters.

| respectfully await your clarification and look forward to a transparent discussion that complies with both California
labor protections and our ethical duty to uphold physician autonomy in correctional healthcare.

Best regards,

Dr. Kanwar P, Singh Gill

Senior Physician

Fresno County Adult Detention Facility

Email: kpsgiil@kpsgill.com

Sent from my personal email account for documentation and independence purposes

On Tue, Apr 8, 2025 at 12:04 PM Kanwar Partap Singh Gill <kpsgill@kpsgill.com> wrote:

Subject: Urgent Request for CFMG-Led HR Oversight: Wellpath’s Interference with CFMG Physician Employment
Matters

* Dr. Grady Judson Bazzel — California P&S License No. C 53908, Chief Executive Officer, CFPMG

* Dr. Richard M. Medrano — California P&S License No. A 103477, Secretary, CFMG

* Dr. Scott Herbert Kennedy — California P&S License No. C 171808, Chief Financial Officer, CFMG
Dear Dr. Bazzel, Dr. Medrano, and Dr. Kennedy,

I write to you today not just as a colleague and long-standing CFMG physician, but as a party directly affected by
what | must assert is an unlawful and inappropriate delegation of human resources oversight to Wellpath—a non-
California management services organization. This matter demands urgent attention by CFMG’s licensed physician
leadership.

As you are aware, | am employed by California Forensic Medical Group (CFMG). Yet, all current internal HR
investigations into my employment-related grievances are being handled solely by Angie Baldwin, a human
resources officer of a Management Services Organization (WellPath) based in Tennessee. While Ms. Baldwin has
been communicative, she is not employed by CFMG and is not licensed to oversee or adjudicate employment
matters involving California-licensed physicians governed under the Medical Practice Act and associated state

labor protections.

Let me be clear: these are not Wellpath matters. These are employment-related grievances between a physician
and CFMG—a California professional medical corporation. The decision to delegate this process to Wellpath,
which is not licensed to engage in the practice of medicine or employ physicians under California law, amounts to
a violation of the corporate practice of medicine (CPOM) doctrine, California Business & Professions Code §§
2400 et seq., and likely exposes CFMG to civil and criminal liability,

Summary of Concerns Raised (HR in Nature and CFMG-Specific):
1. Race-Based Discrimination in Leadership

© [am the only brown physician remaining in senior leadership at our site.

° Despite more than five years of dedicated service with CFMG and having been licensed to practice
medicine since 2009, | was passed over for the Medical Director position at the juvenile facility in
favor of a physician who obtained their license in 2018. This decision raises significant concerns,
particularly given the substantial difference in ctinical experience and leadership tenure. | had
formally expressed my interest in the role and engaged in direct dialogue with the Regional Director
of Operations regarding this opportunity. However, after several discussions and assurances, the role
was ultimately awarded to someone with markedly less experience. Based on this and several prior
interactions, | must express—in the most professional but clear terms—that i do not have confidence
in the Regional Director’s judgment or impartiality. Her track record of unfulfilled commitments and
lack of transparency remains one of my greatest concerns moving forward.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 52

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2 The ongoing pattern of replacing physicians of color—particularly those of South Asian descent—with
less experienced individuals raises serious concerns under the California Fair Employment and
Housing Act (FEHA), particularly regarding discriminatory practices in leadership appointments based
on both race and national origin.

2. Constructive Termination and Retaliation

° i received credible reports that the RDO, HSA, and DON have discussed “getting rid of me.”
° My repeated whistleblower reports (on deferred compensation, administrative interference, and
discrimination) have been met with hostility and coercive tactics.

3. Misclassification and Mishandling of Deferred Compensation

o My CFMG-earned deferred compensation has been wrongfully absorbed into the Wellpath bankruptcy
estate,

° Wellpath HR staff (e.g., Donald White) have conflated CFMG and Wellpath wages, which undermines
legal distinctions that must be maintained between the two entities.

4. Clinical Interference by Nonphysicians

9 | was removed from control of a weekly patient care meeting (which I chair), which was rescheduled
by non-physician staff to conflict with high-volume patient activity.

° These decisions have compromised patient care and violated my obligations under the Medical
Practice Act.

5, Lack of CFMG-Led HR Grievance Process

9 Since November 2024, | have raised concerns internally without any action by a CFMG-based HR or
physician-leader.

o The current investigation led by Wellpath HR—without CFMG physician oversight—invalidates the
entire process, particularly given the scope and substance of the allegations.

My Formal Request to CFMG Shareholders

i am now formally requesting that a human resources representative employed by CFMG—and reporting toa
California-licensed physician-officer of CFMG—be assigned to oversee and adjudicate the investigation of my
grievances. This includes the alleged:

* Racial discrimination;

* Constructive and retaliatory conduct;

* Compensation misappropriation; and

* Workplace interference that affects patient care and my medical license.

Any continued reliance on a Wellpath investigator for this matter will be viewed as a continued violation of CPOM
and a dereliction of CFMG’s non-delegable duties as a professional medical corporation under California law.

Legal Exposure if Not Addressed

Should any adverse action—up to and including termination—be taken against me while Wellpath is improperly
handling what are clearly CFMG physician HR issues, | would have no option but to assert my rights under:

* California Labor Code §1102.5 (whistleblower retaliation);

* California Fair Employment and Housing Act (FEHA);

* California Medical Practice Act (Business & Professions Code §52052 et seq.);
* Federal ERISA and bankruptcy whistleblower provisions.

such a termination, under the present circumstances and timeline of protected activity, would appear overtly
retaliatory and discriminatory on its face.

Closing

| have dedicated over five years of service to CFMG, consistently delivering exceptional clinical outcames,
financial savings, and professional leadership. | have made every effort to resolve these concerns internally and

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 53

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respectfully. It is now incumbent on you—as CFMG's licensed shareholders and physician leaders—to reclaim your
statutory responsibilities and immediately assign a proper, physician-governed HR process for this matter.

Please confirm that this request is being escalated appropriately within CFMG, and that a CFMG-based HR
professional—answering to physician leadership—will be assigned immediately to review and address my concerns.

Sincerely,

Dr. Kanwar P. Gill

Senior Physician, Fresno County Adult Detention Facility

Sent from my personal account to preserve independence and documentation

First Declaration of Or Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 54

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KPSGILL. COM Kanwar Partap Singh Gill <kpsgill@kpsaill.com>

Request for Clarification — Schedule, Pre-Shift Huddles, After-Hours Expectations,
and Reasonable Accommodation
1 message

Kanwar Gill <KaGill@wellpath.us> Wed, Apr 9, 2025 at 9:45 AM
To: Eric Krenz <EKrenz@wellpath.us>, Deanna Huff <Deanna.Huff@wellpath.us>, Alla Liberstein
<Alla.Liberstein@wellpath.us>

Cc: Linda Matlock <LMatlock@wellpath.us>, Jacob Lieder <JLieder@wellpath.us>, Angie Baldwin <ARBaldwin@wellpath.us>

Dear Mr. Krenz,

Thank you for your April 9, 2025, message regarding the implemeniation of mandatory pre-shift huddles beginning
Monday, April 14, 2025. | appreciate the facility’s effort to align with NCCHC requirements. In light of the new operational
directive and in the context of ongoing workplace matters, | respectfully request clarification on several points that
intersect with existing contractual, legal, and accommodation frameworks.

For over five and a half years, | have adhered to a consistent clinical schedule approved at the local level. My schedule
incorporates a reasonabie accommodation granted due to a documented and certified medical condition, which is formally
recorded and acknowledged by both corporate and local HR. This accommodation was granted under the ADA and the
California Fair Employment and Housing Act (FEHA), and has functioned successfully in balancing clinical responsibilities
and health needs without undue burden to the facility.

As such, | request clarification on the following areas:
1. Schedule Change Confirmation

* Does the pre-shift huddle requirement constitute a modification of my established schedule?

* Ifso, has this change been reviewed and authorized by a Californiaicensed physician-officer of CFMG, as
required under the California Medical Practice Act?

* Does this new requirement override or alter the current ADA/FEHA accommodation on file?

2. After-Hours Expectations
Please clarify:

+ Amt expected to remain accessible for work-related phone calls, texts, or emails after completion of my shift?

* Am | required to review or complete patient charts or other documentation beyond my scheduled work hours?

° If after-hours availability is expected, will this be accompanied by compensation or formal schedule adjustment in
accordance with applicable labor standards?

3. Timekeeping and Staffing Standards

As a salaried physician, | have consistently complied with clock-in/clock-out protocols to maintain transparency. However,
| have noted that other salaried leadership roles (e.g., DON, HSA) may not uniformly adhere to the same standard.

Per the Hail v. County of Fresno Remedial Plan, staffing requirements are explicitly defined for:

* Health Services Administrator: 40 hours/week
* Director of Nursing: 40 hours/week

* Medical Director: 20 hoursAveek (minimum)

* Staff Physician: 40 hoursAveek

Please confirm:
* Whether clock-in/out expectations apply equally to all salaried staff at this facility.

* Whether flexible work arrangements or ADA accommodations for other salaried employees are acknowledged
similarly.

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4. Retaliation and Oversight Concerns

Given the timing and unilateral nature of recent changes, | am compelled to raise concern regarding the appearance of
retaliatory behavior, especially given the absence of physician input or clinical governance. As noted in prior
correspondence, | have raised protected concerns under California labor laws, whistleblower provisions, and the Medical
Practice Act.

In coordination with ongoing HR/ER and compliance reviews now being conducted at the request of corporate HR, !
respectfully request that changes to work duties, structure, or workflow be closely reviewed for compliance with applicable
ADA, FEHA, and retaliation prevention guidelines.

Additional Clarification Requested by April 11, 2025:
Please confirm by this date so that | may take appropriate steps, including:

* Coordinating with my medical provider regarding possible changes to my treatment schedule and medication
timing, which may be affected by an earlier required start time.

+ Making necessary adjustments to my children's school transportation schedule.

* Planning for consistent provider coverage in the outpatient housing unit, which will be impacted if | must leave after
eight hours of service.

If longer than 8-hour shifts are expected of me moving forward, | request a written explanation and justification so | may
provide it to my medical provider. Again, I reiterate that the accommodation granted has been effective in meeting clinical
care demands and must be maintained unless formaily reassessed through the required interactive process,

HR Oversight and Coord
In response to the April 9, 2025 communication from Ms. Angie Baldwin, | am aware that Wellpath is currenily tasked with
conducting the HR/ER investigation on behalf of CFMG, and that corporate Compliance will separately review other

matters | have raised. Ms. Baldwin requested to remain copied on pertinent communications, and { am doing so here in
that spirit and for documentation,

ination

While | will follow her instruction not to broadly circulate investigation-related material, | believe this message falls
squarely within operational clarification and protected accommodation territory. i will continue to cooperate in good faith
and within the legal framework provided.

Thank you again for your time and attention.

Best Regards,

Kanwar Gill MD
Welloath

Fresno County Adult Detention Facility
1225 M Street, Fresno, GA 937214

Office: (559) 600-9365

Email: KaGill@wellpath.us

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First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 56

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From: Eric Krenz <EKrenz@Wellpath.us>

Sent: Wednesday, April 9, 2025 8:36 AM

To: Deanna Huff <Deanna.Huff@Wellpath.us>; Marlene A Bazan <MBazan@Wellpath.us>; Alla Liberstein
<Alla.Liberstein@Wellpath.us>: Eric Krenz <EKrenz@Wellpath.us>

Cc: Linda Matlock <LMatlock@Wellpath.us>

Subject: Pre-Shift Huddle *PLEASE READ**

Importance: High

Good Morning,

Starting Monday morning, 4/14/2025, there will be a Sign In sheet for both Day shift & NOC Pre-Shift Team Huddles. Pre-
shift huddles are an NCCHC requirement, and as such require minutes and attendance tracking. | also would like to
remind everyone that per Deanna’s email, dated 3/1 3/2025, attendance to pre-shift huddies are mandatory unless
specifically given reprieve :) from Deanna, Mariene, Dr. Liberstein, or myself.

Thank you,

Eric Krenz ll, RN

Director of Nursing

lloath,

To heoe and healing,

Fresno County Adult Detention Facility
1225 M St, Fresno, CA, 93721
Office: (559) 600-9351

Cell: (559) 909-8025:

EKrenz@wellpath.us

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confidential information and is intended only for the individual named. If you are not the named addressee you should not
disseminate, distribute or copy this e-mail. Please notify the sender immediately by e-mail if you have received this e-mail by
mistake and delete this e-mail from your system. If you are not the intended recipient you are notified that disclosing, copying,
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Tey 2
RP SOILE. COM Kanwar Partap Singh Gill <kpsgili@kpsgill.cam>

Follow-Up: Clarification Requested Regarding Applicability of Wellpath Handbook Policies to CFMG-Employed Physicians in
California
¥ message

Kanwar Gill <KaGill@wellpath,us>
Te: Angie Batdwin <ARBaldwin@wellpath.us>
Cc; Jacob Lieder <JLieder@welpath.us>, Linda Matlock <LMatlock @wellpath.us>

Subject: Follow-Up: Clarification Requested Regarding Applicability of Wellpath Handbook Poticies ta CFMG-Employed Physicians in Califormia
Dear Ms, Baldwin,

lam forwarding below my March 31, 2025, request for written clarification regarding several policies outlined in the Wellpath Team Member Handbook (effective March 2025) and their applicab
California Forensic Medical Group (CFMG). Despite the submission of that Fequest to Mr. Massie, Ms. Matlock and Mr. Lieder, | have yet to receive a substantive response.

In light of recent developments—including the deferral of our HR/ER meeting to a date afier the April 22, 2025 bankruptcy hearing—| respectfully request that this outstanding inquiry be escal

review. The questions outlined are foundational to determining whether the procedural standards outlined in the Wellpath Handbock apply to CFMG-employed Physicians governed by the Cal
statutes,

Summary of Core Questions Requiring Written Clarification
1. Applicability of Handbook to CEMG Employees

¢ Does Wellpath consider the March 2025 Team Member Handbook binding and enforceable with respect to CFMG-emptoyed physicians in Califomia?
+ Ifthe Handbook appties, does that include all complaint procedures (Sections 1.5, 2.9, 5.9), retaliation protections (1.8), and the accommodation process under the ADA/FEHA (1,7, 1.897
* Ifit does not apply, what altemative HR Policy framework governs CFMG physician complaints, grievances, and accommodations?

2. Governance and Oversight

* As raised in multiple prior communications, including my April 9, 2025 email ta- you and CEMG leadership, please confirm whether a California-licensed CFMG physician-officer has forr
investigation into my workplace concems.

* Given that Wellpath explicitly states (p. 2) that “[nJo contrary statement by any Wellpath team member...shall have any force or effect, unless...signed by the Chief Human Resources O
employment implications for a CFMG-em ployed physician absent direct physician-officer oversight under California law?

3. Timekeeping Disparities and Retaliation Risk

The Handbook’s section 3.7.2 mandates clock-infout for “Exempt Salary and Contract Team Members... at a client site location”—specifically for contract compliance and safety tracking, not pay
However, salaried counterparts in senior leadership positions—namely the Medical Director, Director of Nursing, and Health Services Administrator—have not clocked in of aut curing that time

+ Whether timekeeping enforcement applies equally across all exempt roles at this site;
+ Whether selective enforcement of this provision—particularly after protected complaints have been raised—may be construed as discriminatory or retaliatory, particularly given the leg.
« Whether my clock-in/aut data is used in any disciplinary or investigatory analysis distinct from what is done for other exempt staff.

4. Accommodation Integrity and Workflow Changes

Per Handbook Sections 1.7 Wisabilities) and 3.9 (Attendance Policy), accommodations must be Prefected and adjusted only through the interactive Process. The introduction of mandatory pre-:

* ADA/FEHA accommodation due to timing and medical treatment schedule;
* Parental obligations for minor dependents; ‘
+ Capacity to maintain 40 hours of clinical work without exceeding a standard shift.

Please confirm whether this change has been:

+ Rewiewed by HR for ADA/FEHA implications;
* Submitted for physician-level governance review per California Business & Professions Code §§ 2400-2417.

Final Request for Consolidated Response by April 11, 2025

Piease consolidate responses to the above outstanding questions into a written reply. This is essential for compliance tracking, legal risk mitigatian, and ensuring transparency and parity in HI
is dependent on receiving this information in a form that meets legal standards under California and federal flaw,

Thank you for your attention to this important matter. | remain committed ta cooperative, good-faith resolution and to supporting a workplace that respects physician governance, patient care i
Sincerely,

Dr. Kanwar P. Gil

Senior Physician — Fresno County Adult Detention Facility

Email: knsgill@kpsgifi.com
Sent from personal email for documentation and independence

Wellpath tears meniber handbook updated March 2025 is attached ta this email.

Best Regurds,

Kanwar Gil Mp
Wellpath

Fresno County Adult Detention Facility
1226 M Street, Fresno, CA 93721
Office: (558) 800-9365

First Declaration of Or Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 58

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Emad: KaGill@wellnath.us
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Fram: Kanwar Gill

Sent: Monday, March 31, 2025 9:28 AM

To: 'Steven Massie’ <SMassie@Wellpath.us>; Jacob Lieder <JLieder@Wellpath.us>

Cc: Deanna Huff <Deanna.Huff@Wellpath.us>; Linda Matlock <LMatlock@Weillpath.us>

Subject: Request for Detailed Clarification on Handbook Sections, Grievance Procedures, and Whistleblower Protections

Subject: Request for Detailed Clarification on Handbook Sections, Grievance Procedures, and Whistleblower Protections
Dear Jacob,
[ hope you ere doing well. | am writing to request clarification on several points from the Wellpash Team Member Handbook (Effective March 2025), and how its provisions apply to employees in Cz

dealing with complaint procedures, open-door policies, disciplinary actions, at-will employment status, whistleblower protections, and timekeeping—1 would appreciate more arity on how the
questions and concems in detaif, referencing Handbook sections where relevant, .

1. Understanding the Internal Grievance Process
(Referencing Sections: “1.5 Complaint Procedure,” “2.9 Open Door Policy,” and “5,9 Team Member Conduct and Discipline}

Steps for Filing an Internal Complaint

The Handbook (Section 1.5, Complaint Procedure} indicates | can report workplace issues or suspected policy violations to my immediate Supervisor, HR, or through a hotline. Would yo
carmplaint is formally documented and properly investigated?

How are complaints tracked, and who is responsible for final resolution’? For example, if a complaint initially goes ta my supervisor but is not resolved, do! then go to HR, or directly to.
Are there target timelines for each stage of the complaint process—e.g., time to acknowledge receipt, time for final determination, and any appeals procedure? Section 2.9 (Qpen Door i
Specific timelines mentioned.

Exhaustion of Internal Remedies

+ Ifa grievance involves alleged tegal or regulatory violations—for instance, potential violations of patient-care standards—am | required to exhaust Wellpath’s intemal channels (Supervi
tederal/state authorities?

« Section 1.6 (Retaliation Prohibited) affirms no retaliation, but dees not detail whether an employee can bypass internal steps if a violation appears urgent, significant, or might endanger
allowed to contact external authorities directly (e.9., California's Depariment of Labor Standards Enforcement or Department of Public Health) in those circumstances?

2. Whistleblower Protections and Non-Retaliation Assurance
(Referencing Sections: “1.2 Harassm ent, Discrimination, and Retaliation Prevention,” “1.6 Retaliation Prohibited,” plus California-specific addenda)
Policy on Non-Retaliation
* The Handbook addresses 4 broad anti-retatiation policy (Section 1.6), but for Califarnia employees, how does Wellpath ensure compliance with state whistleblower laws like Labor Conde
* Which internal policies specifically safeguard those who bring forward issues like potential misuse of funds or illegal activity (as opposed to harassment/discrimination)? And if a reporte
additional protective steps exist?
+ What resources or references are available if] suspect retaliation? For instance, does Wellpath offer a contact person or department dedicated to overseeing whistleblower claims, beyc

Anonymous Reporting Options

* The Handbook points to bath an Employee Relations and Compliance Hotline, but does not deeply detail the confidentiality or anonymity Procedures. For extremely time-sensitive or hi;
channel—such as a compliance officer with advanced authority to isolate sensitive issues?

3. Handling of Grievances by Supervisors and HR

(Referencing Sections: “2.9 Open Door Policy,” “5.9 Team Member Conduct and Di ipline,” “1.5 C laint Procedure”)

p

Supervisor Involvement
* Section 2,9 (Qzen Doar Policy) suggests supervisors are a main contact, but how do employees bypass a supervisor if the complaint involves that supervisor? Are there special forms or
HR's Role and Oversight

* Section 1.5 mentions that upon receipt of a compfaint, Wellpath investigates promptly. Could you outline how HR coordinates or leads an investigation, particularly if it escalates beyond
* In cases where local management might have a conflict of interest, how is the investigation handled to ensure impartiality (e.9., by a separate regional HR partner or by corporate HR s

4. Timekeeping for Salaried Professionals Working Remotely
(Referencing Sections: “2.8 Telework (Alternative Work Solutions)," “3.7 Overtim e,” “3.2 Additional Compensation {Ad Comp),” and “2,4 Hours of Work”)
Tracking Hours for Physicians and Other Exem pt Team Members
+ The Handbook states that exempt employees do not track hours for overtime but occasionally must clock in and out for contract compliance or safety reasons (Sections 2.4 and 3.7). It
tasks (e.g., writing orders, reviewing labs), should thase hours be logged in any official system?

* Under Additional Compensation (Section 3.2}, exempt employees may sometimes receive “Ad Comp” for additional duties (like covering someone etse’s shift). Do remote after-hours cor
what is the correct procedure to request or dacument these additional hours or calls?

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 59

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Overtime vs, Additional Compensation

* Section 3.2 references that some roles “may be eligible for additional compensation,” but no specific methad is detailed for remote or multi-site coverage. For instance, if a salaried phy
reviews at home, does that time remain uncompensated (as typical fer exempt employees), or is it “Ad Comp*-eligible?
+ Could you please outline the correct procedure for requesting, tracking, and obtaining “Ad Comp” in such situations?

5. Confirming California-Specific Provisions
(Referencing the mention of “State Supplements,” “Meal and Rest Breaks” in Section 3.11, and “Exempt Classifications” in the Addenda)

Compliance with CA Labor Laws

« If! suspect a wage-and-hour violation or other Calfomia Labor Code noncompliance, da | first need ta report it internally per the “Complaint Procedure’ in Section 1.5, of can | contact
+ Does Wellpath offer speciatized training of literature about Califomia whistleblower laws (e.g., Labor Code § 1102.5) so that employees know haw to identify and report issues? Possibly

At-Will Employment

« Sections thraughout the Handbook reiterate an at-will employment status. However, under California /aw, at-will status does not override statutory protections fram retaliation. Coutd yal
in whistteblowing does not jeopardize my at-will employment?
* In other words, can you confirm that an employee who files a complaint or cooperates in an investigation is fully protected from termination or adverse action solely for that reason?

6. Request for Detailed Written Clarification

To ensure | fully understand these policies, especially conceming internal grievance steps and whistleblower protections, | respectfully request a written response auilining the following:
1. Step-by-step internal complaint or grievance procedures, including approximate timelines and any appeals mechanism.
2. Whistleblower protections (especially for Califomia-based employees) that go beyond the general statements In Sections 1.2 and 1,6—how they are invoked and enforced.

3, Timekeeping guidance for hours warked offsite by salaried professionals (Particularfy for after-hours duties or shifts beyond nommal assignments).
4, Any state-specific addenda that might contain additional obligations or fights related to grievances, retaliation prevention, of timekeeping for remote/after-hours work,

By obtaining clarity on these points—both tor myself and colleagues in similar positions hope to uphold 2 transparent, compliant, and supportive workplace, If any of my interpretations abo:
or resources.

Thank you very mach for your assistance, and [ look forward to your response

Best Reparsts,

Kanwar Gill MD
Wellpath

Fresno County Adult Detention Facility
1225 M Street, Fresna, CA 93721

Office: (559) 600-4486

Email: KaGil@wellpath us

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From: Steven Massie <SMassie@Wellpath.us>
Sent: Manday, March 31, 2025 8:58 AM

Ta: Kanwar Gill <KaGill@Wellpath.us>
Subject: RE: ATTESTATION NEEDED:

Yes, if you close the email and reopen you will be able to attest. Let me know if you have any issues,

STEVEN MASSIE

Sr. Director of Human Resources

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 60

nnn nnn LOL
Case 24-90533 Document 2339 Filed in TXSB on 04/21/25 Page 63 of 353

3340 Perimeter Hill Dr, Nashville, TN 37211
PH 615-324-5761 MAIN OFFICE 615-324-5750

EMAIL smassie@welipath.us

WellpathCara.com

From: Kanwar Gill <KaGii@Wellpath.us>
Sent: Monday, March 31, 2025 10:57 AM

Ta: Steven Massie <SMassie@Wellpath.us>
Subject: RE: ATTESTATION NEEDED:

Thanks
Am Estill able to attest on-spring?

Besi Regariia,

Kanwar Gill MD

Welloath

Fresno County Adult Detention Facility
1225 M Street, Fresno, CA 93721

Office: (559) 600-9365

Email: KaGili@wallpath us

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From: Steven Massie <SMassie@Vvellpath.us>
Sent: Monday, March 31, 2025 6:40 AM

To: Kanwar Gill <KaGill@VWellpath us>
Subject: RE: ATTESTATION NEEDED:

Good moming, Dr. Gill.

Please see attached handbook link, Let me know if you have any questfons.

https: /Awww.wellperth, us/policycenter/Documents/Policies/Wellpath%20Team%20Member%20Handbook%20(391 69). pdf

STEVEN MASSIE

Sr. Director of Human Resources

3340 Perimeter Hit Dr., Nashville, TN 37214
PH 615-324-5761) MAIN OFFICE 615-324-5750

EMAIL smassie@welipath.us

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresne CA 93720 April 19th, 2025 (Notarized) Page 61

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WelipathCare.com

Fram: Kanwar Gill <KaGil @Wellpath, us>
Sent: Saturday, March 29, 2025 7:34 PM.

To: Steven Massie <SMassie@Wellpath us>
Subject: Fw: ATTESTATION NEEDED:

| couldn't find the fink to review handbook?

Can you please send me PDF?

Title Attestee
Team Kanwar GHll
Member
Handbook
Attachment
Name .

No files have been attached

J acknowledge receipt af the allached document, and I understand that it is my responsibility to read and comply with the content contained therein along with any subsequent revistons
made to it.

if you hove ony questions or comments regarding this attachment, please list them below.

Comments

Best Regards,

Kanwar Gili MD

From: Onspring Notifications <noreply@onspring.tech>
Sent: Friday, March 28, 2025 9:30 PM

Ta: Kanwar Gill

Subject: [EXT] ATTESTATION NEEDED:

CAUTION: This Email is from an EXTERNAL source. Do not click [inks or open:attachments unless you racognize’the Sender and. know the content is safe, Report

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 1@th, 2025 (Notarized) Page 62

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To hope and healing

Dear Kanwar Gili,

You have been assigned 4 new attestation that is due on 04/30/25, Review the attached document and comiplate your attestation below,

Complete Your Attestation Here

Thank you.

Ifyou have any questions or consems Please submit an Onspriag Help Request peket or email onspringétw ellpathi as

ay Wellpath Team Member Handbook (391 69) (1).pdf
704K

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 18th, 2025 (Notarized) Page 63

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—«LPSGILL. COM Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

RE: Clarification on HR Oversight, HR scope and Direction for Non-Bankruptcy

Matters
1 message

Dheeraj Taranath <DTaranath@wellpath.us> Wed, Apr 9, 2025 at 12:43 PM
To: Kanwar Gill <KaGill@wellpath.us>, Kanwar Gill MD <kpsgill@kpsgill.com>

Ce: Grady J Bazzel <JBazzel@zenovacare.com>, "Richard M. Medrano" <RMedrano@wellpath.us>, Scott Kennedy
<ScottKennedy@wellpath.us>

Dr. Gill,

As you are aware, Welfpath is the Management Services Organization contracted to Provide the full range of
administrative services to CFMG. As such, | am responding to your email below,

| disagree with your assertion that there has been any rejection of a “legally compliant resolution process,” whatever that
might mean. If you want to éngage in a legal discussion, please &ngage counsel and have them contact our lawyers.
Your aliegations relating to CFMG's obligations under the California Medical Practice Act are both unsupported and
baseless, and simply have no merit.

Your various allegations will be addressed by the appropriate parties. | understand you have already been in contact with
Ms. Angie Baldwin regarding the HR-related issues.

With respect to the laundry list of questions and issues in Your email, you can direct them to the investigator(s) when they
contact you. | encourage you to engage counsel as you are making serious allegations that we believe are legally
inaccurate and the defamatory statements you are making may be actionable.

| ask that you stop sending repetitious emails stating your complaints and unsupported allegations. It is nota productive
use of either your time or mine.

Respectfully,

Dheeraj Taranath, DO, MBA, MS
Chief Medical Officer

First Declaration of Dr Kanwar Parlap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 64

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SS wellvath
‘ta hope and heating,

3340 Perimeter Hill Dr., Nashville, TN 37211
M 304-376-4036

LinkedIn // Facebook // Twitter

WellpathCare.com

From: Kanwar Gill <KaGill@Wellpath.us>

Sent: Tuesday, April 8, 2025 6:53 Pv

To: Dheeraj Taranath <DTaranath@Wellpath.us>; Kanwar Gill MD <kpsgill@kpsgill.com>;

Kerrie. Webb@mbc.ca.gov

Ce: Grady J Bazzel <JBazzel@Zenovacare.com>; Richard M. Medrano <RMedrano@Wellpath.us>; Scott Kennedy
<ScottKennedy@Wellpath.us>; Angie Baldwin <ARBaldwin@Wellpath.us>

Subject: Clarification on HR Oversight, HR scope and Direction for Non-Bankruptcy Matters

Importance: High

Subject: Clarification on Oversight, HR Scope, and Direction for Non-Bankruptcy Issues
To: Dr. Dheeraj Taranath

CC: Ms. Angie Baldwin, Dr. Grady Bazzel

From: Dr. Kanwar Gill

Date: April 8, 2025

In Compfaint/Matter Before Medical Board of California regarding:
* Dr. Grady Judson Bazzel — California P&S License No. C 53908, Chief Executive Officer, CFMG
* Dr. Richard M. Medrano ~ California P&S License No. A 103477, Secretary, CFMG

* Dr. Scott Herbert Kennedy — California P&S License No. C 171808, Chief Financial Officer, CFMG

Dear Dr. Taranath,

Organization for CFMG, has communicated with CFMG leadership regarding the matters | raised, | also understand that,

been unilaterally canceled by CFMG. Additionally, you've stated that any prior communications that could be construed as

For the record, | must clarify that at no point have | discussed or negotiated any dollar amount related to my deferred
compensation claim with you personally. | categorically reject any suggestion that | was ever extended a legitimate or
authorized offer through you. The only communications that resembled “offers” came from bankruptcy counsel at
McDermott Will & Emery around March 20, 2025. Those proposals were unequivocally rejected by me at the time, as they
were coercive in nature, conditioned on the withdrawal of legal filings, and accompanied by inappropriate non-disclosure
requirements. They were not offered in good faith and were inconsistent with both bankruptcy ethics and California
regulatory obligations.

More importantly, CFMG’s unilateral cancellation of the April 11 meeting—an opportunity | explicitly requested for the
presence of a California-licensed physician-officer with authority to resolve the matter internally—must be viewed as a
willful rejection of a legally compliant resolution process. This decision eliminates CFMG's remaining opportunity to
resolve my claims in accordance with California law, and it reinforces the concern that the organization is continuing in
willful defiance of its legal obligations under the California Medical Practice Act.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 65

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As | have stated previously, | may ultimately lose my motions before the U.S. Bankruptcy Court in the Southern District of
Texas. However, such an outcome does not absolve any party of its obligations under California law, nor does it preclude
regulatory cr civil enforcement at the state level. Aloss in bankruptcy court does not equate to legal validation of the
practices | have challenged—it simply reflects the narrow jurisdiction and procedural limits of that venue.

In light of these developments, | request immediate clarification on the following two key areas:

1. Direction for Non-Bankruptcy Matters:

While | understand that my deferred compensation claim is now being handled through the bankruptcy process, | ask for a
clear directive as ta how Wellpath and CFMG intend to address the other issues | have raised—specifically:

Employment-related grievances

Allegations of racial discrimination

Constructive termination efforts

Interference in clinical workflows

Misappropriation of medical decision-making authority

Please advise whether these issues are still under the purview of Wellpath HR or CFMG physician leadership, or
bankruptcy counsel. | request written clarification on the appropriate channels moving forward for each category of
concern.

2. Scope and Oversight of the HR Investigation:

| understand Ms. Baldwin is currently reviewing relevant HR and employee relations matters. However, many of the
issues raised fall outside a traditional HR framework and directly implicate:

* Violations of the California Medical Practice Act

* Fee-splitting concerns under Cal. Bus. & Prof. Code § 650

* Improper clinical interference by nonphysician administrators
* Racial bias and discriminatory promotion practices

* Retaliatory conduct targeting a whistleblower

As an employee of CFMG, a physician-owned and physician-controlled California medical corporation, any HR review
touching on clinical governance, compensation, or disciplinary action must include oversight by a California-licensed
physician-officer. Please confirm whether such oversight will be provided, and whether HR findings involving clinical
decision-making will be subject to co-review and formal ratification by a CFMG shareholder physician.

For the record, | reaffirm the following points:

° [have maintained an unblemished clinical record over the past 5.5 years, consistently improving outcomes and
reducing costs.

* [have formally reported wage misclassification, improper deferred compensation handling, and administrative
interference to multiple regulatory bodies.

° | have filed a pending complaint with the Medical Board of California regarding failures by three CFMG shareholder
physicians to protect physician autonomy.

* | had called for an April 11 internal resolution meeting, which was a final opportunity to address these matters
lawfully. That meeting has now been unilaterally canceled by CFMG.

Outstanding Clarification Requests:
| respectfully request your timely response to the following:

+ Will Ms. Baldwin’s HR review include the racial discrimination, retaliation, and clinical interference allegations |
have outlined?

« Will CFMG assign a California-licensed physician-officer with decision-making authority to co-lead or oversee HR
matters affecting licensed medical practice?

* What internal pathway remains for resolution of non-bankruptcy issues, including clinical interference and
professional governance?

° Do you require any further documentation from me at this stage?

¢ Will the delayed APAP procurement for patient #0059555—an incident emblematic of improper administrative
obstruction—be incorporated into the ongoing review?

First Dectaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 66

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Thank you again for your attention. | remain committed to pursuing a lawful and good faith resolution wherever possible
and look forward to receiving your response and clarification on next steps.

Respectfully,

Dr. Kanwar Gill

Senior Physician, Fresno County Adult Detention Facility
1225 M Street, Fresno, CA 93721

Office: (559) 600-9365 | Email: KaGill@wellpath.us

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privileges. Title 18 U.S, Code§ 2511 prohibits interception and disclosure of this electronic communication.

From: Dheeraj Taranath <DTaranath@ Wellpath.us>

Sent: Tuesday, April 8, 2025 2:54 PM

To: Kanwar Gill MD <kpsgill@kpsgill. com>; Kanwar Gill <KaGill@Wellpath.us>

Cc: Grady J Bazzel <JBazzel@Zenovacare.com>; Richard M. Medrano <RMedrano@Wellpath.us>; Scott Kennedy
<ScottKennedy@Wellpath.us>

Subject: Resolution response

Dr. Gill,

As you are aware, Wellpath is the Management Services Organization contracted to provide the full range of
administrative services to CFMG. As such, we have reviewed the matters you have raised with CFMG leadership, and we
continue to communicate with you with their knowledge and approval.

As previously noted, Cindy and | were planning to come out to California to meet with you in a good faith attempt to
resolve the disagreement regarding your claim for deferred compensation. In fight of the numerous false statements in
your Correspondence, we have recommended to CFMG leadership, and they have agreed that a meeting would not be
productive; therefore, please be advised that the meeting is now canceled. To the extent that any prior correspondence
could be interpreted as an offer to resolve your claim, any such offer is withdrawn.

The bankruptcy proceedings will determine the results of your claim. Our counsel has advised us that your arguments are

legally invalid and they believe they will be summarily rejected by the court. Please direct all future correspondence

regarding the matter to the court or to our lawyers with McDermott, Will & Emery; you may contact David Genender
(dgenender@mwe.com).

Regards,

Dheeraj Taranath, DO, MBA, MS
Chief Medical Officer

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 67

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= welloatti

‘Yo hope and healing:

3340 Perimeter Hill Dr, Nashville, TN 37211
M 304-376-4036
LinkedIn // Facebook // Twitter

WellpathCare.com

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Retaliation Chronology — Dr. Kanwar
Partap Singh Gill

Covering March 4, 2025 to April 14, 2025
In Re Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. $.D. Tex.)

Chronology of Retaliatory Events

March 4, 2025 (Tuesday) .

Event: Initial outreach to Wellpath counsel (McDermott Will & Emery) seeking informal
resolution of CPOM, wage misclassification, and governance violations. 10-day deadline
given for response.

Notes: Relationship at workplace was previously stable and positive. No issues documented
prior to this outreach.

NMiarch 4-18, 2025

Event: Adverse scheduling and clinical interference begin. Subjected to schedule changes,
altered patient assignments, scrutiny over timing/content of notes, and disciplinary-style
discussions initiated by nursing and administration.

Notes: Registered Nurse Eric Krenz (DON), acting under influence of Linda Matlock (RDO),
exhibits repeated insubordination, Clinical authority undermined in ways not observed in
prior 5 years of employment.

Mid-March 2025
Event: Medical Director position awarded to a less-experienced individual despite Dr. Gill's
5+ year tenure.

Notes: Pattern of preference toward non-minority, white American candidates suspected.
Racial and national origin-based disparity noted.

MViarch 17, 2025

Event: Overheard conversation between RN Cindy Ramirez and another staff member
suggesting imminent termination: 'They are getting rid of him.’

Notes: This followed increasing scrutiny and perceived marginalization.

Viarch 18, 2025
Event: Filed Motion for Relief from Stay (Dkt. 1897). Refused to sign NDA presented by
Wellpath as condition for deferred compensation.

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Notes: Temporary de-escalation observed post-filing. However, retaliatory actions resumed
shortly after.

Late March 2025

Event: Leadership meeting schedule altered without consultation. Dr. Gill sidelined in
meetings he was expected to lead.

Notes: Director of Nursing began controlling clinical discussion. Dr. Gill repositioned as
passive observer.

Early April 2025
Event: Required to report to 7 AM huddle despite 9 AM clinical start time.

Notes: This deviation from schedule appeared punitive and logistically unnecessary.

Ongoing through April 14, 2025

Event: Continued exclusion from CFMG shareholder leadership. No engagement from higher
CFMG leadership. Clinical governance controlled by non-California licensed personnel,
notably Dr. Dheeraj Taranath.

Notes: Demonstrates consolidation of MSO authority over physician employment.

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Angie Baldwin <ARBaldwin@Wellpath.us>
Tue 4/8/2025 7:48 AM
To: Kanwar Gill &

Dr. Gill. | am back from PTO and wanted to touch base with you. After reflection, | would like fo
strongly urge that we speak this week. In order to conduct an expedient and thorough
investigation into your concerns, and to make sure concerns are addressed as soon as possible, it
would be helpful if we could speak sooner than next week.

This first conversation will primarily be a time for you to teil me what you are experiencing so | know
how to proceed with the investigation. Thank you for your consideration.

ANGIE BALDWIN, PHR, SPHR
Sr. Employee Relations Manager

WellpathCare.com

From: Kanwar Gill <KaGill@Wellpath.us>

Thank you for your message. I’ve received it and appreciate your flexibility. I'll be able to confirma
specific time as we get closer to the date.

Best Regards,
Kanwar Gill MD

Welloatn

Fresno County Adult Detention Facility

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 18th, 2025 (Notarized) Page 71

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Email: KaGili@wellpath.us

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privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic communication.

<A ARBaldwin@Wellpath.us us>
Sent: Thursday, April 3, 2025 2:11 PM

To: Kanwar Gill <KaGill@Wellpath.us>
Subject: RE: Conversation

Thank you for your prompt response. If it works for you, 11:00 a.m. on April 15"? works well for me. If
you need to get in touch with me sooner, my cell phone is listed below and | check my Wellpath
email frequently. Thanks again.

ANGIE BALDWIN, PHR, SPHR
Sr. Employee Relations Manager

PH 615-374 iets CELL 61 5- 636-7045
WellpathGare.com

From: Kanwar Gill <KaGil]@Wellnath.us>
Sent: Thu rsday, April 3, 2025 3:50 PM

subject: RE: Conversation

Dear Ms. Baldwin,
Thank you for your message and for reaching out. | appreciate your willingness to connect regarding the concerns I’ve
raised.

At this time, | will need some additional time to gather relevant documents and prepare a list of points for our
discussion. I'd prefer to schedule a time to speak after April 15, if that works for you. { believe that will allow for a
more productive and thorough conversation.

At present, there is no clearly urgent matter that requires immediate attention. | feel safe in my current work
environment, and I’m comfortable allowing this process to move forward at a thoughtful and measured pace, Of
course, should anything arise that requires more immediate discussion before April 15, | will let you know.

Otherwise, | look forward to speaking with you after the 15th to address my concerns, engage in meaningful
dialogue, and explore any necessary resolutions. Please let me know if that timeline is workable for you.

Best Regards,

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“ena
~ yeNpatn

Fresno County Adult Detention Facility

Office: (559) 600-9365
Emall: KaGili@wellpath.us

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privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic communication.

From: Angie Baldwin <ARBaldwin@Wellpath.us>
Sent: Thursday, April 3, 2025 1:22 PM

To: Kanwar Gill <KaGili@Wellpath.us>

Subject: Conversation

aldwin and I'm the Sr. Employee Relations Manager
on the employee relations team out of the home office. | understand that you have expressed
some concerns regarding your employment and work interactions. | have been asked to reach
out 10 you to investigate the HR-related concerns and would appreciate scheduling some time for
us to speak.

| will be on PTO tomorrow, Friday 4/4, and Monday, 4/7. So | was hoping we could speak on
Tuesday or Wednesday at your convenience. In the meantime, lam reviewing the information
you have already provided to Dr. Taranath. But if there are any other documents, emails, texts or
other information that you feel would be helpful to review prior to our conversation, please send it
to my Wellpath email.

Thank you in advance for your cooperation, and piease let me know your preference for a time to
speak next week,

ANGIE BALDWIN, PHR, SPHR
Sr. Employee Relations Manager

PH 615-312-7272/! CELL 615-636-7045
WellpathCare.com

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EXHIBIT 2 — Internal CPOM Violation Evidence
Filed in Support of Dkts. 1897, 2049, 2075

Declarant: Dr. Kanwar Partap Singh Gill

Case: In re Wellpath Holdings, Inc., Case No. 24-90533 (S.D. Tex.)

Declaration Cross-Reference
Referenced in Sections: IE, IV, VIII

Cited in Paragraphs: J] 40-53, 60-61, 125-127, 151-152

Description of Contents

This exhibit provides internal communications and administrative directives evidencing
Wellpath's lay control over CFMG’s physician employment and clinical governance.

Included Documents:

e ~-Directives by Deanna Huff, Eric Krenz, and Angie Baldwin
e -Non-physician HR memos influencing scheduling and compensation
* - Documentation excluding physician-shareholder oversight

Legal Basis and Relevance
Statutes, regulations, and ethical rules implicated:

e -(Cal. Bus. & Prof. Code §§ 2400-2417
© -Cal. Bus. & Prof. Code § 2052 and § 2264
° - Cal. Corp. Code § 13400

Authentication Status

Authenticated under Rule 901(b)(4) through contemporaneous internal emails, preserved
in secured email archives between January and April 2025.

Evidentiary Purpose
Supports CPOM violations, licensing breach analysis, and structural plan illegality.

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HPSGHL..COM Kanwar Partap Singh GHl <kpsgill@kpsgill.com>

Fwd: Concerning Evidence of Deferred Compensation Neglect & Executive
Compensation Prioritization — April 3 Filing (Docket 2081)

1 message

Kanwar Gill MD <kpsgill@kpsgill.com> Sat, Apr 5, 2025 at 1: 18 PM
To: Richard Medrano <RMedrano@wellpath.us>, Scott Kennedy <ScottKennedy@wellpath. us>, Marc Goldstone
<MGeldstone@wellpath.us>, Bradley Giordano <Bgiordano@mwe.com>, Steven Szanzer <sszanzer@mwe.com>, Felicia
Perlman <Fperlman@mwe.com>, J Bazzel <jbazzel@wellpath.us>

Cc: "webmaster@mbc.ca.gov" <webmaster@mbc.ca.gov>

° Regarding:
. Dr. ‘Siady Judson, Bazze

- Dr.Scott Herbert Kennedy — License’ Number:’C1471808
Chief Financial: Officer, CFMG

! request medical board of California Central complaint unit file this with existing complaint file and consider this message
for vertical enforcement by attorney general ‘s office. | understand the burden of proof is now preponderance of evidence,
and it is my belief that burden has been met. | request Medical Board to expedite this investigation and revoke the
licenses of all the physicians as there is imminent danger to the people of California if they continue to practice medicine
in the state of California. Please take this issue on an emergent basis And please have these vertically general's , Office
issue Cease practice order. All these three individual physician are interfering with delivery of care and their continuous
interference at this time is causing significant permanent injury to the people of California especially the incarcerated
individuals.

Forwarded message attached.

Best Regards,
Kanwar Gill MD

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privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic communication.

Begin forwarded message:

From: Kanwar Gill MD <kpsgill@kpsgill.com>

Date: April 5, 2025 at 12:38:58 PM PDT

To: Dheeraj Taranath <DTaranath@welipath.us>, J Bazzel <jbazzel@wellpath. us>, "Kerrie@MBC Webb"
<Kerrie. Webb@mbc.ca.gov>, Steven Szanzer <sszanzer@mwe.com>, Marcus Helt <Mhelt@mwe.com>,
Felicia Perlman <Fperlman@mwe.com>, Bradley Giordano <Bgiordano@mwe.com>

Ce: "Kerrie@MBC Webb" <Kerrie, Webb@mbc.ca.gav>

Subject: Concerning Evidence of Deferred Compensation Neglect & Executive Compensation
Prioritization — April 3 Filing (Docket 2084)

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 75
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Subject: Concerning Evidence of Deferred Compensation Neglect &
Executive Compensation Prioritization — April 3 Filing (Docket 2081)

Email Copied to Medical Board -

« Kerrie Dargine Webb, Staff Counsel
Medical Board of California, 2005 Evergreen St Ste 1200, Sacramento, CA 95815-5401
Phone: 916-263-2389 | Fax: 916-263-2387

Dr. Grady Judson Bazzel —
Chief Executive Offic

- Dr. Scott'Herbert Kenn -icense Numt
Chief Financial. Officer, CFMG

Dear California Licensed Medical Doctors:

I hope this message finds you well. I am reaching out today to share a very
recent and significant development in the bankruptcy case of Wellpath
Holdings, Inc. (TXSB 24-90533) that directly impacts physicians, including
those who rendered services under CFMG agreements.

On April 3, 2025, McDermott Will & Emery LLP—counsel to Wellpath—
filed their Third Monthly Fee Statement (Docket 2081 - attached). Upon
close analysis of the time entries disclosed, I want to bring to your attention
what appears to be a coordinated, internal legal.effort to address executive
compensation (KERP/KEIP) while failing to resolve, disclose, or account for
unpaid deferred compensation owed to physicians, including California-
licensed doctors working through CFMG contracts. .

Key Findings from Docket 2081:
1. Acknowledged Deferred Compensation Exposure — But No Resolution
On February 6, 2025, attorney Carmen Dingman billed time to:

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) ” Page 76
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“Review, analyze deferred compensation issues (.6); correspond with Company, FT] team re same (.3)}; review
wages motion re same (.4)” [See Docket 2081, p. 74].

This shows that deferred compensation was being actively reviewed at high
levels, but there is no indication in the Disclosure Statement (Docket 1770)
or the Plan that this issue was addressed in terms of legal obligations or
protections for physicians.

2. Misplaced Priorities: Executive Bonuses vs. Physician Compensation

The same docket reflects significant hours spent by senior restructuring
counsel (Szanzer, Giordano, Perlman, etc.) designing and defending
executive compensation packages (KEIP/KERP) through detailed analysis,
drafting declarations, and negotiating retention terms. Meanwhile, deferred
compensation owed to physicians remained unremedied.

3. Wellpath Unilaterally Controlling CFMG Physician Compensation

Based on docketed internal discussions and filings, it is clear that Wellpath
attorneys—not CFMG—have assumed authority over compensation
structures originating from CFMG-contracted physicians. Yet the plan of
reorganization (Docket 1770) fails to distinguish CFMG-specific liabilities or
obligations to California-licensed physicians from those of other corporate
affiliates, effectively consolidating responsibility while eliminating
traceability or direct accountability.

This unilateral treatment raises serious concerns under California’s corporate
practice of medicine laws and creates exposure for CFMG in allowing a third
party (Wellpath) to manage and restructure financial liabilities tied to
professional services rendered by California-licensed physicians.

4. Non-Disclosure in the Plan and Disclosure Statement

Despite internal acknowledgment of these issues, the Fourth Amended
Disclosure Statement and Plan omit any mention of:

* Deferred compensation liabilities,
° The legal basis for releasing non-debtor entities,

* Regulatory risks under California CPOM doctrine.

Why This Matters Ahead of April 14

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This April 3 filing is critical because it reflects what is happening behind the
scenes—a deliberate legal strategy that deprioritizes deferred physician
earnings while fully protecting insiders and executives. This occurs without
clear direction or opt-in consent from CFMG, despite the direct impact on
your contracted medical workforce.

As we prepare for our in-person meeting on April 14, I urge both of you to
review this docket carefully. It evidences a systemic failure to equitably and
transparently resolve compensation obligations to physicians, many of whom
have been frontline caregivers in county and correctional systems under
CFMG contracts.

Please let me know if you would like me to forward the full docket entry or
compile specific highlighted time records in advance of our meeting. I would
welcome the opportunity to discuss this further and work toward a legally
compliant and ethically grounded resolution.

Best Regards,
Kanwar Gill MD

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property privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic
communication,

a TXSB 24-90533 2081 - Statement Third Monthly Fee Statement of McDermott Will &-pdf
2655K

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KPSGILL.COM Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

Subject: Urgent Legal Notice ~ CFMG Leadership’s Role in Wellpath’s Unlawful

Business Practices
|] message

Kanwar Gill <KaGill@wellpath.us> Sun, Mar 30, 2025 at 12:41 PM
To: Grady J Bazzel <JBazzel@zenovacare.com>, Scott Kennedy <ScottKennedy@wellpath.us>, “Richard M. Medrano"
<RMedrano@wellpath.us>, Richard Maenza <RMaenza@zenovacare.cam>

Cc: "Marc D. Goldstone" <MGoldstone@wellpath.us>, Ben Slocum <BStocum@wellpath.us>, Dheeraj Taranath
<DTaranath@wellpath.us>, "Kerrie. Webb@mbc.ca.gov" <Kerrie. Vebb@mbc.ca.gov>

Subject: Urgent Legal Notice — CFMG Leadership’s Role in Wellpath’s Unlawful Business Practices

e To:
Dr. Grady Judson Bazzel — License Number: C 53908
Chief Executive Officer, CFMG

¢ Dr. Richard M. Medrano — License Number: A 103477
Secretary, CFMG

« Dr. Scott Herbert Kennedy — License Number: C 171808
Chief Financial Officer, CFMG

¢ Copy Sent To: Kerrie Dargine Webb, Staff Counsel

Medical Board of California, 2005 Evergreen St Ste 1200, Sacramento, CA 95815-5401
Phone: 916-263-2389 | Fax: 916-263-2387

Cc:

* Legal Counsel for Wellpath Holdings, Inc.

* Legal Counsel for California Forensic Medical Group (CFMG)

* Wellpath Senior Leadership, including Chief Medical Officer, General Counsel, and CEO

Dear Doctors,

| am writing to formally place you on notice regarding your direct involvement in financial and
operational practices that violate California law, including the Corporate Practice of Medicine
(CPOM) doctrine, unlawful fee-splitting, improper diversion of public contract funds, and other
regulatory breaches. This email serves as an official record of the ongoing concerns related
to CFMG’s role as a shell corporation funneling medical revenue into the Wellpath system in
violation of California Business and Professions Code §§ 2400 and 650, as well as other
state and federal laws.

In addition, please take notice that | personally know several individuals who were part of the
decision-making process leading up to the original contract's approval in 2018. | have known
them since 2016 and have supported them in their efforts to engage and serve in public
service and good-governance practices. Given my longstanding professional relationships
with these Fresno County officials and supervisors, | can confirm their direct awareness of

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 79

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how this contract was negotiated and the roles that various CFMG and Wellpath
representatives played at the time.

. Formal Notice & Legal Filings

This correspondence follows the formal notice previously sent to all parties, including
Wellpath’s bankruptcy counsel, CFMG’s legal representatives, and relevant regulatory
authorities. Copies of the motions filed in the United States Bankruptcy Court, Southern
District of Texas - Case No. 24-90533 have been formally served through proper legal
channels. However, due to anticipated delays related to service through CFMG's registered
agent, this letter ensures that you are personally and directly aware of these legal
proceedings.

The motions include:

* Motion for Relief from Automatic Stay (Docket #1897)
« Emergency Motion to Stay Solicitation and Voting on Wellpath’s Bankruptcy Plan

| will not be attaching the motions here. However, as senior leadership of CFMG, you are
directed to contact Wellpath’s bankruptcy counsel and CFMG's legal representatives, who
have full copies of all filings, letters, and prior communications sent to Wellpath’s Chief
Medical Officer, General Counsel, and CEO.

. Clear Violation of California Law and Breach of Fiduciary Duty

You are now formally on notice that CFMG, under your direct oversight, has been operating
as a conduit to transfer physician-generated revenue into the Wellpath corporate structure.
This is a direct violation of California’s Corporate Practice of Medicine doctrine, which
prohibits non-physician corporate entities from exerting financial control over medical
services. The fee-splitting arrangements, as structured under CFMG’s Management Services
Agreements (MSAs) with Wellpath, create an illegal financial arrangement that improperly
benefits Wellpath at the expense of physicians.

Legal Precedent & Consequences of Noncompliance

The California Supreme Court has long held that corporate entities cannot engage in the
practice of medicine or control physician compensation. See Conway v. State Board of
Medical Examiners (1941) 47 Cal.App.2d 105, 118, where the court held that non-physician
entities exerting financial control over medical services violate public policy and state law. In
Pacific Health Corp. (1938) 12 Cal.2d 156, it was further established that such arrangements
are void and subject to regulatory enforcement.

Furthermore, under California Business and Professions Code § 650, any entity engaging in
unlawful fee-splitting arrangements risks criminal liability, license revocation, and significant
financial! penalties. CFMG’s contracts, including its substantial agreements with Fresno
County Detention Facility and Juvenile Facility, are subject to immediate legal scrutiny and
potential termination if violations are established.

. Public Contract Risks & Federal Whistleblower Protections

| have not yet directly notified Fresno County officials regarding this matter. However, |
reserve the right to do so at any time, particularly if | experience retaliation, wrongful
termination, or constructive dismissal for raising these concerns. Several county supervisors
have been aware of my role in our local community since August 2016, and | maintain direct
professional relationships with them. Should retaliation occur, | will escalate matters to

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Fresno County Supervisors, who hold the authority to terminate CFMG’s contract for cause if
there is substantiated evidence of fraud, misappropriation, or illegal activity.

Under California Government Code § 12653, any employer that retaliates againsta
whistleblower regarding a public entity contract is subject to civil liability, including damages
and attorneys’ fees. Additionally, the Federal False Claims Act (31 U.S.C. § 3730(h)) protects
whistleblowers exposing fraudulent financial arrangements in government-funded programs.

Published Case Law on Whistleblower Protections

* Mendoza v. Western Medical Center (2014) 222 Cal.App.4th 1334 — Affirmed that retaliation
against a physician for exposing financial misconduct constitutes wrongful termination in
violation of public policy.

+ United States ex rel. Green v. Northrop Corp. (9th Cir. 1995) 59 F.3d 953 — Established that
retaliation under the False Claims Act carries severe legal and financial consequences for
employers engaged in fraudulent billing practices.

* Campbell v. Regents of the Univ. of Cal. (2005) 35 Cal.4th 311 — Confirmed that California
law shields whistleblowers who report financial and contractual violations in publicly funded
entities.

. Regulatory Oversight & Governmental Investigations

Copies of the legal filings and prior notices have been transmitted to numerous state and
federal agencies, including:

° Medical! Board of California

* California Attorney General’s Office

° California Labor Commissioner

* Internal Revenue Service (IRS)

* U.S. Department of Labor

* Federal Trade Commission (FTC)

* Securities and Exchange Commission (SEC)
* California Department of Insurance (CDI)
«U.S. Department of Justice

. Immediate Action Required & Legal Consequences of Inaction

If you continue to engage in, approve, or facilitate these unlawful financial arrangements, you
risk:

* Revocation of your medical licenses

+ Civil and criminal liability

+ Personal liability for financial fraud

+ Potential contract termination by Fresno County

° Federal enforcement actions by the IRS, SEC, and FTC

Corrective Measures on an Emergent Basis

In particular, any individuals on the Wellpath/CFMG payroll who lack a California physician
license—or who are not part of a recognized California-registered Utilization Review
organization—must refrain immediately from interfering with any aspect of clinical decision-
making under California’s Medical Practice Act. Under state law, and under CFMG’s existing
contractual obligations with Fresno County, licensed physicians must direct both the clinical
and executive aspects of CFMG’s operations that involve patient care.

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1, Contractual Obligations Under Agreement A-24-312 (Fresno County)

From the newly adopted Agreement A-24-312 between Fresno County (the “County”) and
CFMG (the “Contractor’), executed after the County’s Board of Supervisors authorized a
successor contract to A-18-170, CFMG reaffirmed the following promises and obligations:

+ Effective Dates & Background: On April 3, 2018, the County and CFMG entered into
Agreement A-18-170. Subsequently, on November 8, 2022, the Board of Supervisors
authorized staff to develop a new agreement, culminating in Agreement A-24-312, dated on
or about June 18, 2024. CFMG thereby undertook comprehensive responsibility to deliver
medical and behavioral health services at the Juvenile Justice Campus (“JJC”) and other
Fresno County detention facilities.

* Scope of Services & Compliance: CFMG must comply with Title 15 of the California Code
of Regulations (CCR), California Welfare and Institutions Code §§ 5150 et seq., Title 22 and
9 of CCR, and other State and Federal regulations. CFMG must provide credentialed,
licensed staff to ensure ail medical services meet these standards.

* Meetings & Quality Assurance: CFMG agreed to maintain monthly administrative
meetings with County officials, plus continuous quality improvement (CQI) committees, to
ensure compliance and address any emerging needs. |

* Staffing & Credentialing: The contract explicitly requires that CFMG maintain qualified
personnel with current professional licenses and that any staff operating under CFMG’s
umbrella abide by security clearance protocols. The County reserves the right to veto or
remove any noncompliant staff.

* Breach & Termination Provisions: The County has the authority to terminate the
agreement for cause if CFMG fails to meet its contractual obligations, including compliance
with state laws governing medical practice, record-keeping, and financial arrangements.

The signatories to Agreement A-24-312 include authorized representatives for the County of
Fresno (including the Chief Probation Officer, the Department of Behavioral Health, and
County Counsel) and authorized executives from CFMG. Your approval and execution of
such contract, along with ongoing operational oversight, make you personally accountable for
adhering to California law and fulfilling these contractual duties.

Failure to Fulfill Contractual & Legal Obligations

Should Wellpath or CFMG’s leadership (including non-physicians) persist in directing clinical
or administrative decisions in contravention of the Medical Practice Act, or continue fee-
splitting and corporate medicine practices, Fresno County is legally entitled to terminate its
multi-million-dollar contract. Moreover, state regulators and the Medical Board of California
will impose disciplinary measures, including potential revocation of your licenses.

1.Final Notice 2 the Next 45.Davs

Be advised:

* | have known certain Fresno County supervisors personally since 2016, having supported
them in their public service roles. Any attempt to undermine my professional standing or to
retaliate against me for bringing these issues to light will result in immediate notification to
these officials and formal whistleblower complaints.

« Over the next 45 days, | expect CFMG’s leadership to take swift corrective steps to
remediate these unlawful arrangements. This entails restructuring CFMG’s financial
framework to eliminate prohibited fee-splitting or lay control over physician services, as well
as ensuring that only duly licensed physicians or approved medical review entities supervise
clinical decisions.

This is your opportunity to correct these violations before enforcement agencies take action

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against you. | strongly recommend that you seek independent legal counsel and take
immediate steps to bring your business practices into compliance with California law and
your contractual obligations to Fresno County.

Sincerely,

Dr. Kanwar Partap Singh Gill
Pro Se Movant

lelipath

Fresno County Adult Detention Facility
4225 M Street, Fresno, CA 93721

Office: (659) 600-9365
Email: KaGill@wellpath.us

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KPSORLE. COM Kanwar Partap Singh Gill <kpsgill@kpsqiil.cam>

Re: Updated Submission Re: Drs. Bazzel (C 53908), Medrano (A 103477), Kennedy (C
171808) — Request for Vertical Enforcement

1 message

Kanwar Gill MD <kpsgill@kpsgill.com> Sun, Apr 6, 2025 at 10:23 AM
To: “Kerrie@MBC Webb" <Kerrie. Vebb@mbc.ca.gov>

Cc: webmaster@mbc.ca.gov

Bcc: MGoldstone@wellpath.us

To: Central Complaint Unit, Medical Board of California
Cc: Kerrie Dargine Webb, Staff Counsel — Kerrie. Webb@mbc.ca.gov

Subject: Addendum to Complaint — Legal Billing Analysis (Docket 2081):
Misprioritization of Executive Bonuses Over Physician Compensation; CPOM & Fee-
Splitting Implications

Dear Central Complaint Unit,

This message serves as an additional follow-up to the April 5, 2025 email in a matter
relating to complaint filed concerning Drs. Grady Judson Bazzel (C 53908), Richard
M. Medrano (A 103477), and Scott Herbert Kennedy (C 171808)—all officers of
California Forensic Medical Group (CFMG).

It supplements that record based on a detailed analysis of newly filed Docket 2081 —
Third Monthly Fee Statement of McDermott Will & Emery LLP, filed April 3, 2025,
in In re Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. S.D. Tex.).

This billing statement lays bare how senior attorneys knowingly diverted
disproportionate time and resources toward executive compensation and retention
packages, while allocating negligible legal time to issues of physician compensation,
ERISA compliance, or lawful handling of deferred wages. This strongly supports prior
allegations of Corporate Practice of Medicine (CPOM) violations, illegal fee-splitting,
and neglect of fiduciary obligations affecting California-licensed physicians.

Summary of Findings — Attorney Billing Pattern in Docket 2081

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1. Legal Time Spent on Physician Deferred Compensation: Acknowledged, Then
Ignored

¢ Date: February 6, 2025

« Attorney: Carmen Dingman

° Time: 1.3 hours

° Task:

*“Review, analyze deferred compensation issues (.6)”
*“Correspond with Company, FTI team re same (.3)”
*“Review wages motion re same (.4)”

° Concern: This entry proves the legal team was fully aware of the legal complexity and
exposure surrounding physician deferred compensation. Yet, no corrective action or
protective provision was incorporated into the Plan (Docket 1770) or Disclosure
Statement. Deferred wages remained improperly swept into the estate, violating 11
U.S.C. §541(d) and state trust and labor law.

2. Heavy Legal Work on Executive Bonuses (KERP/KEIP) — Physicians Excluded

° Between Feb 7-16, 2025, McDermott attorneys logged over 25+ hours across
partners and associates on tasks including:

¢ Drafting, revising, and negotiating executive compensation declarations (e.g.,
Giordano, Szanzer, Perlman)

¢ Building legal support for Key Employee Incentive Plans (KEIP) and Retention Plans
(KERP)

* Coordinating with restructuring advisers (FTI, Alvarez & Marsal) on insider
protection

* Notably absent:

* No entries reflect time spent reviewing ERISA fiduciary duties, IRC §409A deferred
compensation compliance, or physician classification/protections under California
labor and medical law.

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3. Evidence of Unlawful Operational Control over CFMG Matters by Wellpath
Attorneys

* Attorneys corresponded and strategized with Wellpath executives and consultants
about compensation frameworks for the medical workforce—without CFMG legal
independence or firewalls.

* This suggests lay corporate interference in physician compensation, breaching
California Business & Professions Code §§ 2400 & 650 (CPOM and fee-splitting
prohibitions).

4, Systemic Prioritization of Executives Over Practicing Physicians
«From Feb 12-20, attorney hours were almost exclusively used to protect executive
pay:

* “Work on compensation motion and related declaration”

* “Review bonus plans”

“Draft declaration regarding retention payments”

“Review and revise KEIP structure”

« Zero entries reflect any meaningful engagement with issues like:

* Classifying deferred physician earnings as trust property

° Legal consequences of sweeping NQDC funds into bankruptcy

° Potential IRS §409A tax violations or ERISA breaches

Request for Action

I respectfully request that the Medical Board of California:

1. Add this analysis and Docket 2081 (previously submitted) to the existing complaint
file against Drs. Bazzel, Medrano, and Kennedy.

2. Confirm whether an analyst has been assigned, in which case I would prefer to
submit all further correspondence directly to that analyst, so as not to burden your team
with repeated updates.

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3. Consider whether these billing records—admitted into federal court under penalty of
perjury—show a clear pattern of legal misprioritization and governance failures by
corporate physicians.

4. Refer this matter to the Office of the Attorney General for vertical enforcement,
including review of potential CPOM violations, ERISA breaches, and wage
misappropriation.

5. Pursue emergency license restrictions or suspensions if the physicians named above
continue to serve as executives while enabling or tolerating corporate interference in
physician earnings.

This is a deepened analysis of Docket 2081, which was not part of the April 5
submission. The billing evidence now available adds clear, time-stamped support to the
complaint—showing not only neglect of physician compensation, but willful
prioritization of executive retention, despite legal knowledge of violations.

[ appreciate your time and oversight in this matter and remain available for follow-up
with any assigned analyst.

Sincerely,

Kanwar Gill, MD

Email: kpsgill@kpsgill.com
Phone: (559) 447-8490

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privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic communication,

On Apr &, 2025, at 1:59 PM, Kanwar Gill MD <kpsgill@kpsgill.com> wrote:

4

To: Central Complaint Unit, Medical Board of California
Cc: Kerrie Dargine Webb, Staff Counsel — Kerrie. Webb@mbc.ca.gov

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Subject: Updated Submission Re: Drs. Bazzel (C 53908), Medrano (A
103477), Kennedy (C 171808) — Request for Vertical Enforcement

Dear Central Complaint Unit,

I write to provide an important update to a prior communication sent
regarding the following California-licensed physicians, all of whom are
senior officers at California Forensic Medical Group (CFMG):

* Dr. Grady Judson Bazzel — License No. C 53908, Chief Executive Officer,
CFMG

* Dr. Richard M. Medrano — License No. A 103477, Secretary, CFMG

° Dr. Scott Herbert Kennedy — License No. C 171808, Chief Financial
Officer, CFMG

Please find re-attached the relevant forwarded email and, for reference, the
Third Monthly Fee Statement (Docket 2081) filed April 3, 2025, in the
Wellpath Holdings bankruptcy case (TXSB 24-90533). This docket entry
significantly clarifies and reinforces the concerns I previously raised.

Summary of Concerns — Clarified Findings from Docket 2081

Upon further analysis of Docket 2081, it is now evident that: .
1. Deferred Physician Compensation Was Explicitly Reviewed Yet Ignored:

McDermott Will & Emery attorneys billed for time reviewing deferred
physician compensation on February 6, 2025, acknowledging it as a legal
issue of concern. Yet, no meaningful disclosure or remedy appears in the
reorganization plan (Docket 1770) or accompanying disclosures.

2. Executive Compensation Was Aggressively Prioritized:

Legal time entries show robust, coordinated efforts to protect and enhance
executive bonuses (KEIP/KERP) while compensation owed to practicing
physicians—including those licensed in California—remained structurally
deprioritized.

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3. Wellpath Assumed Control Over CFMG Physician Payments:

It is evident that Wellpath executives and attorneys—not CFMG—are
managing, renegotiating, and restructuring physician financial obligations.
This raises grave concerns under California’s Corporate Practice of Medicine
(CPOM) doctrine and suggests an unlawful fee-splitting arrangement
between non-physician entities and physicians.

4, The Restructuring Plan Actively Obscures Accountability:

The Fourth Amended Plan fails to identify or isolate CFMG-specific
liabilities, effectively shielding non-debtor insiders while placing California
patients, especially those in correctional health environments, at risk.

Request for Medical Board Consideration

[ understand the Medical Board does not act on demand from third parties,
and I am not directing any specific action. However, as a physician, I do not
have standing to pursue these structural and regulatory violations alone. I
respectfully submit that this situation merits direct intervention by the
Medical Board, as the corporate practice of medicine prohibition is squarely
implicated, and fee-splitting risks patient safety and undermines professional
independence.

Additionally, based on your website’s stated mandate to uphold CPOM
standards and safeguard patient welfare, I believe this matter warrants a
strong vertical enforcement referral to the Office of the Attorney General.
Given the legal direction of the bankruptcy proceedings, this issue will likely
escalate to that level regardless.

Conclusion

I request that this submission be added to the existing complaint file
involving Drs. Bazzel, Medrano, and Kennedy. The newly analyzed
materials provide a far more comprehensive and documented basis than my
prior message and should be considered as clarifying and supplementing that
submission.

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I appreciate your time and continued review of this matter.

Sincerely,

Kanwar Gill, MD
[kpsgili@kpsgiil.com]

Attachments:
* Forwarded email (originally sent April 5, 2025)
* Docket 2081 — Third Monthly Fee Statement (TXSB 24-90533)

Best Regards,
Kanwar Gill MD

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property privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic
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Begin forwarded message:

From: Kanwar Gill MD <kpsgill@kpsgill.com>

Date: April 5, 2025 at 1:18:58 PM PDT

To: Richard Medrano <RMedrano@wellpath.us>, Scott Kennedy
<ScotiKennecy@wellpath.us>, Marc Goldstone <MGoldstone@weilpath.us>, Bradley
Giordano <Bgiordano@mwe.com>, Steven Szanzer <sszanzer@mwe.com>, Felicia Perlman
<Fperlman@mwe.com>, J Bazzel <jbazzel@wellpath.us>

Cc: webmaster@mbc.ca.gov

Subject: Fwd: Concerning Evidence of Deferred Compensation Neglect & Executive
Compensation Prioritization — April 3 Filing (Docket 2081)

> Dr. Grady Juds

- Dr. Richard M; Medrano
Secretary, CFMG

- Dr. Scott Hérbe

Chief Financial:

| request medical board of California Central complaint unit file this with existing complaint file

and consider this message for vertical enforcement by attorney general ‘s office. | understand

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the burden of proof is now preponderance of evidence, and itis my belief that burden has
been met. | request Medical Board to expedite this investigation and revoke the licenses of all
the physicians as there is imminent danger to the people of California if they continue to
practice medicine in the state of California. Please take this issue on an emergent basis And
please have these vertically general's , Office issue Cease practice order. All these three
individual physician are interfering with delivery of care and their continuous interference at
this time is causing significant permanent injury to the people of California especially the
incarcerated individuals.

Forwarded message attached.

Best Regards,
Kanwar Gill MD

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intellectual property privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure
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Begin forwarded message:

From: Kanwar Gill MD <kpsgili@kpsgill.com>

Date: April 5, 2025 at 12:38:58 PM PDT

To: Dheeraj Taranath <DTaranath@welipath.us>, J Bazzel
<joazzel@welipath.us>, "Kerrie@MBC Webb" <Kerrie. Webb@mbc.ca.gov>,
Steven Szanzer <sszanzer@mwe.com>, Marcus Helt <Mhelt@mwe.com>,
Felicia Perlman <Fperiman@mwe.com>, Bradley Giordano
<Bgiordano@mwe.com>

Ce: "Kerrie@MBC Webb" <Kerrie. Webb@mbc.ca.gov>

Subject: Concerning Evidence of Deferred Compensation Neglect &
Executive Compensation Prioritization — April 3 Filing (Docket 2081)

Subject: Concerning Evidence of Deferred
Compensation Neglect & Executive Compensation
Prioritization — April 3 Filing (Docket 2081)

Email Copied to Medical Board -

* Kerrie Dargine Webb, Staff Counsel
Medical Board of California, 2005 Evergreen St Ste 1200,
Sacramento, CA 95815-5401
Phone: 916-263-2389 | Fax: 916-263-2387

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NumberrC 171808
Chief Financial Officer, CFMG

Dear California Licensed Medical Doctors:

I hope this message finds you well. I am reaching out
today to share a very recent and significant development
in the bankruptcy case of Wellpath Holdings, Inc. (TXSB
24-90533) that directly impacts physicians, including
those who rendered services under CFMG agreements.

On April 3, 2025, McDermott Will & Emery LLP—
counsel to Wellpath—filed their Third Monthly Fee
Statement (Docket 2081 - attached). Upon close analysis
of the time entries disclosed, I want to bring to your
attention what appears to be a coordinated, internal legal
effort to address executive compensation (KERP/KEIP)
while failing to resolve, disclose, or account for unpaid
deferred compensation owed to physicians, including
California-licensed doctors working through CFMG
contracts.

Key Findings from Docket 2081:

1. Acknowledged Deferred Compensation Exposure —
But No Resolution

On February 6, 2025, attorney Carmen Dingman billed
time to:

“Review, analyze deferred compensation issues (.6): correspond with Company, FTI
team re same (.3); review wages motion re same (.4)” [See Docket 2081, p. 74].

This shows that deferred compensation was being

actively reviewed at high levels, but there is no
indication in the Disclosure Statement (Docket 1770) or

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the Plan that this issue was addressed in terms of legal
obligations or protections for physicians.

2. Misplaced Priorities: Executive Bonuses vs. Physician
Compensation

The same docket reflects significant hours spent by
senior restructuring counsel (Szanzer, Giordano,
Perlman, etc.) designing and defending executive
compensation packages (KEIP/KERP) through detailed
analysis, drafting declarations, and negotiating retention
terms. Meanwhile, deferred compensation owed to
physicians remained unremedied.

3, Wellpath Unilaterally Controlling CFMG Physician
Compensation

Based on docketed internal discussions and filings, it is
clear that Wellpath attorneys—not CFMG—have
assumed authority over compensation structures
originating from CFMG-contracted physicians. Yet the
plan of reorganization (Docket 1770) fails to distinguish
CFMG-specific liabilities or obligations to California-
licensed physicians from those of other corporate
affiliates, effectively consolidating responsibility while
eliminating traceability or direct accountability.

This unilateral treatment raises serious concerns under
California’s corporate practice. of medicine laws and
creates exposure for CFMG in allowing a third party
(Wellpath).to manage and restructure financial liabilities
tied to professional services rendered by California-
licensed physicians.

4, Non-Disclosure in the Plan and Disclosure Statement

Despite internal acknowledgment of these issues, the
Fourth Amended Disclosure Statement and Plan omit
any mention of:

« Deferred compensation liabilities,
¢ The legal basis for releasing non-debtor entities,

° Regulatory risks under California CPOM doctrine.

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Why This Matters Ahead of April 14

This April 3 filing is critical because it reflects what is
happening behind the scenes—a deliberate legal strategy
that deprioritizes deferred physician earnings while fully
protecting insiders and executives. This occurs without
clear direction or opt-in consent from CFMG, despite the
direct impact on your contracted medical workforce.

As we prepare for our in-person meeting on April 14, I
_urge both of you to review this docket carefully. It
evidences a systemic failure to equitably and
transparently resolve compensation obligations to
physicians, many of whom have been frontline
caregivers in county and correctional systems under

CFMG contracts.

Please let me know if you would like me to forward the
full docket entry or compile specific highlighted time
records in advance of our meeting. I would welcome the
opportunity to discuss this further and work toward a
legally compliant and ethically grounded resolution.

Best Regards,
Kanwar Gill MD
<TXSB 24-90533 2081 - Statement Third Monthly Fee Statement of McDermott Will &.pdf>

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HP SGILIL COM Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

RE: Comprehensive Overview of Legal/Regulatory Concerns and Urgent Request for
CFMG Shareholder Physician-Led HR Dialogue

1 message

Kanwar Gill <KaGiil@wellpath.us> Tue, Apr 8, 2025 at 10:56 AM
To: Angie Baldwin <ARBaldwin@wellpath.us>
Cc: Dheeraj Taranath <DTaranath@wellpath.us>, Grady J Bazzel <JBazzel@zenovacare.com>

Dear Ms. Baldwin,

Thank you for your prompt response and for indicating that you will be reviewing the relevant HR and employee
relations information. | fully appreciate your dedication to investigating these matters and will await further details
from your review.

| would like to take this opportunity to clarify that, while 1 understand your role is focused on HR issues, it is
imperative that your investigation also fully considers the full scope of my allegations. These include serious issues-of
racial discrimination, constructive termination, and repeated interference by non-clinical administrators in my daily
operations.

For example, | have repeatedly encountered situations where nonphysician administrators have unilaterally altered
critical meeting schedules without any consultation with me. Despite my patient-related obligations, | am forced by
DON and HAS to attend a weekly meeting at 10:30 AM every Monday—a meeting chaired by me—over which | have
no control. This scheduling decision, which directly conflicts with my clinical duties, has significantly hindered my
ability to deliver timely and effective patient care. Such interference not only disrupts daily operations but also
undermines the authority vested in California-licensed physicians within a physician-led organization like CFMG.

| must emphasize that as a licensed physician employed by CFMG—a structure which, by law, must be controlled
solely by California-licensed physicians or their medical corporations—any HR intervention affecting clinical matters
must be led by a representative with the proper credentials and authority. It is crucial that the HR dialogue remains
within its appropriate boundaries and that any actions or decisions impacting clinical contro! come from a CA-licensed
shareholder or officer.

While | understand your investigation is focused on HR and employee relations issues, please ensure that the
investigation also acknowledges:

+ The allegations of racial discrimination, as evidenced by the fact that | remain the only brown individual in a
senior leadership role at our facility.

* The pattern of constructive termination efforts by nonclinical administrators, which have significantly impaired
my work and patient care.

* The interference in my daily operations that directly affects the timely and competent management of patient
care—including the imposed meeting times that conflict with my clinical obligations.

| trust that you will consider all of these factors as you gather the necessary information, and | look forward to your
findings. | remain committed to resolving these matters in a manner that is both fair and in full compliance with all
applicable California laws.

Thank you again for your attention to these serious concerns. Please let me know if you require any additional
information or clarification.

Respectfully,

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 95

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Best Regards,

Kanwar Gill MD
Wellpatn

Fresno County Adult Detention Facility
1225 M Street, Fresno, CA 93721
Office: (659) 600-9365

Email: KaGill@wellpath.us

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privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic communication.

From: Angie Baldwin <ARBaldwin@Wellpath.us>

Sent: Tuesday, April 8, 2025 10:44 AM

To: Kanwar Gill <KaGill@Wellpath.us>

Cc: Dheeraj Taranath <DTaranath@Wellpath.us>; Grady J Bazzel <IBazzel@Zenovacare.com>

Subject: RE: Comprehensive Overview of Legal/Regulatory Concerns and Urgent Request for CFMG Shareholder
Physician-Led HR Dialogue

Dr. Gill, thank you for responding so quickly. Since my role will be investigating only the HR and
employee relations issues, give me some time to pull out the information that is relevant to my
investigation and | will be in touch soon.

ANGIE BALDWIN, PHR, SPHR

Sr. Employee Relations Manager

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3340 Perimeter Hill Dr.. Nashville, TN 37214
PH 615-312-7272/! CELL 615-636-7045

WellpathCare.com

From: Kanwar Gill <KaGill@Wellpath.us>

Sent: Tuesday, April 8, 2025 12:07 PM

To: Angie Baldwin <ARBaldwin@Wellpath.us>

Cc: Dheeraj Taranath <DTaranath@Wellpath.us>; Grady J Bazzel <JBazzel@Zenovacare.com>

Subject: Comprehensive Overview of Legal/Regulatory Concerns and Urgent Request for CFMG Shareholder
Physician-Led HR Dialogue

Subject:

; Comprehensive Overview of Legal and Regulatory Concerns.
», Urgent Request for CFMG Shareholder Physician-Lea HR
Dialogue
Dear Ms. Baldwin, Dr. Taranath and Dr. Bazzel,

Thank you Ms. Baldwin for your message on Tuesday, April 8, 2025, at 7:48 AM PT. 1 appreciate your prompt initiative in wanting to
speak with me this week to expedite the investigation into my concerns. In the interest of full transparency and to ensure that all issues
are documented, please preserve this email in its entirety as part of the formal record for any internal or external HR investigation.

Below, I provide a detailed timeline and summary of events drawn from my direct experiences and communications. While the
primary focus here is on addressing my employment concerns—including serious violations of the Medical Practice Act and related
statutory provisions—the issues surrounding a recent six month delay in APAP unit procurement for patient #0059555 also illustrate
the broader pattern of criminal administrative interference that 1 must emphasize.

I. My Background and Employment History

1. Employment Initiation and Performance:
—I began working with California Forensic Medical Group (CFMG) on September 30, 2019. My record has been impeccable
with respect to patient outcomes and the cost-saving measures delivered for both Wellpath and CFMG.
— Over the last three years, I spearheaded utilization management initiatives that have saved hundreds of thousands of dollars
while significantly improving patient care.
—As a licensed physician under the State of California and an employee of CFMG, it is imperative to note that only
California-licensed physicians or physician-controlled medical corporations have the legal authority to determine clinical and
compensation matters. Wellpath’s role is strictly confined to administrative functions, and any deviation from this standard is
not only unacceptable but is criminal in nature.

II. Key Concern: Nonqualified Deferred Compensation Pulled into Bankruptcy

1. Notification on November 8, 2024:
I alerted Wellpath’s Chief Medical Officer (CMO) and Chief Legal Officer that my nonqualified deferred compensation—

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 97

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comprising solely my earned wages, with no employer match—was being diverted into the Wellpath bankruptcy estate.

2. Misclassification and Misappropriation:
HR personnel, including an individual named Donald White, repeatedly indicated in his emails to me that no distinction
existed between CFMG wages and Wellpath wages. This conflation flagrantly disregards my rights as a CFMG-employed
physician and constitutes criminal misappropriation of physician property, as California law mandates that compensation for
licensed medical professionals be controlled exclusively by a California-licensed entity.

3. Internal Escalation (November 11, 2024 — March 4, 2025):
During this period, I reached out to numerous internal contacts within both CFMG and Wellpath in a sincere effort to resolve
these issues internally. Despite my repeated communications, leadership consistently indicated that post-bankruptcy
reorganization payments would be minuscule—essentially pennies on the dollar—which is both illegal and potentially
criminal conduct under state law due to fee-splitting.

Ill. Ten-Business-Day Notice and Escalation

1. March 4, 2025:
After repeated attempts to obtain clarity, I issued a formal ten-business-day notice to the Wellpath bankruptcy attorneys
(McDermott Will & Emery), stating unequivocally that if my concerns were not addressed promptly, I would file a motion
with the bankruptcy court.

2. Legal Pasition:
I have made it clear that as a physician governed by California’s Medical Practice Act, administrative entities like Wellpath
lack the legal authority to control my earnings or interfere with my clinical judgment—a criminal interference with physician
autonomy.

IV. Constructive Termination and Criminal Administrative Interference

1. March 17, 2025 — Threat of Constructive Termination:
An RN supervisor disclosed that the RDO, HSA, and DON had been discussing measures to push me out of my role. Her
exact words were — “getting rid” of me. These discussions, initiated by individuals without the legal authority to hire or fire
licensed physicians, are clearly retaliatory and criminal.

2. Acceleration of Legal Response:
Faced with this imminent threat and having exhausted every internal remedy, I was compelled to accelerate my legal response.
Consiructive termination not only jeopardizes my livelihood but also violates state labor laws and my professional licensing
conditions.

V. Formal Legal Filings (March 18 — March 25, 2025)

1. March £8, 2025:
I filed a Motion for Relief from the Automatic Stay in the Wellpath bankruptcy proceedings, asserting that my physician wages
must remain separate from the bankruptcy estate.

2. March 25, 2025:
I filed a Second Motion for an Emergency Stay on Solicitation and Voting, along with detailed Objections to the proposed
reorganization plan.

3. Legal Violations Asserted:
These filings reiterate that merging my physician compensation into Wellpath’s corporate structure violates:
— California’s Medical Practice Act and associated fee-splitting prohibitions;
— Multiple California Labor & Wage statutes;
— Federal ERISA and bankruptcy laws, particularly where coercion is used to force me into signing a restrictive NDA.
Such forced merging and misappropriation of earnings are criminal and subject to significant penalties.

VI. Coercive NDA Demands and Retaliation

1. March 19- March 23, 2025:
An attorney at McDermott Will & Emery repeatedly demanded that I sign an overly restrictive nondisclosure agreement and
withdraw all claims against Wellpath in return for releasing funds already owed to me.

2. Retaliatory Nature:
1 informed this attorney, on March 23, 2025, that if these issues were not amicably resolved by the close of business on March

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 98

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24, 2025, I would escalate the matter to the appropriate regulatory bodies. Such coercive tactics are criminal and constitute
clear retaliation.

VIL. Medical Board of California Investigation

1. Scope of Investigation:
My concems extend to three physicians at CFMG (Drs. Bazzel, Medrano, and Kennedy) who have either been complicit or
negligent in allowing my wages to be improperly controlled by Wellpath—a matter that is now under investigation by the
Medical Board of California.

2. Potential Disciplinary Action:
I have formally requested that the Medical Board consider revoking their licenses if it is shown they facilitated these unlawful
practices. Their cooperation is critical, and as a licensed physician, I must preserve my legal credibility.

3. Criminal Implications:
Failure to comply with the légal standards for physician-led control is a criminal offense that endangers patient care and
undermines the integrity of our entire operational model.

VUL. April 11, 2025 Mecting and Final Internal Resolution

1. Scheduled Meeting:
[ have scheduled a final in-person meeting for Apri] 11, 2025, in Fresno, requiring the presence of a California-licensed
physician-officer from CFMG who has full binding authority to sign a physician-controlled settlement agreement.

2, Leadership Involvement:
While Wellpath’s Chief Medical Officer and Chief Operating Officer have confirmed their attendance.as observers, the critical
decisions must be made by a CFMG representative. .

3. Final Attempt at Resolution:
This meeting represents my last internal attempt to resolve these issues. Should there be failure on the part of CFMG to engage
in good faith or provide a legally compliant resolution, I will have exhausted all internal options, necessitating external legal
and criminal recourse.

IX. Continuing Violations of the Medical Practice Act by Nonphysicians

1. Unlawful Interference: .
The Director of Nursing (DON), Health Services Administrator (HSA), and similar nonphysician administrators continue to
intrude on day-to-day medical operations, including patient triage and clinical oversight.

2. Criminal Violation: .
Under California’s Business & Professions Code, such interference is criminal. It not only undermines patient safety but also
violates my professional license as I, a California-licensed physician, must have full control over clinical decisions.

X. Racial Discrimination and Systemic Bias

4, Systemic Inequities:
I am the only brown individual remaining in senior leadership at the Fresno County Jail facility, while individuals with
significantly lighter complexions have increasingly replaced personnel of color.

2. Discriminatory Practices:
Despite 5.5 years of dedicated service—and an additional 2 years at the California Department of Corrections—a less
experienced individual was promoted to Medical Director. This decision raises serious concemis regarding systemic racial
discrimination and targeted retaliation, both of which are illegal and criminal.

XL. Exhaustion of Internal Remedies and Imminent External Legal Action

{. Repeated Internal Appeals:
I have submitted numerous communications to management from November 2024 through March 2025, issued a formal ten-
business-day notice on March 4, 2025, and arranged a conclusive meeting for April 11, 2025—all in an effort to resolve these
issues internally.

2. Final Warning:
If no meaningful resolution is achieved at the April 11 meeting, I will have no choice but to pursue external legal remedies,

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 98

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including a constructive wrongful termination lawsuit, claims for retaliation, and criminal prosecution for the unlawful and
criminal conduct exhibited by Wellpath.

XII. Immediate Requests

1. Immediate HR Discussion:
I request that, we schedule a meeting this week—per your message on April 8, 2025, at 7:48 AM—with participation by a
California-licensed physician-officer from CFMG who has full binding authority to address these issues. Only such an

’ «ndividual can ensure that clinical and compensation decisions remain under proper physician control.

2, Formal Acknowledgment of My Record:
Please confirm that my complete employee record has been reviewed. It documents over five and a half years of exceptional
performance, cost-saving measures, and unwavering clinical leadership.

3. Documentation of Discriminatory Treatment:
I request that HR formally record my concerns regarding race-based discrimination in leadership appointments and treatment.
This is a matter of equal opportunity, fairness, and a criminal violation of anti-discrimination statutes.

4. Assurance Against Further Retaliation:
Provide iminediate and unequivocal assurance that no further retaliation will occur for my whistleblower activities. Any
retaliatory conduct is criminal, and I will not tolerate further adverse actions.

5, Recognition of Legal Responsibilities:
I cannot be compelled to sign any NDA or settlement that forces me to “withdraw all claims” or diminish my obligations to
state and federal regulators. Such demands are criminal and fundamentally undermine my professional rights.

6.
XIII. Secondary Support: APAP Unit Procurement

While the central issues in this correspondence pertain to systemic internal violations, I must note that the APAP procurement for
patient #0059555 underscores the broader pattern of unlawful criminal interference in clinical decision-making. Delays in procuring
essential DME—when dictated by administrative, nonclinical criteria—are in direct violation of the Medical Practice Act and are
criminal. Interference in such procurement matters further substantiates my claims of ongoing, criminal mismanagement. The patient’s
documented clinical needs demand that all physician orders be implemented immediately, and any administrative hindrance is
unacceptable.

XIV. Concluding Statement

Ms. Baldwin, I ask you once again: If you were in my position—facing withheld wages, the threat of constructive termination
imposed by nonphysician administrators, systemic racial discrimination, and criminal interference in clinical care—what
would you do?

I have no desire to engage in protracted disputes; my sole aim is to protect my license, uphold my legal and ethical obligations as a
California-licensed physician, and ensure that patient care remains under the proper control of physicians. I have exhausted every
internal channel in good faith, yet criminal practices persist. If our scheduled April 11 meeting fails to deliver a meaningful resolution
by the responsible California-licensed physician-officer, I will have no choice but to seek external legal and criminal recourse.

I appreciate your time and your unwavering commitment to addressing these deeply concerning issues. Please confirm receipt of this
email and advise on scheduling our meeting as well as providing a definitive confirmation regarding the immediate procurement of
the APAP unit, Our shared commitment to clinical excellence, regulatory integrity, and the unwavering principle that only licensed
physicians control patient care must prevail.

Respectfully,

Dr. Kanwar P. Gill

Senior Physician, Fresno County Adult Detention Facility
1225 M Street, Fresno, CA 93721

Office: (559) 600-9365

Email: KaGil@wellpath.us

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unauthorized interception or disclosure of this communication is strictly prohibited by applicable federal and state law.

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From: Angie Baldwin <ARBaldwin@Wellpath.us>
Sent: Tuesday, April 8, 2025 7:48 AM

To: Kanwar Gill <KaGil@Wellpath.us>

Subject: RE: Conversation

Dr. Gill, |am back from PTO and wanted to touch base with you. After reflection, | would like to
strongly urge that we speak this week. In order to conduct an expedient and thorough
investigation into your concerns, and to make sure concems are addressed as soon as possible, it
would be helpful if we could speak sooner than next week.

This first conversation will primarily be a time for you to tell me what you are experiencing so | know
how to proceed with the investigation. Thank you for your consideration.

ANGIE BALDWIN, PHR, SPHR

Sr. Employee Relations Manager

3340 Perimeter Hill Dr., Nashville, TN 372114
PH 615-312-7272// CELL 615-636-7045

WeilpathCare.com

From: Kanwar Gill <KaGill@Wellpath.us>
Sent: Thursday, April 3, 2025 4:15 PM

To: Angie Baldwin <ARBaldwin@Wellpath.us>
Subject: RE: Conversation

Thank you for your message. I’ve received it and appreciate your flexibility. I'l! be able to confirm a specific time as we get
closer to the date.

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Best Regards,

Kanwar Gill MD

Vellpatn

Fresno County Adult Detention Facility
1225 M Street, Fresno, CA 93721
Office, (659) 6G0-9265

Email: KaGiil@wellpath.us

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privileges. Title 18 U.S. Code§ 2541 prohibits interception and disclosure of this electronic communication.

From: Angie Baldwin <ARBaldwin@Welipath.us>
Sent: Thursday, April 3, 2025 2:11 PM

To: Kanwar Gill <KaGili@Welipath.us>

Subject: RE: Conversation

Thank you for your prompt response. If it works for you, 11:00 a.m. on April 15'" works well for me. If
you need to get in touch with me sooner, my cell phone is listed below and I check my Wellpath
email frequently. Thanks again.

ANGIE BALDWIN, PHR, SPHR

Sr, Employee Relations Manager

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 102

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3340 Perimeter Hill Dr., Nashville, TN 37211
PH 615-312-7272! CELL 615-636-7045

WellpathCare.com

From: Kanwar Gill <KaGill@Wellpath.us>
Sent: Thursday, April 3, 2025 3:50 PM

To: Angie Baldwin <ARBaldwin@Wellpath.us>
Subject: RE: Conversation

Dear Ms. Baldwin,

Thank you for your message and for reaching out. | appreciate your willingness to connect regarding the concerns I've
raised.

At this time, | will need some additional time to gather relevant documents and prepare a list of points for our
discussion. I’d prefer to schedule a time to speak after April 15, if that works for you. | believe that will allow far a
more productive and thorough conversation.

At present, there is no clearly urgent matter that requires immediate attention. | feel safe in my current work
environment, and I’m comfortable allowing this process to move forward at a thoughtful and measured pace. Of
course, should anything arise that requires more immediate discussion before April 15, | will let you know.

Otherwise, | look forward to speaking with you after the 15th to address my concerns, engage in meaningful dialogue,
and explore any necessary resolutions. Please let me know if that timeline is workable for you.

Best Regards,

Kanwar Gill MD

Wellpath

Fresno County Adult Detention Facility
1225 M Street, Fresno, CA 93721

Office: (559) 600-9365

Email: KaGill@wellpath.us

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First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 103

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privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electranic communication.

From: Angie Baldwin <ARBaldwin@Wellpath.us>
Sent: Thursday, April 3, 2025 1:22 PM

To: Kanwar Gill <KaGill@Wellpath.us>

Subject: Conversation

Dr. Gill, good afternoon. My name is Angie Baldwin and I'm the Sr. Employee Relations Manager
on the employee relations team out of the home office. | understand that you have expressed
some concerns regarding your employment and work interactions. | have been asked to reach
ouf to you to investigate the HR-related concerns and would appreciate scheduling some time for
us to speak.

| will be on PTO tomorrow, Friday 4/4, and Monday, 4/7. Sol was hoping we could speak on
Tuesday or Wednesday at your convenience. In the meantime, lam reviewing the information
you have already provided to Dr. Taranath. But if there are any other documents, emails, texts or
other information that you feel would be helpful to review prior to our conversation, please send it
to my Wellpath email,

Thank you in advance for your cooperation, and please let me know your preference for a time to
speak next week.

ANGIE BALDWIN, PHR, SPHR

Sr. Employee Relations Manager

3340 Perimeter Hill Dr., Nashville, TN 37214
PH 615-312-7272// CELL 615-636-7045

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KPSGUL... COM Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

Clarification on HR Oversight, HR scope and Direction for Non-Bankruptcy Matters
i message

Kanwar Gill <KaGill@wellpath.us> Tue, Apr 8, 2025 at 3:53 PM
To: Dheeraj Taranath <DTaranath@wellpath.us>, Kanwar Gill MD <kpsgill@kpsgill.com>, "Kerrie. Webb@mbc.ca-gov"
<Kerrie. Webb@mbc.ca.gov>

Cc: Grady J Bazzel <JBazzel@zenovacare.com>, "Richard M. Medrano" <RMedrano@wellpath.us>, Scott Kennedy
<ScottKennedy@wellpath.us>, Angie Baldwin <ARBaldwin@wellpath.us>

Subject: Clarification on Oversight, HR Scope, and Direction for Non-Bankruptcy Issues
To: Dr. Dheeraj Taranath

.CC:; Ms. Angie Baldwin, Dr. Grady Bazzel

From: Dr. Kanwar Gill

Date: April 8, 2025

In Complaint/Matter Before Medical Board of California regarding:
- Dr. Grady Judson Bazzel — California P&S License No. C 53908, Chief Executive Officer, CFMG
» Dr. Richard M. Medrano — California P&S License No. A 103477, Secretary, CFMG

+ Dr. Scott Herbert Kennedy — California P&S License No. C 171808, Chief Financial Officer, CFMG

Dear Dr. Taranath,

Thank you for your message. | acknowledge your update confirming that Wellpath, in its role as Management Services
Organization for CFMG, has communicated with CFMG leadership regarding the matters | raised. | also understand that,
based on your joint assessment with CFMG leadership, the previously scheduled April 11 in-person meeting has now
been unilaterally canceled by CFMG. Additionally, you’ve stated that any prior communications that could be construed as
settlement offers are withdrawn and that the bankruptcy proceedings will now solely govern my deferred compensation
claim, with further communication directed to McDermott Will & Emery.

For the record, | must clarify that at no point have | discussed or negotiated any dollar amount related to my deferred
compensation claim with you personally. | categorically reject any suggestion that | was ever extended a legitimate or
authorized offer through you. The only communications that resembled “offers” came from bankruptcy counsel at
McDermott Will & Emery around March 20, 2025. Those proposals were unequivocally rejected by me at the time, as they
were coercive in nature, conditioned on the withdrawal of legal filings, and accompanied by inappropriate non-disclosure
requirements. They were not offered in good faith and were inconsistent with both bankruptcy ethics and California
regulatory obligations.

More importantly, CFMG’s unilateral cancellation of the April 11 meeting—an opportunity | explicitly requested for the
presence of a California-licensed physician-officer with authority to resolve the matter internally—must be viewed as a
willful rejection of a legally compliant resolution process. This decision eliminates CFMG’s remaining opportunity to
resolve my claims In accordance with California law, and it reinforces the concern that the organization is continuing in
willful defiance of its legal obligations under the California Medical Practice Act.

As | have stated previously, | may ultimately lose my motions before the U.S. Bankruptcy Court in the Souther District of
Texas. However, such an outcome does not absolve any party of its obligations under California law, nor does it preclude
regulatory or civil enforcement at the state level. Aloss in bankruptcy court does not equate to legal validation of the
practices | have challenged—it simply reflects the narrow jurisdiction and procedural limits of that venue.

In light of these developments, | request immediate clarification on the following two key areas:

1. Direction for Non-Bankruptcy Matters:

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 1th, 2025 (Notarized) Page 106
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While [ understand that my deferred compensation claim is now being handled through the bankruptcy process, | ask for a
ciear directive as to how Wellpath and CFMG intend to address the other issues ! have raised—specifically:

Employment-related grievances

Allegations of racial discrimination

Constructive termination efforts

Interference in clinical workflows

Misappropriation of medical decision-making authority

Please advise whether these issues are still under the purview of Wellpath HR of CFMG physician leadership, or
bankruptcy counsel. | request written clarification on the appropriate channels moving forward for each category of
concern.

2. Scope and Oversight of the HR Investigation:

| understand Ms. Baldwin is currently reviewing relevant HR and employee relations matters. However, many of the
issues raised fall outside a traditional HR framework and directly implicate:

Violations of the California Medical Practice Act

Fee-splitting concerns under Cal. Bus. & Prof. Code § 650
Improper clinical interference by nonphysician administrators
Racial bias and discriminatory promotion practices
Retaliatory conduct targeting a whistleblower

As an employee of CFMG, a physician-owned and physician-controlled California medical corporation, any HR review
touching on clinical governance, compensation, or disciplinary action must include oversight by a California-licensed
physician-officer. Please confirm whether such oversight will be provided, and whether HR findings involving clinical
decision-making will be subject to co-review and formal ratification by a CFMG shareholder physician.

For the record, | reaffirm the following points:

* | have maintained an unblemished clinical record over the past 5.5 years, consistently improving outcomes and
reducing costs.

« | have formally reported wage misclassification, improper deferred compensation handling, and administrative
interference to multiple regulatory bodies.

« {have filed a pending complaint with the Medical Board of California regarding failures by three CFMG shareholder
physicians to protect physician autonomy.

¢ | had called for an April 11 internal resolution meeting, which was a final opportunity to address these matters
lawfully. That meeting has now been unilaterally canceled by CFMG.

Outstanding Clarification Requests:
| respectfully request your timely response to the following:

* Will Ms. Baldwin's HR review include the racial discrimination, retaliation, and clinical interference allegations |
have outlined?

« Will CFMG assign a California-licensed physician-officer with decision-making authority to co-lead or oversee HR
matters affecting licensed medical practice?

« What internal pathway remains for resolution of non-bankruptcy issues, including clinical interference and
professional governance?

« Do you require any further documentation from me at this stage?

« Wiil the delayed APAP procurement for patient #0059555—an incident emblematic of improper administrative
obstruction—be incorporated into the ongoing review?

Thank you again for your attention. | remain committed to pursuing a lawful and gocd faith resolution wherever possible
and look forward to receiving your response and clarification on next steps.

Respecttully,

Dr. Kanwar Gill

Senior Physician, Fresno County Adult Detention Facility
1225 M Street, Fresno, CA 93721

Office: (559) 600-9365 | Email: KaGiti@wellpath.us

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From: Dheeraj Taranath <DTaranath@Wellpath.us>

Sent: Tuesday, April 8, 2025 2:54 PM

To: Kanwar Gill MD <kpsgill@kpsgill.com>; Kanwar Gill <KaGill@Wellpath.us>
Ce: Grady J Bazzel <JBazzel@Zenovacare.com>; Richard M. Medrano <RMedrano@Wellpath.us>; Scott Kennedy
<ScottKennedy@Wellpath.us>

Subject: Resolution response

Dr. Gill,

As you are aware, Wellpath is the Management Services Organization contracted to provide the full range of
administrative services to CFMG. As such, we have reviewed the matters you have raised with CFMG leadership, and we
continue to communicate with you with their knowledge and approval.

As previously noted, Cindy and | were planning to come out to California to meet with you in a good faith attempt to
resolve the disagreement regarding your claim for deferred compensation. In light of the numerous false statements in
your correspondence, we have recommended to CFMG leadership, and they have agreed that a meeting would not be
productive; therefore, please be advised that the meeting is now canceled. To the extent that any prior correspondence
could be interpreted as an offer to resolve your claim, any such offer is withdrawn.

The bankruptcy proceedings will determine the results of your claim. Our counsel has advised us that your arguments are

legally invalid and they believe they will be summarily rejected by the court. Please direct all future correspondence

regarding the matter to the court or to our lawyers with McDermott, Will & Emery; you may contact David Genender
(dgenender@mwe.com).

Regards,

Dheeraj Taranath, DO, MBA, MS

Chief Medical Officer

wellpath

‘To hose and healing,

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IPS GH. OOM Kanwar Partap Singh Gill <kpsgill@kpsgill. com>

RE: [EXT] Re: Urgent Request for CFMG-Led HR Oversight:

1 message

Angie Baldwin <ARBaldwin@wellpath.us> Wed, Apr 9, 2025 at 8:39 AM
To: Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

Dr. Gill,

You have raised concerns that fall under different disciplines. CFMG has received your email
alleging a number of serious matters. Compliance will be reaching out to you to separately
investigate your compliance-related concerns. As you know, | have been tasked with conducting
an investigation of your workplace discrimination and retaliation allegations. Wellpath is
contracted to perform this function on behalf of CFMG, and | am the designated investigator for
these concerns. As it relates to the HR/ER investigation, | ask that you refrain from including others
on communications related to this investigation, as that could adversely impact the integrity of the
investigation. >

We are still scheduled to meet on the 15" to discuss issues you've raised within the scope of this
investigation. The main purpose of this initial meeting is to gather information from you. Please
direct any additional concerns or questions about the investigation into your allegations of
workplace discrimination and retaliation solely to my attention. After we meet, | will identify
witnesses or other appropriate people to interview and plan the next steps in the investigation. If
you are aware of additional facts or evidence relevant to your allegations, please send them to
me. It goes without saying that interference with the investigation is not permitted and will only
serve to will slow the process down and potentially damage the integrity of the investigation.
Thank you for your cooperation, and | hope to speak with you soon.

ANGIE BALDWIN, PHR, SPHR

Sr. Employee Relations Manager

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 18th, 2025 (Notarized) Page 110
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3340 Perimeter Hill Dr., Nashville, TN 37211
PH 615-312-7272// CELL 615-636-7045

WellpathCare.com

From: Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

Sent: Tuesday, April 8, 2025 4:09 PM

To: Dheeraj Taranath <DTaranath@wellpath.us>; Angie Baldwin <ARBaldwin@welipath. us>
Cc: webmaster@mbc.ca.gov

Subject: [EXT] Re: Urgent Request for CFMG-Led HR Oversight:

~ GAUTION: This Etnallt is from an EXTERNAL source.. Do not: click links o or ‘open attachments unles you’ :
recognize the sender and know the ¢ content is is safe.. Report suspicious messages t to 2 SPAM @Wellpath: HS: “

Subject: Clarification of HR Jurisdiction and Demand for Physician-Led Oversight of CFMG Employment Matters
+ Dr. Grady Judson Bazzel — California P&S License No. C 53908, Chief Executive Officer, CFMG
* Dr. Richard M. Medrano — California P&S License No. A 103477, Secretary, CFMG

* Dr. Scott Herbert Kennedy — California P&S License No. C 171808, Chief Financial Officer, CKMG

In re Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. S.D. Tex.)

Dear Ms. Baldwin,
Thank you for acknowledging receipt of my recent emails and for including them in your investigative file.

Let me respectfully and unequivocally state that it is my continuing intent to communicate with California Forensic
Medical Group (CFMG) leadership and request that any human resources investigation into my employment as a CFMG-
employed physician be conducted either:

1. By an HR representative employed and directly supervised by a California-licensed physician within CFMG, or
2. Under the exclusive oversight of a physician-led panel consistent with the mandates of the California Medical
Practice Act and the corporate practice of medicine (CPOM) doctrine.

I must also ask you to clearly identify your role in this matter:

* Are you conducting this HR investigation under the direction of CFMG or Wellpath?

« Do any of CFMG’s physician-officers (such as Dr. Bazzel) formally supervise or approve your actions?

* Will your findings be considered binding for purposes of CFMG employment discipline, remediation, or
termination?

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These are critical threshold questions, particularly given your recent statement that | do not need to include Dr. Grady
Bazzel—CFMG's CEO—in these communications. With respect, | must request a written confirmation of that assertion,
as this statement will need to be forwarded to the Medical Board of California in connection with the active
investigation into CFMG's HR governance structure and its compliance with California law.

As you are aware, | have made extensive disclosures concerning the misclassification of my wages, interference with
patient care, retaliatory administrative behavior, and race- and national origin-based discrimination—all of which
occurred under CFMG’s direct authority. To that end, | am compelled to reiterate that these are not Wellpath matters.
These are physician employment grievances governed under California law, requiring physician-led adjudication.

Your role as a Wellpath-employed HR professional may create an inherent conflict of interest when reviewing concerns
that implicate CFMG’s legal structure and California-specific employment protections. Without a clear delegation of
investigatory authority from a CFMG physician-officer, any HR process led exclusively by you may be legally insufficient
and procedurally invalid under California Business & Professions Code 882400 et seq.

As a reminder, | previously addressed these issues in my April 3, 2025 letter to Wellpath’s Chief Legal Officer Marc
Goldstone, which was copied to Kerrie Webb, Staff Counsel for the Medical Board of California. That letter outlines
how Wellpath’s HR and corporate structure continue to violate CPOM restrictions, ERISA standards, and IRC 8409A
deferred compensation laws—all of which are now under regulatory scrutiny.

Additionally, | have communicated the urgency of these concerns to Dr. Dheeraj Taranath and CFMG leadership,
including in my April 3 email regarding the April 11 meeting. | have clearly laid out the binding physician-led resolution
terms that must be finalized in that meeting to avoid external escalation. These terms include employment
protections, compensation parity, deferred compensation recovery, and full whistleblower safeguards—all of which are
grounded in California’s statutory protections for physicians and employees.

In light of the above, please confirm the following:

4. Whether your investigation is authorized by any of the California-licensed physician-officers of CFMG.

2. Whether your findings will be used to support or justify any future CFMG disciplinary actions.

3. Whether you have any direct reporting obligations ta CFMG leadership. .

4. Whether CFMG’s physician-shareholders have delegated their non-delegable duties (under California law) to
Wellpath’s HR.

5, Whether Wellpath is asserting that your investigation satisfies California HR standards for professional medical
corporations,

Absent affirmative and documented answers to these questions, | must regard the current HR review process as
precedurally flawed and noncompliant with state law.

For the record, | am still fully open to an internal resolution—as emphasized in my prior correspondence. However, if
this process continues without physician oversight, or if Dr. Bazzel is excluded from further communication, | will be
obligated to report this as further evidence of CFMG’s failure to retain legally required physician control over
employment matters.

i respectfully await your clarification and look forward to a transparent discussion that complies with both California
labor protections and our ethical duty to uphold physician autonomy in correctional healthcare.

Best regards,

Dr. Kanwar P. Singh Gill

Senior Physician

Fresno County Adult Detention Facility

Email: kpsgiti@kpsgill.com

Sent from my personal email account for documentation and independence purposes

On Tue, Apr 8, 2025 at 12:04 PM Kanwar Partap Singh Gill <kpsgill@kpsqgill.com> wrote:

Subject: Urgent Request for CFMG-Led HR Oversight: Wellpath’s Interference with CFMG Physician Employment
Matters

* Dr. Grady Judson Bazzel — California P&S License No. C 53908, Chief Executive Officer, CFMG

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' » Dr. Richard M. Medrano — California P&S License No. A 103477, Secretary, CFMG
+ Dr. Scott Herbert Kennedy — California P&S License No. C 171808, Chief Financial Officer, CFMG
Dear Dr. Bazzel, Dr. Medrano, and Dr. Kennedy,

1 write to you today not just as a colleague and long-standing CFMG physician, but as a party directly affected by
what | must assert is an unlawful and inappropriate delegation of human resources oversight to Wellpath—a non-
California management services organization. This matter demands urgent attention by CFMG’s licensed physician
leadership.

As you are aware, | am employed by California Forensic Medical Group (CFMG). Yet, all current internal HR
investigations into my employment-related grievances are being handled solely by Angie Baldwin, a human
resources officer of a Management Services Organization (WellPath) based in Tennessee. While Ms. Baldwin has
been communicative, she is not employed by CFMG and is not licensed to oversee or adjudicate employment matters
involving California-licensed physicians governed under the Medical Practice Act and associated state labor
protections.

Let me be clear: these are not Wellpath matters. These are employment-related grievances between a physician
and CFMG-—a California professional medical corporation. The decision to delegate this process to Wellpath, which
is not licensed to engage in the practice of medicine or employ physicians under California law, amounts to a
violation of the corporate practice of medicine (CPOM) doctrine, California Business & Professions Code 88 2400 et
seq., and likely exposes CFMG to civil and criminal liability.

Summary of Concerns Raised (HR in Nature and CFMG-Specific):

1. Race-Based Discrimination in Leadership

2 1am the only brown physician remaining in senior leadership at our site.

© Despite more than five years of dedicated service with CFMG and having been licensed to practice
medicine since 2009, | was passed over for the Medical Director position at the juvenile facility in favor
of a physician who obtained their license in 2018. This decision raises significant concerns, particularly
given the substantial difference in clinical experience and leadership tenure. | had formally expressed
my interest in the role and engaged in direct dialogue with the Regional Director of Operations
regarding this opportunity. However, after several discussions and assurances, the role was ultimately
awarded to someone with markedly less experience, Based on this and several prior interactions, |
must express—in the most professional but clear terms—that | do not have confidence in the Regional
Director’s judgment or impartiality. Her track record of unfulfilled commitments and lack of
transparency remains one of my greatest concerns moving forward.

o The ongoing pattern of replacing physicians of color—particularly those of South Asian descent—with
tess experienced individuals raises serious concerns under the California Fair Employment and Housing
Act (FEHA), particularly regarding discriminatory practices in leadership appointments based on both
race and national origin.

2. Constructive Termination and Retaliation

° |received credible reports that the RDO, HSA, and DON have discussed “getting rid of me.”
e My repeated whistleblower reports (on deferred compensation, administrative interference, and
discrimination) have been met with hostility and coercive tactics.

3, Misclassification and Mishandling of Deferred Compensation

o My CFMG-earned deferred compensation has been wrongfully absorbed into the Wellpath bankruptcy
estate.

o Wellpath HR staff (e.g., Donald White) have conflated CFMG and Wellpath wages, which undermines
legal distinctions that must be maintained between the two entities.

4, Clinical Interference by Nonphysicians
o [was removed from control of a weekly patient care meeting (which | chair), which was rescheduled
by non-physician staff to conflict with high-volume patient activity.
o These decisions have compromised patient care and violated my obligations under the Medical Practice
Act.

5. Lack of CFMG-Led HR Grievance Process

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 113
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© Since November 2024, | have raised concerns internally without any action by a CFMG-based HR or
physician-leader.

© The current investigation led by Wellpath HR—without CFMG physician oversight—invalidates the entire
process, particularly given the scope and substance of the allegations.

My Format Request to CFMG Shareholders

| am now formally requesting that a human resources representative employed by CFMG—and reporting to a
California-licensed physician-officer of CFMG—be assigned to oversee and adjudicate the investigation of my
grievances. This includes the alleged:

Racial discrimination;

Constructive and retaliatory conduct;

Compensation misappropriation; and

Workplace interference that affects patient care and my medical license.

Any continued reliance on a Wellpath investigator for this matter will be viewed as a continued violation of CPOM
and a dereliction of CFMG’s non-delegable duties as a professional medical corporation under California law.

Legal Exposure if Not Addressed

Should any adverse action—up to and including termination—be taken against me while Wellpath is improperly
handling what are clearly CFMG physician HR issues, | would have no option but to assert my rights under:

¢ California Labor Code §1102.5 (whistleblower retaliation);

* California Fair Employment and Housing Act (FEHA);

° California Medical Practice Act (Business & Professions Code 882052 et seq.);
+ Federal ERISA and bankruptcy whistleblower provisions.

Such a termination, under the present circumstances and timeline of protected activity, would appear overtly
retaliatory and discriminatory on its face.

Closing

| have dedicated over five years of service to CFMG, consistently delivering exceptional clinical outcomes, financial
savings, and professional leadership. | have made every effort to resolve these concerns internally and respectfully.
It is now incumbent on you—as CFMG’s licensed shareholders and physician leaders—to reclaim your statutory
responsibilities and immediately assign a proper, physician-governed HR process for this matter.

Please confirm that this request is being escalated appropriately within CFMG, and that a CFMG-based HR
professional—-answering to physician leadership—will be assigned immediately to review and address my concerns.

Sincerely,

Dr. Kanwar P. Gill

Senior Physician, Fresno County Adult Detention Facility

Sent from my personal account to preserve independence and documentation

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 114
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KPSGiLe.COM Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

Fwd: Subject: Administrative Notice of Pending Service — Fresno County Counsel
Coordination !nitiated
1 message

Kanwar Gill MD <kpsgill@kpsgill.com> Sat, Apr 12, 2025 at 5:53 PM
To: dcederbora@fresnocountyca.gov,. District1 @fresnocountyca.gov, District2@fresnocountyca.gov,
District3@fresnocountyca.gov, District4@fresnocountyca.gov, Districth@fresnocountyca.gov

Dear Mr. Cederborg and Honorable Supervisors,

As a follow-up to my April 12 compliance advisories, | am forwarding below a formal
notice that was transmitted to CFMG & Wellpath Holdings, Inc. and its counsel on the
same date. The purpose of that communication was to clarify that procedural materials
relevant to In re Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. S.D. Tex.) will
be served to Fresno County beginning Monday, April 14, 2025, in light of the County’s
contractual and governance alignment with California Forensic Medical Group
(CFMG) and Wellpath.

The message does not name Fresno County as an adversarial party. It does, however,
document the factual and regulatory convergence now under federal review, which
directly implicates the County’s public oversight role under the CFMG contract and the
Hall v. Fresno Remedial Plan.

This forwarded communication is provided in good faith and under privilege to ensure
that all recipients are fully informed prior to upcoming court and regulatory
proceedings. I welcome any formal acknowledgment of receipt from your office.

Respectfully,

Dr. Kanwar Partap Singh Gill

Senior Staff Physician — California Forensic Medical Group

Fresno County Adult Detention Facility

Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. S.D. Tex.)
Email: kpsgill@kpsgill.com

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Attachment: Forwarded message dated April 12, 2025 — “Administrative Notice of
Pending Service — Fresno County Counsel Coordination Initiated”

Best Regards,
Kanwar Gill MD

IMPORTANT CONFIDENTIALITY NOTICE:

Transmission of this message does not waive doctor-patient, attorney-client, work product, or intellectual property
privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic communication.

Begin forwarded message:

From: Kanwar Gill MD <kpsgili@kpsgill.com>

Date: April 12, 2025 at 3:41:23 PM PDT

To: Marc Goldstone <MGoldstone@wellpath.us>, Angie Baldwin <ARBaldwin@welipath.us>

Cc: bankruptcymail@wellpath us

Subject: Subject: Administrative Notice of Pending Service — Fresno County Counsel Coordination
Initiated

Subject: Administrative Notice of Pending Service — Fresno County Counsel
Coordination Initiated

April 12th, 2025

To

Marc Goldstone mgoidstone@wellpath.us
Angie Baldwin angie_baldwin@welipath.us
bankruptcymail@weillpath.us>

Dear Counsel,

This message is transmitted as a professional courtesy and should not be construed as a request for
dialogue or as a waiver of any procedural, jurisdictional, or substantive rights. | write to confirm that, as of
Monday, April 14, 2025, certain procedural materials will be formally transmitted to the Office of County
Counsel for Fresno County, with appropriate informational coordination extended to the relevant
supervisory offices therein.

This development is, in part, a natural consequence of the multidimensional alignment between
administrative funding structures, professional governance frameworks, and fiduciary flows as they intersect
across state-regulated and federally-overseen contractual entities. Accordingly, a limited set of documents
reflecting material intersections of fact, oversight, and regulatory posture will be served to the County in its
capacity as a coextensive contracting body within the operational framework relevant to the current matter
pending before the United States Bankruptcy Court for the Southern District of Texas.

To preclude misunderstanding: no adversarial designation is being made with respect to any governmental
recipient. Nor should this development be interpreted as a predicate to any declaratory position not already

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subject to judicial review. Rather, the engagement of Fresno County at this juncture reflects a procedural
alignment made necessary by the underlying structural convergence of corporate, clinical, and fiduciary
authority, and the administrative role of County-funded governance mechanisms as they pertain to the
subject entity's licensure and oversight environment.

The inclusion of this governmental actor in the service framework is neither novel nor dispositive. It merely
reflects the factual trajectory now manifest in the record and acknowledges the emergent alignment
between contract administration, physician oversight, and regulatory immunities as implicated under both §
362(b)(4) and § 524(e) of the Bankruptcy Code.

You are advised, out of prudence and fiduciary care, to update your internal understanding of all currently
implicated counterparties, particularly as the structural implications now extend beyond vertical MSO
arrangements and into layered zones of administrative entanglement not clearly disclosed in prior filings.

No additional disclosures will precede formal service. Any assumption of strategic intent in this message
would be misplaced.

Sincerely,

Dr. Kanwar Partap Singh Gill

Senior Staff Physician — California Forensic Medical Group
_ Fresno County Adult Detention Facility

Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. S.D.
Tex.)

Email: kpsgill@kpsgill.com
IMPORTANT CONFIDENTIALITY NOTICE:

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property privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic
communication.

Begin forwarded message:

From: Kanwar Partap Singh Gill <kpsgill@kpsqgill.com>

Date: April 10, 2025 at 9:38:59 PM PDT

To: Marc Goldstone <MGoldstone@wellpath.us>, Felicia Perlman <Fperlman@mwe.com>,
"Marcus A. Helt" <mhelt@mwe,com>, Steven Szanzer <sszanzer@mwe.com>, Carole
Wurzelbacher <cwurzelbacher@mwe.com>, Grady J Bazzel <JBazzel@zenovacare.com>,
Richard Medrano <RMedrano@wellpath.us>, Scott Kennedy <ScottKennedy@welipath.us>,
"Webb, Kerrie@MBC" <Kerrie. Vebb@mbc.ca.gov>, Susan Hersh
<Susan.Hersh@usdoj.gov>, Ha Nguyen <Ha. Nguyen@usdoj.gov>,
lucas.schneider@stinson.com, USTPRegion07.HU.ECF @usdoj.gov,
bankruptcymail@wellpath.us, ebarak@proskauer.com, brosen@proskauer.com,
ddesatnik@proskauer.com, Zachary. hemenway@stinson.com, letf@dir.ca.gov,
DLSE2@dir.ca.gov, ueo@edd.ca.gov, Kanwar Gill <kagill @wellpath.us>

Subject: Final Legal Notice - CPOM Violations, Misappropriated Compensation, and
Plan Objection Grounds - Wellpath Holdings, Inc, — Case No. 24-90533 (Bankr, $.D-
Tex.)

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Subject: Final Legal Notice - CPOM Violations, Misappropriated Compensation, and Plan
Objection Grounds

In re Wellpath Holdings, Inc. — Case No. 24-90533 (Bankr. S.D. Tex.)

To:

Marc Goldstone — Chief Legal Officer, Wellpath

Felicia Perlman — Counsel, McDermott Will & Emery

Marcus Helt — Counsel, McDermott Will & Emery

Steven Szanzer — Counsel, McDermott Will & Emery

Carole Wurzelbacher — McDermott Will & Emery

Angie Baldwin — Senior Employee Relations Manager, Wellpath
Dr. Grady Judson Bazzel — CEO, California Forensic Medical Group (CFMG)
Dr. Richard Medrano — Secretary, CFMG

Dr. Scott Kennedy - CFO, CFMG

Kerrie Webb — Staff Counsel, Medical Board of California
United States Trustee, Southern District of Texas

Official Committee of Unsecured Creditors (via counsel)

From:

Dr. Kanwar P. Gill

Senior Physician, CFMG — Fresno County Adult Detention Facility
Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533

Dear Counsel, Officers, and Regulatory Authorities:

This message serves as formal and final pre-filing notice of legal, regulatory, and structural
violations relevant to the confirmation of the Chapter 11 Plan in the above-captioned case.
The facts presented herein will be incorporated into my April 14th supplemental filing and
disseminated to state and federal enforcement bodies. The issues are no longer speculative;
they are supported by a factual and documentary record, implicating multiple statutory and
constitutional violations across:

* California’s Corporate Practice of Medicine (CPOM) doctrine

+ Business and Professions Code §§ 2400-2417

e Labor Code § 1102.5 (Whistleblower Retaliation)

» ADA and FEHA (Title 42, U.S.C. §§ 12101 et seq.; Cal. Gov. Code §§ 12900 et seq.)

e ERISA fiduciary standards and IRC § 409A

¢ Bankruptcy Code §§ 362(b)(4), 524(e), and 1129(a)
|. Non-Physician Control Over Physician Employment — CPOM Violations
Under People v. Cole, 38 Cal, 2d 99 (1951), and Conway v. State Bd. of Med. Exam’rs, 47
Cal. App. 2d 105 (1941), any lay control over the practice of medicine—including physician
employment decisions—is void as against public policy. Despite Wellpath’s MSO label, CFMG
physician governance has been functionally nullified by direct administrative interference.

Specifically:

+ Angie Baldwin (Wellpath HR} is conducting disciplinary investigations into CFMG-
employed physicians without oversight by any California-licensed CFMG shareholder.

* Deanna Huff (HSA, Wellpath) has issued directives regarding physician productivity,
scheduling, and documentation priorities in violation of Cal. Bus. & Prof. Code §§ 2052,
2264, and 2400.

‘* Eric Krenz (DON, CFMG) has aligned with non-physician executives at Wellpath to

unilaterally reassign patient lists and direct triage workflows, violating Title 15 CCR §
1208 and § 1210.

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First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized)

° Linda Matlock (RDO, Wellpath) has issued clinical directives affecting physician
operations despite not holding a medical license.

These acts represent not only CPOM viciations but also potential grounds for license
revocation under In re Basile and In re Mukerji (Medical Board of California precedent), and
are reportable to the California Attorney General for prosecution under Penal Cede § 550.

il. Deferred Compensation Misappropriation — Trust and Tax Violations

My compensation—earned through CFMG employment—was withheld and rerouted
through a Non-Qualified Deferred Compensation Plan (NQDCP) administered by
Welipath. Upon Wellpath’s bankruptcy filing:

° My NQDCP funds were frozen and treated as property of the estate, in violation of 11
U.S.C. § 544(d).

* No legal authority existed for Wellpath to administer, seize, or condition the return of
funds earned under a non-debtor entity (CFHG).

e This mismanagement exposes me to tax penalties under IRC § 409A and potential
ERISA breaches (see 29 U.S.C. § 1104).

This claim is non-dischargeable, non-negotiable, and must be carved out. | have
formally demanded return of funds with indemnity for all IRS and California FTB
liabilities, as stated in correspondence on record.

ll). Whistleblower Retaliation and Constructive Termination Efforts

After raising legal concerns—including CPOM violations, wage theft, and administrative
interference—| was:

° Investigated by Wellpath HR under Ms. Baldwin's direction with no oversight from
CFMG physician-sharehalders;

» Removed from internal clinical leadership functions;
* Scheduled for meetings conflicting with patient care;

* Subject to a campaign of retaliation including pretextual efforts to terminate or
sideline me, corroborated by internal discussions noted by site staff.

These are textbook violations under Yanowitz v. L’Oreal, 36 Cal. 4th 1028 (2005) and
Shephard v. Loyola Marymount, 102 Cal. App. 4th 837 (2002). I have filed formal
complaints with the Medical Board of California, Department of Labor, and EEOC, with
additional filings to the California Department of Fair Employment and Housing imminent.

IV. Plan Confirmation Barriers — Legal and Structural Defects
As currently proposed, the Plan:

° Relies on illegal employment structures in California, and thus fails the § 1129(a)(3)
good faith requirement.

* Proposes non-consensual third-party releases for CFMG and individual officers, in
direct violation of § 524(e) and In re Pacific Lumber, 584 F.3d 229 (5th Cir. 2009).

° Invokes an improper extension of the automatic stay to non-debtor CFMG, which
the Fifth Circuit does not permit absent clear, record-supported findings—none of
which exist here.

The U.S. Supreme Court's ruling in Harrington v. Purdue Pharma, 603 U.S (2024) places
additional limitations on such non-consensual third-party releases. Wellpath cannot, through a
bankruptcy plan, discharge regulatory liability or misappropriate physician wages earned
outside of the debtor entity.

V. Demand for Settlement or Carve-Out — Opportunity for Resolution

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As outlined in prior communications, | remain open to settlement under the following non-
negotiable terms:

1, Immediate restoration of all deferred compensation and indemnification for all
associated tax liabilities;

2. Employment protection against retaliatory termination, memorialized in a binding
agreement;

3. Cessation of HR investigations unless authorized by a California-licensed physician-
officer;

4. Structural reform ensuring CPOM compliance through physician-governed oversight;

5. Affirmation of whistleblower protections, with standing to pursue injunctive relief if
retaliated against.

Absent agreement on these points, | will seek judicial relief and regulatory enforcement.
No court can confirm a plan that locks in an illegal, retaliatory, and structurally flawed
corperate model.

VI. Strategic Posture and Litigation Warning

If Wellpath attempts to oppose my pending motions and defends the current structure, it will
be on record affirming a CPOM-violating model, inviting enforcement from:

* Medical Board of California
« IRS and Department of Labor
* State Attorneys General and DOJ Civil Rights Division

This is not merely an employment dispute. it is a test of whether a national healthcare
company may use Chapter 11 to shield itself from state regulatory oversight, seize
physician trust assets, and retaliate against whistleblowers—all under federal court protection.

The answer, under law and policy, is no.

Conclusion

This email, and its supporting exhibits and communications, will be incorporated into my
supplemental filing, no later than April 14th 2025 unless immediate corrective action is
taken. | urge Wellpath and its counsel to act—nof only for your client's legal protection, but for
the fong-ferm sustainability of post-confirmation operations in California and other CPOM
jurisdictions.

Respectfully,

Dr. Kanwar P. Gill

Senior Physician, Fresne County Adult Detention Facility

Email: kpsgill@kpsgill.com

Pro Se Creditor — In re Wellpath Holdings, Inc., Case No, 24-90533

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 120

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MPSGHLE..COM Kanwar Partap Singh Gill <kpsgili@kpsqiil.com>

Legal Exposure and Regulatory Risk Arising from Administrative Interference in
Medical Judgment—California Compliance Framework
1 message

Kanwar Gill <KaGill@wellpath.us> Thu, Apr 10, 2025 at 1:23 PM
To: "Marc D. Goldstone" <MGoldstone@wellpath.us>, Angie Baldwin <ARBaldwin@wellpath.us>

MEMORANDUM

To: Marc Goldstone, Chief Legal Officer, Wellpath

Cc: Angie Baldwin, Senior Employee Relations Officer, Wellpath

From: Dr. Kanwar Gill, MD

Date: April 10, 2025

Subject: Legal Exposure and Regulatory Risk Arising from Administrative Interference in Medical Judgment—California
Compliance Framework

I]. PURPOSE AND COMPLIANCE FRAMEWORK

This memorandum is submitted to provide a comprehensive legal analysis and formal notice regarding the administrative
conduct of Deanna Huff, Eric Krenz, and Linda Matlock, whose recent actions at the Fresno County Adult Detention Facility
raise significant and actionable concerns under:

* California Business and Professions Code §§ 2052, 2264, and 2400 (prohibiting the unlicensed practice of medicine and
corporate interference in medical judgment);

California Code of Regulations Title 16 § 1364.10 et seq.;

Medical Board of California disciplinary precedents (e.g., Basile, Wolfenden, Mukerji cases),

Board of Registered Nursing (BRN) regulatory mandates for licensed RNs acting outside of scope;

Penal Code § 550 (criminal penalties for false or unauthorized healthcare arrangements).

These violations are not speculative; they are directly supported by the attached Medical Board Enforcement Actions and
P&S Practice Guidelines, which articulate enforcement standards, injunctive remedies, administrative sanctions, and
prosecutorial pathways.

ll. ROLE-SPECIFIC VIOLATIONS AND LEGAL CONSEQUENCES

A. Deanna Huff RN — Health Services Administrator (Véllpath)

¢ Despite licensure as a Registered Nurse, Ms. Huff serves solely as an administrative agent of Wellpath, a nan-
clinical management services organization.
« Documented practices attributed to Ms. Huff include:
© Reviewing physician productivity and documentation timeframes.
© Dictating daily patient volumes and structuring physician schedules.
2 Exerting contro! over clinical referrals and procedural prioritization.

Legal tmptications
These activities constitute unauthorized practice of medicine and, under BPC §§ 2052 and 2264, may result in:

* Formal disciplinary action by the BRN;
* Cite-and-fine penalties up to $5,000 under CCR § 1364.11;
« Referral to the California Attorney General for misdemeanor prosecution per BPC § 2052(d).

Additionally, as Huff acts on behalf of Wellpath, a lay entity, her conduct may be construed as corporate interference in
violation of BPC § 2400, exposing both the organization and its officers to regulatory and civil sanctions.

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B. Eric Krenz, RN — Director of Nursing (CFMG)

» Mr. Krenz is an employee of CFMG, a physician-owned medical corporation. However, his conduct suggests de
facto subordination to Wellpath’s operational hierarchy, bypassing the authority of the Medical Director.

Key violations include:

» Interfering in physician schedules and assigning patients without physician direction;
* Taking operational cues from non-licensed administrative staff or regional managers rather than CFMG physician
officers.

Legal Implications

° Aiding and abetting the unlicensed practice of medicine per BPC § 2264, with direct disciplinary exposure;

« Possible revocation of nursing license for exceeding the legal scope of an RN;

* Risk of being charged as a surrogate agent of a lay corporate practice, mirroring findings in Basie and Wolfenden
precedents.

Mr. Krenz's alignment with non-clinical decision-makers is particularly concerning given the clear requirement under Title
15 CCR §§ 1208 and 1210 for physician-controlled delivery of care in correctional settings.

C. Linda Matlock — Regional Director of Operations (Wéilpath)

+ Ms. Matlock is not a licensed health professional but has exercised direct influence over care coordination,
referral decisions, and physician expectations.
« This exceeds her administrative scope and crosses into clinical governance.

Ed Legal Implications
Under Medical Board and Attorney General standards, this constitutes:

¢ Unlicensed practice of medicine;
« False representation and control over a medical practice (violating BPC §§ 2052, 2400, and 17500);
» Grounds for the Medical Board to seek injunctive relief and civil penalties via the California Department of Justice.

Should the Board pursue enforcement, her actions may also be subject to § 17200 claims for unfair business practices and
expose Wellpath to organizational fines and restitution orders.

Ill. ORGANIZATIONAL RISK AND PRECEDENTIAL ENFORCEMENT

The Medical Board of California’s precedents (in re Basile, Wolfenden, Mukerji) make clear:

° Physicians employed or affiliated with lay entities who allow control over patient care to be exercised by non-
physicians are subject to license revocation, even absent intent;
» Lay administrators or RNs acting beyond scope may face disciplinary, civil, and criminal actions, including:
© Administrative suspension or revocation.of licenses;
© §2,500-$5,000 per violation in fines under CCR § 1364.11;
e Injunctions under BPC §§ 125.5 and 2311;
© Criminal referral to the California Attorney General (BPC § 2052(a)).

These standards are designed to preserve the sanctity of medical decision-making and prevent precisely the kind of
operational encroachment now observed at Fresno County Adult Detention Facility.

IV. RECOMMENDED ACTIONS

1. Immediate legal audit of all administrative policies related to physician scheduling, documentation oversight, and
referral coordination.

2. Cease-and-desist directive to all non-physician personnel engaged in or influencing medical decision-making.

3. HR disciplinary review of the conduct of Deanna Huff, Eric Krenz, and Linda Matlock in light of BPC violations,

4. Independent third-party compliance training for all Wellpath/CFMG personnel on California's CPOM doctrine and
scope of practice.

5. Corrective filings with the Medical Board if any prior misrepresentations or role misclassifications have occurred.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA $3720 April 19th, 2025 (Notarized) Page 122
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V. FINAL NOTICE AND PRESERVATION OF RIGHTS

This memorandum serves as formal notice of the aforementioned violations and as a protective record of compliance
concerns. | reserve the right to present this information to regulatory bodies, including but not limited to:

* The Medical Board of California;
« The California Board of Registered Nursing;
* The California Attorney General’s Office — Healthcare Fraud Division;

No further tolerance will be extended to administrative interference in medical decisions, and any retaliatory employment
actions will be pursued as whistleblower retaliation under applicable statutes and federal protections.

Best Regards,

Kanwar Gill MD
GFMG+iWellpath

Fresno County Adult Detention Facility

1225 M Street, Fresno, CA 93721
Office: (659) 600-9365

Email: KaGill@welipath.us

IMPORTANT CONFIDENTIALITY NOTICE:

Transmission of this message does not waive doctor-patient, attorney-client, work product, or inteilectual property
privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic communication.

From: Kanwar Gill

Sent: Thursday, April 10, 2025 10:44 AM

To: Deanna Huff <Deanna.Hufi@Wellpath.us>

Cc: Linda Matlock <LMatlock@Wellpath.us>; Heather Barry <HBarry@Wellpath.us>; Alla Liberstein
<Alla.Liberstein@Wellpath.us>,; Julius Metts <JuMetts@Wellpath.us>; Eric Krenz <EKrenz@Wellpath.us>; Angie Baldwin
<ARBaldwin@VWellpath.us>
‘Subject: Referral Coordination, Regulatory Compliance, and Medical Oversight Standards

Importance: High

Subject: Referral Coordination, Regulatory Compliance, and Medical Oversight Standards

To: Deanna Huff, HSA

cc:

Linda Matlock — Regional Director of Operations
Heather Barry — Regional Vice President

Alla Liberstein, MD ~ Medical Director

Julius Metts, MD — Staff Physician

Eric Krenz — Director of Nursing

From: Dr. Kanwar Gill, MD
Date: April 10, 2025

First Dectaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 123
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Dear Deanna,

Thank you for your email and continued involvement in the care of highly complex, special needs patients. | would like to
take a moment to express my genuine appreciation for the team-based model we strive to maintain, as well as the
thoughtful collaboration from leadership, both locally and regionally.

That said, | would like to offer some formal clarification about the structure, content, and purpose of my recent
communications and documentation, including the comprehensive nature of my recent chart reviews and team emails.

Over the past 10-15 days, | have had direct discussions with the Chief Medical Officer of Wellpath, during which
expectations were clearly communicated regarding the documentation responsibilities of licensed physicians in
correctional settings. As a result, the length and legal structure of my communications are not arbitrary—they are
deliberate, protective, and necessary. These documents are crafted with three primary objectives:

1. To comply with Title 15 of the California Code of Regulations, particularly Sections 1208 and 1210;

2. To fulfill the mandates of the Hall v. County of Fresno Remedial Plan, including provisions on access to care,
specialty referrals, and physician-led medical decision-making;

3. To align with expectations of the Medical Board of Califernia, including protections against unlicensed practice
and improper inftuence on physician clinical judgment.

This approach is also a direct response to recent oversight practices | have abserved locally, including:

* Review of my productivity and documentation timing by unlicensed personnel;

¢ Interference in the creation and control of the physician schedule;

« Attempts to restrict or dictate the number of patients a physician may see per day;

* Requests for "AM/PM patient lists" used for performance monitoring outside of peer-reviewed, clinical frameworks.

Per Business and Professions Code §§ 2052 and 2400, and as reaffirmed by enforcement summaries from the
Medical Board of California, these actions are inconsistent with the lawful scope of practice and may constitute
elements of the unlicensed practice of medicine or illegal interference in a physician's duties. The law is clear that only
California-licensed physicians may make medical decisions, including how many patients to see, who to see, and how
clinical priorities are set.

To be clear: | remain fully willing to collaborate, advocate, and assist with patient care. But under California law, clinical
judgment and patient oversight must rest solely with the licensed physician. Decisions involving the assignment of
external providers or the structuring of the clinic day cannot be made by administrative or unlicensed staff—no matter how
well intended.

Furthermore, contracting with outside specialists and ensuring network adequacy are administrative and operational
tasks, While | will continue to support clinical handoffs, the responsibility for sourcing, scheduling, and contracting
with providers lies with Health Services Administration, Utilization Management, and Contracting, per Wellpath’s
policies and consistent with the separation of duties required by state law.

| want to emphasize that my objective is not to create conflict—but to ensure that we are all protected. The current
documentation trail serves to:

« Defend against any allegations of substandard care or failure to act;
* Mitigate legal exposure for myself and my employer CFMG;
e Clarify the roles and legal responsibilities of all team members involved in patient care.

} deeply value my working relationships with all of you. [ remain grateful for the leadership of our Medical Director, Dr.
Alla Liberstein, whose open-door policy and clinical collaboration | appreciate. | also commend Linda Matlock and
Heather Barry, whose energy, expertise, and professionalism have made a lasting impression on me and others.

| believe in our team and in the mission of this facility. | want to continue to serve in a way that is both impactful and fully
compliant with the expectations of the Medical Board of California, Wellpath, and the laws governing licensed
medical practice in this state.

However, | must also be clear: any further interference with my medical decisions, my patient lists, or
documentation processes by unlicensed individuals will be addressed through the appropriate legal and
regulatory pathways including but not limited to medical Board of California and California Board of registered
nursing. This message serves as a formal, professional notice of my expectations and legal protections under current
state law and ethical medical standards.

1 appreciate your understanding and your continued support as we work together to deliver patient-centered, compliant,
and defensible care.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 124

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Best Regards,

Kanwar Gill MD

GFhiG+Welipath

Fresno County Adult Detention Facility
1225 M Street, Fresno, CA 93721

Office: (559) 600-9365

Email: KaGiill@wellpath.us

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privieges, Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic communication.

2 attachments

ay Medical Board enforcement actions.pdf
5831K

i) P&S Practice Information _ Medical Board of California.pdf
68K

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 18th, 2025 (Notarized) Page 125

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Urgent Continuation of April 12 Notice — Immediate County Action
Required to Prevent Derivative and Regulatory Exposure

Kanwar Gill MD <kpsgill@kpsgill.com> Sat, Apr 12, 4.44PM (Qcdaysago} xe
to dcederborg, District, District2, District}, District4, Districts ~

Subject: Urgent Continuation of April 12 Notice — Immediate County Action
Required to Prevent Derivative and Regulatory Exposure

Dear Mr. Cederborg and Honorable Supervisors,

This correspondence follows and expressly supplements my privileged April 12,
2025 communication regarding the structural and regulatory entanglements now
afflicting Fresno County through its ongoing contractual engagement with Califor
Forensic Medical Group (CFMG) and its management entity, Wellpath. That initi
advisory was issued in good faith to alert the County of emergent liabilities that—
left unaddressed—-may culminate in irreversible legal, financial, and reputational
harm to the County. Today’s continuation is not merely advisory; it constitutes a
direct call to action to preserve institutional integrity, avoid judicial entanglement
and mitigate imminent exposure across multiple statutory domains.

The convergence of issues now before the United States Bankruptcy Court in In ri
Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. $.D. Tex.), has revealed
inescapable overlap between the County’s publicly funded correctional healthcare

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 Apri! 18th, 2025 (Notarized) Page 126

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KPSGILL.COM Kanwar Partap Singh Gili <kpsgill@kpsqill.com>

Fwd: Subject: Administrative Notice of Pending Service — Fresno County Counsel
Coordination Initiated
1 message

Kanwar Gill MD <kpsgill@kpsgill.com> Sat, Apr 12, 2025 at 5:53 PM
To: dcederborg@fresnocountyca. gov, Districtt @fresnocountyca.gov, District2@fresnocountyca.gov,
District3 @fresnocountyca.gov, District4@fresnocountyca.gov, Districts@fresnocountyca.gov

Dear Mr. Cederborg and Honorable Supervisors,

As a follow-up to my April 12 compliance advisories, I am forwarding below a formal
notice that was transmitted to CFMG & Wellpath Holdings, Inc. and its counsel on the
same date. The purpose of that communication was to clarify that procedural materials

_ relevant to In re Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. S.D. Tex.) will
be served to Fresno County beginning Monday, April 14, 2025, in light of the County’s

contractual and governance alignment with California Forensic Medical Group
(CFMG) and Wellpath.

The message does not name Fresno County as an adversarial party. It does, however,
document the factual and regulatory convergence now under federal review, which
directly implicates the County’s public oversight role under the CFMG contract and the
Hall v. Fresno Remedial Plan.

This forwarded communication is provided in good faith and under privilege to ensure
that all recipients are fully informed prior to upcoming court and regulatory
proceedings. | welcome any formal acknowledgment of receipt from your office.

Respectfully,

Dr. Kanwar Partap Singh Gill

Senior Staff Physician — California Forensic Medical Group

Fresno County Adult Detention Facility

Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. S.D. Tex.)
Email: kpsgill@Kpsgill.com

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 127

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Attachment: Forwarded message dated April 12, 2025 — “Administrative Notice of
Pending Service — Fresno County Counsel Coordination Initiated”

Best Regards,
Kanwar Gill MD

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privileges. Title 18 U.S. Code§ 2611 prohibits interception and disclosure of this electronic communication.

Begin forwarded message:

From: Kanwar Gill MD <kpsaiil@kpsgill.com>

Date: April 12, 2025 at 3:41:23 PM PDT

To: Marc Goldstone <MGoldstone@wellpath.us>, Angie Baldwin <ARBaldwin@welipath.us>

Gc: bankrupicymail@wellpath.us

Subject: Subject: Administrative Notice of Pending Service — Fresno County Counsel Coordination
Initiated

Subject: Administrative Notice of Pending Service — Fresno County Counsel
Coordination Initiated

April 12th, 2025

To

Marc Goldstone mgoidstone@wellpath.us
Angie Baldwin angie_baldwin@wellpath.us
bankruptcymail@wellpath.us>

Dear Counsel,

This message is transmitted as a professional courtesy and should not be construed as a request for
dialogue or as a waiver of any procedural, jurisdictional, or substantive rights. | write to confirm that, as of
Monday, April 14, 2025, certain procedural materials will be formally transmitted to the Office of County
Counsel for Fresno County, with appropriate informational coordination extended to the relevant
supervisory offices therein.

This development is, in part, a natural consequence of the multidimensional alignment between
administrative funding structures, professional governance frameworks, and fiduciary flows as they intersect
across state-regulated and federally-overseen contractual entities. Accordingly, a limited set of documents
reflecting material intersections of fact, oversight, and regulatory posture will be served to the County in its
Capacity as a coextensive contracting body within the operational framework relevant to the current matter
pending before the United States Bankruptcy Court for the Southern District of Texas.

To preclude misunderstanding: no adversarial designation is being made with respect to any governmental
recipient. Nor should this development be interpreted as a predicate to any declaratory position not already

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 128

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subject to judicial review. Rather, the engagement of Fresno County at this juncture reflects a procedural
alignment made necessary by the underlying structural convergence of corporate, clinical, and fiduciary
authority, and the administrative role of County-funded governance mechanisms as they pertain to the _
subject entity's licensure and oversight environment.

The inclusion of this governmental actor in the service framework is neither novel nor dispositive. It merely
reflects the factual trajectory now manifest in the record and acknowledges the emergent alignment
between contract administration, physician oversight, and regulatory immunities as implicated under both §
362(b)(4) and § 524(e) of the Bankruptcy Code.

You are advised, out of prudence and fiduciary care, to update your internal understanding of all currently
implicated counterparties, particularly as the structural implications now extend beyond vertical MSO
arrangements and into layered zones of administrative entanglement not clearly disclosed in prior filings.

No additional! disclosures will precede formal service. Any assumption of strategic intent in this message
would be misplaced.

Sincerely,

Dr. Kanwar Partap Sirigh Gill

Senior Staff Physician — California Forensic Medical Group
Fresno County Adult Detention Facility

Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. S.D.
Tex.)

Email: kpsgill@kpsgill.com
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property privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic
communication.

Begin forwarded message:

From: Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

Date: April 10, 2025 at 9:38:59 PM PDT

To: Marc Goldstone <MGoldstone@wellpaih.us>, Felicia Perlman <Fperman@mwe.com>,
"Marcus A. Helt" <mheit@mwe.com>, Steven Szanzer <sszanzer@mwe.com>, Carole
Wurzelbacher <cwurzelbacher@mwe.com>, Grady J Bazzel </Bazzel@zenovacare.com>, -
Richard Medrano <RMedranc@welipath.us>, Scott Kennedy <ScoitKennedy@wellpath.us>,
"Webb, Kerrie@MBC" <Kerrie. Vebb@mbc.ca.gov>, Susan Hersh
<Susan.Hersh@usdoj.gov>, Ha Nguyen <Ha Nguyen@usdoj.gov>,
lucas.schneider@stinson.com, USTPRegion07. HU. ECF @usdoj.gov,
bankruptcymail@wellpath.us, ebarak@poroskauer.com, brosen@proskauer.com,
ddesatnik@proskauer.com, Zachary.hemenway@stinson.com, leti@dir.ca.gov,
DLSE2@dir.ca.gov, ueo@edd.ca.gov, Kanwar Gill <kagill@wellpath.us>

Subject: Final Legal Notice - CPOM Violations, Misappropriated Compensation, and
Plan Objection Grounds - Wellpath Holdings, Inc. —- Case No. 24-90533 (Bankr. 5.D,
Tex.)

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 129
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Subject: Final Legal Notice - CPOM Violations, Misappropriated Compensation, and Plan
Objection Grounds

In re Wellpath Holdings, Inc. - Case No. 24-90533 (Bankr. S.D. Tex.)

To:

Marc Goldstone — Chief Legal Officer, Wellpath

Felicia Perlman — Counsel, McDermott Will & Emery

Marcus Helt — Counsel, McDermott Will & Emery

Steven Szanzer — Counsel, McDermott Will & Emery

Carole Wurzelbacher ~ McDermott Will & Emery

Angie Baldwin — Senior Employee Relations Manager, Wellpath
Dr. Grady Judson Bazzel — CEO, Califomia Forensic Medical Group (CFMG)
Dr. Richard Medrano — Secretary, CFMG

Dr. Scott Kennedy — CFO, CFMG

Kerrie Webb — Staff Counsel, Medical Board of California
United States Trustee, Southern District of Texas

Official Committee of Unsecured Creditors (via counsel)

From:

Dr. Kanwar P. Gill

Senior Physician, CFMG — Fresno County Adult Detention Facility
Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533

Dear Counsel, Officers, and Regulatory Authorities:

This message serves as formal and final pre-filing notice of legal, regulatery, and structural
violations relevant to the confirmation of the Chapter 11 Plan in the above-captioned case.

The facts presented herein will be incorporated into my April 14th supplemental filing and

disseminated to state and federal enforcement bodies. The issues are no longer speculative;

they are supported by a factual and documentary record, implicating multiple statutory and
constitutional violations across:

* California’s Corporate Practice of Medicine (CPOM) doctrine
e Business and Professions Code §§ 2400-2417

« Labor Code § 1102.5 (Whistleblower Retaliation)

e ADA and FEHA (Title 42, U.S.C. §§ 12101 et seq.; Cal. Gov. Code §§ 12900 et seq.)

¢ ERISA fiduciary standards and IRC § 409A
« Bankruptcy Code §§ 362(b)(4), 524(e), and 1129(a)

|. Non-Physician Control Over Physician Employment — CPOM Violations

Under People v. Cole, 38 Cal. 2d 99 (1951), and Conway v. State Bd. of Med. Exam’rs, 47

Cal. App. 2d 105 (1941), any lay contro! over the practice of medicine—including physician

employment decisions—is void as against public policy. Despite Wellpath’s MSO label, CFMG
physician governance has been functionally nullified by direct administrative interference.

Specifically:

« Angie Baldwin (Wellpath HR) is conducting disciplinary investigations into CFMG-

employed physicians without oversight by any California-licensed CFMG shareholder.

* Deanna Huff (HSA, Wellpath) has issued directives regarding physician productivity,

scheduling, and documentation priorities in violation of Cal. Bus. & Prof. Code §§ 2052,

2264, and 2400.
* Eric Krenz (DON, CFMG) has aligned with non-physician executives at Wellpath to

unilaterally reassign patient lists and direct triage workflows, violating Title 15 CCR §
1208 and § 1210.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized)

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+ Linda Matlock (RDO, Wellpath) has issved clinical directives affecting physician
operations despite not holding a medical license.

These acts represent not only CPOM violations but also potential grounds for license
revocation under In re Basile and In re Mukerji (Medical Board of California precedent), and
are reportable to the California Attorney General for prosecution under Penal Code § 550.

il. Deferred Compensation Misappropriation — Trust and Tax Violations

My compensation—earned through CFMG employment—was withheld and rerouted
through a Non-Qualified Deferred Compensation Plan (NQDCP) administered by
Wellpath. Upon Wellpath’s bankruptcy filing:

* My NQDCP funds were frozen and treated as property of the estate, in violation of 11
U.S.C. § 541(d).

¢ No legal authority existed for Wellpath to administer, seize, or condition the return of
funds earned under a non-debtor entity (CFMG).

« This mismanagement exposes me to tax penalties under IRC § 409A and potential
ERISA breaches (see 29 U.S.C. § 1104).

This claim is non-dischargeable, non-negotiable, and must be carved out. | have
formally demanded return of funds with indemnity for all IRS and California FTB
liabilities, as stated in correspondence on record.

lll. Whistleblower Retaliation and Constructive Termination Efforts

After raising legal concerns—including CPOM violations, wage theft, and administrative
interference was:

» investigated by Wellpath HR under Ms. Baldwin’s direction with no oversight from
CFMG physician-shareholders;

* Removed from internal clinical leadership functions;
* Scheduled for meetings confticting with patient care;

» Subject to a campaign of retaliation including pretextual efforts to terminate or
sideline me, corroborated by internal discussions noted by site staff.

These are textbook violations under Yanowitz v. L’Oreal, 36 Cal. 4th 1028 (2005) and
Shephard v. Loyola Marymount, 102 Cal. App. 4th 837 (2002). | have filed formal
complaints with the Medical Board of California, Department of Labor, and EEOC, with
additional filings to the California Department of Fair Employment and Housing imminent.

IV. Plan Confirmation Barriers — Legal and Structural Defects
As currently proposed, the Plan:

* Relies on illegal employment structures in California, and thus fails the § 1129(a)(3)
good faith requirement.

« Proposes non-consensual third-party releases for CFMG and individual officers, in
direct violation of § 524(e) and In re Pacific Lumber, 584 F.3d 229 (5th Cir. 2009).

* Invokes an improper extension of the automatic stay to non-debtor CFMG, which
the Fifth Circuit does not permit absent clear, record-supported findings—none of
which exist here,

The U.S. Supreme Court’s ruling in Harrington v. Purdue Pharma, 603 U.S (2024) places
additional limitations on such non-consensual third-party releases. Wellpath cannot, through a
bankruptcy plan, discharge regulatory liability or misappropriate physician wages earned
outside of the debtor entity.

V. Demand for Settlement or Carve-Out - Opportunity for Resolution

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 131
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As outlined in prior communications, | remain open to settlement under the following non-
negotiable terms:

1, Immediate restoration of all deferred compensation and indemnification for all
associated tax liabilities;

2. Employment protection against retaliatory termination, memorialized in a binding
agreement;

3. Cessation of HR investigations unless authorized by a California-ticensed physician-
officer;

4, Structural reform ensuring CPOM compliance through physician-governed oversight;

5. Affirmation of whistleblower protections, with standing to pursue injunctive relief if
retaliated against.

Absent agreement on these points, | will seek judicial relief and regulatory enforcement.
No court can confirm a plan that locks in an iflegal, retaliatory, and structurally flawed
corporate model.

VI. Strategic Posture and Litigation Warning

if Wellpath attempts to oppose my pending motions and defends the current structure, it will
be on record affirming a CPOM-violating model, inviting enforcement from:

« Medical Board of California

+ IRS and Department of Labor

* State Attorneys General and DOJ Civil Rights Division
This is not merely an employment dispute. It is a test of whether a national healthcare
company may use Chapter 11 to shield itself from state regulatory oversight, seize

physician trust assets, and retaliate against whistleblowers—all under federal court protection.

The answer, under law and policy, is no.

Conclusion

This email, and its supporting exhibits and communications, will be incorporated into my
supplemental filing, no later than April 14th 2025 unless immediate corrective action is
taken. ! urge Wellpath and its counsel to act—not only for your client's legal protection, but for
the long-term sustainability of post-confirmation operations in California and other CPOM
jurisdictions.

Respectfully,

Dr. Kanwar P. Gill

Senior Physician, Fresno County Adult Detention Facility

Email: kpsgill@kpsgill.com

Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-80533

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 132
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From: Heather Barry <HBarry@Wellpath.us>
Sent: Tuesday, September 17, 2024 2:39 PM
To: Kanwar Gill

Cc: . Linda Matlock

Subject: Re: Follow Up - Pay Parity/Raise
Thanks Dr Gill

Linda is currently working with Terry on this quarter’s compensation file

On Sep 17, 2024, at 1:59 PM, Kanwar Gill <KaGil@wellpath.us> wrote:

Hello Linda and Heather,

| was wondering if there is an update. My fifth anniversary of employment with the company is this
month. On September 30% 2024, | will complete five years with Wellpath. | was informed by HR that |

will see a pay increase starting October 1° 2024. Please let me know if there is anything | have to do
in the interim.

Best Regards,
Kanwar Gill MD

lellpatn

Fresno County Adult Detention Facility
1225 M Street, Fresno, CA 93721

Office: (559) 600-9365

Email: KaGill@wellpath,us

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intellectual property privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this
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From: Kanwar Gill

Sent: Wednesday, August 28, 2024 10:07 AM
To: ‘Linda Matlock' <L Matlock@Wellpath.us>
Cc: Heather Barry <HBarry@ Wellpath.us>
Subject: RE: Follow Up - Pay Parity/Raise

Good Morning Linda and Heather,
How are you both doing?

| was wondering how long the evaluation of pay rate takes ?

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 133
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This past weekend | attended a soth birthday celebration of a local physician, an event attended by

more than 200 local physicians. | was surprised how the local market has shifted due to medical
(including physician) workforce shortage.

| am hoping to get an increase considering changing market conditions. For your reference, | have
attached a screenshot.

Earlier this year, a physician, Inga Bates MD, worked for WellPath and later left WellPath citing
compensation . She works as a Correctional Physician with state prison. This is a comparable position.
Please find below a snapshot of her 2023 and 2022 pay (taken from CA state records) for your review.

In the last two years, my job duties here in Fresne County Jail have changed significantly. | am now
making facility wide decisions from housing to infection control to seeing patients from all three Jails
due to staffing shortage. Housing shortages in OPHU has posed increased risk to me professionally as |
constantly work with our custody partners to keep transferring patients out of OPHU.

In past, my work was limited to the floor | was. When | came to OPHU in September 2020, | took over
review and approval of RN paperwork (structured forms) from all three facilities without asking for a
raise, Over the years, | have repeatedly asked for help from other staff MDs to share my
responsibilities but no one accepted to share the duties especially as they pertain to supervision of
RNs documentations. [| was told by other staff MDs that nursing documentation review and approval is
a “high liability business”.

| hope everything | do will be taken inte consideration because | have supported Medical Leadership
since September 2020, like [ never did as a floor physician prior to that.

<image004.jpg>

Best Regards,
Kanwar Gill MD

Wellpath

Fresno County Adult Detention Facility
1225 M Street, Fresno, CA 93721

Office: (559) 600-9365

Email: KaGill@wellpath.us

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intellectual property privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this
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From: Linda Matlock <LMatiock@Wellpath.us>
Sent: Wednesday, August 21, 2024 4:08 PM

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 134
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To: Kanwar Gill <KaGili@Wellpath.us>
Subject: Follow Up

Hi Dr. Gill,
I apologize for not getting back to you sooner after we checked in regarding your rate. ] am working
with our RVP to see how we can adjust and will let you know once I hear back.

Thank you,
Linda

LINDA L. MIATLOCK

Regional Director of Operations, Central Valley — Local Government Division
<image005.png>

<image006.png>

CELL 916-717-1179
OFFICE 279-790-2001

LinkedIn “7 Facebook
WellnathCare.com

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 135
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KRPSGILL.COM Kanwar Partap Singh Gill <kpsgili@kpsgill.com>

RE: Clarification on HR Oversight, HR scope and Direction for Non-Bankruptcy
Matters

1 message

Dheeraj Taranath <DTaranath@vwellpath.us> Wed, Apr 9, 2025 at 12:43 PM
To: Kanwar Gill <KaGill@wellpath.us>, Kanwar Gill MD <kpsgi!l@kpsgill.com>

Cc: Grady J Bazzel <JBazzel@zenovacare.com>, "Richard M. Medrano” <RMedrano@wellpath. uSs>, Scott Kennedy
<ScottKennedy@weillpath.us>

Dr. Gill,

As you are aware, Wellpath is the Management Services Organization contracted to provide the full range of
administrative services to CFMG. As such, | am responding to your email below.

[ am not going to debate whether any offers to resolve your deferred compensation plan claims were made. You have
confirmed that you rejected anything that even resembled an offer. We are in agreement that no offers are on the table.

[ disagree with your assertion that there has been any rejection of a “legally compliant resolution process,” whatever that
might mean. If you want to engage in a legal discussion, please engage counsel and have them contact our lawyers.
Your allegations relating to CFMG’s obligations under the California Medical Practice Act are both unsupported and
baseless, and simply have no mertt.

Your various allegations will be addressed by the appropriate parties. | understand you have already been in contact with
Ms. Angie Baldwin regarding the HR-related issues.

With respect to the laundry list of questions and issues in your email, you can direct them to the investigator(s) when they
contact you. | encourage you to engage counsel as you are making serious allegations that we believe are legally
inaccurate and the defamatory statements you are making may be actionable.

l ask that you stop sending repetitious emails stating your complaints and unsupported allegations. It is not a productive
use of either your time or mine.

Respectfully,

Dheeraj Taranath, DO, MBA, MS

Chief Medical Officer

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 49th, 2025 (Notarized) Page 136
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mille Se ‘ sty, | Ay
ar wellpath.
Ta hope arid heeling,
3346 Perimeter Hill Dr., Nashville, TN 37211
M 304-376-4036

Linkedin // Facebook / Twitter

WeilpathCare.com

From: Kanwar Gill <KaGill@Wellpath.us>

Sent: Tuesday, April 8, 2025 6:53 PM

To: Dheeraj Taranath <DTaranath@Wellpath.us>; Kanwar Gill MD <kpsgill@kpsgill. com>;

Kerrie. Vebb@mibc.ca.gov

Ce: Grady J Bazzel <JBazzel@Zenovacare.com>; Richard M. Medrano <RMedrano@Weillpath.us>; Scott Kennedy
<ScottKennedy@Wellpath.us>; Angie Baldwin <ARBaldwin@Wellpath.us>

Subject: Clarification on HR Oversight, HR scope and Direction for Non-Bankruptcy Matters

Importance: High

Subject: Clarification on Oversight, HR Scope, and Direction for Non-Bankruptcy Issues
To: Dr. Dheeraj Taranath

cc: Ms. Angie Baldwin, Dr. Grady Bazzel

From: Dr. Kanwar Gill

Date: April 8, 2025

In Complaint/Matter Before Medical Board of California regarding:
* Dr. Grady Judson Bazzel — California P&S License No. C 53908, Chief Executive Officer, CFMG
* Dr. Richard M. Medrano — California P&S License No, A 103477, Secretary, CFMG

* Dr. Scott Herbert Kennedy — California P&S License No. C 171808, Chief Financial Officer, CFMG

Dear Dr. Taranath,

Thank you for your message. | acknowledge your update confirming that Wellpath, in its role as Management Services
Organization for CFMG, has communicated with CFMG leadership regarding the matters | raised. | also understand that,
based on your joint assessment with CFMG leadership, the previously scheduled April 11 in-person meeting has now
been unilaterally canceled by CFMG, Additionally, you've stated that any prior communications that could be construed as
settlement offers are withdrawn and that the bankruptcy proceedings will now solely govern my deferred compensation
claim, with further communication directed to McDermott Wil! & Emery.

For the record, | must clarify that at no point have | discussed or negotiated any dollar amount related to my deferred
compensation claim with you personally. i categorically reject any suggestion that | was ever extended a legitimate or
authorized offer through you. The only communications that resembled “offers” came from bankruptcy counsel at
McDermott Will & Emery around March 20, 2025. Those proposais were unequivocally rejected by me at the time, as they
were coercive in nature, conditianed on the withdrawal of legal filings, and accompanied by inappropriate non-disclosure
requirements. They were not offered in good faith and were inconsistent with both bankruptcy ethics and California
regulatory obligations.

More importantly, CFMG’s unilateral cancellation of the April 11 meeting—an opportunity | explicitly requested for the
presence of a California-licensed physician-officer with authority to resolve the matter internally—must be viewed as a
willful rejection of a legatly compliant resolution process. This decision eliminates CFMG’s remaining opportunity to
resolve my claims in accordance with California flaw, and it reinforces the concern that the organization is continuing in
willful defiance of its legal obligations under the California Medical Practice Act.

First Declaration of Br Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 137
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As | have stated previously, | may ultimately lose my motions before the U.S. Bankruptcy Court in the Southern District of.
Texas. However, such an outcome does not absolve any party of its obligations under California law, nor does it preclude
reguiatory or civil enforcement at the siate level. Aloss in bankruptcy court does not equate to legal validation of the
practices | have challenged—it simply reflects the narrow jurisdiction and procedural limits of that venue.

in light of these developments, | request immediate clarification on the following two key areas:

1. Direction for Non-Bankruptcy Matters:

Whife | understand that my deferred compensation claim is now being handled through the bankruptcy process, | ask fora.
clear directive as to how Wellpath and CFMG intend to address the other issues | have raised—specifically:

Employment-related grievances

Allegations of racial discrimination

Constructive termination efforts

Interference in clinical workflows

Misappropriation of medical decision-making authority

Please advise whether these issues are still under the purview of Wellpath HR or CFMG physician leadership, or
bankruptcy counsel. | request written clarification on the apprapriate channels moving forward for each category of
concern.

2. Scope and Oversight of the HR Investigation:

| understand Ms. Baldwin is currently reviewing relevant HR and employee relations matters. However, many of the
issues raised fail outside a traditional HR framework and directly implicate:

Violations of the California Medical Practice Act

Fee-splitting concerns under Cal. Bus. & Prof. Code § 650
Improper clinical interference by nonphysician administrators
Racial bias and discriminatory promotion practices
Retaliatory conduct targeting a whistleblower

As an employee of CFMG, a physician-owned and physician-controlled California medical corporation, any HR review
touching on clinical governance, compensation, or disciplinary action must include oversight by a California-licensed
physician-officer. Please confirm whether such oversight will be provided, and whether HR findings involving clinical
decision-making will be subject to co-review and formal ratification by a CFMG shareholder physician.

For the record, | reaffirm the following points:

¢ | have maintained an unblemished clinical record over the past 5.5 years, consistently improving outcomes and
reducing costs.

« | have formally reported wage misclassification, improper deferred compensation handling, and administrative
interference to multiple regulatory bodies.

* | have filed a pending complaint with the Medical Board of California regarding failures by three CFMG shareholder
physicians to protect physician autanomy,

* | had called for an April 11 internal resolution meeting, which was a final opportunity to address these matters
lawfully. That meeting has now been unilaterally canceled by CFMG.

Outstanding Clarification Requests:
] respectfully request your timely response to the following:

« Will Ms. Baldwin’s HR review include the racial discrimination, retaliation, and clinical interference allegations |
have outlined?

« Will CFMG assign a California-licensed physician-officer with decision-making authority to co-lead or oversee HR
matters affecting licensed medical practice?

« What internal pathway remains for resclution of non-bankruptcy issues, including clinical interference and
professional governance?

« Do you require any further documentation from me at this stage?

« Will the delayed APAP procurement for patient #0059555—an incident emblematic of improper administrative
obstruction—be incorporated into the angoing review?

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Thank you again for your attention. | remain committed to pursuing a lawful and gocd faith resolution wherever possible
and look forward to receiving your response and clarification on next steps.

Respectfully,

Dr. Kanwar Gill

Senior Physician, Fresno County Adult Detention Facility
1225 M Street, Fresno, CA 93721

Office: (559) 600-9365 | Emaii: KaGil@wellpath.us

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privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic communication.

From: Dheeraj Taranath <DTaranath@Wellpath.us>

Sent: Tuesday, April 8, 2025 2:54 PM

To: Kanwar Gill MD <kpsgill@kpsgill.com>; Kanwar Gill <KaGill@Weilpath.us>

Ce: Grady J Bazzel <JBazze!@Zenovacare.com>; Richard M. Medrano <RMedrano@Wellpath.us>; Scott Kennedy
<ScoitKennedy@Wellpath.us>

Subject: Resolution response

Dr. Gill,

As you are aware, Wellpath is the Management Services Organization contracted to provide the full range of
administrative services to CFMG. As such, we have reviewed the matters you have raised with CFMG leadership, and we
continue to communicate with you with their knowledge and approval.

As previously noted, Cindy and | were planning to come out to California ta meet with you in a good faith attempt to
resolve the disagreement regarding your claim for deferred compensation. In light of the numerous false statements in
your correspondence, we have recommended to CFMG leadership, and they have agreed that a meeting would not be
productive; therefore, please be advised that the meeting is now canceled. To the extent that any prior correspondence
could be interpreted as an offer to resolve your claim, any such offer is withdrawn.

The bankruptcy proceedings will determine the results of your claim, Our counsel has advised us that your arguments are

legally invalid and they believe they will be summarily rejected by the court. Please direct all future correspondence

regarding the matter to the court or to our lawyers with McDermott, Will & Emery; you may contact David Genender
(dgenender@mwe.cam),

Regards,

Dheeraj Taranath, DO, MBA, MS

Chief Medical Officer
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Toa howe and heating.

3340 Perimeter Hill Dr., Nashville, TN 37214
NM 304-376-4036
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WeillpathCare.com

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rom: Eric Krenz <EXrenz@Wellpath.us>
Sent: Wednesday, April 2, 2025 10:32 AM
To: danielfe muratore; Deanna Huff; Kanwar Gill; Fresno Adult RN Supervisor; Candice Sisco

Ce: Cindy Ramirez

Subject: Canceled: Weekly OPHU Rounding

When: Occurs every Tuesday effective 2/25/2025 from 2:00 PM to 2:30 PM (UTC-08:00) Pacific Time (US & Canada}.
Where: MJ OPHU
Importance: High

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t.

This recurring meeting will be moved tec Mondays to ensure potential weekend changes are communicated in a more
timely manner.

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Wed 3/12/2025 9.36 AM
Yo. Benjamin Ward: Julius Metts: Kanwar Gil
Ce: Deanna Huff

inbox

Good Morning 8en,

i will chime in here as 1am sure Dr, Metts has a few hundred emails ta camb thraugh.

The IP does not get to decide the.assigned provider. He does have the right to refuse services. As you have indicated in the below thread, our Medical Director has reviewed
the chart, has been consulted to determine the pian of care is appropriate, and there is no further indication for this IP to be evaluated by a higher level of care post Speciaity
diagnastics,

The IP can continue to submit HSR’s and will be scheduled accordingly, #f he’ continues to refuse services please continue to complete.the refusal farm along with charting of
education, and [P’s reasoning. Of course, we are speaking of this event alone, and if the IP were to present different, you would assess and treat accordingly; if the IP allows

and does not refuse.

Thank you for bringing this topic to the top of our emails.

Thank you,

Grid Krenz i, RN
Director of Nursing

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Riaz Qamar

Thu 4/3/2025 $05 AM

Te: Eric Krenz; Deanna Huff

Cc: Fresno Adult Care Managers; Fresno Adult Providers; Linda Matlock &

[ode ~-Ml3-4 schedulepdf ~~ y,

BES. 166 KB

Download

Here is the schedule for MJ 3, 4 in the attachment.

Riaz Qamar NP

From: Eric Krenz

Sent: Thursday, April 3, 2025 6:51 AM

To: Deanna Huff; Eric Krenz

Ce: Fresno Adult Care Managers; Fresno Adult Providers; Linda Matlock
Subject: RE: Printing daily sick lists

Good Morning,

To ensure that task lists are being pulled correctly and completed within CorEMR, please send a copy of your pulled
list at the beginning of your shift, as well as, a list of patients seen at the end of your shift. This request does include
OPHU, and Booking. We will also be covering how to pull! lists and other CorEMR fundamentals each week during the
Provider meeting. Once we are all Super Users we will end the daily sending of lists but until then thank you for your
understanding and cooperation.

Thank you,

7 IL, RN

Director of Nursing

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‘To hee and healing.

Fresno County Adult Detention Facility

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5 iD.
“Cell: (559) 909-8025
EKrenz@wellpath.us

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From: Eri¢ Krenz
Sent: Thursday, March 27, 2025 3:00 PM

To: Deanna Huff <Deanna.Huff@Wellpath.us>; EXrenz@wellpath.us

Cc: Fresno Adult Care Managers <FresnoAdultCareManagers@wellpath.us>
Subject: Printing daily sick lists

Good Afternoon Providers,

Starting Monday, 3/31/25, please be prepared print your own daily schedule task list. Triaged by emergent, urgent,
and then overdue by latest date. Once printed, please provide a copy to the Cage Managers to ensure printing set-
up/triage was performed correctly. The Care Managers will be available to assist with this if needed.

Please provide Deanna and myself with a copy of your list at the beginning of your shift and at the end.

Thank you,

Eric Krenz Il, RN
Director of Nursing

‘fo hope and healing.

Fresno County Adult Detention Facility
1225 M St., Fresno, CA, 93721

Office: (559) 600-9351

Cell: (559) 909-8025

EkKrenzi@wellpatius

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Eric Krenz

Tue 4/1/2025 3:14 PM

To: Deanna Huff; Alla Liberstein; Eric Krenz

Cc: Catalina Chapa; Candice Sisco; Mary Ann Monteiro; LaRea Rivera &

inbox

Good Afterncon,

Until further notice, starting Wednesday April 9, 2025, there will be a weekly Provider meeting each Wednesday at
1400hrs. Please schedule your Wednesdays accordingly.

@Catalina — Please ensure we have a Conference Room reserved.

Thank you,

ane

VA elloath

To hope and healing.

Fresno County Adult Detention Facility

Office: (559) 600-9351
Cell: (559) 909-8025
EKrenz@wellpath.us

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~---Original Appointment-----

From: Eric Krenz <EKrenz@Wellpath.us>

Sent: Wednesday, April 2, 2025 10:32 AM

Ta: danielle muratore; Deanna Huff; Kanwar Gill; Fresno Adult RN Supervisor; Candice Sisco

Ce: Cindy Ramirez

Subject: Canceled: Weekly OPHU Rounding

When: Occurs every Tuesday effective 2/25/2025 from 2:00 PM to 2:30 PM (UTC-08: G0) Pacific Time (US & Canada).
Where: MJ OPHU

importance: High

This recurring meeting will be moved to Mondays to ensure potential weekend changes are communicated in a more
timely manner.

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EXHIBIT 3 ~ 409A Tax Impact Documentation
Filed in Support of Dkts. 1897, 2049, 2075

Declarant: Dr. Kanwar Partap Singh Gill

Case: In re Wellpath Holdings, Inc., Case No. 24-90533 (S.D. Tex.)

Declaration Cross-Reference
Referenced in Sections: V, VIII

Cited in Paragraphs: [| 61-66, 80, 142-143, 153-154

Description of Contents

This exhibit substantiates constructive distribution liability under IRC § 409A, based on
improper termination of a Non-Qualified Deferred Compensation Plan.

Included Documents:

e -IRS Form 8275 (protective filing)
e -Fidelity NetBenefits Statement (11/12/2024)

Legal Basis and Relevance
Statutes, regulations, and ethical rules implicated:

- IRC §§ 409A(a)(1)(A)-(B)

- IRC § 6662

* -Treas. Reg. § 1.409A-3(j)(4)(ix)
e - Cal. Rev. & Tax Code § 17041

Authentication Status
Certified under Rule 901(b)(4) by inclusion of IRS-provided Form 8275, Fidelity financial
statements, and declaration-integrated tax breakdown.

Evidentiary Purpose
Supports tax misclassification, non-dischargeable liability, and fiduciary breach.

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S/ Thu 3/27/2025 219 PM
To: Kanwar Gill &

Inbox

| have always gotten that sense from you, which is why | am saddened that this situation has come up.
Regardless, | also look forward to speaking to you.

Dheeraj Taranath, DO, MBA, MS
Chief Medical Officer

se well; oath
te hope and. healing.
3340 Perimeter Hil Dr, Nashville, TN 37214

M304-376-4036
LinkedIn // Facebook // Twitter

WellpathCare.com

From: Kanwar Gill <KaGill@Wellpath. us>

Sent: Thursday, March 27, 2025 5:18 PM

Dheeraj Taranath <DTaranath@Wellpath.us>

Subject: RE: Wellpath Nonqualified Deferred Compensation Plan (NQDCP ~ 409a)

Absolutely Dhe: 2a - | don't know how much you know me, in my professional career | have never been part of a
problem always a solution. Look forward to talking to you

Best Regards,
Kanwar Gill MD

Wellpath

Fresno County Adult Detention Facility
1225 M Street, Fresno, GA 93724.

CHfice: (659) 600-9365
Emali: KaGill@weilpath.us

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From: £ eéraj Taranath <DTaranath@ Wellpath.us>
Sent: Thursday, March 27, 2025 2:16 PM
To: Kanwar Gill <KaGill@Wellpath.us>

Subject: RE: Wellpath Nonqualified Deferred Compensation Plan (NQDCP — 409a)

Thanks, Dr. Gill.
| appreciate the additional information. | was not aware of all this detail.

Out of respect for you, | would still like to speak to you, if you are comfortable doing so. If we approach any
topic that you would rather not discuss, you just need to let me know, as it may be hard for me to know
based on all that you have shared below.

| am tied up between 10am and noon PST, but | can speak to you at 12:00pmPST if that works for you.
Just jet me know. | will respect your decision either way.

Respectfully,

Dheeraj Taranath, DO, MBA, MS
Chief Medical Officer ,

a & wellpathi

ts hone and heating.
3340 Perimeter Hill Dr, Nashville, TN 372117

M304-376-4038
Linkedin // Facebook // Twitter

WellpathCare.com

From: Kanwar Gill <KaGiil@Wellpath.us>

Sent: Wi dnesday, March 26, 2025 5:02 PM

Dheeraj Taranath <DTaranath@Wellpath.us>

Subject: RE: Wellpath Nonqualified Deferred Compensation Plan (NQDCP — 409a)

Dear Dr. Taranath,

Thank you for reaching out regarding the Nonqualified Deferred Compensation Plan (NQDCP). | appreciate
your willingness to engage in a discussion, and | am available for a brief phone conversation on Friday
between 10:00 AM and 4:00 PM Pacific Time. However, | want to ensure that any discussion remains within
appropriate boundaries given the ongoing legal proceedings and my pending legal representation.
Background & Timeline of My Attempts to Resolve This Matter

For the sake of clarity, | want to outline the significant steps | have taken to resolve this matter amicably:

e On March 4, 2025, | initially reached out to Wellpath’s bankrunteucraincel: pravidinethomanith:,
ample opportunity to resolve this issue before resorting to lel o of 0

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First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 > Apri 1@th, 2025 5 (Notarized) Page 150

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delay.

e Wellpath’s bankruptcy counsel later indicated that they were willing to pay my full deferred
compensation; however, they conditioned this payment on my acceptance of an extremely restrictive
non-disclosure agreement (NDA).

° This NDA would have imposed confidentiality requirements regarding statutory violations of
California’s Medical Practice Act, including, but not limited to, Corporate Practice of Medicine (CPOM)
violations and illegal fee-splitting arrangements within California Forensic Medical Group (CFMG)
under Dr. Bazzel’s leadership.

s |raised serious concerns about retaliation at my workplace, including increased scrutiny and direct
interference by nursing and administrative staff in my clinical decisions, Despite my numerous
warnings, these concerns were ignored.

* Cn Sunday, March 23, | once again contacted bankruptcy counsel, making it clear that | was prepared
to escalate the matter if my deferred compensation was not paid. They chose not to respond despite
my detailed explanation of the regulatory and legal implications of their inaction.

e |tis important to highlight that from January 1 to early February 2025, | pursued every possible
avenue to resolve this issue without resorting to litigation. My decision to file a motion was not made
lightly but was a last resort, given the refusal of Wellpath’s attorneys to acknowledge my standing and
their apparent confidence in defending against my legal claims in the upcoming April 22, 2025,
hearing.

* Given that this issue involves more than $160,000 in wages over 36 months, ! have acted diligently

and in good faith to resalve it without legal escalation. However, these are my earned wages, not

discretionary funds, and | am determined to protect my legal rights.

Concerns About CPOM Violations, Fee-Splitting, and Wellpath’s Role in Administering Physician
Compensation in California:

| want to take a moment to emphasize the broader regulatory and legal concerns that this matter raises,
particularly in relation to California's strict Corporate Practice of Medicine (CPOM) laws and fee-splitting
prohibitions under the California Business & Professions Code §§ 2400 and 650.

Corporate Practice of Medicine (CPOM)} Violations:

California has some of the strongest CPOM restrictions in the country, which are explicitly designed to
prevent corporate entities from exercising control over physician compensation and medical decision-
making. The Medical Board of California has repeatedly enforced disciplinary actions against physicians and
corporate entities for CPOM violations, as outlined in the Medical Board’s enforcement guidelines.
Under Business & Professions Code § 2400, corporations cannot:
1. Employ or control physicians in any manner that affects clinical judgment or patient care.
2. Directly set physician salaries as a business expense without a valid professional medical corporation
(PMC) structure.
3. Dictate medical decision-making through administrative personnel.
The NQDCP administered by Wellpath directly contradicts these principles because:
¢ Wellpath, a non-clinical corporate entity, determined and approved physician compensation,
including deferred compensation—a function that only a medical group with physician ownership
should control.
° The decision to approve or deny payment of deferred wages O* Sassi erases
administrators, rather than a physician-controlled profession; a Oof 0 i.

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: ‘Fee-Splitting & Unlawful Revenue-Sharing Arrangements

Furthermore, the Medica! Board of California has taken strong enforcement actions against fee-splitting
arrangements, where corporations take a percentage of physician fees or control the allocation of
physician-generated revenue.
Under Business & Professions Code § 650, it is illegal for:
* Acorporation to receive a portion of physician compensation as an intermediary.
e Anon-medical entity to exercise financial control over physician earnings in a way that creates
financial incentives tied to patient referrals or billing practices.
In this case, Wellpath:
¢ Controlled physician compensation and revenue allocations for physicians working in California,
despite not being a licensed professional medical corporation.
e Attempted to candition the release of deferred compensation on a confidentiality agreement that
would have silenced concerns regarding these regulatory violations.

These facts demonstrate clear violations of both CPOM and fee-splitting prohibitions under California law,
which the Medical Board of California and other state regulators have an obligation to investigate.

Regulatory & Legal Coordination Across Multiple States

This issue is not isolated to California. As | mentioned in my email to Medical Board Staff Counsel, whom |
have known since 2014, the physician at the center of CFMG’s operations, Dr. Bazzel, holds licenses in more
than a dozen states, several of which have CPOM and fee-splitting prohibitions similar to California.
Because of this, | have notified the Medical Board of California of these concerns, and | will be coordinating
with other state medical boards where similar violations may have occurred. Given that Wellpath operates
nationwide, there may be multiple jurisdictions with enforcement authority over these violations.

Final Points & Availability

[am open to a brief call on Friday to discuss the procedural aspects of this situation. However, | must
emphasize the following:
« | will not be discussing settlement terms or regulatory matters outside of formal legal proceedings.
e |aminthe process of securing legal representation, and any substantive discussions about financial
resolution should be handled through my legal counsel once retained.
e If you were not copied on my recent communication to the Medical Board, | would encourage you to
review the attached email, as it outlines many of the issues at hand.

Please confirm a time that works for you on Friday between 10:00 AM and 4:00 PM Pacific Time.

Best Regards,
Kanwar Gill MD

Fresno County Adult Detention Facility
ey 0 of 0 Ee

Office: (659) G00-8365

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 18th, 2025 (Notarized) Page 152

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Formal Notice of Pending Motions and Request for Regulatory &
Legal Action Case Reference: In re Wellpath Holdings, Inc., et al.,
No. 24-90533 (Chapter 11) Date: March 25, 2025

ad

Kanwar Partap Singh Gill <kpsgill@kpsgill. com>

to Carole, Marcus, Felicia, Bradley, Steven, cdingman, Kerrie@MBC, webmaster@mbc.ca.gov. rab.bonta, jbaz
Subject: Formal Notice of Pending Motions and Request for Regulatory & Legal Action

Case Reference: In re Wellpath Holdings, Inc., et al., No. 24-90533 (Chapter 11)

Date: March 25, 2025

To All Parties and Regulatory Agencies Listed Below:

I, Dr. Kanwar Partap Singh Gill, hereby formally notify you—as an interested creditor and claimant—of two
critical motions I have filed in the Chapter 11 proceedings of In re Wellpath Holdings, Inc., et al., Case No.
24-90533, pending in the U.S. Bankruptcy Court for the Southern District of Texas (Houston Division). The
motions are attached for your reference and are set for hearing on April 22, 2025 at 2:00 PM (CST) in
Courtroom 400, 515 Rusk Avenue, Houston, Texas 77002.

Pro Se Motion for Relief from Automatic Stay (Docket #1897)

Emergency Motion to Stay Solicitation and Voting on Debtors’ Chapter 11 Plan and to Strike
Improper Third-Party Releases, Injunctions, and Discharge Provisions

Background and Core Legal Issues:
Tam a licensed California physician employed by California Forensic Medical Group, Inc. (“CFMG”), a
non-debtor medical corporation distinct from debtor Wellpath Holdings, Inc. As such, I hold a vested interest
in approximately $14.5 million in deferred compensation (under a Non-Qualified Deferred Compensation
Plan, “NQDCP”) that has been wrongfully swept into Wellpath’s bankruptcy estate. This unlawful inclusion
of trust-held funds blatantly contravenes 11 U.S.C. § 541(d), which mandates that property held in trust for
another does not become part of a debtor’s estate. These funds constitute earnings fully owed to me (and
similarly situated physicians) — not Wellpath assets — and must be released from the estate. In addition to this
core issue, my motions detail a pattern of extensive legal violations by Wellpath and its affiliates (including
its counsel) that demands immediate judicial and regulatory intervention. The major violations and
misconduct include:

o Improper Inclusion of Deferred Compensation in Bankruptcy Estate — Violation of 11 U.S.C. §
541(d) (estate improperly contains trust property belonging to.employees)sjssirnstaiieemaansionanis
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physicians).

e Employee Misclassification, Wage Theft & Payroll Tax Evasion —Niolations of the Fair Labor
Standards Act (FLSA, 29 U.S.C. §§ 201-219) and California labor laws (Labor Code §§ 201-226)
through improper withholding of wages and evasion of payroll taxes.

e ERISA Violations & IRC § 409A Non-Compliance — Breaches of fiduciary duties under the
Employee Retirement Income Security Act (29 U.S.C. §§ 1104, 1132) and violations of IRS deferred
compensation rules (26 U.S.C. § 409A) in mismanaging employee benefit plans.

° Improper Third-Party Releases & Injunctions — Plan provisions violating 11 U.S.C. §§ 524(e) and
1129 by releasing non-debtors from liability without creditor consent, in derogation of due process.

° Materially Misleading Disclosures — Failure to disclose material information as required by 11
U.S.C. § 1125 (concealing significant liabilities, regulatory infractions, and risks from creditors).

@ Coercive Settlement Tactics by Debtors’ Counsel — Procedural misconduct by McDermott Will &
Emery LLP, including using financial duress and NDAs to suppress objections and whistleblowing.

Improper Inclusion of Deferred Compensation in Estate (11 U.S.C. § 541(d))
Wellpath has unlawfully included deferred compensation funds — which were explicitly held in trust for my
benefit — as part of its Chapter 11 bankruptcy estate. These NQDCP assets are clearly defined trust property
held for the employees (physicians) who earned them, separate from Wellpath’s general assets. Under 11
U.S.C. § 541(d), such trust property “does not become property of the estate” of the debtor. By integrating
my earned, vested deferred wages into its estate, Wellpath has deprived me of immediate access to my
property, misled the Court and creditors about the true estate assets, and attempted to shield itself from
paying lawful obligations by abusing the automatic stay. This wrongful estate inclusion not only violates
bankruptcy law but also amounts to wage theft, as it withholds earned wages from me under the guise of
bankruptcy protection. Immediate relief is required to remove these trust funds from the estate and distribute
them to their rightful owners in accordance with §541(d). The U.S. Department of Labor’s Wage and Hour
Division (WHD) and the California Labor Commissioner (DLSE) have jurisdiction over wage payment
violations and are requested to investigate this scheme of misappropriating earned wages via the bankruptcy
process, Additionally, the Internal Revenue Service (IRS) and California Employment Development
Department (EDD) must review whether Wellpath’s misclassification of these wages as estate assets resulted
in payroll tax evasion (failure to withhold income/Social Security/Medicare taxes, and non-payment of
unemployment and disability insurance contributions),and enforce all applicable penalties and corrections.

Illegal Corporate Practice of Medicine & Fee-Splitting (Cal. Bus. & Prof. Code §§ 2400,
650)
Wellpath Holdings, Inc. (through its affiliate CFMG) has been improperly influencing and controlling
medical practice in California in violation of the state’s strong prohibition against the corporate practice of
medicine. Under Cal. Business & Professions Code § 2400, corporations may not practice medicine or

employ physicians to make medical decisions; however, Wellpath/CEMG's. management-has:exerted. control
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over clinical decisions, physician hiring, and compensation, thercb a

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forbidden by Cal. B&P Code § 650. These practices create conflicts of interest where profit considerations
might override patient care, and they render Wellpath’s business arrangements illegal under California law.
The Medical Board of California (MBC) is the primary regulator to investigate these violations. I urge the
MBC to immediately investigate Wellpath’s clinical governance and physician contracts to identify and halt
any corporate interference in medical decisions. The California Attorney General’s Office (Health Quality
Enforcement and Fraud Divisions) is also requested to intervene by inquiring into Wellpath’s operational
structure for anti-kickback and fee-splitting violations, and to pursue injunctive relief and penalties to stop
ongoing unlawful practices. These regulators should issue cease-and-desist orders and any appropriate
sanctions against the entities or individuals facilitating the corporate practice of medicine and fee-splitting
schemes in California. Such action is critical to protect the integrity of medical practice, patient safety, and
compliance with state law.

Employee Misclassification, Wage Theft, and Payroll Tax Violations (FLSA & California
Labor Code)

Wellpath’s conduct also implicates serious wage-and-hour !aw violations. By treating the deferred
compensation as a corporate asset rather than wages owed to employees, Wellpath has withheld earned
wages past their due date, which may violate the Fair Labor Standards Act (FLSA, 29 U.S.C. §§ 201-219)
and parallel California wage laws. The FLSA and state laws require timely payment of wages and prohibit
any confiscation of earned compensation. Here, the attempt to force employees to wait (indefinitely) through
bankruptcy for their deferred pay — or release it entirely — is tantamount to wage theft. It likely also violates
California Labor Code §§ 201-204 (timely payment upon termination or at regular intervals) and triggers
penalties under § 203 (waiting time penalties). Furthermore, Wellpath’s failure to properly account for these
deferred wages in payroll records and pay stubs violates California Labor Code § 226 (accurate wage
statements). By obscuring employees’ ownership of these funds, Wellpath may be subject to fines and even
criminal sanctions under state law.

In addition, misclassifying these compensation funds has tax and insurance repercussions. If Wellpath did
not treat the deferred amounts as wages, it likely failed to withhold federal and state payroll taxes (income
tax, Social Security, Medicare) and to pay unemployment (UI) and state disability (SDI) insurance premiums
on those wages. This raises potential violations of IRC provisions (26 U.S.C. $§ 3101-3402) and California
unemployment insurance laws. The IRS should audit Wellpath’s payroll tax compliance and impose any
owed taxes, interest, and penalties. California’s EDD should similarly investigate and recover unpaid state
payroll taxes and insurance contributions. The U.S. Department of Labor (WHD) is requested to perform a
targeted audit of Wellpath’s wage practices — particularly the treatment of deferred compensation — to ensure
compliance with overtime and minimum wage rules, and to seek recovery of improperly withheld wages
plus liquidated damages under the FLSA. The California Labor Commissioner (DLSE) should likewise
investigate and order any necessary restitution (with interest and penalties) for violations of state wage
payment laws. These coordinated enforcement actions will rectify the harm to employees and ensure
Wellpath complies with labor laws going forward.

ERISA Fiduciary Breaches and Non-Compliance with IRC § 409A oo ccs.c.

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compensation program for its physicians/executives, Wellpath owed duties of loyalty and prudence under
ERISA (29 U.S.C. § 1104) to manage and hold those plan assets for the sole benefit of participants. Instead,
Wellpath failed to maintain and fund the deferred compensation accounts appropriately, and even
misrepresented these plan assets as general corporate funds, raiding them into the bankruptcy estate. Such
conduct likely violates ERISA’s fiduciary responsibility provisions and could give rise to civil enforcement
under 29 U.S.C. § 1132. While the NQDCP may be a “top hat” plan (not subject to all ERISA requirements),
the Department of Labor’s Employee Benefits Security Administration (EBSA) should examine whether any
ERISA provisions or plan terms were breached by this mismanagement. Specifically, Wellpath failed to
timely fund deferred comp accounts, provided inadequate reporting to beneficiaries, and improperly
classified plan assets as company property, betraying the promised structure of the plan.

Moreover, Wellpath’s actions triggered serious tax law violations under IRC § 409A. Section 409A governs
non-qualified deferred compensation; non-compliance (such as accelerating or failing to segregate deferred
amounts properly) can result in immediate taxation of deferred amounts with interest and a 20% additional
tax penalty on the employees. By mismanaging the plan, Wellpath exposed plan participants to punitive tax
consequences and penalties through no fault of their own. There is evidence that Wellpath did not adhere to
409A’s requirements on election timing and distribution triggers jand its improper inclusion of plan assets in
the estate effectively accelerates income to the doctors (a violation of 409A).The IRS is urged to conduct an
urgent audit of Wellpath’s deferred compensation compliance, to assess all applicable penalties and excise
taxes for 409A violations, and to require Wellpath to make corrective measures (such as grossing-up affected
employees or other remediation).Simultaneously, EBSA should launch a comprehensive review of the plan’s
administration, and impose appropriate remedies for any fiduciary breaches — including ordering the
disgorgement of the deferred compensation assets back to the employees and potentially referring the most
egregious misconduct for criminal investigation if it involved intentional fraud. These steps are necessary to
protect employee retirement and deferred earnings, and to deter such misconduct by fiduciaries in the future.
(The Pension Benefit Guaranty Corporation (PBGC) may also need to monitor if any pension-related
liabilities are implicated. )

Improper Third-Party Releases and Injunctions in the Plan (11 U.S.C. §§ 524(e), 1129)

The Debtors’ proposed Chapter 11 Plan contains sweeping third-party release and injunction provisions that
would shield a broad array of non-debtors — including corporate affiliates, equity holders, officers and
directors, and professionals — from any future liability on claims held by creditors. These non-debtor releases
are being imposed without the explicit consent of affected creditors, thereby stripping creditors of their rights
to pursue independent claims against those third parties. Such a provision violates fundamental bankruptcy
law and due process. Specifically, 11 U.S.C. § 524(e) states that a debtor’s discharge does not extend to the
liabilities of non-debtors, absent specific statutory authority. Additionally, 11 U.S.C. § 1129 (Confirmation
standards) requires that a plan is “fair and equitable” and does not unfairly discriminate or deprive creditors
of value without consent; forcing creditors to relinquish direct claims against third parties (for no
consideration) fails this test. Courts have widely held that non-consensual third-party releases are
extraordinary remedies permissible, if at all, only in rare circumstances and with stringent safeguards — none
of which are present here. In essence, the Plan’s release provisions amount to an impermissible non-
consensual third-party discharge, which is not authorized by the Bam _ ee

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who may have engaged in misconduct (e.g. executives who oversaw the above-described labor, tax, or
fiduciary violations) by immunizing them from future accountability.

To address this, the U.S. Trustee’s Office is requested to formally object to these third-party releases and
urge the Bankruptcy Court to strike or disapprove any Plan provisions that extend releases or injunctions to
non-debtors without creditor consent. The Bankruptcy Court itself has the power and duty to refuse
confirmation of any plan containing such unlawful provisions. If necessary, I will seek appellate review to
prevent these releases from taking effect. Additionally, the U.S. Department of Justice’s Executive Office for
U.S. Trustees (DOJ-EOUST) should intervene and consider sanctions against Debtors’ counsel for
advancing these improper provisions in bad faith. This matter may also warrant the attention of the Securities
and Exchange Commission (SEC) if any private equity owners or insiders stood to benefit from concealed
liabilities being washed away — the SEC should review whether any securities laws or fiduciary duties to
investors were breached in the course of devising this release scheme. The goal is to ensure that creditors
retain their rights against non-debtors (as the law provides) and that no confirmation of the Plan occurs
unless it fully complies with the Bankruptcy Code and due process. Creditors must be given an opportunity
to opt out of or object to any releases, and only truly consensual releases (with adequate notice and
consideration) should be allowed.

Violation of Bankruptcy Disclosure Obligations (11 U.S.C. § 1125)

Section 1125 of the Bankruptcy Code requires that debtors provide “adequate information” to creditors —
meaning all information that is material to a creditor’s decision to vote on the Chapter 11 plan. Here,
Wellpath’s Disclosure Statement was materially misleading and incomplete. The Debtors failed to disclose
rumerous crucial facts and liabilities, including: (1) the improper inclusion of trust-held deferred
compensation in the estate (and the associated wage and tax liabilities); (2) the extent of ERISA and IRC

§ 409A compliance failures related to the deferred compensation plans ;(3) the potential IRS and state tax
penalties that could result ;(4) known issues of employee misclassification and wage violations (which have
triggered DOL enforcement and class-action litigation) ;(5) the ongoing illegal fee-splitting and corporate
practice of medicine issues under California law that threaten the legality of Wellpath’s operations ;and (6)
the inclusion of the above-mentioned third-party releases in the Plan that strip creditor rights. Each of these
omissions is highly material. By concealing these risks and liabilities, the Debtors impaired creditors’ ability
to make an informed judgment about the Plan, violating the good faith disclosure requirement of 11 U.S.C.
§ 1125(a). Creditors are entitled to full and candid disclosure; hiding these problems tilts the playing field
and could lead to an improperly obtained plan approval.

To remedy this, I request that the U.S. Trustee require the Debtors to issue a corrected, supplemental
Disclosure Statement that fully and fairly discloses all the above issues. The Bankruptcy Court should
decline to approve or confirm any plan until such disclosures are made and creditors have sufficient time to
consider them. Moreover, these disclosure failures underscore the need for regulatory agencies (DOL, IRS,
state authorities) to be involved now — before plan confirmation — because the current plan seeks to discharge
liabilities and release parties without ever having disclosed the underlying violations. This is a clear abuse of
the Chapter 11 process. Ensuring transparency through proper disclosures will allow regulators and
stakeholders to evaluate the true scope of Wellpath’s legal non-comnliancas:Rertian LS existetanrevent
exactly this kind of ambush on creditor rights, and it must be strictl: 4 0 of 0 e

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~ Will & Emery LLP)
Perhaps most alarming, Wellpath’s counsel - McDermott Will & Emery LLP— has engaged in coercive
tactics to shield these violations from scrutiny. On March 19, 2025, Debtors’ counsel explicitly
acknowledged the validity of my deferred compensation claim, yet conditioned any payment on my
withdrawing the above motions and signing an extremely restrictive Non-Disclosure Agreement (NDA).
Initially, counsel offered a payout of $100,000 — significantly below my undisputed claim of $162,597.08 —
with an arbitrary 24-hour deadline for acceptance and required that J drop my motions. This offer was plainly
unacceptable and made under duress. When I refused, Debtors’ counsel then agreed to pay the full
$162,597.08, but still demanded that I withdraw my motions and sign the NDA as conditions. In other
words, they were willing to pay what they legally owe me only if I agreed to stay silent about their
wrongdoing. The proposal of NDA was far beyond a normal confidentiality agreement — its clear purpose
was to gag me from exposing Wellpath’s unlawful practices. Specifically, the NDA was sought to bar me
from discussing or reporting the very violations summarized above: the illegal fee-splitting arrangements,
the corporate practice of medicine, the ERISA and 409A violations, and the wage and tax violations. Jt was
an attempt to buy my silence and to thwart regulatory and judicial oversight.

These tactics constitute procedural abuse and bad faith in the bankruptcy process. Holding my earned
compensation hostage to pressure me into waiving legal rights is a form of economic duress and coercion.
Such settlements, obtained under undue pressure or through misrepresentation, are void or unenforceable as
a matter of law (see McClain v. Octagon Plaza, LLC, 159 Cal. App. 4th 784 (2008), recognizing that
agreements stemming from economic duress or undue influence cannot stand ;Rich & Whillock, Inc. v.
Ashton Dev., 157 Cal. App. 3d 1154 (1984), holding a settlement forced by economic coercion is voidable .).
Likewise, bankruptcy courts condemn such tactics: in In re American HomePatient, Inc., 420 F.3d 559 (6th
Cir, 2005), the court affirmed the discretion to strike settlements or plans resulting from bad-faith
manipulation of the process. Here, MWE’s conduct — delaying or denying wages to extort legal concessions
— is an abuse of the Chapter 11 process that obstructs justice and undermines the integrity of the court. [t may
also amount to fraud on the court, given the intent to suppress evidence of violations and remove matters
from the Court’s consideration through improper means.

I respectfully request that the Bankruptcy Court and U.S. Trustee take immediate action to address this
misconduct. The Court should investigate Debtors’ counsel’s behavior and consider sanctions for violations
of bankruptcy ethics and procedure. Specifically, McDermott Will & Emery should be held to account for
attempting to induce a creditor to waive claims under duress and for impeding the disclosure of material
facts. The U.S. Trustee (and DOJ’s U.S. Trustee Program) should also probe these coercive NDA practices
and, if warranted, refer the matter for disciplinary action or a DOJ investigation. Conditioning the payment
of undisputed wages on silence not only violates public policy, it potentially implicates 18 U.S.C. § 152(6)
(which forbids coercing creditors in a bankruptcy) and 18 U.S.C. § 157 (bankruptcy fraud) if a scheme to
mislead the court or creditors is proven. Immediate intervention is needed to halt any further coercion of
creditors and to ensure that all parties can assert their rights without intimidation. I further ask that the Court
compel full transparency about any similar offers made to other creditors — i.e., require the Debtors to
disclose all such settlement attempts, so the Court and regulators can assess the extent of this conduct. No
creditor should have to choose between being paid what they are owed and muzzling themselve es about
illegality. :

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Tn light of the above, multiple enforcement authorities must act to address their respective areas of
jurisdiction. Below is a summary of each agency’s role and the urgent actions requested:

e U.S. Department of Labor — Wage & Hour Division (WHD) and California Labor Commissioner
(DLSE): Investigate and remediate wage theft and misclassification involving the deferred
compensation. This includes auditing Wellpath’s payroll practices related to the NQDCP, ensuring
compliance with FLSA and California wage laws, and enforcing restitution of unpaid wages with
statutory penalties. The DOL/DLSE should also coordinate with EDD to recover any unpaid
unemployment/disability premiums.

* Internal Revenue Service (IRS): Conduct a thorough audit of Wellpath’s deferred compensation plan
and payroll tax compliance (including IRC § 409A issues). Impose all applicable taxes, penalties, and
interest for any failure to withhold income/FICA taxes or for triggering punitive taxation of employees
via 409A violations. Ensure that Wellpath corrects any tax reporting (Forms W-2/1099) that
misclassified employees or wages.

© Medical Board of California: Investigate Wellpath/CFMG’s unlawful corporate practice of medicine
and fee-splitting with physicians. Use its enforcement powers to halt these practices (¢.g., through
cease-and-desist orders) and pursue any appropriate disciplinary action against the professional ©
licenses of those involved in facilitating unlicensed practice.

e California Attorney General (Health Quality Enforcement & Fraud Divisions): Examine and
prosecute Wellpath’s violations of state law, including illegal fee-splitting arrangements and any
related fraudulent misrepresentations to government agencies or contracting partners. The AG should
seek injunctive relief to stop these practices and levy fines or pursue criminal charges if warranted
(especially if public health program funds or state contracts were impacted by the fraud).

e California Employment Development Dept. (EDD) — in coordination with the Labor
Commissioner: Audit Wellpath’s state payroll tax contributions with respect to the deferred
compensation and employee classifications. The EDD should recover unpaid unemployment insurance
and disability insurance taxes, with penalties, and enforce compliance going forward.(This item is
paired with item 1 above in addressing state labor tax obligations.) .

e U.S. Department of Justice — U.S. Trustee’s Office (and EOUST): Investigate the Debtors’
bankruptcy conduct for potential fraud and abuse. Specifically, examine the coercive settlement tactics
employed by Debtors’ counsel and the inclusion of impermissible third-party releases. The U.S.
Trustee should take action in the case to object to unlawful plan provisions and to report any findings
of attorney misconduct. The DOJ (through the U.S. Trustee Program or other appropriate office)
should be prepared to seek court sanctions against McDermott Will & Emery LLP for any bad-faith
conduct ,and pursue any criminal referrals if evidence shows intent to defraud the court or creditors
(e.g., under 18 U.S.C. §§ 152, 157).

° Additional Oversight Agencies (FTC, SEC, etc.): Other agencies may have ancillary jurisdiction
here. The Federal Trade Commission (FTC) should evaluate whether Wellpath’s systematic law
violations (labor, medical, tax) constitute unfair or deceptive business practices in the marketplace.

The Securities and Exchange Commission (SEC) should revi 0 of D

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potential securities fraud or breach of fiduciary duty by those insiders. Additionally, the California
Department of Insurance (CDI) might investigate if misclassification led to evasion of workers’
compensation premiums or other insurance irregularities. While these are not the primary focuses of
my motions, they are important potential areas of enforcement to fully address the breadth of
misconduct.

Each of the above agencies has been included as a recipient of this notice because immediate action within

their authority is warranted. By taking coordinated enforcement steps, these regulators will help protect

creditors, employees, and patients from further harm, and uphold the rule of law in these proceedings.

Notice of Hearing & Opposition Procedures:

Please be advised that any party wishing to oppose the relief requested in the attached motions must file a
written objection with the Bankruptcy Court and serve all parties by April 15, 2025. Failure to file a timely
objection may result in the Court granting the requested relief without further hearing. Given the gravity of
the issues, I encourage all relevant agencies to send representatives or file statements in this bankruptcy case
to support the enforcement of laws within their purview.

Certificate of Service:
I, Dr. Kanwar Partap Singh Gill, hereby certify under penalty of perjury that on March 25, 2025, I served
true and correct copies of the following documents: (1) Pro Se Motion for Relief from Automatic Stay

(Docket #1897), (2) Emergency Motion to Stay Solicitation & Voting, and (3) this Formal Notice letter, by
First-Class Mail and (where available) Electronic Mail, upon the parties listed below.

Debtors’ Counsel (Wellpath Holdings, Inc. & affiliates, via McDermott Will & Emery LLP):
Marcus Alan Helt, Esq. — Dallas, TX (mhelt@mwe.com)
Carolee W. Wurzelbacher, Esq. — Chicago, IL (cwurzelbacher@mwe.com)

Darren Azman, Esq. — New York, NY (dazman@mwe,com)

(and other MWE counsel of record: Felicia Perlman, Steven Szanzer, Bradley Giordano) .

Unsecured Creditors’ Committee Counsel (Stinson LLP):

Nicholas Zluticky, Esq. — Kansas City, MO (nicholas.ziuticky@stinson.com)
Zachary Hemenway, Esq. — Kansas City, MO (zachary. hemenway@stinson.com)
Lucas L. Schneider, Esq. — Denver, CO ({ucas.schneider@stinson.com).

Office of the United States Trustee (Region 7, S.D. Texas):
Susan Rogers Her, Trial Attorney; Ha Nguyen, Trial Attorney
515 Rusk Street, Suite 3516, Houston, TX 77002

Email: USTPRegion07,1U ECF @usdaj.gov.

Wellpath Holdings, Inc. (Debtor) — Executive Leadership:
Ben Slocum, CEO; Marc Goldstone, Chief Legal Officer
3340 Perimeter Hill Drive, Nashville, TN 37211 (bankrupteymail@welipath.us) .

California Forensic Medical Group, Inc. (CFMG, Non-Debtor Affiliatel:s iliidottiiniee Sune Oem a,
Grady J. Bazzel, CEO; Scott Kennedy, CFO; Richard J. Medrano, $ 0 of 0

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Regulatory Authorities:
Medical Board of California — Enforcement Division (Sacramento, CA).

California Attorney General Rob Bonta — Health Quality Enforcement Section (Sacramento, CA).

California Labor Commissioner (Lilia Garcia-Brower) — Dept. of Industrial Relations (Oakland, CA).

Internal Revenue Service — Examination & Fraud Enforcement (Ogden, UT) .

U.S. Department of Labor - WHD & EBSA (Washington, DC).

U.S. Department of Justice — Executive Office for U.S. Trustees (EOUST) (Washington, DC).

(Additional copies have been sent to other potentially interested agencies such as the FTC, SEC, and
California Department of Insurance, as noted above.)~

Declaration of Service:
J declare that the above documents were served on March 25, 2025, as stated.
Executed this 25th day of March, 2025, at Fresno, California.

Respectfully submitted,

/s/ Dr. Kanwar Partap Singh Gill

Creditor and Pro Se Movant

8408 N. Ann Ave, Fresno, CA 93720

Tel: (559) 447-8490 | Email: kpsgill@kpsgill.com

Attachments: (1) Motion for Relief from Automatic Stay (Docket #1897); (2) Emergency Motion to
Stay Solicitation and Voting

Your timely attention to these serious matters is critical to ensure fairness, compliance, and transparency in
the administration of justice. Each of you has the authority and responsibility to act now in your respective
capacities to investigate and remediate the violations outlined above. Thank you for your prompt action in

safeguarding the public interest and the integrity of these proceedings.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS — HOUSTON DIVISION

In re:
Wellpath Holdings, Inc., et al.,
Debtors.

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PROOF OF SERVICE

I, Dr. Kanwar Partap Singh Gill, certify that I am at least 18 years old and that on March 25, 2025, I served true
and correct copies of the following documents:

1. Pro Se Motion for Relief from Automatic Stay (Docket #1897);

2. Emergency Motion to Stay Solicitation and Voting on Debtors’ Chapter 11 Plan and to
Strike Improper Third-Party Releases, Injunctions, and Discharge Provisions;

3. Formal Notice of Pending Motions and Request for Regulatory & Legal Action.

These documents were served by First-Class Mail via U.S. Postal Service and Electronic Mail (email) upon the
following parties:

Debtors’ Counsel (Wellpath Holdings, Inc. & Affiliates)

McDermott Will & Emery LLP

e Marcus Alan Helt, Esq.

2501 North Harwood Street, Suite 1900
Dallas, TX 75201-1664

Email: mhelt@imwe.com

e Carolee W. Wurzelbacher, Esq.
444 West Lake Street, Suite 4000
Chicago, IL 60606-0029

Email: ewurzelbacherGinyve.com

e Darren Azman, Esq.
One Vanderbilt Avenue
New York, NY 10017-3852
Email: dazman@orwe,.com

e Felicia Periman, Esq.; Steven Szanzer, Esq.; Bradley Giordano, Esq.
McDermott Will & Emery LLP (address as above)

Unsecured Creditors’ Committee Counsel

Stinson LLP

e Nicholas Zluticky, Esq.

1201 Walnut Street, Suite 2900
Kansas City, MO 64106

Email: nicholas.ziticky@stinson.com

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Kansas City, MO 64106
Email: zachary. hemenwav/@stinson.com .

at

e Lucas Lyle Schneider, Esq.

1144 Fifteenth Street, Suite 2400
Denver, CO 80202

Email: licas.schneider@stinson.com

Office of the United States Trustee (Region 7, Southern District of Texas)

e Susan Rogers Her, Trial Attorney; Ha Nguyen, Trial Attorney
515 Rusk Street, Suite 3516

Houston, TX 77002

Email: USTPRegion07.HU.ECF@usdoj.gov

Wellpath Holdings, !nc. (Debtor) — Executive Leadership

e Ben Slocum, Chief Executive Officer

e Mare Goldstone, Chief Legal Officer (General Counsel)
3340 Perimeter Hill Drive

Nashville, TN 37211

Email: bankruptcymail@wellpath.us

California Forensic Medical Group, Inc. (CFMG, Non-Debtor Affiliate)

e Grady J. Bazzel, Chief Executive Officer
e Scott Kennedy, Chief Financial Officer
e Richard J. Medrano, Secretary

Primary Corporate Address:
3340 Perimeter Hill Drive
Nashville, TN 37211

California Office Address:
1325 J Street, Suite 1550
Sacramento, CA 95814

Regulatory Authorities Served

Medical Board of California — Enforcement Division

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Tel: (916) 263-2389
California Attorney General Rob Bonta

Health Quality Enforcement Section
1300 T Street

Sacramento, CA 95814

Tel: (916) 445-9555

California Labor Commissioner (Lilia Garcia-Brower)

Department of Industrial Relations

1515 Clay Street, Suite 801

Oakland, CA 94612

Tel: (510) 285-2118

Email: LCOServiceRequests@dir.ca, cov

Internal Revenue Service (IRS) — Examination & Fraud Enforcement

IRS Examination & Fraud Enforcement
PO Box 3801

Ogden, UT 84409

Tel: (800) 829-0433

U.S. Department of Labor

© Wage and Hour Division (WHD)

¢ Employee Benefits Security Administration (EBSA)
200 Constitution Ave., NW

Washington, DC 20210

Tel (WHD): 1-866-487-9243

Tel (EBSA): 1-866-444-3272

U.S. Department of Justice — Executive Office for U.S. Trustees (EOUST)

441 G Street, NW, Suite 6150
Washington, DC 20530

Tel: (202) 307-1391

Email: USTrustee.Program/@usdoj,gov

Additional Interested Agencies (Informational Copies Povided)

e Federal Trade Commission (FTC)

600 Pennsylvania Ave., NW

Washington, pc 20580 ‘si ipo in ate teed mini share se cuitt a cata! il vi
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First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 14th, 2025 (Notarized) Page 164

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Washington, DC 20549

¢ California Department of Insurance
300 Capitol Mall, Suite 1700
Sacramento, CA 95814

Declaration of Service

I declare under penalty of perjury under the laws of the United States of America that the foregoing Proof of Service
is true and correct, that the listed documents have been served upon the entities as described above, and that this
declaration is executed on March 25, 2025, at Fresno, California.

Executed By:

/s! Dr. Kanwar Partap Singh Gill
Creditor and Pro Se Movant

8408 N. Ann Ave

Fresno, CA 93720

Telephone: (559) 447-8490

Email: kpsgill@kpsgill.com

This document will be promptly filed with the Clerk of the U.S. Bankruptcy Court, Southern District of Texas
(Houston Division), and submitted as evidence of proper service.

From: Dheeraj Taranath <DTaranath@Wellpath.us>

Sent: Wednesday, March 26, 2025 1:25 PM

To: Kanwar Gill <KaGill@Wellpath.us>

Subject: RE: Wellpath Nonqualified Deferred Compensation Plan (NQDCP — 409a}

Hello Dr. Gill,

Just reaching out to you again, regarding the NQDCP. I'd like to find a time that works for you to discuss
where we are in the process. | understand you filed a motion against the company, and as we are still in the
process of the bankruptcy resolution, I'd like to get on the same page with you about this. We are quite
hopeful to be out of the bankruptcy proceedings by the end of next month, as things are currently going as
planned.

Let me know when you may have some time to catch up by phone tomorrow or Friday so we can connect.

Thanks,
Dheeraj

Dheeraj Taranath, DO, MBA, MS
Chief Medical Officer
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First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 18th, 2025 (Notarized) Page 165

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Ml 304-376-4035
LinkedIn // Facebook // Twitter
WellpathCare.com

Dheeraj Taranath
Sent: Friday, November 8, 2024 12:46 PM

To: Kanwar Gill <KaGill@Welloath.us>

Cc: Marc D, Goldstone <MGoldstone@Wellpath,us>; Heather Hole <Heather Hole@Wellpath.us>
Subject: RE: Wellpath Nonqualified Deferred Compensation Plan (NQDCP ~ 409a)

Thanks, Dr. Gill.
I've set up a meeting for the three of us at 11:30am PST.

Looking forward to speaking with you.

Dheeraj Taranath, DO, MBA, MS
Vice President Medical Director of Local Government
interim Chief Medical Officer

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To hope snd healing.

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LinkedIn // Facebook // Twitter
WellpathCare.com

From: Kanwar Gili <KaGill@Wellpath.us>

Sent: Friday, November 8, 2024 12:40 PM

To: Dhéeraj Taranath <DTaranath@Wellpath,us>
Cc: Marc D, Goldstone <MGoldstone@Wellpath.us>; Heather Hole <Heather Hole@Wellpath.us>
Subject: RE: Weilpath Nonqualified Deferred Compensation Pian (NQDCP — 409a)

Thanks Dr. Taranath for your response,

| am available any time teday between 10 am through 4 pm Caiifornia time with 30 minutes advance notice.
I can move patients around and make myself available for the meeting.

Thanks

Best Regards,

Kanwar Gill MD

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el GT
Office: (559) 600-9365
Email: KaGili@wellpath.us

IMPORTANT CONFIDENTIALITY NOTICE:

Transmission of this message does not waive doctor-patient, attorney-client, work product, or intellectual property
privileges, Title 18 U.S. Code§ 2514 prohibits interception and disclosure of this electronic communication.

Dheeraj Taranath <DTaranath@Wellpath.us>

Sent: Friday, November 8, 2024 7:08 AM

To: Kanwar Gill <KaGill@Wellpath.us>

Cc: Marc D. Goidstone <MGoldstone@Wellpath.us>; Heather Hole <Heather Hale@Weilpath us>
Subject: RE: Wellpath Nonqualified Deferred Compensation Plan (NQDCP — 409a)

Good morning Dr. Gill,

Heather shared with me your concerns regarding the NQDCP. Would you have some availability today for a
video call with me and Marc Goldstone, our chief legal officer? We would like to answer any questions you
may have. We completely understand your concerns, and they are all legitimate and valid. Let’s find some
time today to discuss. Please let us know your availability, and | will set up a time for the three of us to meet
and discuss.

Sincere regards,

Dheeraj Taranath, DO, MBA, MS
Vice President Medical Director of Local Government
interim Chief Medical Officer

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M 304-376-4036 °°

Linkedin // Facebook // Twitter
WellpathCare.com

Begin forwarded message:

From: Kanwar Gill <KaGili@wellpath.us>

Date: November 7, 2024 at 12:05:32 PM MST

To: Heather Hole <HeatherHole@wellpath.us>

Subject: Wellpath Nonqualified Deferred Compensation Plan (NQDCP ~ 409a)

Good Morning Heather,

lam physician employed at the Fresno County Jail in Fresng; CA oes eutt teitigaitet saiciste andes ntciatin attach eats og age
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, company, The payouts on these won't start until the March of 2026 and will continue until
2029 in installments. I'm not able to make early withdrawals while | am continuously
employed with the company.

In WellPath corporate communication email from yesterday, there is no mention about
how company will treat NODCP funds. They did talk about 401k but not about NQDCP
409a. I'm concerned that unlike 401k, these funds are unsecured and may not be returned
to me and this money can be given to other creditors with higher seniority (in an event of
Chapter 11 Bankruptcy filing).

Can you please help me find out how this money will be treated by WeilPath in the
foreseeable future and if there is any security or protection of my funds?

My cellphone is 559-447-8490 and desk phone is 559-600-9373

Tha nks

Best Regards,

Kanwar Gill MD

Wellpath

Fresno County Adult Detention Facility

Office: (659) GO0-9365
email: KaGill@wellpath.us

IMPORTANT CONFIDENTIALITY NOTICE:
Transmission of this message does not waive doctor-patient, attorney-client, work

product, or intellectual! property privileges. Title 18 U.S. Code§ 2511 prohibits
interception and disclosure of this electronic cormmunication.

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Fidelity NetBenefits - Statement Details

Statement Details

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Wellpath NQ DCP Retirement Savings Statement
KANWAR GILL ‘SP Customer Service: (800) 835-5095
8408 N ANN AVE Fidelity Brokerage Services LLC

FRESNO, CA 93720- 900 Salem Street, Smithfield, Ri 02917
Your Account Summary ‘Statement Period: 01/01/2024 to 11/12/2024
Beginning Balance $113,695.18
Employee Contributions $32,029.24
Change in Market Value $16,872.66
Ending Balance $162,597.08

Additional Information

Vested Balance $162,597.08
Dividends & interest $795.45

Your Personal Rate of Return

This Period 12.9%

Your Personal Rate of Return is calculated with a time-weighted formula, widely used by
financial analysts to calculate investment earnings. It reflects the results of your
investment selections as well as any activity in the plan account(s) shown. There are other
Personal Rate of Return formulas used that may yield different results. Remember that
past performance is no guarantee of future results.

Your Asset Allocation Statement Period; 01/01/2024 to 11/12/2024

65.11% Stock: $105,863.67
31.38% Bond: $51,018.80
# 3.51% Short Term Investments: $5,714.61

Your account is allocated among the asset classes specified above as of 11/12/2024. Percentages and
totals may not be exact due to rounding.

The Additional Fund Information section fists the underlying allocation cf your blended funds.

Market Value of Your Account Statement Period: 01/01/2024 to 11/12/2024
Displayed in this section is the value of your account for the statement period, in both shares and dollars,

Tier

Investment Shares as of Shares as of Price as of Price as of Market Vatueas Market Value as
1213412023 11/12/2024 12/31/2023 11/12/2024 of 12/34/2023 of 11/12/2024

Stock $23,350.94 $41,975.52

intematicnal

ao Intl 183.938 186.865 $31.13 $32.82 $5,726.01 $6,132.91

Mid-Cap

MFS Mid Cap 188.849 188.849 $30.79 $37.07 $5,814.67 $7,000.63
Value R6

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: Investment Shares as of Shares asof Price asof Price as of Market Value as Market Value as
42/31/2023 1412/2024 12/31/2023 144212024 of 12/31/2023 of 14/42/2024

Large Cap
AB US ig CP
onan 0.000 «603.508 $18.61 $23.72 $0.00 $14,329.95
yang yor Stk 51.987 52.516 $115.51 $144.26 $6,005.03 $7,575.95
van 82,908 82.908 $70.02 $83.66 $5,805.23 $6,936.08
Bond $19,075.33 $15,638.34
Stabie Value
Putnam 13,520,480 13,959.970 $1.00 $1.00 $13,520.48 $13,959.97
Stable Value
Income
rn US Bond 264.830 272,310 $10.43 $10.29 $2,762.17 $2,802.09
Pgim Total 6 241.09 12.06 3 2,792.68 2,876.28
REN BORE 231.56 097 $12.0 $11.9 $2, $2,
Blended Fund investments* $71,268.91 $100,983.22
AF TrgtDate 4 g36 1,936,050 16,2 18.18 31,402.74 35,197.44
a030 ae 936,050 1,936. $16.22 $18.1 $31, $35,
AF Trgt Date 6 1,269 8 8 17,6 27,493.19
oneo ee 950.106 1,269,307 $18.5 $21.6 $17,652.96 $27,
AF TrgtDate 4 546 1.516.260 4.65 16 22,243,24 24,502.76
paoe ae 516.260 1,516. $14, $16.16 $22,213, $24,
AF Trgt Date oo 339.516 5 20 0.00 6,844.64
ee 000 30.54 $17.6 $20.16 $ $6,
AF Trgt Date
2060 R6 0.000 © - 388.447 $16.02 $18.85 $0.00 $6,945.22
Account Tatats $113,695.18 $162,597.08

Remember that a dividend payment to fund shareholders reduces the share price of the fund,
SO a decrease in the share price for the statement period does not necessarily reflect lower
fund performance.

*You have invested a portion of your account in Blended Funds. Blended Funds generally
invest in a mixture of stocks, bonds and short-term investments, blending long-term growth
from stocks with income from dividends and interest. Please refer to the Additional Fund
Information section ta see how your blended funds are allocated across the three asset
classes.

This plan represents an unfunded, nonqualified Plan, and no funded account has been
established for you. In the event of a bankruptcy or insolvency, you would be an unsecured
general creditor of the plan sponsor. For more information, refer to the plan documents.

Some of the administrative services performed for the Plan were underwritten from the total
operating expenses of the Plan’s investment options.

Market Value of Deferrals Statement Period: 01/01/2024 to 11/12/2024

This section displays the market value by year of deferral.

Deferral Contribution Distributlon Distribution Market Value Effective
Year/Type Source Year Type 11/12/2024 Date
2023 Salary Election Unknown
Unknown
2023 Salary $1,704.90
2023 Total $1,704.90
2024 Salary 2026 Lump Sum Current
2024 Salary Retirement Lump Surn Current
+1 months .
2024 Salary $33,328.80
2024 Total $33,328.80
Other Retirement Accnt1 Retirement 2 Year Current
Contributions +1 months Installment
Annual
Other Contributions Retirement Accnt 4 $22,974.45
Other Retirement Accnt 2. Retirement Lump Sum Current
Contributions +1 months

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Deferral Contribution Distribution Distribution Market Value Effective
Year/Type Source Year Type 99/12/2024 Date
Other Contributions Retirement Accnt 2 $22,974.40
Other in Service 1 2027 Lump Sum Current
Contributions
Other in Service 1 Retirement Lump Sum Current
Contributions +1 months
Other Contributions in Service 1 $21,764.84
Other in Service 2 2029 Lump Sum Current
Contributions
Other in Service 2 Retirement Lump Sum Current
Contributions +1 months
Other Contributions in Service 2 $21,765.17
Other in Service 3 2027 4 Year Current
Contributions Installment

Annual
Other in Service 3 Retirement Lump Sum Current
Contributions +1 months
Other Contributions in Service 3 $12,694.83
Other in Service 4 2029 4 Year Current
Contributions Installment

Annual
Other in Service 4 Retirement Lump Sum Current
Contributions +1 months
Other Contributions in Service 4 $12,694.07
Other in Service 5 2027 4 Year Current
Contributions Instaltment

Annual
Other in Service § Retirement Lump Sum Current
Contributions +1 months
Other Contributions in Service 5 $12,694.82
Other Contributions Total $127,563.38
Total Value $162,597.08
Your Contribution Elections as of As of 03/18/2025

This section displays the funds in which your future contributions will be invested.

Your Current Investment Elections as of 03/18/2025
RETIREMENT ACCHT 4

investment Option Current
%

Stock Investments

LARGE CaP

VANG TOT STK MKT IS 10%
MID-CAP

MFS MID CAP VALUE R6 10%

INTERNATIONAL

VANG TOT INTL STK AD 10%

MGL SMCP VAL R6 10%

Blended Fund Investments*

AF TRGT DATE 2030 R6 25%
Bond Investments

STABLE VALUE

PUTNAM STABLE VALUE 25%
INCOME

FID US BOND IDX 5%

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Case 24-90533 Document 2339

PGIM TOTAL RTN BD R6

Total

REVTIREMENT ACCNT 2
Investment Option

Stock Investments
LARGE CAP

VANG TOT STK MKT IS
MID-CAP

MFS MID CAP VALUE R6

INTERNATIONAL
VANG TOT INTL STK AD

MGL SMCP VAL R6

Blended Fund Investments*
AF TRGT DATE 2030 R6

Bond Investments
STABLE VALUE

PUTNAM STABLE VALUE
INCOME

FID US BOND IDX

PGIM TOTAL RTN BD R6

Total

IN SERVICE 1
investment Option

Stock Investments
LARGE CAP
VANG TOT STK MKT 1S

MID-GAP
MFS5 MID CAP VALUE R6

INTERNATIONAL
VANG TOT INTL STK AD

MGL SMCP VAL R6

Blended Fund Investments*
AF TRGT DATE 2030 R6

Bond Investments
STABLE VALUE
PUTNAM STABLE VALUE

INCOME
FID US BOND IDX

PGIM TOTAL RTN BD R6é

Total

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Fidelity NetBenefits - Statement Details
5%

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Current

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In SERVICE 2
Investment Option Current

Stock Investments

LARGE CAP
VANS TOT STK MKT IS 10%
MID-CAP

MFS MID CAP VALUE R6 10%

INTERNATIONAL
VANG TOT INTL STK AD 10%

MGL SMCP VAL R6 10%

Blended Fund Investments*
AF TRGT DATE 2030 R6 25%

Bond Investments

STABLE VALUE

PUTNAM STABLE VALUE 25%
INCOME

FID US BOND IDX 5%
PGIM TOTAL RTN BD R6 5%
Total 100%

ah SERVICE 3
investment Option Current

Stock Investments

LARGE CAP
VANG TOT STK MKT IS 10%
MID-CAP

MFS MID CAP VALUE R6 10%

INTERNATIONAL
VANG TOT INTL STK AD 10%

MGL SMCP VAL R6 10%

Blended Fund Investments*
AF TRGT DATE 2030 R6 25%

Bond Investments

STABLE VALUE

PUTNAM STABLE VALUE 25%
INCOME

FID US BOND IDX 5%
PGIM TOTAL RTN BD R6 5%
Tetal 100%

IN SERVICE 4

Investment Option Current
%

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Stock Investments

LARGE CAP

VANG TOT STK MKT iS 10%
MIEKCAP

MFS5 MID CAP VALUE R6 10%

INTERNATIONAL
VANG TOT INTL STK AD 10%

MGL SMCP VAL R6 . 10%

Blended Fund Investments*
AF TRGT DATE 2030 R6 25%

Bond Investments

STABLE VALUE

PUTNAM STABLE VALUE 25%
INCOME

FID US BOND IDX 5%
PGIM TOTAL RTN BD R6 5%
Total 100%

EN SERVICE §
Investment Option Current

Stock Investments

LARGE CAP

VANG TOT STK MKT IS 10%
MID-CAP

MFS MID CAP VALUE R6 10%
INTERNATIONAL

VANG TOT INTL STK AD 10%
MGL SMGP VALR6 10%

Blended Fund Investments*
AF TRGT DATE 2030 R6 26%

Bond Investments

STABLE VALUE

PUTNAM STABLE VALUE 25%

INCOME

FID US BOND IDX 5%

PGIM TOTAL RTN BD R& 5%

Total 100%

SALARY

Investment Option Current
%

Stock Investments

LARGE GAP

ABUSLG CP GRCITL 40%

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Blended Fund investments*
AF TRGT DATE 2035 R6

AF TRGT DATE 2040 Ré
AF TRGT DATE 2060 R6

Total

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Investment Option

Stock Investments
LARGE CAP

AB US LG CP GR CITL

Blended Fund Investments*
AF TRGT DATE 2035 R&

AF TR&T DATE 2040 R6
AF TRGT DATE 2060 R6

Total

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Investment Option

Blended Fund Investments*
AF TRGT DATE 2040 R6

Total

ER DISCRETIONARY
investment Option

Stock Investments

AB USLGCPGRCITL

Blended Fund Investments*
AF TRGT DATE 2035 R6

AF TRGT DATE 2040 R6

AF TRGT DATE 2060 R6

Total

40%

Current
%

40%

20%
20%

20%

100%

Your Contribution Summary

Contributions Period to Inception To

Statement Periad: 01/01/2024 to 11/12/2024

Vested Total Account Total Vested

date Date Percent Balance Balance
Retirement b
Accent 1 $0.00 $5,374.23 100% $22,974.45 $22,974.45
Retirement
Accent 2 $0.00 $5,374.18 100% $22,974.40 $22,974.40
. Service $0.00 $4,030.56 100% $21,764.84 $21,764.84
” Service $0.00 $4,030.56 100% $21,765.17 $24,765.17

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Fidelity NetBenefits - Statement Details
Vested Total Account Total Vested

Period to Inception To

Contributions

date Date Percent Balance Balance
in Service $0.00 $2,687.07 100% $12,694.83 $42,694.83
in Service $0.00 $2,687.07 100% $12,694.87 $12,694.87
in Service $0.00 $2,687.07 100% $12,694.82 «$12,694.82
Salary $32,029.24 $32,029.24 100% $35,033.70 $35,033.70
Your Account Activity Statement Period: 01/01/2024 to 11/12/2024

Use this section as a summary of transactions that occured in your account during the statement period.

Activity FID US Bond Vang TOT Stk MGLSmcp Val AF Trgt Date
Idx Mkt IS R6 2030 R6
Beginning Balance $2,762.17 $6,005.03 $5,805.23 $31,402.74
Change in Market Value $39.92 $1,570.92 $1,130.85 $3,794.67
Ending Balance $2,802.09 $7,575.95 $6,936.08 $35,197.41
Dividends & Interest $77.10 $69.43 $0.00 $0.00
Activity AF Trgt Date AF TrgtDate AF TrgtDate MFS Mid Cap
2040 R6 2025 RG 2035 R6 Value R6
Beginning Balance $17,652.96 $22,213.21 $0.00 $5,814.67
Employee Centributions $6,405.85 $0.00 $6,405.85 $0.00
Change in Market Value $3,434.38 $2,289.55 $438.79 $1,185.96
Ending Balance $27,493.19 $24,502.76 $6,844.64 $7,000.63
Activity Vang TOT Intl Pgim Total AF TrgtDate ABUS Lg CP
Stk AD RTN BD R6 2060 RG GR CITL
Beginning Balance $5,726.01 $2,792.65 $0.00 $0.00
Employee Contributions $0.00 $0.00 $6,405.84 $12,8 11.70
Change in Market Value $406.90 $83.60 $539.38 $1,518.25
Ending Balance $6,132.91 $2,876.28 $6,945.22 $14,329.95
Dividends & Interest $95.53 $113.90 $0.00 $0.00
-n Putnam
Activity Stable Value Total
Beginning Balance $13,520.48 $113,695.18
Employee Contributions $0.00 $32,029.24
Change in Market Value $439.49 $16,872.66
Ending Balance $13,959.97 $162,597.08
Dividends & Interest $439.49 $795.45

Additional Fund Information

As of 03/18/2025

Use this section to determine the asset allocation of your blended investments.

Blended investment Stocks Bonds Short-Term/Other
AF Trgt Date 2030 R6 57% 37% 6%
AF Trgt Date 2040 R6 BD% 16% 5%
AF Trgt Date 2025 R6é 46% 48% 6%
AF Trgt Date 2035 R6 65% 28% 6%
AF Trot Date 2060 R6 87% 8% 5%

Blended investments generally invest in more than one asset class, ‘The blanded investment asset allocation abave
reflects the stated neutral mix cr, if not available, the asset mix reported by Morningstar, Inc. for mutual funds or by
investment managers for non-miutual funds,

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EXHIBIT 3

IRC § 4094 ~ DISCLOSURE STATEMENT PURSUANT TO IRS FORM 8275

STANDARDS
Submitted by Dr. Kanwar Partap Singh Gill, Pro Se Movant

United States Bankruptcy Court - Southern District of Texas - Houston Division
Case No. 24-90533 - In re Wellpath Holdings, Inc.

i. Taxpayer Information

Taxpayer Name: Dr. Kanwar Partap Singh Gill
Filing Status: Married Filing Jointly

Tax Year(s) Affected: 2022, 2023, and 2024
Address: 8408 N. Ann Ave, Fresno, CA 93720

2. Nature of Disclosure and Legal Basis

This statement is submitted pursuant to the principles of IRS Form 8275 to disclose a
position that may affect the income tax liability of the taxpayer under Internal Revenue
Code (IRC) § 409A. The disclosure is made in good faith to avoid potential underpayment
penalties under IRC §§ 6662 and 409A. The taxpayer seeks to demonstrate that there is a
reasonable basis for the tax position taken regarding nonqualified deferred compensation
(NQDC) deferred but not paid due to a third-party bankruptcy.

3. Factual Background

Dr. Kanwar Partap Singh Gill, a California resident and licensed physician, began deferring a
portion of his earned wages into a nonqualified deferred compensation plan beginning
January 1, 2022. The deferred amounts were solely funded from his own salary as an
employee of California Forensic Medical Group, Inc. (CFMG), a non-debtor, physician-owned
corporation. There were no employer contributions, bonuses, or severance components
included in the deferrals.

As of November 12, 2024, the taxpayer’s NQDC account balance totaled $162,597.08. These
funds were administered by Wellpath Holdings, Inc., a management services organization
that subsequently filed for Chapter 11 bankruptcy. Due to the bankruptcy filing, the funds
became frozen and inaccessible to the taxpayer.

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4. issue Presented

Whether the taxpayer should be subject to immediate income inclusion and penalties under
IRC § 409A(a}(1)(B) due to nonpayment of deferred compensation that was properly
deferred but rendered inaccessible by the bankruptcy of a third-party administrator
(Wellpath Holdings, Inc.).

5. Legal Position and Authorities

The taxpayer asserts that the failure to distribute deferred compensation is attributable
solely to the unforeseen and involuntary bankruptcy of the administrator and not due to
any election failure, operational error, or impermissible acceleration on the part of the
taxpayer.

Under the 409A Treasury Regulations (26 C.F.R. § 1.409A-3(¢)(5)), a distribution can be
delayed if the employer's ability to make the payment would jeopardize the ability of the
employer to continue as a going concern. The taxpayer respectfully asserts that the delay in
payment due to bankruptcy satisfies this condition.

Additionally, the taxpayer has taken proactive steps to seek relief from the automatic stay in
the bankruptcy case to obtain these funds, as documented in Docket Nos. 1897, 2049, and
2075 of the referenced case.

6. Penalty Relief Requested

The taxpayer respectfully submits this disclosure to demonstrate reasonable cause and
good faith pursuant to Treasury Reg. § 1.6662-4(e) and IRS Form 8275 guidance. The
taxpayer requests relief from any:

¢ Immediate gross income inclusion under IRC § 409A(a)(1)(A);

° Additional 20% tax under IRC § 409A(a)(1)(B) (ii);

» Accuracy-related penalty under IRC § 6662;

« Interest penalties for underpayment or late payment arising from delayed inclusion;
* California Franchise Tax Board 5% penalty conforming to IRC § 409A.

7. Supporting Documentation
* Account Summary dated November 12, 2024 (showing vested balance of $162,597.08);

* April 10, 2025 Legal Notice (Exhibit 1);
« Supplemental Brief filed April 14, 2025 (referencing Dkts. 1897, 2049, 2075).

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Executed this Lith day of April, 2025
Respectfully submitted,

/s/ Dr. Kanwar Partap Singh Gill
Dr. Kanwar Partap Singh Gill, M.D.
Pro Se Movant and Creditor

8408 N. Ann Ave

Fresno, CA 93720

Phone: (559) 447-8490

Email: kpsgill@kpsgill.com

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 18th, 2025 (Notarized) Page 179

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EXHIBIT 4 — Legal Memoranda and Coercion Evidence
Filed in Support of Dkts. 1897, 2049, 2075

Declarant: Dr. Kanwar Partap Singh Gill

Case: In re Wellpath Holdings, Inc., Case No. 24-90533 (S.D. Tex.)

Declaration Cross-Reference
Referenced in Sections: VIi, VIII

Cited in Paragraphs: [J 102-124, 155-156

Description of Contents

This exhibit contains legal memoranda sent to MWE attorneys and accompanying
correspondence demonstrating coercive tactics linking legal silence to wage release.

Included Documents:

» -Legal memoranda to MWE attorneys (Perlman, Helt, Szanzer, Wurzelbacher)
« -Emails conditioning deferred comp release on NDA execution
*® -Screenshots of coercive correspondence

Legal Basis and Relevance
Statutes, regulations, and ethical rules implicated:

e -ABA Model Rules 1.2(d), 3.3(a), 4.4{a), 5.1, 5.2, 8.4(c), 8.4(d)
e -ERISA§510
e -Rule 9011(b)

Authentication Status

Preserved and timestamped communications documented between March-April 2025;
authenticated under Rule 901(b)(4) by distinctive content.and secure email threads.

Evideniiary Purpose
Supports ethical misconduct allegations, fiduciary violations, and Rule 9011 breaches.

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MPSGHIL.. COM Kanwar Partap Singh Gill <kpsgill@kpsqill.com>

CONFIDENTIAL — NOT FOR PUBLIC DISTRIBUTION -Reflexive Structural
Pathologies and Embedded Professional Conflicts in the Fifth Amended Plan of

Reorganization
1 message

Kanwar Gill MD <kpsgill@kpsgill.com> Sat, Apr 12, 2025 at 9:24 PM
To: Felicia Periman <fperlman@mwe.com>, "Marcus A. Helt" <mhelt@mwe.com>, Steven Szanzer <sszanzer@mwe.com>,
Carole Wurzelbacher <cwurzelbacher@mwe.com>, cdingman@mwe.com, Bradley Giordano <Bgiordanc@mwe.com=,
Felicia Perlman <Fperlman@mwe.com>, Marcus Helt <Mhelt@mwe.com>

CONFIDENTIAL — NOT FOR PUBLIC DISTRIBUTION
Privileged Legal Advisory Memorandum

Subject: Reflexive Structural Pathologies and Embedded Professional Conflicts in the Fifth Amended Plan of
Reorganization

To: Felicia Perlman, Marcus Helt, Steven Szanzer, Carole Wurzelbacher — McDermott Will & Emery LLP
From: Dr. Kanwar Gill, Pro Se Creditor
Date: April 12, 2025

PRELIMINARY NOTE ON SCOPE AND SEMANTIC BOUNDARIES

This document is intended solely as an intra-professional communication and should not be misconstrued as a motion,
objection, or other form of judicial submission. It is neither a precursor to litigation nor a surrogate for agency complaint.
Instead, it seeks to map the topology of concerns that arise when iterative transactional drafting is juxtaposed against
multi-jurisdictional ethical canons and statutory prohibitions. No forensic inquisition is underway. Rather, this is a
discursive invocation of interpretive legal complexity, transmitted under the sign cf good-faith engagement, but situated
within the shadow of institutional memory.

The following memorandum, structured by abstraction but tethered to case reality, operates in a conceptual terrain not
often accessible by docketed brief or judicial colloquy. It presumes familiarity with embedded norms and latent structural
regularities, and it relies on the reader’s legal training to identify what is meant without stating it directly.

|. Structural Infirmities Anchored in California's CPOM Framework — Semantic Inconsistencies and Functional
Contradictions

The architecture of the Plan's post-confirmation operational continuity appears to function as a tacit reaffirmation of
governance modalities that remain irrecancilable with the textual and jurisprudential mandates of California’s Corporate
Practice of Medicine (CPOM) prohibition. Specifically, the specter of continued MSO-dominated physician employment
without requisite shareholder autonomy, though not overtly stated, emerges through the silences between Plan
provisions.

By maintaining a model wherein non-physician entities influence licensure-protected spheres of professional conduct
under the guise of administrative services, the Plan appears to preserve a schema that may be rendered statutorily null
per Cal. Bus. & Prof. Code § 2400 and interpreted precedents such as People v. Cole. The ostensible separation of
ownership and control is linguistic; the substantive exercise of dominion remains central.

In effect, the Plan is a grammatical rearrangement of a legally impermissible structure. The mechanism remains; only the
phrasing changes. ,

ll. Deferred Compensation Constructs as Fiduciary Labyrinths: IRC §409A and ERISA Considerations
The Deferred Compensation Program, routed through a Non-Qualified Deferred Compensation Plan (NQDCP), has been
repurposed within the Plan into a mechanism of collective distribution that contravenes both the letter and spirit of 26

U.S.C. §409A. Under the guise of estate rationalization, what were once individualized, contract-bound wage deferrals
have become fungible pro rata disbursements untethered from original performance conditions.

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This transformation, arguably expedient from a reorganization perspective, is fraught with regulatory peril. In the absence
of a “separation from service” event or an enumerated triggering condition that satisfies Treasury Regulation §1.409A-3,
acceleration of payment schedules may constitute a constructive receipt cf income, thereby Invoking taxation with
additional penalties. Furthermore, the Plan’s proposed treatment lacks clarity regarding the trust (or non-trust) status of
the assets in question, raising ERISA fiduciary red flags under 29 U.S.C. §1104 and related Department of Labor
interpretive guidance.

Should tax implications befall the physician beneficiaries, the Plan’s silence may be interpreted not merely as an omission
but as a contributory act of economic harm.

Ill. Opt-Out Regimes, Procedural Semantics, and the Illusion of Affirmative Assent

The Plan employs a non-binary opt-out schema wherein silence is interpreted as consensual surrender, and default
behavior is transmuted into irrevocable waiver. This methodology conflates procedural mechanics with constitutional
legitimacy. It risks violating foundational due process norms, particularly where stakeholders are unrepresented,
incarcerated, or otherwise legally disabled.

By transforming the absence of objection into the presence of agreement, the Plan leans heavily on interpretive
presumption. This presumption is not self-executing; it demands ex post ratification through judicial inattention or creditor
acquiescence. It creates the fiction of consent where no affirmative volition exists.

The issue is not whether notice was sent. It is whether the structure of the notice was capable of producing informed legal
agency.

IV. Nested Immunities: Exculpation, Injunction, and Release as Recursive Logic

The operative provisions of Article |X, when parsed collectively, resemble a doctrinal echo chamber wherein each
immunity is justified by reference to the necessity of the others. The exculpations are predicated on the releases; the
releases are validated by the injunctions; and the injunctions exist to protect the exculpated fiduciaries.

This recursive legal geometry collapses under the weight of its own circularity. It poses as a shield, but operates as a
loop. The aggregate effect is one of systemic indemnity without individualized accountability, a construct that is
problematic not only from a constitutional perspective, but also within the analytical confines of Fifth Circuit jurisprudence
(In re Pacific Lumber, In re Pilgrim’s Pride, etc.).

To the lay reader, this may appear to be protective. To the trained eye, it may resemble an architecture of immunity in
search of a liability.

V. Ethical Granularity and the Implicit Cartography of Role-Based Responsibility

The disclosures, omissions, and drafting decisions implicated in this Plan do not attach in abstractc. They have
authorship, design, and review lineage. The ethical obligations arising under the relevant Rules of Professional Conduct
are functionally joint and severable. No one lawyer is responsible for all; yet each lawyer may be responsible for part.

* Ms. Perlman (Illinois Bar): As ostensible lead counsel, the principal vectors of plan strategy and confirmation
advocacy attach to your supervisory scope. Rules 1.2(d), 3.3, and 5.1 should be revisited with care.

* Mr. Helt (Texas Bar): The local interface between Plan content and courtroom certification falls within your
domain. Rule 3.03 and Rule 5.01 are implicated insofar as pleadings advanced are misaligned with governing circuit law.

* Mr. Szanzer (New York Bar): Solicitation language, consent framework design, and disclosure adequacy fall
within the ambit of Rules 3.1, 4.1, and 8.4.

: — Ms. Wurzelbacher (Illinois Bar): If drafting support was offered or review delegated, Rules 3.4, 5.2, and 8.4
provide insight into the distribution of accountability where discretion meets instruction.

No misconduct is alleged. Rather, these citations are offered as interpretive lenses.

VI. Interdependence of Counsel and Shared Epistemic Liability

Legal responsibility does not always follow the contours of task allocation. When a Plan carries the imprimatur of a law
firm, every lawyer on the signature block becomes epistemically proximate to every material assertion. Silence, in such

contexts, can be read not as ignorance but as assent.

This is not a claim of fault. It is an observation of the conditions under which shared knowledge converts into shared
consequence. Ethical latitude is expansive until known errors persist.

VII. Judicial Non-Perception and the Blind Spot Doctrine

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 182
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There are matters which a judge may never see, not due to concealment, but because the record has been curated to
forestall illumination. The ethical burden on practitioners, therefore, increases in proportion to the likely invisibility of the
defect. Where judicial notice is foreclosed by strategic ambiguity, the attorney's internal duty to reconcile law and
conscience becomes paramount.

You may never be asked these questions in court. That does not mean they do not deserve answers.

VIL. Closing Disquisition: From Constructive Ambiguity to Deliberative Clarity

The objective of this memorandum is not to indict, but to illuminate. There is yet time to adjust course, correct language,
or modify assumptions. That opportunity, however, is temporal and conditional. The longer known defects remain
unaddressed, the greater the probability that a future observer—be it judicial, regulatory, or historical—will ask: what did
they know, and when did they choose not to act?

You are not being accused. You are being invited to decide what happens next.

Respectfully submitted,

Dr. Kanwar Gill

Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. S.D. Tex.)

Senior Staff Physician — California Forensic Medical Group

Fresno County Aduit Detention Facility

Email: kpsgill@kpsgill.com

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KPSGELL.COM Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

Contingent Reflections on Procedural Integrity and Affirmative Representational Sufficiency Under Rule
9011(b), Fed. R. Bankr. P.

| message

Kanwar Gill MD <kpsgill@kpsgill.com> Sat, Apr 12, 2025 at 11:31 PM
To: Carole Wurzelbacher <cwurzelbacher@mwe.com>

Cc: Marcus Helt <Mhelt@mwe.com>, Felicia Perlman <Fperman@mwe.com>, Bradley Giordano <Bgiordano@mwe.com>, Steven Szanzer
<sszanzer@mwe.com>

CONFIDENTIAL — PRIVILEGED COMMUNICATION

NOT FOR PUBLIC DISCLOSURE OR FILING

Subject: Contingent Reflections on Procedural Integrity and Affirmative Representational Sufficiency Under
Rule 9011(b), Fed. R. Bankr, P.

To: Felicia Perlman, Marcus Helt, Steven Szanzer, Carole Wurzelbacher —- McDermott Will & Emery LLP
From: Dr. Kanwar Partap Singh Gill — Pro Se Creditor
Date: April 13, 2025

PREAMBULAR NOTICE AND SEMANTIC POSITIONING

This correspondence is not submitted in anticipation of motion practice, nor does it function as a predicate to
judicial invocation. It is, rather, an epistemic gesture—a textual interstice—situated within the dialectic of pre-
litigation complexity and professional discretion. No inference should be drawn as to tactical intention. The
contents are insulated from adversarial interpretation by design, and no waiver of any procedural, evidentiary, or
strategic position is herein expressed or implied.

What follows is a discursive instantiation of concerns tethered neither to adversarial posture nor to prosecutorial
contingency, but to the architecture of professional fidelity within a federally supervised insolvency proceeding.

I. Representational Density and the Elastic Boundaries of Rule 901 1(b)

In the matter presently under jurisdictional consideration—In re Wellpath Holdings, Inc., Case No. 24-90533—
the structural propositions embedded in the Fifth Amended Plan and its associated Disclosure Statement (Dkt.
1835) raise questions not merely of formal compliance, but of the ontological relationship between advocacy
and regulatory epistemology. That is to say: the question is not what the Plan does; the question is what the
Plan, as filed, presupposes about its own permissibility.

Federal Rule of Bankruptcy Procedure 9011(b), in its composite articulation, imposes no affirmative duty to
foresee all potential interpretive complications. It does, however, obligate signatory counsel to tether their

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 184
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representational! positions to cognizable legal plausibility—a concept which, in contexts of known or knowable
statutory tension, becomes functionally indistinct from deliberate omission when repeated through postural
reaffirmation.

It is within this interpretive corridor—between silence and assertion—that present concerns begin to crystallize.

II. Liminal Structures: Functional Ambiguity as Curated Immunity

The Plan’s operative language—particularly in its release, exculpation, and injunction provisions—exhibits a
recursive doctrinal geometry wherein each clause purports to validate the others, forming a triadic shell around
core actors insulated from exogenous liability. These. provisions, while textually separable, appear to have been
engineered to operate in concert as a narrative deterrent to third-party accountability.

Moreover, the treatment of deferred compensation assets, when juxtaposed with both Treasury Reg. § 1.409A-
3(i)(4) and longstanding fiduciary principles, invites a form of legal alchemy in which eared, deferred wages
are transmogrified into dischargeable estate liabilities—absent visible liquidating events or compliance-
stabilized triggers.

Where such arrangements intersect with structurally opaque physician governance constructs—particularly
those subsisting in jurisdictional tension with the CPOM doctrine codified in Cal. Bus. & Prof. Code § 2400—
the risk profile shifts from one of technical irregularity to one of anticipatable regulatory intervention.

None of this is, in isolation, dispositive. But in aggregation, the pattern suggests less a failure to foresee, and
more a refusal to foreclose.

IU. Provisional Observations on the Elasticity of Fiduciary Candor

It is not the role of this memorandum to speculate as to motive. Rather, its utility lies in highlighting the
divergence between form and function in the Plan’s current design, and in posing the question: whether counsel,
in pressing forward under these structures, can be said to have discharged their fiduciary obligations to the
estate, the Court, and the regulatory horizon contemporaneously.

Where legal submissions persist in forms whose material predicates have been shown—repeatedly, and with
particularity—to rest on interpretive scaffolding irreconcilable with known statutory, ethical, or regulatory
frameworks, it becomes difficult to distinguish good-faith oversight from functional disregard. Rule 9011(b)(2)}-
(3) does not require perfection. But it does require that filings, once their infirmities are demonstrated, cease to
be reflexively reasserted under color of prior approval.

In this sense, professional inertia can function as willfulness.

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IV. Non-Filing as Discursive Latitude

To be clear: no motion under Rule 9011 has been filed. No public dissemination has occurred. No adverse
action has been initiated. That fact should not be interpreted as acquiescence, capitulation, or consent. Nor
should it be taken as a waiver of any right, claim, or evidentiary position, whether known or not yet asserted.

Instead, this memorandum serves as an interlocutory warning of epistemic burden—a textual checkpoint
signaling that representational repetition, in the face of preserved contradictions, may create a legal topology
wherein professional liability no longer resides in the filing itself, but in the refusal to amend it.

The window for discretionary correction remains open. Whether it remains so indefinitely is neither implied nor
foreclosed.

V. Ethical] Contiguity and Interpretive Multiplicity

It would be inappropriate to enumerate here the precise locations within the Plan’s fabric that give rise to the
greatest interpretive tension. Suffice it to say that those provisions touching upon:

« The ex ante nullification of non-debtor liabilities;
e The retroactive recharacterization of compensation not subject to estate administration;

¢ The invocation of professional release mechanisms shielding fiduciaries from their own structural
architecture; and

¢ The solicitation and extinguishment of pro se claimants’ rights through coercive procedural design—
will likely be of interest to those reviewing this matter through the retrospective lens of ethics, rather than
the proximate lens of procedure.

Whether such provisions survive judicial scrutiny is immaterial to this memo. The point is whether they survive
professional scrutiny under conditions where knowledge, not just assertion, becomes the relevant axis.

VI. Final Positioning and Discretionary Silence

This communication is protected in its entirety by attorney-work product, professional common-interest
privilege, and pre-litigation confidentiality norms. Its content is not to be construed as a precursor to motion
practice, a threat of litigation, or an attempt to obtain any improper advantage.

Rather, it is offered as a gesture of fiduciary reservation: a final opportunity for curative self-determination,
preserved under the aegis of intra-professional discretion.

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‘What happens next need not be adversarial. But if the record continues to accrete uncorrected, the question will
shift—not to whether the Plan was approved, but to whether its approval was procedurally sustainable in light of
. what was plainly known.

Respectfully,

Dr. Kanwar Partap Singh Gill

Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533
Senior Staff Physician — California Forensic Medical Group

Email: kpsgill@kpsgill.com

IMPORTANT CONFIDENTIALITY NOTICE;

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Gode§ 2511 prohibits interception and disclosure of this electronic communication.

On Mar 19, 2025, at 9:30 PM, Kanwar Gill MD <kpsgili@kpsgill.com> wrote:

Given the complex legal issues at stake—including potential exposure before the Medical Board of
California for unlicensed practice of medicine and for aiding and abetting such conduct—I believe
that a telephone discussion would provide a more effective forum to address these matters. A direct
conversation will allow us to focus on the specific legal implications of Wellpath’s actions, the risks
of non-compliance with CPOM laws, and the precise nature of the financial and regulatory exposures
involved.

At this time, I am also in the process of consulting with independent legal counsel to fully evaluate
your offer and its associated conditions. Until I have had the benefit of that review—and given the
significant issues involved—I cannot agree to the terms as proposed, particularly the NDA and the
forced withdrawal of my motion.

I am open to scheduling a telephone call at your earliest convenience to discuss these issues further
and to clarify how this matter might ultimately be resolved, including the potential consequences if it
proceeds before the Medical Board of California.

Thank you for your understanding. I look forward to your response regarding a mutually convenient
time to discuss this matter over the phone.

Sincerely,

Dr. Kanwar Partap Singh Gill
Pro Se Movant

8408 N Ann Ave

Fresno, CA 93720

Phone: (559) 447-8490

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 187
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Email: kpsgill@kpsgill.com

Best Regards,
Kanwar Gill MD

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Code§ 2511 prohibits interception and disclosure of this electronic communication.

On Mar 19, 2025, at 8:45 PM, Wurzelbacher, Carole <cwiurzelbacher@mwe.com> wrote:

Dr. Gill,

Thank you for your reply. In consideration of your asserted claim, we proposed the following: we will work with CFMG to
pay you $162,597.08 in full satisfaction of the Claim. This offer remains subject to each of the terms and conditions
contained in the email that I sent today at 2:49 p.m. (prevailing Central Time), including the agreement to enter a nan-
disclosure agreement with respect to the settlement of the Claim and withdrawal of the motion by 5:00 p.m. (prevailing
Central Time) on March 20, 2025.

Please confirm by response email no later than March 20, 2025 at 12:00 p.m. (prevailing Central Time) if you agree to the
foregoing. Note that this offer is being made pursuant to FRE 408 and its local equivalents. Please let me know if you have
any questions or if you would like to discuss.

Thank you,

CAROLE WURZELBACHER
Associate

McDermott Wil & Emery LLP 444 West Lake Street, Suite 4000, Chicago, IL 80606-0029

Tai #1312899 7240 Email cwurzelbacher@mwe.com

Website | vCard j LinkedIn

From: Kanwar Partap Singh Gill <kpsgill@kpsqill.com>

Sent: Wednesday, March 19, 2025 6:46 PM

To: Wurzelbacher, Carole <cwurzelbacher@mwe.com>

Cc: Helt, Marcus <Mhelt@mwe.com>; Perlman, Felicia <Fperiman@mwe.com>; Giordano, Bradley
<Bgiordanc@mwe.corn>, Szanzer, Steven <sszanzer@mwe.com>

Subject: Categorical rejection of your offer: Wellpath Haldings, Inc, Case # 24-90533

Dear Carole,

Thank you for your email and for your willingness to discuss settlement. However, after a thorough review of your proposal, the applicable
legal framework, and the relevant evidenttary documents—including my W-2s, pay stubs, Fidelity NetBenefits Statement, Account Summary,
the Wellpath Nonqualified Deferred Compensation Plan (Restated January 1, 2024), the motion for relief from the automatic stay, and
Medical Board Precedential Decision and enforcement action (MBC Case No. 03-2000-108170}—I must categorically reject your offer. Your

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proposal of $100,000 (in exchange for withdrawing my motion and signing a non-disclosure agreement) is both legally deficient and

financially inadequate, and it fails to reflect my full vested entitlement and the serious statutory violations by Wellpath.

Below, I set forth the legal and factual bases for my position:

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 18th, 2025 (Notarized)

1. Earned Wages and Full Vested Compensation

My deferred compensation is earned wages under my valid employment agreement with California Forensic Medical Group, Inc.
(CFMG)}—a solvent, non-debtor entity entirely separate from Wellpath.

» My W-2s, pay stubs, and employment records confirm that my salary—including all deferred amounts—was paid solely by CFMG.
* My Fidelity NetBenefits Statement and Account Summary clearly show that my fully vested balance, as of November 12, 2024, is
$162,597.08.

* Wellpath merely acted as a third-party administrator of the Nonqualified Deferred Compensation Plan (“NQDCP”) and never
acquired any ownership er controlling interest in these funds.

Therefore, there is no legal or equitable justification for accepting arrything less than full payment of my vested deferred
compensation.

2. Violation of California’s Corporate Practice of Medicine (CPOM) Doctrine and Fee-Splitting Laws

Under California Business & Professions Code §2400, non-physician entities are expressly prohibited from controlling, managing,
or interfering with physician compensation. This robust statutory framework is designed to protect physician autonomy and the
integrity of medical decision-making.

» The Medical Board of California's current guidance and past enforcement actions demonstrate that management services
organizations (MSOs) that exert financial control over physician eamings violate state law, For example, in People ex rel. State
Board of Medical Examiners v. Pacific Health Corp. (12 Cal. 2d 156, 1938) and Conway v. State Board of Medical Examiners (47
Cal. App. 2d 105, 1941), courts held that corpotaiions or non-physician entities cannot dictate physician wages.

* Furthermore, Califormia’s fee-splitting prohibitions (BPC. §650) bar non-physician entities from profiting off physician services,
Wellpath’s unilateral control and withholding of my deferred compensation is‘an illegal fee-splitting arrangement, as it improperly
allows a lay-owned MSO to benefit from earnings that were contractually due solely ta CFMG’s physicians.

* Recent scrutiny of the “Friendly PC” model—exemplified by the AAEM-PG v, Envision Healthcare case further underscores that
such arrangements, when they enable non-physicians to indirectly control or profit from physician compensation, are impermissible.
Wellpath’s actions thus not only contravene federal bankruptcy principles but also violate fundamental public policy embodied in
California CPOM law, exposing it to enforcement, disciplinary action (e,g., Precedential Decision MBC-2007-01-Q), and potential
criminal liability under Bus, & Prof. Code §§2052 and 2264,

3. Exelusion from the Bankruptcy Estate under 11 U.S.C, §541(d)

The NODCP structured by Wellpath Holdings Inc. is an unfunded “top-hat” plan, and my deferred compensation—being deducted
from my CFMG wages—was never a Wellpath asset.

* Under 11 U.S.C. §541(d), property held only in name, without an equitable interest, is excluded from the bankruptcy estate.

+ In Begier v. IRS, 496 U.S. 53 (1990), the Court held that funds held in trust or in a fiduciary capacity must be excluded from the

debtor's estate.

Since Wellpath has never had any equitable interest in my deferred compensation, its inclusion in the bankruptcy estate ts entirely

improper.

4. Tax Penalties and Unlawful Termination of the NQDCP

Wellpath’s unilateral termination and mismanagement of the NQDCP have triggered significant IRS penalties (under IRC §409A)
and California Franchise Tax Board fines.

+ Wellpath’s failure to administer the plan in accordance with IRC Section 409A has resulted in immediate taxation, additional
interest and a 20% penalty on deferred earnings, imposing severe financial hardship on me.

+ It is unconscionable and legally impermissible for Wellpath to shift these tax liabilities and fines onto me when the underlying
breach is its own mismanagement and illegal control of my compensation,

5. Constructive Trust and Demand for Immediate Payment

In light of Wellpath’s unlawful retention and misappropriation of my earned wages, equity demands the imposition of a constructive
trust to ensure these funds remain exclusively my property and are not used to satisfy Wellpath’s creditors.

» As established in In re Al Copeland Enterprises, Inc., 991 F.2d 233 (Sth Cir, 1993), and Begier v. IRS, a constructive trust remedy is
appropriate when funds are wrongfully withheld by a debtor.

» Wellpath’s continued control over my deferred compensation constitutes unjust enrichment and must be rectified by directing
immediate payment from CFMG, along with Wellpath’s assumption of all related tax penalties and fines.

6. Unlawful Coercion and Bad Faith Negotiation

Your threat that, should I reject this offer, Wellpath will instruct CFMG to withheld payment until after the bankruptcy concludes is
an improper attempt to coerce a settlement.

* CFMG is a solvent, non-debtor entity and has no legal basis to delay payment of wages that are contractually owed.

+ Any such delay would be a clear case of:bad faith financial coercion, exposing Wellpath to further legal claims for interference with
my employment contract, unjust enrichment and potential criminal tiability under CA Bus. & Prof. Code §§2052 and 2264.

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Conclusion and Demand:

In summary, the facts and law unequivocally establish that my deferred compensation is not a Wellpath asset but rather earned wages solely
attributable to my employment with CFMG, Wellpath’s actions violate California CPOM law, engage in illegal fee-splitting, and result in the
improper inclusion of non-debtor funds in its bankruptcy estate. Moreover, its mismanagement has triggered substantial tax penalties for
which it must be held tiable.

Therefore, I demand the following as a condition for any settlement:

* Full immediate payment of my vested deferred compensation in the amount of $162,597.08 from CFMG.

* Wellpath must assume full responsibility for any IRS and California Franchise Tax Board penalties and fines arising from its
unilateral termination of the NODCP,

* No non-disclosure agreement or similar restrictions shall be imposed that would limit transpareacy regarding Wellpath’s violations
or my legal rights.

Hf these demands are not met, I will have no choice but to proceed with my motion before the court and pursue all available legal remedies,
including injunctive relief, the imposition of a constructive trust over my deferred compensation, and claims for additional damages arising

from Wellpath’s unlawful practices.

I took forward to your prompt response indicating whether Wellpath is prepared to revise its settlement offer accordingly.
Sincerely,

Dr, Kanwar Partap Singh Gill
Pro Se Movant

8408 N Ann Ave

Fresno, CA 93720

Phone: (559) 447-8490
Email: kpsgill@kpsgill.com

On Wed, Mar 19, 2025 at 12:49 PM Wurzelbacher, Carole <cwurzelbacher@mwe.com> wrote:

Dr. Gill,

Thank you for your reply and for sending the motion. We still believe that we can reach a consensual resalution of your
claim without the need for a hearing or any further briefing.

We understand that you have asserted a claim (the “Claim’”) against California Forensic Medica! Group, tne. ("CEMG") on
account of amounts that you contributed toward the non-qualified deferred compensation plan ("NQDCP"). As you may
be aware, CFMG is not a debtor entity in Wellpath’s chapter 11 cases and, therefore, we believe that your motion
inappropriately seeks relief against Wellpath and its debtor affiliates (collectively, the “Debtors”).

Again, we prefer avoid the need for a hearing or any additional pleadings and, as a result, propose the following
settlement offer. In exchange for your agreement to (a) withdraw your motion by 5:00_p.m. (prevailing Central Time) on
March 20, 2025 and (b} enter a non-disclosure agreement with respect to the settlement of the Claim, we will work with
CFMG to pay you $100,000 in full satisfaction of the Claim. While we are confident that CFMG will honor the payment in
short order, to fully preserve your rights in the interim, the withdrawal of your motion would be without prejudice and
would preserve your right to re-file the motion in the event that you do not receive payment within 30 days of acceptance
of this offer.

Please confirm by response email if you agree to the foregoing. Please note that this offer will expire tomorrow, March
20, 2025, at 12:00 p.m. (prevailing Central Time), and is being made subject to FRE 408 and its local equivalents. Upon
the expiry of the foregoing deadline without a settlement, the Debtors intend to abject to your motion and will instruct
CFMG to withheld payment on account of your Claim until some date after the Debtors emerge from their chapter 11
cases. Let us know if you have any questions or if you would like to set up a time to discuss.

Thank you,

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 190
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CAROLE WURZELBACHER
Associate

MeDermott Wil & Emery LLP 444 West Lake Street, Suite 4000, Chicago, IL 60606-0029

Tel +1312 8897240 Exyail cwurzelbacher@mwe.com

Website | vCard | LinkedIn

From: Kanwar Gill MD <kpsgill@kpsgill.com>

Sent: Tuesday, March 18, 2025 7:10 PM

To: Wurzelbacher, Carole <cwurzelbacher@mwe.com>

Cc: Helt, Marcus <IVihelt@mwe, com>; Perlman, Felicia <-perlman@mwe,com>; Giordano, Bradley
<Bgiordano@mwe.com>,; Szanzer, Steven <sszanzer@mwe.com>

Subject: Re: Wellpath Holdings, Inc. Case # 24-90533 (Judge: Alfredo R Perez, JurisdictionTexas - Southern District Filed
Nov, 11 2024)

Subject: Re: Wellpath Holdings, Inc. Case # 24-90533

Dear Carole,

numerous similarly situated claimants following suit.

or early next week.

If you have any questions, feel free to reach out. T am also available by phone, and I
previously shared my contact information with you.

Best regards,

Kanwar Gill, MD

IMPORTANT CONFIDENTIALITY NOTICE:

First Dectaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized)

[ appreciate your response and the efforts to resolve this matter consensually. However,
after waiting 10 business days in good faith, I proceeded with filing my motion earlier
today. My hope was to reach a resolution without filing, thereby avoiding the potential for

I noticed your email after I had already mailed the motion from the UPS store. Given the
urgency, I filed it under an extremely urgent two-day service, and it is expected to be
delivered to the court by Thursday. All other parties should receive copies either this week

As a courtesy, I have attached a scanned copy of the motion to this email. Please note that
the exhibits were too large for my home scanner, but you will receive hard copies by mail.

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On Mar 18, 2025, at 2:50 PM, Wurzelbacher, Carole <cwurzelbacher@mwe.com> wrote:

Mr. Gill,

Thank you for your patience. We have been coordinating with the Company and co-advisors regarding your
claim and collecting the relevant documentation and information. Would you be able to send us any
documentation that you may have regarding the claim? In particular, any documentation relating to your
enrollment in the plan would help expedite our review and process.

We understand that you would like to file a motion and have it scheduled for the April 22 hearing. We
believe, however, that we can resolve this matter consensually and without the need for you to spend the
time preparing, filing, and prosecuting a motion. Accordingly, we would like an additional short amount of
time to collect the information and documentation needed to resolve your claim consensually. In the event
that we cannot resolve your claim consensually, to avoid prejudicing your timeline, the Company will agree
to a shortened notice period on any potential motion for relief from stay that you would file, so that it could
be heard on April 22 if the motion is filed on April 11. Please let us know if that works for you.

tn the interim, if you would like to discuss your claim or ask any questions, we are available and happy to set
up a time for a call.

Please let us know of any questions or concerns. Thank you,

CAROLE WURZELBACHER
Associate

MeDermolt Will & Emery LLP 444 West Lake Street, Suite 4000, Chicago, IL 60606-0029
Jel+1312899 7240 mail cwurzelbacher@mwe.com

Website | v@ard { LinkedIn

From: Kanwar Gill MD <kpsgill@kosgill. com>

Sent: Tuesday, March 11, 2025 3:52 PM

To: Wurzelbacher, Carcle <cwurzelbacher@mwe.com>

Ce: Helt, Marcus <Mhelt@mwe,com>; Perlman, Felicia <Fperlman@mwe.com>; Giordano, Bradley
<Bgiordano@mwe.com>; Szanzer, Steven <sszanzer@mwe.cormn>

Subject: Re: Wellpath Holdings, inc. Case # 24-90533 (Judge: Alfredo R Perez, JurisdictionTexas - Southern
District Filed Nov, 11 2024) .

Tecemeal Email)

| emailed the court clerk days after | sent you all my first communication. | was informed by the court clerk the
deadiine is fast approaching. 10 business days will be too close to March 22nd deadline.

| will truly appreciate that you expedite the response earlier than the 10 business (previously proposed), it will
give me a few days to refine my motion, it will secure me a spot higher in priority for the aftemmoon of April 22,
2025 and it will avoid any defects related to timely service (and notice of hearing) of the motion to all parties.
There are multiple parties lined up for hearing that day and that leaves limited time for arguments. | do expect a
written opposition (and | will appreciate that) and that alone will also save us all the time at hearing.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 192
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Kanwar Gill MD

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property privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic
communication,

On Mar 11, 2025, at 1:19 PM, Wurzelbacher, Carcle <cwurzelbacher@mwe.com> wrote:

Mr. Gill,

To clarify, we are reviewing your message and will revert with a response an this chain within
the 10 business day time frame noted in your original message.

Thank you,

CAROLE WURZELBACHER
Associate

MeDerriott Will & Emery LLP 444 West Lake Street, Suite 4000, Chicago, IL 60606-0029

Tel +1 3128997240 Email cwurzelbacher@mwe,com

Website { vCard | Linkedin

From: Kanwar Gill MD <kpsgill@kpsqgill.com>

Sent: Tuesday, March 11, 2025 3:08 PM

To: Wurzelbacher, Carole <cwurzelbacher@mwe.com>, Helt, Marcus <Mhelt@mwe.com>
Ce: Perlman, Felicia <Feerlman@mwe.com>,; Giordano, Bradley <Bgiordanc@mwe.com>;
Szanzer, Steven <sszanzer@mwe.com>

Subject: Re: Wellpath Holdings, Inc. Case # 24-90533 (Judge: Alfredo R Perez, JurisdictionTexas
- Southern District Filed Nov, 11 2024}

ho don't often get email from kpsgil@kpsgill.com. Learn why this is important

[External-email }

Thank you Carole for confirming the receipt of messages. | will proceed with filing in a timely
manner and serve a copy to Mr Heit ( | think he is lead on this case, correct me if | am wrong). |
will self-calendar hearing for April 22, 2025. | will appear virtually on teleconference/zoom.,

Thanks

Have a Great Day

Best Regards,
Kanwar Gill MD

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized)

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intellectual property privileges. Tile 18 U.S. Code§ 2511 prohibits interception and disclosure of
this electronic communication.

On Mar 11, 2025, at 12:23 PM, Wurzelbacher, Carole <cwurzelbacher@mwe com>
wrote:

Thank you, Mr. Gill. We are reviewing and will revert.

CAROLE WURZELBACHER
Associate

MeoDermott Will & Emery LLP 444 West Lake Street, Suite 4000, Chicago, IL 60606-0029

Tat +1312 8997240 mall cwurzelbacher@mwe.com

Website | vCard j LinkedIn

From: Kanwar Gill MD <kpsgili@kpsgill.com>

Sent: Tuesday, March 11, 2025 2:18 PM

To: Kanwar Partap Singh Gill <kpsgill@kpsaill.com>; Dingman, Carmen
<cdingman@mwe.com>; Helt, Marcus <Mhelt@mwe.com>; Wurzelbacher,
Carole <cwurzeibacher@mwe.com>; Perlman, Felicia
<Fperlman@mwe.com>; Giordano, Bradley <Ggiordano@mwe.com>,; Szanzer,
Steven <sszanzer@mwe.com>; Jumbeck, Jake <Jjumbeck@mwe.com>
Subject: Re: Wellpath Holdings, Inc. Case # 24-90533 (Judge: Alfredo R Peraz,
JurisdictionTexas - Southern District Filed Nav, 11 2024)

bo don’t often get emai? from kpsgili@kpsgill.com. Learn why this is important
[extemal Email}

| was wondering if | can at least get confirmation of receipt of this message from
you. | left a voicemail attorney Mr. Helt on Friday jast week. | am required to exhaust

the option of informal discussion (conference) as required by the local rules of Judge
Perez's court.

In my very unique case (Califomia Licensed and Califomia employed Physician)
state law preempts federal laws including bankruptcy law and fimited provisions of
ERISA that apply to unfunded, “top hat” NODCP.

| expect a response from you as soon as possible. Please reply to this message to
close the loop on this informal discussion.

I will file the motion even if ! don’t hear from you, It will be self-calendared according
to following information received from court.

“Yes, the filing deadline runs to 3/22/25 for you to be able to self-calendar
the motion for the 4/22/25 date.

i
First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized)

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Thanks,

Tyler Laws, Case Manager

The Honorabie Alfredo R Pérez

United States Bankruptcy Court for the Southem District of Texas
515 Rusk Street, 4th Floor

Houston, Texas 77002

(773) 250-5427”

Best Regards,
Kanwar Gill MD

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product, or intellectual property privileges. Title 18 U.S. Code§ 2511 prohibits
interception and disclosure of this electronic communication.

On Mar 4, 2025, at 3:35 PM, Kanwar Partap Singh Gill
<Kpsgill@kpsgill com> wrote:

Kanwar Partap Singh Gili, MD
8408 N Ann Ave

Fresno, CA 93720

Phone: (559) 447-8490

Email: kpsgill@knsgill.com

March 4", 2925

Debtors’ Counsel

McDermott, Will, & Emery LLP
444 West Lake Street

Chicago, IL 60606-0029

Phone: (312) 372-2000

Fax: (312).984-7700
https:/Avww.rnwe.cormn/

Your Client: Weilpath Holdings, Inc. Case # 24-90533 (Jurisdiction Texas
- Southern District)

Re: Request for Removal of NQDCP Deferred Compensation from the
Bankruptcy Estate and Notification to the Court

Dear Counsel:

I write as Kanwar Partap Singh Gill, MD, a physician employed by California
Forensic Medical Group, Inc, (‘CFMG”), to demand that Wellpath Holdings,
Ine. (“Wellpath” or the “Debtors”) immediately remove my deferred
compensation funds under the Wellpath Holdings, Inc. Nonqualified Deferred
Compensation Plan (“NQDCP” or “Plan”) from the bankruptcy estate and
notify the Bankruptcy Court accordingly. The purpose of this correspondence
is to set forth in detailed terms why my deferred wages — funds that were
eamed by me at CFMG and are held in custody as part of my deferred
compensation benefit — are entirely separate from the assets of Wellpath’s
Chapter 11 estate and must be released for payment by my true employer.

1. Factual Background and the Separation of Entities

A, Independent Employment Relationship

Tam employed by CFMG, a California professional corporation that provides
correctional healthcare services. CFMG is an independent, non-debtor entity
funded exclusively by contracts with correctional facilities in California. My
salary, benefits, and related deferred compensation are paid solely from
CFMG’s revenues. It is critical to emphasize that at no point have my
earnings or deferred funds been commingled with Wellpath’s operating funds.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 18th, 2025 (Notarized)

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Wellpath’s involvement with CFMG is limited strictly to a Management
Services Agreement (MSA) under which it provides only non-clinical
administrative support—including billing, human resources, and payroll
processing. As a result, the financial obligations arising from my
employment, including those associated with my deferred compensation, are
entirely the responsibility of CFMG.

&. Voluntary Deferred Compensation

My participation in the NQDCP was a voluntary election made in the context
of my employment at CFMG. | elected to defer a portion of my salary for tax
planning and long-term savings purposes. The deferred amounts, which I
understand to be an integral part of my earned compensation, were segregated
in accounting records for bookkeeping purposes but were never intended to
become part of a general corporate pool available to creditors, Instead, these
funds were designated to remain with CFMG and, as such, should never have
been affected by Wellpath’s bankruptcy filing.

Il. The Corporate Practice of Medicine (“CPOM”) Doctrine and
Prohibitions on Fee-Splitting

A, Overview of CPOM and Its Rationale

California’s CPOM doctrine, codified in Califomia Business & Professions
Code § 2400, expressly forbids non-physician entities from owning,
controlling, or interfering with the practice of medicine. The underlying
public policy is clear: to prevent commercial interests from intruding on
clinical decision-making and to ensure that the care of patients remains solely
within the domain of licensed physicians. This statutory framework was
established to eliminate any conflict between the profit motives of corporate
entities and the independent professional judgment that is the hallmark of
medical practice.

B. Prohibition on Fee-Splitting Arrangements

Th conjunction with the CPOM doctrine, California law—and the strict
interpretations provided by the Medical Board of Califomia and relevant case
law—prohibits fee-splitting and other financial arrangements whereby a non-
physician entity derives any portion of the physician’s compensation beyond
a fixed administrative fee. In practical terms, this means that a Management
Services Organization (MSO) like Wellpath cannot, under any circumstances,
claim a share of the-wages or deferred eamings generated by a physician
employed by an independent medical practice. Any attempt by Wellpath to
assert that it has any control ever or claim to my deferred compensation is not
only contrary to the clear language of the CPOM statute, but it also subverts
the underlying public policy that is designed to protect physician earnings
from corporate misappropriation,

C. implications for Deferred Compensation

Because my deferred compensation is, in substance, a component of the
wages that I eamed at CFMG, any classification of these funds as assets of
the Wellpath bankruptcy estate is legally and factually erroneous. The CPOM
doctrine, along with statutory bans on fee-splitting, underscores that any
deferred wages must remain with the employer—here, CFMG—and must not
be diverted to satisfy the debts of an unrelated corporate entity. Consequently,
my deferred compensation should be recognized as a proprietary asset of
CFMG, held in trust for my benefit, and entirely immune from the automatic
stay imposed on Welipath’s assets in the Chapter 11 proceedings.

II. Analysis of the Deferred Compensation Plan Structure

A. Nature af the N@DCP as an Unfunded “Top-Hat” Plan

The NQDCP is structured as an unfunded ‘“top-hat” plan, meaning that it is
designed to provide a tax-deferred benefit to a select group of employees
without setting aside dedicated trust assets in the names of individual
participants, Under the terms of the Plan, all deferred amounts are recorded as
liabilities of the sponsoring, employer(s) and are not segregated into a
separately funded account. While Wellpath, in its role as Plan administrator,
may have utilized a “rabbi trust” as a funding vehicle, the fundamental
character of the Plan remains that of an unsecured deferral arrangement. As
such, my rights under the Plan are not akin to an ownership interest in

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized)

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specific assets of Wellpath; rather, they represent a contractual promise that ts
secured by the independent financial health and obligations of CFMG.

B. The True Obligor: CFMG’s Responsibility

In effect, my deferred compensation was earned as a part of my regular
wages at CFMG, and it was CFMG’s obligation to pay those wages ona
timely basis. Wellpath’s role is limited solely to administrative processing and
does not extend to an assumption of the obligation to pay deferred
compensation, The fact that the Plan may centralize administration at
Wellpath is a matter of convenience and does not alter the fundamental
relationship between me and CFMG. Therefore, even in the context of the
bankruptcy, the funds that represent my deferred compensation should remain
the property of CFMG and be disbursed in accordance with my original
employment agreement.

IV. The Impact of Bankruptcy and the Need for Relief

A. Inappropriateness of the Automatic Stay

Since Wellpath’s Chapter 11 filing, my deferred compensation has been
frozen under the automatic stay. However, because the funds in question
belong solely to me and are held as part of my deferred compensation benetit
at a non-debtor entity, their retention in the bankruptcy estate serves no valid
purpose. Bankruptcy law, particularly under 11 U.8.C. § 541(d), makes clear
that property held in trust for another party—where the debtor holds merely
legal title—should not be considered part of the bankruptcy estate. In this
case, CFMG’s obligation to pay my deferred compensation exists
independently of Wellpath’s financial restructuring and should be preserved.

BS. Unjust Enrichment and Precedent Concerns

Retaining my deferred compensation in the estate would not only result in
unjust enrichment for Wellpath’s creditors but would also set a dangerous
precedent. Such an outcome would effectively allow a non-debtor entity to
benefit from funds that rightfully belong to a physician, undermining the
protections afforded by both the CPOM doctrine and state law regarding fee-
splitting and independent medical practice. In the long run, this
misclassification could discourage physicians from participating in deferred
compensation programs, potentially harming the quality and stability of
heaithcare services provided in correctional facilities and other public-private
partnerships.

C. Practical Considerations for the Reorganization

It is important to note that releasing nty deferred compensation will have no
adverse effect on the overall reorganization of Wellpath. The funds in
question were never part of the operational capital used by Wellpath to
support its creditors, as they originated solely from CFMG’s payroll.
Moreover, allowing the release of these funds is consistent with public policy,
which seeks to protect earned wages from being diverted to satisfy corporate
liabilities that have no direct relation to the compensation obligations of a
non-debtor employer.

¥. Detailed Legal and Policy Arguments Underpinning My Request

A, CPOM and Fee-Splitting: Statutory and Regulatory Foundations

California's CPOM doctrine is not merely a set of abstract guidelines but a
statutory mandate designed to ensure that physicians retain full control over
their professional and financial affairs. The prohibition against fee-splitting
further cements the principle that no non-physician entity may derive benefit
from the earnings of a physician beyond a limited administrative fee.
Wellpath’s claim that my deferred compensation is part of its bankruptcy
estate runs directly counter to these well-established legal principles. In
essence, allowing Wellpath to assert any right to my deferred wages would
contravene both the letter and spirit of California law, which explicitly
requires that compensation arising from the practice of medicine remain
exclusively with the licensed provider and, by extension, the professional
corporation that employs that provider.

B. The Separation of Corporate Finances

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 197

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The relationship between Wellpath and CFMG is characterized by a clear and
legally mandated separation of finances. CFMG’s operations, including its
payroll and deferred compensation obligations, are funded entirely through
contracts with correctional facilities and other non-debtor revenue streams.
There is no basis in fact or law to assert that my deferred compensation
should be commingled with Wellpath’s assets or used to satisfy Wellpath’s
liabilities. This structural separation is a direct consequence of the CPOM
doctrine, which prohibits Wellpath, a non-physician entity, from exercising
any control over the practice or financial rewards of a medical professional,
Hence, my deferred compensation is properly classified as funds held in trust
by my true employer, CFMG.

C. Equitable Considerations and the Doctrine of Constructive Trust

Tn the event that any dispute arises regarding the classification of these funds,
equitable principles—specifically, the doctrine of constructive trust—suppert
the view that my deferred compensation must remain with me. A constructive
trust is imposed to prevent unjust enrichment and to ensure that property
entrusted for a specific purpose is not misappropriated. Since my deferred
compensation was eamed as part of my employment at CFMG, any attempt
to use these funds to satisfy the claims of Wellpath’s creditors would
constitute a clear violation of equitable principles. The funds should therefore
be released from the automatic stay and restored to me, preserving the
integrity of my employment contract and the public policy underlying the
CPOM dectrine.

D. Policy Considerations and the Future.of Physician Compensation

Beyond the immediate legal arguments, releasing my deferred compensation
carries significant public policy implications. If non-debtor physicians are
forced to forgo earned wages because of the improper inclusion of such funds
in a bankruptcy estate, it could deter qualified medical professionals from
engaging in innovative compensation arrangements designed to benefit both
the physicians and the healthcare system. This would undermine the very
purpose of deferred compensation plans, which are intended to promote long-
term financial planning and stability for physicians. Maintaining strict
adherence to the CPOM doctrine and prohibitions on fee-splitting is essential
to preserving the autonomy of the medical profession and ensuring that
physicians remain insulated from corporate financial mismanagement.

VL Conelusion and Prayer for Relief

For the reasons detailed above-—grounded in factual distinctions between
CFMG and Wellpath, the clear statutory and regulatory mandates of the
CPOM doctrine, the explicit prohibitions on fee-splitting, and the equitable
and public policy considerattons—I respectfully demand that the Debtors:

1. Immediately acknowledge that my deferred compensation finds
under the NQODCP do not belong to the Wellpath bankruptcy estate
but are the exclusive property of CFMG and, by extension, mine as a
CFMG physician..

2. Remove my deferred compensation from the list of assets included in
the bankruptcy estate.

3. Promptly notify the Bankruptcy Court that these funds are not subject
to the automati¢ stay and are to be released for payment by CFMG or
any other appropriate non-debtor entity.

4. Confirm in writing that the automatic stay does net apply to my
efforts to recover my deferred compensation.

I trust-that you will give this matter your immediate attention. Should
Wellpath fai] to take the necessary corrective actions, I will have no
altermative but to seek relief from the automatic stay through the Court in
order to protect my contractual and statutory rights.

I request a written response within ten (16) business days from the date of
this fetter. Please feel free to contact me at (559) 447-8490 or via email at
kpsgill@kpsgill.com to discuss this matter further.

Respectfully submitted,
Kanwar Partap Singh Gill, MD

Fresno County Detention Facility
Fresno, CA 93721

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 Apri! 19th, 2025 (Notarized)

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Case 24-90533 Document 2339 Filed in TXSB on 04/21/25 Page 201 of 353

(559) 447-8490
kpsgil@kpsgill.com

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your system. Our Privacy Policy explains how we may use your personal
information or data and any personal information or data provided or made
available to us. Thank you.

Please visit httpv/Avwew.mwe.com/ for more information about our Firm.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 199

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RPSGHLE.COM Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

Addendum - Structural Regulatory Intersections and Prospective Institutional

Reverberations
i message

Kanwar Gill MD <kpsgill@kpsgill.com> Sat, Apr 12, 2025 at 9:45 PM
To: Felicia Perlman <Fperiman@mwe.com>, “Marcus A. Helt" <mhelt@mwe.com>, Steven Szanzer <sszanzer@mwe.com>,
Carole Wurzelbacher <cwurzelbacher@mwe.com>, cdingman@mwe.com, Bradley Giordano <Bgiordano@mwe.com>,
Marcus Helt <Mhelt@mwe.com>

CONFIDENTIAL MEMORANDUM — NOT FOR PUBLIC DISTRIBUTION

Subject: Addendum — Structural Regulatory Intersections and Prospective Institutional
Reverberations

To: Felicia Perlman, Marcus Helt, Steven Szanzer, Carole Wurzelbacher — McDermott
Will & Emery LLP

From: Dr. Kanwar Gill, Pro Se Creditor
Date: April 12, 2025

Dear Counsel,

In the aftermath of our prior advisory correspondence, I extend this confidential
memorandum not as an amplification, but as a discursive inflection point—a non-
adversarial prompt inviting deeper professional reflection on the prospective regulatory
afterlife of the current Plan. It is transmitted in the idiom of structural jurisprudence
rather than docketed controversy.

This addendum is not a derivative of the prior notice. It constitutes an autonomous
layer of analysis—one whose coordinates map less onto present litigation postures than
onto emergent vectors of institutional interest convergence.

I. Latent Institutional Convergence and Regulatory Constellations in
Formation

Multiple oversight bodies—federal and state, judicial and administrative—have shown
increasing sensitivity to what might be termed embedded irregularities within formal
reorganization syntax. That is, the structural architecture of certain Chapter 11 plans,

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while superficially compliant, carries within it coded conflicts with licensure, labor,
tax, and constitutional mandates.

The Wellpath Plan appears to trace—if not replicate—the contours of precisely those
structural profiles that catalyze post-confirmation regulatory activation. Specifically,
enforcement actors have developed heightened acuity around:

° Subclinical corporate control over licensed medical professionals

2 Transformative treatment of deferred remuneration with tax-disruptive
implications

e Architectures of procedural coercion masquerading as notice

¢ Release and exculpation schema designed to preclude not merely litigation, but
inquiry

Where these features coalesce, they cease to be private irregularities and instead
become regulatory archetypes. In this context, what is relevant is not whether the Plan
is confirmable—but whether it can withstand subsequent regulatory deconstruction.

Il. Distinction Between Juridical Ratification and Regulatory Forbearance

A confirmation order, even if entered, does not carry preclusive sanctity across all
enforcement domains. Judicial approval—while necessary—is not sufficient to insulate
a Plan from later inquiry by:

¢ Medical licensing boards analyzing unlawful practice arrangements

¢ Federal tax authorities assessing IRC § 409A violations in the treatment of
deferred compensation

e Labor regulators evaluating wage equivalency in non-qualified plan terminations

¢ Civil rights authorities scrutinizing the extinguishment of inmate claims via non-
consensual opt-out regimes

The enforcement community is no longer viewing Plans in isolation. Rather, they are
now interpreting certain reorganizations as public governance events—especially

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where the entity in question intersects with incarcerated populations, taxpayer-funded
care, or professional licensure boundaries.

The Plan, in its current architecture, contains multiple embedded signals that may not
be immediately apparent to the Court but are readily legible to regulators. It is these
signals—not the filings themselves—that will shape the post-confirmation risk
environment.

Hil. Structural Exposure Points Now Within View

Without asserting, alleging, or presupposing, one might reasonably anticipate the
following questions surfacing within interagency discourse:

« Has the reclassification of rabbi trust assets created a constructive 409A violation
with downstream tax penalties to non-insider beneficiaries?

e Does the governance model, post-confirmation, reflect a latent continuation of
MSO-dominated physician employment in violation of CPOM prohibitions?

e Has the Plan, by operation of design rather than omission, effectively chilled the
future exercise of statutory whistleblower rights?

¢ Do third-party release provisions, through their opt-out construction, risk
retroactively invalidating federal agency enforcement discretion?

¢ Does the absence of clear carve-outs or savings clauses signal intent to circumvent
—not harmonize with—public accountability frameworks?

None of these questions need be answered now. But they will be asked—perhaps by
actors who do not require consent, motion, or standing.

IV. The Temporal Gradient of Ethical Liability.

Ethical exposure is not necessarily synchronized with judicial calendar dates. In fact, it
is temporally asymmetrical—often emerging long after judicial closure, when the
retrospective clarity of institutional hindsight is applied.

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Each of you, as officers of the court and fiduciaries of the estate, occupies a liminal
space between professional advocacy and public trust. In that space, omissions that
might escape a court’s scrutiny do not necessarily evade the attention of regulatory or
licensing authorities operating under a different burden of proof, a different theory of
harm, and a different standard of candor.

The pertinent question is not whether you believe the Plan complies. It is whether a
future ethics reviewer, agency inspector, or oversight subcommittee could reasonably
conclude otherwise based on what was known—or knowable—at the time of
confirmation.

V. Navigational Clarification: Courtesy Not Contingency

This memorandum is transmitted in the spirit of regulatory anticipatory ethics, not as a
predicate to any adversarial act. It is a diagnostic overlay, not a strategic provocation.
No disclosures have been made. No complaints have been filed. This is an internal
signal—not a public document.

If that distinction holds, so too does the opportunity to restructure, rephrase, or
recalibrate.

I do not pretend to speak for any oversight agency. But I do observe their patterns, and
I note that plans of this structural type now travel with regulatory wake turbulence—
visible or not. You are not being accused. You are being afforded foresight.

Vi. Final Disposition

It is my belief that the opportunity to correct is most available before correction is
compelled. The choice, respectfully, belongs to you. If adjustments are made, this
memorandum will remain sealed in professional confidence. If not, it will be available
as probative evidence that the record was clear—and the silence chosen.

With professional respect,

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 18th, 2025 (Notarized) Page 203

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Dr. Kanwar Gill

Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. S.D. Tex.)
Senior Staff Physician — California Forensic Medical Group

Fresno County Adult Detention Facility

Email: kpsgill@kpsgill.com

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On Apr 12, 2025, at 9:25 PM, Kanwar Gill MD <kpsgili@kpsgill.com> wrote:

CONFIDENTIAL — NOT FOR PUBLIC DISTRIBUTION
Privileged Legal Advisory Memorandum

Subject: Reflexive Structural Pathologies and Embedded Professional Conflicts in the Fifth Amended Plan
of Reorganization

To: Felicla Perlman, Marcus Helt, Steven Szanzer, Carole Wurzelbacher —- McDermott Will & Emery LLP
From: Dr. Kanwar Gill, Pro Se Creditor
Date: April 12, 2025

PRELIMINARY NOTE ON SCOPE AND SEMANTIC BOUNDARIES

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as a motion, objection, or other form of judicial submission. It is neither a precursor to litigation nor a
surrogate for agency complaint. Instead, it seeks to map the topology of concerns that arise when iterative
transactional drafting is juxtaposed against multi-jurisdictional ethical canons and statutory prohibitions. No
forensic inquisition is underway. Rather, this is a discursive invocation of interpretive legal complexity,
transmitted under the sign of good-faith engagement, but situated within the shadow of institutional memory.

The follawing memorandum, structured by abstraction but tethered to case reality, operates in a conceptual
terrain not often accessible by docketed brief or judicial colloquy. It presumes familiarity with embedded
norms and latent structural regularities, and it relies on the reader’s legal training to identify what is meant
without stating it directly.

1. Structural Infirmities Anchored in California's CPOM Framework — Semantic Inconsistencies and
Functional Contradictions

The architecture of the Plan’s post-confirmation operational continuity appears to function as a tacit
reaffirmation of governance modalities that remain irreconcilable with the textual and jurisprudential
mandates of California’s Corporate Practice of Medicine (CPOM) prohibition. Specifically, the specter of
continued MSO-dominated physician eniployment without requisite shareholder autonomy, though not
overtly stated, emerges through the silences between Plan provisions.

By maintaining a model wherein non-physician entities influence licensure-protected spheres of professional

conduct under the quise of administrative services, the Plan appears to preserve a schema that may be
rendered statutorily null per Cal. Bus. & Prof. Code § 2400 and interpreted precedents such as People v.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 204

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Cole. The ostensible separation of ownership and control is linguistic; the substantive exercise of dominion
remains central.

In effect, the Plan is a grammatical rearrangement of a legally impermissible structure. The mechanism
remains; only the phrasing changes.

ll. Deferred Compensation Constructs as Fiduciary Labyrinths: {RC §409A and ERISA Considerations

The Deferred Compensation Program, routed through a Non-Qualified Deferred Compensation Plan
(NQDCP), has been repurposed within the Plan into a mechanism of collective distribution that contravenes
both the letter and spirit of 26 U.S.C. §409A. Under the guise of estate rationalization, what were once
individualized, contract-bound wage deferrals have become fungible pro rata disbursements untethered
from original performance conditions.

This transformation, arguably expedient from a reorganization perspective, is fraught with regulatory peril. In
the absence of a “separation from service” event or an enumerated triggering condition that satisfies
Treasury Regulation §1.4094-3, acceleration of payment schedules may constitute a constructive receipt of
income, thereby invoking taxation with additional penaities. Furthermore, the Plan’s proposed treatment
lacks clarity regarding the trust for non-trust) status of the assets in question, raising ERISA fiduciary red
flags under 29 U.S.C. §1104 and related Department of Labor interpretive guidance.

Should tax implications befall the physician beneficiaries, the Plan’s silence may be interpreted not merely
as an omission but as a contributory act of economic harm.

lll. Opt-Cut Regimes, Procedural Semantics, and the Illusion of Affirmative Assent

The Plan employs a non-binary opt-out schema wherein silence is interpreted as consensual surrender, and
default behavior is transmuted into irrevocable waiver. This methodology conflates procedural mechanics
with constitutional legitimacy. It risks violating foundational due process norms, particularly where
stakeholders are unrepresented, incarcerated, or otherwise legally disabled.

By transforming the absence of objection into the presence of agreement, the Plan leans heavily on
interpretive presumption, This presumption is not self-executing; it demands ex post ratification through
judicial inattention or creditor acquiescence. It creates the fiction of consent where no affirmative volition
exists.

The issue is not whether notice was sent. It is whether the structure of the notice was capable of producing
informed legal agency.

IV. Nested Immunities: Exculpation, Injunction, and Release as Recursive Logic

The operative provisions of Article IX, when parsed collectively, resemble a doctrinal echo chamber wherein
each immunity is justified by reference to the necessity of the others. The exculpations are predicated on
the releases; the releases are validated by the injunctions; and the injunctions exist to protect the
exculpated fiduciaries.

This recursive legal geometry collapses under the weight of its own circularity. It poses as a shield, but
operates as a loop. The aggregate effect is one of systemic indemnity without individualized accountability,
a construct that is problematic not only from a constitutional perspective, but also within the analytical
confines of Fifth Circuit jurisprudence (In re Pacific Lumber, In re Pilgrim's Pride, etc.).

To the lay reader, this may appear to be protective. To the trained eye, it may resemble an architecture of
immunity in search of a liability.

V. Ethical Granularity and the Implicit Cartegraphy of Role-Based Respensibility

The disclosures, omissions, and drafting decisions implicated in this Plan do not attach in abstracto. They
have authorship, design, and review lineage. The ethical obligations arising under the relevant Rules of
Professional Conduct are functionally joint and severable. No one lawyer is responsible for all; yet each
lawyer may be responsible for part.

. Ms. Perlman (Illinois Bar): As ostensible lead counsel, the principal vectors of plan strategy and
confirmation advocacy attach to your supervisory scope. Rules 1.2(d), 3.3, and 5.1 should be revisited with
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No misconduct is alleged. Rather, these citations are offered as interpretive lenses.
VI. Interdependence of Counsel and Shared Epistemic Liability

Legal responsibility does not always follow the contours of task allocation. When a Plan carries the
imprimatur of a law firm, every lawyer on the signature block becomes epistemically proximate to every
material assertion. Silence, in such contexts, can be read not as ignorance but as assent.

This is not a claim of fault. It is an observation of the conditions under which shared knowledge converts
into shared consequence. Ethical latitude is expansive until known errors persist.

VII. Judicial Non-Perception and the Blind Spot Doctrine

There are matters which a judge may never see, not due to concealment, but because the record has been
curated to forestall itumination, The ethical burden on practitioners, therefore, increases in proportion to the
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You may never be asked these questions in court, That does not mean they do nat deserve answers.
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The objective of this memorandum is not to indict, but to illuminate. There is yet time to adjust course,
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known defects remain unaddressed, the greater the probability that a future observer—be it judicial,
regulatory, or historical—will ask: what did they know, and when did they choose not to act?

You are not being accused. You are being invited to decide what happens next.
Respectfully submitted,

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Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. S.D. Tex.)
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IKIPSCILL.COM Kanwar Partap Singh Gill <kpsgili@kpsgill.com>

CONFIDENTIAL — NOT FOR PUBLIC DISTRIBUTION -Reflexive Structural
Pathologies and Embedded Professional Conflicts in the Fifth Amended Plan of

Reorganization
{| message

Kanwar Gill MD <kpsgi!l@kpsgill.com> Sat, Apr 12, 2025 at 9:24 PM
To: Felicia Perlman <fperlman@mwe.com>, “Marcus A. Helt" <mhelt@mwe.com>, Steven Szanzer <sszanzer@mwe.com>,
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KPSGILL.COM Kanwar Partap Singh Gill <kpsgili@kpsgiil.com>

Structural Fractures in the Procedural Syntax — Reflections on Fiduciary Clarity and
Ethical Continuity - In re Wellpath Holdings, Inc., Case No. 24-90533

1 message

Kanwar Gill MD <kpsgill@kpsgill.com> Mon, Apr 14, 2025 at 5:13 PM
To: Steven Szanzer <sszanzer@mwe.com>, "Marcus A. Helt" <mhelt@mwe.com>, Felicia Perlman <Fperlman@mwe.cam>,
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Bec: ha.nguyen@usdoj.gov, susan.hersh@usdoj.gov, Kerrie. Webb@mbc.ca.gov, MGoldstone@wellpath.us,
JBazzel@zenovacare.com

Subject: Structural Fractures in the Procedural Syntax — Reflections on Fiduciary
Clarity and Ethical Continuity

To: Felicia Perlman, Marcus Helt, Steven Szanzer, Carole Wurzelbacher

Ce: [Redacted]

Dear Counsel,

In anticipation of your forthcoming response to the pending record—particularly as
relates to the procedural architecture at issue—I offer this correspondence not as an
instrument of challenge, but as a reflective calibration of certain thematic convergences
now apparent across jurisdictional, ethical, fiduciary, and representational domains.

It is neither rhetorical nor anticipatory. It is merely observational—situated at that rare
intersection where the gravitational pull of embedded statute, structural silence, and
professional continuity collide in layered resonance.

I. CPOM Structures: The Persistence of Semantic Separatism

There remains an unresolved distinction between form and function in the post-
confirmation schema relating to California-licensed physician oversight. While the
documents may suggest an abstracted bifurcation between clinical and administrative
spheres, the actual alignment—particularly with respect to contracting authority,
disciplinary input, and employment leverage—appears to map uncomfortably close to
a model that remains statutorily impermissible under Cal. Bus. & Prof. Code § 2400.

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The issue is not that lay governance influences physician employment in overt defiance
of California law. The issue is that it does so through structural design, couched in
euphemism and operational deferral. When those exercising dominion lack licensure,
the model’s legal sustainability becomes not a matter of state oversight, but of post-
confirmation unraveling. The Plan offers no affirmative physician governance
mechanism, no independent board realignment, and no carve-out for California-
specific requirements—rendering its confirmability dependent on omission rather than
accommodation.

II. Deferred Compensation: Recharacterization and its Juridical Consequence

It is curious how trust-backed compensation—held for the benefit of physician-
employees under Non-Qualified Deferred Compensation arrangements—can be
reframed as a general unsecured liability with dischargeable attributes. Under IRC

§ 409A and its regulatory amplifications, the absence of a qualifying termination event
or safe-harbored liquidation window renders the Plan’s treatment of these wages
functionally indistinguishable from a constructive distribution.

As you are undoubtedly aware, Treasury Reg. § 1.409A-3(j)(4)(ix) does not merely
suggest; it prescribes. When violated, the tax penalty matrix becomes immediate: full
income inclusion, a 20% excise surcharge, and the inevitable invocation of IRC § 6662
for accuracy-related infractions. For those plan participants whose compensation was
neither discretionary nor bonus-derived—but earned, withheld, and deferred through
contractual structure—the economic impact is not abstract. It is irrevocable.

To proceed with a distribution regime that forces wage forfeiture, triggers retroactive
taxation, and silences compensatory recourse while presenting no indemnity
mechanism, no Form 8275 cross-reference, and no carve-out for state wage law
alignment, would be to invert the relationship between reorganization and legality.

III. Solicitation Framework: Consent by Cartography, Not Comprehension

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The operational mechanism through which creditor releases are presumed—
specifically via opt-out default—raises not only a constitutional flag under Mullane,
but an ethical one under Rule 4.1. One wonders whether a procedural design that relies
on creditor inaction, linguistic entanglement, and placement obscurity can truly satisfy
the canon of informed assent.

Your solicitation architecture presumes that passivity equals participation. But in this
context—among claimants who are pro se, incarcerated, non-English speaking, or
disabled—silence becomes not volition, but disempowerment. Where notice fails to
result in actual agency, waiver becomes fiction. This is not merely doctrinally
problematic under In re Pacific Lumber, Zale, and Highland Capital. It is operationally
coercive.

Moreover, the ballot’s double negatives, the absence of plain-language summaries, and
the default-to-release posture create the kind of procedural opacity that does not fail by
accident. It fails by design. Whether intended or not, the functional consequence is
consent-through-confusion. And that is a form of constructive misrepresentation.

IV. Ethical Vectors: Rule-Based Exposure in Silent Design

Ms. Perlman, your supervisory role implicates ABA Model Rules 1.2(d), 3.3, and
5.1. Mr. Helt, your Texas licensure and courtroom presence render you uniquely
accountable under TDRPC Rules 3.03 and 5.01. Mr. Szanzer, the solicitation
instruments bearing your logistical imprimatur invoke scrutiny under NY Rule
4.1 and 8.4. Ms. Wurzelbacher, Rule 5.2’s subordinate liability framework—as
well as your drafting footprint—may yet define how your participation is
interpreted.

This is not an allegation. It is a procedural phenomenon: when the document is
defective, the signature block is not silent. The ethics do not arise from your intentions.
They arise from the record. And as that record now includes a reorganization blueprint
that threatens to override CPOM, reclassify fiduciary wage structures in violation of
IRC § 409A, extinguish whistleblower rights through silent waivers, and distribute
legal immunity through procedural disorientation, the inquiry becomes not “if” but
“when.”

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V. Strategic Nonalignment and Prospective Hindsight

It is immaterial whether the Plan is confirmed. What matters is whether it was
advocated with knowledge of the tensions it perpetuates. Courts are not the only venue
of inquiry. And time is not always aligned with procedural calendars. The epistemic
burden is shifting. What is known now will be read as what was “clearly known” then.

The absence of objection by regulatory bodies today does not equate to post-
confirmation exoneration tomorrow. And if this Plan becomes the object of a
disciplinary lens—bar review, agency oversight, or public scrutiny—the question will
not be whether you intended harm. It will be whether you chose to proceed amid
predictable consequence.

VI. Final Reflection: Between Syntax and Consequence

In closing, I do not write this email to solicit engagement, nor to articulate a procedural
threat. I write because the record is accreting, and in that accumulation, signatures
matter. The choices made today—particularly the choice to re-assert structural
constructs that have already been challenged—may one day be interpreted not as
advocacy, but as abandonment of interpretive ethics.

Your response to Dkt. 1897 is due tomorrow. I anticipate that it will reflect not only
your position, but your awareness. The record speaks regardless. Whether you amplify
it, modify it, or preserve it as-is, the weight of what follows will not be measured by
this reply—but by what is already visible.

Respectfully,

Dr. Kanwar Partap Singh Gill

Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533
Senior Staff Physician — California Forensic Medical Group

Fresno County Adult Detention Facility

Email: kpsgill@kpsgill.com

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This message is not a filing, demand, or adversarial threat. It does not disclose legal
strategy, and it shall not be interpreted as waiver, concession, or limitation of any right,
claim, or legal position. Its purpose is purely preservational.

Best Regards,
Kanwar Gill MD

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PSGILL.COM Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

Professional Reflections on Strategic Integrity and Supervisory Ethics in
Reorganization Drafting
1 message

Kanwar Gill MD <kpsgili@kpsgill.com> Sun, Apr 13, 2025 at 9:20 AM
To: Felicia Pertman <fperman@mwe.com>

{Confidential Memorandum — Not for Circulation or Filing]

Subject: Professional Reflections on Strategic Integrity and Supervisory Ethics in
Reorganization Drafting

To: Felicia Perlman, Esq. — Lead Plan Architect
Email: foeriman@mwe.com

From: Dr. Kanwar Partap Singh Gill

Date: April 13, 2025

Privileged and Confidential — Internal Attorney Communication Only

Dear Ms. Perlman,

Please accept this correspondence as a privileged and collegially transmitted reflection
——one governed by the high threshold of intra-professional discretion, and transmitted
with no strategic posture, adversarial agenda, or prejudicial signaling of future intent.
Its function is neither anticipatory nor accusatory, but rather prophylactic in nature: a
precautionary gesture in anticipation of potential ethical and structural reverberations
that may materialize irrespective of confirmation outcomes.

You occupy a unique position—at the doctrinal and supervisory apex of a multi-
jurisdictional confirmation effort. Within that role, your duties under the Illinois Rules
of Professional Conduct, particularly Rules 1.2(d) (Scope of Representation and
Allocation of Authority), 3.3 (Candor Toward the Tribunal), and 5.1 (Responsibilities
of Partners and Supervisory Lawyers), engage not merely formalist compliance, but
interpretive foresight. It is under this umbrella that I raise three foundational concerns,
each implicating the structural core of the Plan you have put forward.

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I. Functional Obfuscation of CPOM Violations — Cal. Bus. & Prof. Code
§ 2400

The Plan, as currently structured, appears to tacitly preserve a governance framework
in which non-physician-controlled MSO entities exercise de facto control over licensed
physician services in California. The syntactic separation between “administrative
services” and “clinical governance” dissolves under substantive scrutiny—particularly
when operational command, personnel oversight, and remuneration structuring remain
under the MSO’s dominion. This silence in the Plan—particularly given your
acknowledged leadership role—may be perceived not as omission, but as constructive
circumvention of California’s long-standing Corporate Practice of Medicine doctrine.

From the perspective of regulatory latency, such omissions become problematic not
upon filing, but upon retrospective examination—especially if downstream harm arises
and fiduciary awareness is presumed. The bar does not demand prescience; it demands
cautious reckoning with foreseeable incongruities.

Il. Transformational Recharacterization of Deferred Compensation — IRC
§ 409A and Fiduciary Misalignment

The proposed treatment of Non-Qualified Deferred Compensation Plans (NQDCPs), as
refracted through the Plan’s pro rata distribution model, effectively recasts
individualized deferred earnings as estate-bound general liabilities—a move that
introduces not only tax-triggering events under Treas. Reg. § 1.409A-3(1)(4), but a
serious divergence from the fiduciary obligations prescribed under 29 U.S.C. § 1104
and relevant ERISA interpretive guidance.

The absence of a statutorily compliant separation event or liquidation trigger—
combined with the obfuscation of trust structures—creates a paradigm wherein silent
conversion of earnings into estate debt becomes a species of fiduciary dilution. Insofar

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as you have stewarded the Plan’s strategic direction, the doctrinal burden rests at your
desk.

II, Circular Legal Shielding via Recursive Release Constructs — Ethical and
Jurisprudential Risks

Article IX’s interlocking exculpation, release, and injunction clauses form a self-
reinforcing doctrinal lattice—one that, when evaluated collectively, insulates insiders,
directors, and private equity stakeholders from post-confirmation scrutiny. This triadic
immunity apparatus may be viewed as facially impermissible under Fifth Circuit
precedent (see In re Pacific Lumber Co., 584 F.3d 229 (Sth Cir. 2009)), and
structurally corrosive to the Rule 901 1(b)(2)-(3) expectation of legal plausibility and
factual grounding.

In the context of Illinois Rule 8.4(d) (conduct prejudicial to the administration of
justice), one must ask: does the Plan shield fiduciaries from future exposure in ways
that cannot be squared with either circuit law or evolving regulatory expectations? And
if so, what supervisory obligations attach to those who drafted and endorsed such
instruments?

IV. Supervisory Exposure and the Principle of Constructive Knowledge

It is not merely what one knew, but what one could not reasonably have failed to know
that defines the modern boundary of Rule 5.1 and Rule 8.3 (Reporting Professional
Misconduct) exposure. Even if each provision, standing alone, occupies a permissible
boundary, the composite effect of strategic silence, syntactic obfuscation, and
procedural insulation suggests a blueprint of professional evasion—not on its face, but
in its architectural logic.

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The relevant question is not whether the Plan will survive confirmation. It is whether
the structure, once operationalized, will endure ethical retrojection—that is, a
backward-looking reconstruction of what was materially knowable, ethically
consequential, and legally avoidable at the time of its ratification.

V. Opportunity for Curative Stewardship

This message is neither a threat nor a precursor to filing. It is a privileged advisory,
designed to afford you the latitude to reflect, reassess, and if needed, recalibrate.
Whether you choose to correct course internally or proceed on your present path, this
memorandum will remain preserved, not as an evidentiary weapon, but as a
professional time-stamp—a marker that ethical clarity was offered prior to procedural
closure.

Should you choose to act, I trust the record will reflect not merely your professional
brilliance, but your institutional humility and supervisory care. That, more than legal
ingenuity, is what distinguishes great counsel from merely effective counsel.

With respect,

Dr. Kanwar Partap Singh Gill

Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. S.D. Tex.)
Senior Staff Physician — California Forensic Medical Group

Email: kpsgill@kpsgill.com

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This communication is submitted in a private, protected, and intra-professional context.
It is not a motion, complaint, public disclosure, or admission. Nothing herein shall be
construed as waiver of any rights, defenses, or privileges. This correspondence is
shielded by applicable work product, common interest, and pre-litigation
confidentiality doctrines.

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MEPSGILL.COM Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

Jurisdictional Certification, Ethical Signatures, and Fiduciary Reflection on
Procedural Design
1 message

Kanwar Gill MD <kpsgill@kpsgill.com> Sun, Apr 13, 2025 at 9:24 AM
To: "Marcus A. Helt" <mhelt@mwe.com>

_ [Confidential Memorandum — Not for Circulation or Filing]

Subject: Jurisdictional Certification, Ethical Signatures, and Fiduciary Reflection on
Procedural Design

To: Marcus A. Helt, Esq. — Texas Lead and Local Certifying Counsel
Email: mheit@mwe.com

From: Dr. Kanwar Partap Singh Gill

Date: April 13, 2025

Privileged and Confidential — Intra-Professional Advisory Only

Dear Mr. Helt,

This message is conveyed not as a procedural objection, strategic overture, or precursor
to adversarial engagement, but as a calibrated expression of intra~-professional concern
—governed entirely by standards of fiduciary discretion, and addressed to you in your
capacity as certifying counsel in a jurisdiction with stringent jurisprudential and ethical
contours.

Your status as lead Texas counsel places you at a unique junction—both a conduit and
gatekeeper—between the structural contents of the Plan and the affirmative
representations made to a court of record under Rules 3.03 and 5.01 of the Texas
Disciplinary Rules of Professional Conduct. Those duties extend not merely to the
veracity of factual assertions, but to the broader procedural legitimacy of the
mechanisms advanced.

It is within this precise intersection that several items warrant quiet but unambiguous
reflection.
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L. Article IX and the Fifth Circuit’s Clear Doctrine Against Non-Consensual
Third-Party Releases

The Plan’s deployment of an opt-out-based third-party release mechanism, embedded
within Article [X, stands in direct tension with binding Fifth Circuit precedent,
including In re Pacific Lumber Co., 584 F.3d 229 (Sth Cir. 2009). That decision, and
its progeny, reject precisely this construct: a release regime wherein silence is
transmuted into consent and procedural default into irrevocable forfeiture.

As certifying local counsel, your imprimatur was affixed to a document whose
foundational provisions contradict circuit-level doctrine—a contradiction not merely of
argument, but of binding legal threshold. In affirming the adequacy of such a
mechanism before the United States Bankruptcy Court for the Southern District of
Texas, you may have, however inadvertently, created a jurisprudential anomaly whose
reverberations may only emerge after institutional hindsight is fully engaged.

One must therefore ask: if opt-out silence is the basis for extinguishing rights of the
incarcerated, the unrepresented, or the procedurally disadvantaged, how does this
comport with your own duties under Rule 3.03(a)(1) (prohibiting the presentation of
legal contentions contrary to controlling law) and Rule 5.01(a) (supervisory
responsibility for firm conduct presented under your name)?

If. Procedural Architecture and the Incarcerated Creditor Class

The creditor class most directly impacted by this opt-out schema—aunrepresented
incarcerated individuals—presents a troubling context. These claimants are:

e Often deprived of full legal literacy,

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e Structurally disabled from electronic participation,

¢ And uniquely vulnerable to procedural devices that camouflage substantive |
waiver beneath the guise of notice.

In this context, reliance on general service to custody facilities as “notice” becomes
ethically untenable under Rule 8.04(a)(3) (prohibition against conduct involving
dishonesty, fraud, deceit, or misrepresentation), even absent intent to deceive. The
ethical challenge lies in designing a system that defaults to waiver without meaningful
legal agency, and in certifying it as procedurally and constitutionally adequate.

You were in a singular position to either halt or condition that mechanism’s
certification under Texas law. The decision to proceed places your professional
judgment at the center of any future inquiry into procedural coercion or due process
erosion.

Ull. The Ethics of Silence and the Doctrine of Constructive Consent

The Fifth Circuit has repeatedly emphasized that non-consensual third-party releases
must meet the highest standard of explicit creditor participation. The Plan’s reliance on
silence—as a proxy for volitional surrender—may be facially ineffective under circuit
law, but its submission to the Court under your signature renders the issue ethically
fraught, not merely procedurally defective.

Your duty, under Rule 1.02(c) (prohibiting assistance in conduct the lawyer knows to
be criminal or fraudulent), is not merely passive. It includes an affirmative obligation
to withhold certification where operative provisions lack legal merit or foundational
consent.

The difference between arguable ambiguity and foreseeable illegality is the difference
between advocacy and complicity.

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IV. The Role of Local Counsel as Jurisdictional Safeguard

Local counsel does not merely localize the pleading; he lends jurisdictional legitimacy
to its contents. That is the function of your name and license in this proceeding.

The question, therefore, is not whether others drafted the Plan’s architecture, but
whether you validated it for judicial reliance, knowing or having reason to know that
certain provisions could not survive controlling scrutiny in this forum.

That signature is not benign. It is a declaration to the Court that the document, as
presented, is legally permissible, factually coherent, and ethically supportable under
the rules of the jurisdiction.

V. Opportunity for Discretionary Reassessment

No motion is pending. No complaint has been filed. No public accusation will be
made. But the convergence of legal doctrine, procedural design, and ethical
responsibility is not a matter that can be left to silence.

This correspondence is intended as a private signal: that what may appear procedurally
durable today may, under different eyes, seem ethically indefensible tomorrow. Should
future oversight or enforcement scrutiny emerge, the record will reflect that an
opportunity for reconsideration was offered—not publicly, but collegially.

You retain the power to lead that internal course correction. That power may not last
indefinitely.

Respectfully,

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 223

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Dr. Kanwar Partap Singh Gill
Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. S.D. Tex.)
Senior Staff Physician — California Forensic Medical Group

Email: kpsgill@kpsgill.com

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KESGIL.COM Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

Solicitation Architecture, Constructive Waiver, and the Ethics of Procedural Design
i message :

Kanwar Gill MD <kpsgill@kpsaill.com> Sun, Apr 13, 2025 at 9:28 AM
To: Steven Szanzer <sszanzer@mwe.com>

[Confidential Memorandum — Not for Circulation or Filing]

Subject: Solicitation Architecture, Constructive Waiver, and the Ethics of Procedural
Design

To: Steven Z. Szanzer, Esq. — Solicitation Counsel and Disclosure Architect
Email: sszanzer@mwe.com

From: Dr. Kanwar Partap Singh Gill

Date: April 13, 2025

Privileged and Confidential — Internal Counsel Communication Only

Dear Mr. Szanzer,

This correspondence is submitted with full recognition of your professional standing
and the formidable complexity of your role in the orchestration of solicitation materials
and procedural consent frameworks associated with the Fifth Amended Plan. What
follows is not a litigation overture, nor a predicate to complaint. It is, rather, an internal
signal—a reflective advisory offered in the idiom of jurisprudential stewardship.

In your capacity as principal architect of the solicitation and notice architecture now
before the Court, your work engages not only the precision of drafting but the ethics of
consent construction—particularly when applied to pro se, incarcerated, or otherwise
structurally disenfranchised classes of creditors. It is in this jurisdictional and ethical
terrain that several observations warrant careful, perhaps urgent, consideration.

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IL. The Use of Silence as Affirmative Waiver — Structural Misalignment with
Informed Consent Doctrine

The solicitation materials circulated under your imprimatur rely heavily upon a
construct whereby inaction is converted into legal consent, and failure to opt out is
transfigured into irrevocable release. This is not merely a matter of procedural design
—it is a substantive redefinition of agency, and one that conflicts with well-settled
expectations of consent in bankruptcy jurisprudence and beyond.

Under New York Rules of Professional Conduct 4.1 (Truthfulness in Statements to
Others) and 8.4(c)—(d) (Misrepresentation and Conduct Prejudicial to the
Administration of Justice), the ethical fault line is not defined by disclosure in form,
but by comprehension in fact. When a solicitation scheme uses formality to substitute
for actual volition—particularly when the impacted class includes individuals with no
legal counsel, no digital access, and no meaningful ability to interpret multi-layered
opt-out constructs—the bar of ethical sufficiency is simply not met.

Il. The Architecture of Coercive Procedure — Misuse of Structural
Presumption

The current structure relies upon a presumption of agency where no actual agency is
possible, and a presumption of legal understanding where the documentation itself
obfuscates more than it reveals. It is not merely that the Plan seeks releases; it is that
the pathway to withholding them is operationally inaccessible to large swaths of
impacted parties.

In this regard, the solicitation regime fails not only legally, but ethically, in a manner
that is detectable under Rule 3.1 (Meritorious Claims and Contentions) and Rule 1.4
(Communication with Clients/Counterparties), especially when mapped onto a known
class of unsophisticated creditors.

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The reliance on constructive waiver within a structurally rigged environment may pass
unnoticed by a time-constrained tribunal, but it will not escape regulatory hindsight—
or the interpretive reach of post-confirmation inquiry.

Ill. Disclosure Materials as Ethical Instruments — The Risk of Curated
Misunderstanding

A document may be technically accurate yet ethically misleading. When a disclosure
statement relies on linguistic overcomplexity, lack of plain-language summaries, and
ambiguity of opt-out procedure, it becomes less a disclosure and more a mechanism of
procedural foreclosure.

The solicitation documents associated with the Plan appear to shift the burden of
comprehension to parties least equipped to bear it. This design is not neutral. It is
structurally coercive. Whether intentional or not, the effect is to embed a procedural
trapdoor beneath unrepresented or impaired creditors.

The ethical danger lies not in the formal approval of the solicitation materials, but in
the future question of whether those who designed them anticipated, or should have
anticipated, their coercive impact. That question will not be asked by the Court. It will
be asked by bar authorities, oversight bodies, or appellate reviewers in a different
moment and with a different lens.

IV. Interpretive Burden and the Professional Ethics of Foreseeability

When legal structures are deployed in environments of known vulnerability, the ethical
burden on the drafter increases, not decreases. The solicitation framework, as designed,
creates an illusion of informed assent through the architecture of ambiguity. Under

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Rule 8.4(c), such ambiguity, when foreseeably harmful, becomes indistinguishable
from misrepresentation.

It is not merely a question of what the materials state; it is a question of what they are
likely to produce—in silence, in inaction, and in involuntary waiver.

That burden attaches to you. Not as a matter of litigation, but as a matter of record.

V. An Invitation to Preempt Ethical Degeneration

You are still in a position to recalibrate. To strengthen disclosure. To clarify language.
To create default settings that favor agency over suppression, and clarity over
contrivance. None of this requires public revision. It requires only private ethical
imagination.

This message is not a warning. It is an opportunity—an open door through which
curative reform may still pass without reputational consequence. Whether that
opportunity is accepted or ignored will not affect your current standing. But it may
materially define how that standing is remembered when retrospective inquiry is
applied.

With professional regard,

Dr. Kanwar Partap Singh Gill

Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. S.D. Tex.)
Senior Staff Physician — California Forensic Medical Group

Email: kpsgill@kpsgill.com

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work product doctrine, common-interest communications, and intra-professional
discretion. It contains no litigation strategy, no threats of action, and no external
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MPSGILL. COM Kanwar Partap Singh Gill <kpsgili@kpsqill.com>

Drafting Responsibility, Subordinate Ethics, and Structural Clarity in Procedural
Architecture
| message

Kanwar Gill MD <kpsgill@kpsgill.com> Sun, Apr 13, 2025 at 9:32 AM
To: Carole Wurzelbacher <cwurzelbacher@mwe.com>

[Confidential Memorandum — Not for Circulation or Filing]

Subject: Drafting Responsibility, Subordinate Ethics, and Structural Clarity in
Procedural Architecture

To: Carole Wurzelbacher, Esq. — Drafting and Review Counsel
Email: cwurzelbacher@mwe.com

From: Dr. Kanwar Partap Singh Gill

Date: April 13, 2025

Privileged and Confidential — Not for Team Circulation

Dear Ms. Wurzelbacher,

Please receive this memorandum not as confrontation, nor as warning, but as a private
reflection transmitted under the protections of intra-professional confidentiality. Its
intent is neither adversarial nor strategic, but rather restorative—focused on the ethical
positioning of your role as drafting counsel in the development and internal review of
the Fifth Amended Plan.

In complex proceedings such as this, junior attorneys are often relied upon to perform
the linguistic, structural, and organizational labor that animates core filings. But it is
precisely within this labor that critical professional decisions are made—ones that may
later come to define the ethical topography of the case.

You are, by title and function, a lawyer licensed in Illinois, operating within the
framework of Rules 5.2 (Responsibilities of a Subordinate Lawyer), 3.4 (Fairness to
Opposing Party and Counsel), and 1.0(h) (Knowledge inferred from circumstances).
These rules do not expect omniscience, but they do expect cognizance—an awareness

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of irregularities when they are apparent on the face of what is being drafted, and a
willingness to escalate, question, or qualify what may later be scrutinized.

I. Drafting Apparatus and the Role of Recursive Exculpation

The structural logic of Article IX, and its recursive entanglement of releases,
exculpations, and injunctions, presents a professional hazard disguised as doctrinal
design. These provisions, as written, operate not in isolation but as self-reinforcing
immunities—a doctrinal “loop” in which each shield justifies the next, rendering the
overall framework resistant to external inquiry.

If you were involved in drafting, editing, or supporting this article—or similar
language elsewhere—then your professional imprimatur, however latent, is
functionally affixed. Under Rule 5.2(a), subordination to a supervising attorney does
not absolve responsibility where the ethical or legal impropriety is apparent or
inferable. And in this instance, the appearance is not faint.

The releases extend not merely to estate fiduciaries, but to private equity entities whose
involvement in the underlying control architecture has never been substantively
disclosed, nor their immunity explained. That design choice is not ethically neutral.

II. Structural Ambiguity and CPOM-Adjacent Drafting Risks

The Plan’s treatment of post-confirmation governance—particularly in relation to
California’s prohibition on the corporate practice of medicine (Cal. Bus. & Prof. Code
§ 2400)—is characterized by conspicuous vagueness. There is no express reference to
compliance carve-outs, nor to structural reforms that would remediate known CPOM
violations. If you participated in drafting or reviewing any provisions relating to
operational continuity, MSO-physician relationships, or deferred compensation

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redistribution, then your silence may be read as acquiescence to structural
noncompliance.

The ethical issue is not whether the CPOM violation is explicit—it is whether the
drafting was structured to obscure it.

Should subsequent inquiries arise—whether from the Medical Board, the IRS, or
fiduciary oversight bodies—the relevant question will not be what was assigned to you,
but what became apparent to you in the course of your work.

Til. Deferred Compensation, IRC § 409A, and the Transformation of Earnings

The proposed recharacterization of NQDCP funds—turning individualized deferred
compensation into fungible, dischargeable estate liabilities—raises serious concerns
under Treas. Reg. § 1.409A-3(i)(4) and ERISA fiduciary principles. These are not
abstract tax questions. They are issues of economic harm to physicians who earned
these funds under specific contracts, now reclassified under a collective liquidation
model absent any separation or forfeiture event.

If you were involved in the treatment or redrafting of these sections, the drafting itself
may implicate you in constructive erosion of earned benefits, particularly if the design
strips protections without due process or acknowledgment of statutory risk.

IV. Rule 5.2, Ethical Agency, and the Threshold of Inferred Knowledge

It bears emphasizing that Illinois Rule 5.2 does not provide a blanket immunity for
junior attorneys. Instead, it holds that where the ethical risk is “apparent or reasonably
known,” the subordinate has a duty not only to decline to participate in problematic
conduct, but to seek clarification or correction.

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The standard is not fault. It is epistemic proximity. What did you know, or—more
importantly—what does the record demonstrate you had reason to know?

In complex Chapter 11 matters, where junior counsel are frequently embedded in
structural drafting, the evidentiary footprint often speaks louder than hierarchy. Emails,
markup iterations, and silent approvals become the measure of professional complicity.

V. Discretionary Reflection and the Ethics of Internal Course Correction

This memorandum is extended to you with full respect for your talent, position, and
future. No complaint is pending. No escalation is intended. But there remains an
opportunity to intervene quietly—to raise the concerns internally that may later define
how your professional judgment is remembered, both within the firm and beyond it.

Such intervention does not require insubordination. It requires integrity—the kind that
recognizes when silence begins to resemble assent, and when contribution to a drafting
defect is no longer neutral.

Should you choose to act, you may yet become a stabilizing force in a process
increasingly under ethical and regulatory pressure.

Respectfully,

Dr. Kanwar Partap Singh Gill

Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. S.D. Tex.)
Senior Staff Physician — California Forensic Medical Group

Email: kpsgill@kpsgill.com

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This document is shared solely for the purposes of intra-professional ethical reflection.
It is not a threat, notice, or declaration of any procedural intention. It does not disclose
litigation strategy, and it may not be used as an admission, waiver, or foundation for
future motion practice. All applicable privileges—attorney work product, professional
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KPSGILL.COM Kanwar Partap Singh Gill <knsgill@kpsgill.com>

Re: Categorical rejection of your offer: Wellpath Holdings, Inc, Case # 24-90533

1 message

Kanwar Gill MD <kpsgill@kpsgill.com> Thu, Mar 20, 2025 at 7:31 AM
To: Carole Wurzelbacher <cwurzelbacher@mwe.com>

Cc: Marcus Heit <Mhelt@mwe.com>, Felicia Perlman <Fperlman@mwe.com>, Bradley Giordano <Bgiordano@mwe.com>, Steven Szanzer
<sszanzer@mwe.com>

Thank you for your prompt reply. I note your insistence that your offer expire at noon CT today and your
suggestion that I withdraw my motion without prejudice if additional time is needed. However, I must reiterate
that this claim concerns my earned wages and inherent property rights as an independent, licensed physician,
and it is not merely an ordinary unsecured creditor claim.

Given the complexity of the legal issues at stake—including Wellpath’s interference with physician
compensation in clear violation of California’s Corporate Practice of Medicine (CPOM) doctrine and its
unlawful fee-splitting practices—I have no option but to consult with independent legal counsel to fully evaluate
your proposed terms. Justice demands that I be afforded adequate time to secure appropriate representation
before agreeing to any conditions that would require me to sign a non-disclosure agreement or withdraw my
motion.

I respectfully decline any pressure to accept your offer under the abbreviated deadline. While I remain open to
discussing these issues by phone, any settlement must fully reflect my vested deferred compensation without
requiring me to relinquish my claim or consent to confidentiality provisions that would obscure your client’s
statutory violations.

I look forward to a meaningful discussion that addresses the substantive issues before this matter potentially
comes before the Medical Board of California.

Thank you for your understanding.
Sincerely,

Dr. Kanwar Partap Singh Gill
Pro Se Movant

8408 N Ann Ave

Fresno, CA 93720

Phone: (559) 447-8490

Email: kpsgill@kpsgill.com
Kanwar Git MD

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On Mar 20, 2025, at 6:02 AM, Wurzelbacher, Carole <cwurzelbacher@mwe.com> wrote:

Dr. Gill,

We are happy to schedule a call, but the expiration of our offer at noon CT today still applies. If you would like more time to discuss, you
may withdraw your motion without prejudice to re-file in the event that we do not reach an agreement. As previously noted, CFMG is not
a debtor in Wellpath's chapter 11 cases and we would oppose your motion on those grounds, among others. We have made the offer to
avoid additional legal fees and we will withdraw it if an agreement cannot be reached.

If you would still like to discuss, please let us know your availability fora short call.

Thank you,

CAROLE WURZELBACHER
Associate

NeGeemott WH & Emary LLP 444 West Lake Street, Suite 4000, Chicago, IL 60606-0029
Tel +13128997240 Email cwurzelbacher@mwe.com

Website } vCard j LinkedIn

From: Kanwar Gill MD <kpsgili@kpsgill.com>

Sent: Wednesday, March 19, 2025 11:31 PM

To: Wurzelbacher, Carole <cwurzelbacher@mwe.cam>

Ce: Helt, Marcus <Mheit@mwe.comp; Perlman, Felicia <Fperiman@rmwe.com>; Giordano, Bradley <Bgiordana@mwe.com>; Szanzer,
Steven <sszanzer@mwe.cam>

Subject: Re: Categorical rejection of your offer: Wellpath Holdings, Inc. Case # 24-90533

(external Email}

Given the complex legal issues at stake—including potential exposure before the Medical Board of
California for unlicensed practice of medicine and for aiding and abetting such conduct—I believe

that a telephone discussion would provide a more effective forum to address these matters. A direct
conversation will allow us to focus on the specific legal implications of Wellpath’s actions, the risks of

non-compliance with CPOM laws, and the precise nature of the financial and regulatory exposures
involved.

At this time, I am also in the process of consulting with independent legal counsel to fully evaluate
your offer and its associated conditions. Until I have had the benefit of that review—and given the
significant issues involved—I cannot agree to the terms as proposed, particularly the NDA and the
forced withdrawal of my motion.

I am open to scheduling a telephone call at your earliest convenience to discuss these issues further
and to clarify how this matter might ultimately be resolved, including the potential consequences if it

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 236

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proceeds before the Medical Board of California.

Thank you for your understanding. J look forward to your response regarding a mutually convenient
time to discuss this matter over the phone.

Sincerely,

Dr. Kanwar Partap Singh Gill
Pro Se Movant

8408 N Ann Ave

Fresno, CA 93720

Phone: (559) 447-8490
Email: kpsgill@kpsgill.com

Best Regards,
Kanwar Gill MD

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On Mar 19, 2025, at 8:45 PM, Wureelbacher, Carole <cwurzelbacher@mwe.com> wrote:
Dr. Gill,

Thank you for your reply. In consideration of your asserted claim, we proposed the following: we will work with CFMG to
pay you $162,597.08 in full satisfaction of the Claim. This offer remains subject to each of the terms and conditions
contained in the email that | sent today at 2:49 p.m. (prevailing Central Time), including the agreement to enter a non-
disclosure agreement with respect to the settlement of the Claim and withdrawal of the motion by 5:00 p.m. (prevailing
Central Time) on March 20, 2025.

Please confirm by response email no later than March 20, 2025 at 12:00 p.m. (prevailing Central Time) if you agree to the
foregoing. Note that this offer is being made pursuant to FRE 408 and its local equivalents. Please let me know if you have
any questions or if you would like to discuss.

Thank you,

CAROLE WURZELBACHER
Associate

First Dectaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 237

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facDermott Will & Emery LLP 444 West Lake Street, Suite 4000, Chicago, IL 60606-0029
Tei +1312 8997240 Email cwurzelbacher@mwe.com

Website | vGard } LinkedIn

From: Kanwar Partap Singh Gill <kpsqil@knsaill. com>

Sent: Wednesday, March 19, 2025 6:46 PM

To: Wurzelbacher, Carole <cwurzelbacher@mwe.com>

Cc: Helt, Marcus <Mhelt@mwe.com>; Perlman, Felicia <Fperirman@mwe.com>,; Giordano, Bradley
<Bgiordano@mwe.com>; Szanzer, Steven <sszanzer@imwe.com>

Subject: Categorica! rejection of your offer: Wellpath Holdings, Inc. Case # 24-90533

Dear Carole,

Thank you for your email and for your willingness to discuss settlement. However, after a thorough review of your proposal, the applicable
legal framework, and the relevant evidentiary documents—including my W-2s, pay stubs, Fidelity NetBenefits Statement, Account Summary,
the Wellpath Nonqualified Deferred Compensation Plan (Restated January 1, 2024), the motion for relief from the dutomatic stay, and
Medical Board Precedential Decision and enforcement action (MBC Case No. 03-2000-108170}—I must categorically reject your offer. Your
proposal of $100,000 (in exchange for withdrawing my motion and signing a non-disclosure agreement) is both legally deficient and
financially inadequate, and it fails to reflect my full vested entitlement and the serious statutory violations by Wellpath.

Below, I set forth the lega! and factual bases for my position:

1. Earned Wages and Full Vested Compensation

My deferred compensation is eared wages under my valid employment agreement with Califomia Forensic Medical Group, Inc.
(CFMG}—a solvent, non-debtor entity entirely separate from Wellpath.

» My W-2s, pay stubs, and employment records confirm that my salary-—including all deferred amounts—was paid solely by CFMG.
» My Fidelity NetBenefits Statement and Account Summary clearly show that my fully vested balance, as of November 12, 2024, is
$162,597.08.

» Wellpath merely acted as a third-party administrator of the Nonqualified Deferred Compensation Plan (“NQDCP”) and never
acquired any ownership or controlling interest in these funds.

Therefore, there is no legal or equitable justification for accepting anything less than full payment of my vested deferred

compensation.

2. Violation of California's Corporate Practice of Medicine (CPOM) Doctrine and Fee-Splitting Laws

Under California Business & Professions Code §2400, non-physician entities are expressly prohibited from controlling, managing,
or interfering with physician compensation. This robust statutory framework is designed to protect physician autonomy and the
integrity of medical decision-making.

* The Medical Board of California’s current guidance and past enforcement actions demonstrate that management services
organizations (MSOs) that exert financial control over physician earnings violate state law, For example, in People ex rel. State
Board of Medical Examiners v. Pacific Health Corp. (12 Cal. 2d 156, 1938) and Conway v. State Board of Medical Examiners (47
Cal. App. 2d 105, 1941), courts held that corporations or non-physician entities cannot dictate physician wages.

» Furthermore, Califomia’s fee-splitting prohibitions (BPC §650) bar non-physician entities from profiting off physician services.
Wellpath’s unilateral control and withholding of my deferred compensation is an illegal fee-splitting arrangement, as it improperly
allows a lay-owned MSG to benefit from earnings that were contractually due solely to CFMG’s physicians.

+ Recent scrutiny of the “Friendly PC” model—exemplified by the AAEM-PG v, Envision Healthcare case further underscores that
such arrangements, when they enable non-physicians to indirectly contro! or profit from physician compensation, are impermissible.
Wellpath’s actions thus not only contravene federal bankruptcy principles but also violate fundamental public policy embodied in
California CPOM law, exposing it to enforcement, disciplinary action (e.g., Precedential Decision MBC-2007-01-Q), and potential
criminal liability under Bus. & Prof. Code §§2052 and 2264.

3. Exclusion from the Bankruptey Estate under 11 U.S.C. §541(d)

The NQDCP structured by Wellpath Holdings Inc. isan unfunded “top-hat” plan, and my deferred compensation—being deducted
from my CFMG wages—was never a Wellpath asset.

* Under [1 U.S.C. §541(d), property held only in name, without an equitable interest, is excluded from the bankruptcy estate.

» In Begier v. IRS, 496 U.S. 53 (1990), the Court held that funds held in trust or in a fiduciary capacity must be excluded from the

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debtor’s estate.
Since Wellpath has never had any equitable interest in my deferred compensation, its inclusion in the bankruptcy estate is entirely

improper.

4. Tax Penalties and Uniawtul Termination of the NQDCP

Wellpath’s unilateral termination and mismanagement of the NQDCP have triggered significant IRS penalties (under [IRC §409A)
and California Franchise Tax Board fines.

+ Wellpath’s failure to administer the plan in accordance. with IRC Section 409A has resulted in immediate taxation, additional
interest and a 20% penalty on deferred earnings, imposing severe financial hardship on me.

- It is unconscionable and legally impermissible for Wellpath to shift these tax liabilities and fines onto me when the underlying
breach is its own mismanagement and illegal control of my compensation.

5. Constructive Trust and Demand for Immediate Payment

In light of Wellpath’s unlawful retention and misappropriation of my earned wages, equity demands the imposition of a constructive
trust to ensure these funds remain exclusively my property and are not used to satisfy Wellpath’s creditors.

+ As established in In re Al Copeland Enterprises, Inc., 991 F.2d 233 (Sth Cir. 1993), and Begier v. IRS, a constructive trust remedy is
appropriate when funds are wrongfully withheld by a debtor.

» Wellpath’s continued control over my deferred compensation constitutes unjust enrichment and must be rectified by directing
immediate payment from CFMG, along with Wellpath’s assumption of all related tax penalties and fines.

6. Unlawful Coercion and Bad Faith Negotiation

Your threat that, should I reject this offer, Weilpath will instruct CFMG to withhold payment until after the bankruptcy concludes is
an improper attempt to coerce a settlement.

* CFMG is a solvent, non-debtor entity and has no legal basis to delay payment of wages that are contractually owed.

+ Any such delay would be a clear case of bad faith financial coercion, exposing Wellpath to further legal claims for interference with
my employment contract, unjust enrichment and potential criminal tiability under CA Bus. & Prof. Code §§2052 and 2264.

Conclusion and Demand:

in summary, the facts and law unequivocally establish that my deferred compensation is not a Wellpath asset but rather earned wages solely
attributable to my employment with CFMG. Wellpath’s actions violate Califomia CPOM law, engage in illegal fee-splittng, and result in the
improper inclusion of non-debtor funds in its bankruptcy estate. Moreover, its mismanagement has triggered substantial tax penalties for
which it must be held liable.

Therefore, I demand the following as a condition for any settlement:

+ Full immediate payment of my vested deferred compensation in the amount of $162,597.08 fram CFMG.

* Wellpath must assume full responsibility far any IRS and California Franchise Tax Board penalties and fines arising from its
unilateral termination of the NODCP.

+ No non-disclosure agreement or similar restrictions shall be imposed that would limit transparency regarding Wellpath’s violations
or my legal rights,

If these demands are not met, I will have no chcice but to proceed with my motion before the court and pursue all available legal remedies,
including injunctive relief, the imposition of a constructive trust over my deferred compensation, and claims for additional damages arising
from Wellpath’s unlawful practices.

T look forward to your prompt response indicating whether Wellpath is prepared to revise its settlement offer accordingly.
Sincerely,

Dr. Kanwar Partap Singh Gill
Pro Se Movant

8408 N Ann Ave

Fresno, CA 93720

Phone: (559) 447-8490
Email: kpsgill@kpsgiil.com

On Wed, Mar 19, 2025 at 12:49 PM Wurzelbacher, Carole <cwurzelbacher@mwe.com> wrote:

Dr. Gill,

Thank you for your reply and for sending the motion. We still believe that we can reach a consensual resolution of your
claim without the need for a hearing or any further briefing.

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We understand that you have asserted a claim {the “Claim” against California Forensic Medical Group, Inc. ("CEMG") on
account of amounts that you contributed toward the non-qualified deferred compensation plan ("NQDCP"). As you may
be aware, CFMG is not a debtor entity in Wellpath’s chapter 11 cases and, therefore, we believe that your motion
inappropriately seeks retief against Welipath and its debtor affiliates (collectively, the “Debtors”).

Again, we prefer avoid the need for a hearing or any additional pleadings and, as a result, propose the following
settlement offer. In exchange for your agreement to {a} withdraw your motion by 5:00 p.m. (prevailing Central Time)_on
March 20, 2025 and {b) enter a non-disclosure agreement with respect to the settlement of the Claim, we will work with
CFMG to pay you $100,000 in full satisfaction of the Claim. While we are confident that CFMG will honor the payment in
short order, to fully preserve your rights in the interim, the withdrawal of your motion would be without prejudice and
would preserve your right to re-file the motion in the event that you do not receive payment within 30 days of acceptance
of this offer.

Please confirm by response email if you agree to the foregoing. Please note that this offer will expire tomorrow, March
20,2025, at 12:00 p.m. (prevailing Central Time), and is being made subject to FRE 408 and its local equivalents. Upon
the expiry of the faregoing deadline without a settlement, the Debtors intend to object to your motion and will instruct
CFMG to withhold payment on account of your Claim until some date after the Debtors emerge from their chapter 11
cases. Let us know if you have any questions or if you would like to set up a time to discuss.

Thank you,

CAROLE WURZELBACHER
Associate

MeDerrantt WH & Emery LLP 444 West Lake Street, Suite 4000, Chicago, IL 60606-0028
Tei+1 3428997240 Email cwurzelbacher@mwe.com

Website i vCard { Linkedin

From: Kanwar Gill MD <kpsgill@kpsaill.com>

Sent: Tuesday, March 18, 2025 7:10 PM

To: Wurzelbacher, Carole <cwurzelbacher@mwe.com>

Cc: Helt, Marcus <Mhet@mwe.com>; Perlman, Felicia <Fperlman@mwe.com>, Giordano, Bradley
<Bgiordano@mwe.com>; Szanzer, Steven <sszanzer@mwe.com>

Subject: Re: Wellpath Holdings, Inc. Case # 24-90533 (Judge: Alfredo R Perez, JurisdictionTexas - Southern District Filed
Noy, 11 2024)

Lex

Ext

Subject: Re: Wellpath Holdings, Inc. Case # 24-90533

Dear Carole,

I appreciate your response and the efforts to resolve this matter consensually. However,
after waiting 10 business days in good faith, I proceeded with filing my motion earlier
today. My hope was to reach a resolution without filing, thereby avoiding the potential for
numerous similarly situated claimants following suit.

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I noticed your email after I had already mailed the motion from the UPS store. Given the
urgency, I filed it under an extremely urgent two-day service, and it is expected to be
delivered to the court by Thursday. All other parties should receive copies either this week
or early next week.

As a courtesy, I have.attached a scanned copy of the motion to this email. Please note that
the exhibits were too large for my home scanner, but you will receive hard copies by mail.

If you have any questions, feel free to reach out. I am also available by phone, and I
previously shared my contact information with you.

Best regards,

Kanwar Gill, MD

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On Mar 18, 2025, at 2:50 PM, Wurzelbacher, Carole <cwurzelbacher@mwe.com> wrote:
Mr. Gill,

Thank you for your patience. We have been coordinating with the Company and co-advisors regarding your
claim and collecting the relevant documentation and information. Would you be able to send us any
documentation that you may have regarding the claim? tn particular, any documentation relating to your
enrollment in the plan would help expedite our review and process.

We understand that you would like to file a motion and have it scheduled for the April 22 hearing. We
believe, however, that we can resalve this matter consensually and without the need for you to spend the
time preparing, filing, and prosecuting a motion. Accordingly, we would like an additional short amount of
time to collect the information and documentation needed to resolve your claim consensually. In the event
that we cannot resalve your claim consensually, to avoid prejudicing your timeline, the Company will agree
to a shortened notice period on any potential motion for relief from stay that you would file, so that it could
be heard on April 22 if the motion is filed on April 11. Please let us know if that works for you.

In the interim, if you would fike to discuss your claim or ask any questions, we are available and happy to set
up a time fora call.

Please let us know of any questions or concerns. Thank you,

CAROLE WURZELBACHER
Associate

NicDermott WH & Emery LLP 444 West Lake Street, Suite 4000, Chicago, IL 60606-0029

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 241

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First Deciaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 937260 April 19th, 2025 (Notarized)

Tei +1 312899 7240 E:nail cwurzelbacher@mwe.com

Website | vGard | LinkedIn

From: Kanwar Gill MD <kpsgill@kpsgill. com>

Sent: Tuesday, March 11, 2025 3:52 PM

To: Wurzelbacher, Carole <cwurzelbacher@mwe.com>

Cc: Helt, Marcus <Mhelik@mwe.comp>; Perlman, Felicia <Foeriman@mwe.com>; Giordano, Bradley
<Bgiordanc@mwe.com>; Szanzer, Steven <sszanzer@mwe. com>

Subject: Re: Wellpath Holdings, Inc. Case # 24-90533 (Judge: Alfredo R Perez, JurisdictionTexas - Southern
District Filed Nov, 11 2024)

| emailed the court clerk days after | sent you all my first communication. | was informed by the court clerk the
deadline is fast approaching. 10 business days will be too close to March 22nd deadline.

] will truly appreciate that you expedite the response earlier than the 10 business (previously proposed), it will
give me a few days to refine my motion, it will secure me a spot higher in priority for the afternoon of April 22,
2025 and it will avoid any defects related to timely service (and notice of hearing) of the motion to all parties.
There are multiple parties lined up for hearing that day and that leaves limited time for arguments. | do expect a
written opposition (and | will appreciate that) and that alone will also save us all the time at hearing.

Kanwar Gill MD

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property privileges, Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic
communication.

On Mar 11, 2025, at 1:19 PM, Wurzelbacher, Carole <cwurzelbacher@mwe.com> wrote:

Mr. Gill,

To clarify, we are reviewing your message and will revert with a response on this chain within
the 10 business day time frame noted in your original message.

Thank you,

CAROLE WURZELBACHER
Associate

McDermott ill & Emery LLP 444 West Lake Street, Suite 4000, Chicago, IL 60606-0029
Fel +1312899 7240 = Email cwurzelbacher@mwe,com

Website } vCard | Linkedin

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From: Kanwar Gill MD <kpsgill@kpsgill.com>

Sent: Tuesday, March 11, 2025 3:08 PM

To: Wurzelbacher, Carole <cwurzelbacher@mwe.cam>; Helt, Marcus <Mnheit@mwe.com>
Cc: Perlman, Felicia <Fperlman@mwe.com>; Giordano, Bradley <Bgiordano@mwe.com>;
Szanzer, Steven <sszanzer@mwe.com>

Subject: Re: Wellpath Holdings, Inc. Case # 24-90533 (Judge: Alfredo R Perez, JurisdictionTexas
- Southern District Filed Nov, 11 2024)

bo don't offen get email from kpsgill@kpsgill.com. Learn why this is important

it mall]

Thank you Carole for confirming the receipt of messages. | will proceed with filing in a timely
manner and serve a copy to Mr Helt (1 think he is lead on this case, correct me if | am wrong). t
will selcalendar hearing for April 22, 2025. | will appear virtually on teleconference/zcom.

Thanks

Have a Great Day

Best Regards,

Kanwar Gill MD

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intellectual property privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of
this electronic communication.

On Mar 11, 2025, at 12:23 PM, Wurzelbacher, Carole <cwurzeibacher@mwe.com>
wrote:

Thank you, Mr. Gill. We are reviewing and will revert.

CAROLE WURZELBACHER
Associate

MoDermoit Will & Emery LLP 444 West Lake Street, Suite 4000, Chicago, IL 60606-0029

Tel +13128997240 Ernail ewurzelbacher@mwe.com

Website ! vCard j LinkedIn

From: Kanwar Gill MD <kpsgill@kpsaill. com>

Sent: Tuesday, March 11, 2025 2:18 PM

To: Kanwar Partap Singh Gill <kpsgili@kpsgill.corm>; Dingman, Carmen
<cdingman@mwe.com>; Helt, Marcus <Mhelt@mwe.com>, Wurzelbacher,
Carole <cwurzelbacher@mwe.com>,; Perlman, Felicia
<Fperlman@mwe,com>; Giordano, Bradley <Bgiardano@mwe.com>, Szanzer,
Steven <sszanzer@mwe.com>; Jumbeck, Jake <Jjumbeck@mwe.com>
Subject: Re: Wellpath Holdings, Inc. Case # 24-90533 (Judge: Alfredo R Perez,
JurisdictionTexas - Southern District Filed Nov, 11 2024)

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 Aprit 19th, 2025 (Notarized)

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| was wondering if I can at least get confirmation of receipt of this message from
you. | left a voicemail attormey Mr. Helt on Friday last week. | am required to exhaust
the option of informa! discussion (conference) as required by the local rules of Judge
Perez's court.

In my very unique case (California Licensed and Califomia employed Physician)
state law preempts federal laws including bankruptcy law and limited provisions of
ERISA that apply to unfunded, “top hat* NODCP.

| expect a response from you as soon as possible, Please reply to this message to
close the loop on this informal discussion.

E will file the motion even if | don’t hear from you. It will be self-calendared according
to following information received from court.

“Yes, the filing deadline runs to 3/22/25 for you to be abie to self-calendar
the motion for the 4/22/25 date.

Thanks,

Tyler Laws, Case Manager

The Honorable Alfredo R Pérez

United States Bankruptcy Court for the Southern District of Texas
515 Rusk Street, 4th Floor

Houston, Texas 77002

(713) 250-5427"

Best Regards,
Kanwar Gill MD

IMPORTANT CONFIDENTIALITY NOTICE:

Transmission of this message does not waive doctor-patient, attorney-client, work
product, or intellectual property privileges. Title 18 U.S. Code§ 2511 prohibits
interception and disclosure of this electronic communication.

On Mar 4, 2025, at 3:35 PM, Kanwar Partap Singh Gill
<kpsgil@kpsgili.com> wrote:

Kanwar Partap Singh Gill, MD
8408 N Ann Ave

Fresno, CA 93720

Phone: (559) 447-8490

Email: kpsgill@kpsgill.com

March 4", 2025

Debtors* Counsel

McDermott, Will, & Emery LLP
444 West Lake Street

Chicago, IL 60606-0029

Phone: (312) 372-2000

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Fax: (312) 984-7700
bitps:/Avww.mwe.com!

Your Client: Wellpath Holdings, Inc. Case # 24-90533 (Jurisdiction Texas
- Southern District)

Re: Request for Removal of NQDCP Deferred Compensation from the
Bankruptcy Estate and Notification to the Court

Dear Counsel:

1 write as Kanwar Partap Singh Gill, MD, a physician employed by California
Forensic Medical Group, Inc. (“CFMG”), to demand that Wellpath Holdings,
Inc. (“Weilpath” or the “Debtors”) immediately remove my deferred
compensation funds under the Wellpath Holdings, Inc. Nonqualified Deferred
Compensation Plan (“NQDCP” or “Plan”) from the bankruptcy estate and
notify the Bankruptcy Court accordingly. The purpose of this correspondence
is to set forth in detailed terms why my deferred wages — funds that were
eamed by me at CFMG and are held in custody as part of my deferred
compensation benefit — are entirely separate from the assets of Wellpath’s
Chapter 11 estate and must be released for payment by my true employer.

I, Factual Background and the Separation of Entities

A, Independent Employment Relationship

Tam employed by CFMG, a California professional corporation that provides
correctional healthcare services. CFMG is an independent, non-debtor entity
funded exclusively by contracts with correctional facilities in California. My
salary, benefits, and related deferred compensation are paid solely from
CFMG’s revenues, It is critical to emphasize that at no point have my
earnings or deferred funds been commingled with Wellpath’s operating funds.
Wellpath’s involvement with CFMG is limited strictly to a Management
Services Agreement (MSA) under which it provides only non-clinical
administrative support—including billing, human resoutces, and payroll
processing. As a result, the financial obligations arising from my
employment, including those associated with my deferred compensation, are
entirely the responsibility of CFMG.

B. Voluntary Deferred Compensation

My participation in the NQDCP was a voluntary election made in the context
of my employment at CFMG. | elected to defer a portion of my salary for tax
planning and long-term savings purposes. The deferred amounts, which I
understand to be an integral part of my eammed compensation, were segregated
in accounting recerds for bookkeeping purposes but were never intended to
become part of a general corporate pool available to creditors. Instead, these
funds were designated to remain with CFMG and, as such, should never have
been affected by Wellpath’s bankruptcy filing.

IL. The Corporate Practice of Medicine (“CPOM”) Doctrine and
Prohibitions on Fee-Splitting

A, Overview of CPOM and Hs Rationale

Califomia’s CPOM doctrine, codified in California Business & Professions
Code § 2400, expressly forbids non-physician entities from owning,
controlling, or interfering with the practice of medicine. The underlying
public policy is clear: to prevent commercial interests from intruding on
clinical decision-making and to ensure that the care of patients remains solely
within the domain of licensed physicians. This statutory framework was
established to eliminate any conflict between the profit motives of corporate
entities and the independent professional judgment that is the hallmark of
medical practice.

B. Prohibition on Fee-Splitting Arrangements

In conjunction with the CPOM doctrine, California law--and the strict
interpretations provided by the Medical Board of California and relevant case
law—prohibits fee-splitting and other financfal arrangements whereby a non-
physician entity derives any portion of the physician’s compensation beyond
a fixed administrative fee. In practical terms, this means that a Management
Services Organization (MSO) like Wellpath cannot, under any circumstances,
claim a share of the wages or deferred earnings generated by a physician
employed by an independent medical practice. Any attempt by Wellpath to

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assert that it has any control over or claim to my deferred compensation is’ not
only contrary to the clear language of the CPOM statute, but it also subverts
the underlying public policy that is designed to protect physician earnings
from corporate misappropriation.

C. Implications for Deferred Compensation

Because my deferred compensation is, in slbstance, a component of the
wages that I eamed at CFMG, any classification of these funds as assets of
the Wellpath bankruptcy estate is legally and factually ezroneous. The CPOM
doctrine, along with statutory bans on fee-splitting, underscores that any
deferred wages must remain with the employer—here, CFMG—and must not
‘be diverted to satisfy the debts of an unrelated corporate entity. Consequently,
my deferred compensation should be recognized as a proprietary asset of
CFMG, held in crust for my benefit, and entirely immune from the automatic
stay imposed on Wellpath’s assets in the Chapter 11 proceedings.

TIT. Analysis of the Deferred Compensation Plan Structure

A. Nature of the NODCP as an Unfunded “Top-Hat” Pian

The NQDCP is structured as an unfunded “top-hat” plan, meaning that it is
designed to provide a tax-deferred benefit to a select group of employees
without setting aside dedicated trust assets in the names of individual
participants. Under the terms of the Plan, all deferred amounts are recorded as
liabilities of the sponsoring employer(s) and are not segregated into a
separately funded account. While Wellpath, in its role as Plan administrator,
may have utilized a “rabbi trust” as a funding vehicle, the fundamental
character of the Plan remains that of an unsecured deferral arrangement. As
such, my rights under the Plan are not akin to an ownership interest in
specific assets of Wellpath; rather, they represent a contractual promise that is
secured by the independent financial health and obligations of CFMG,

B. The True Obligar:; CFMG’s Responsibility

In effect, my deferred compensation was earned as a part of my regular
wages at CFMG, and it was CFMG’s obligation to pay those wages on a

i timely basis. Wellpath’s role is limited solely to administrative processing and
does not extend to an assumption of the obligation to pay deferred
compensation. The fact that the Plan may centralize administration at
Wellpath is a matter of convenience and does not alter the fundamental
relationship between me and CFMG, Therefore, even in the context of the
bankruptcy, the funds that represent my deferred compensation should remain
the property of CEMG and be disbursed in accordance with my original
employment agreement.

IV. The Impact of Bankruptcy and the Need for Relief

A, Inoppropriateness of the Automatic Stay

Since Wellpath’s Chapter 11 filing, my deferred compensation has been
frozen under the automatic stay. However, because the funds in question
belong solely to me and are held as part of my deferred compensation benefit
at a non-debtor entity, their retention in the bankruptcy estate serves no valid
purpose, Bankruptcy law, particularly under 11 U.S.C. §.541(d), makes clear
that property held in trust for another party—where the debtor holds merely
legal title—should not be considered part of the bankruptcy estate. In this
case, CFMG’s obligation to pay my deferred compensation exists
independently of Wellpath’s financial restructuring and should be preserved.

B, Unjust Enrichment and Precedent Concerns

Retaining my deferred compensation in the estate would not only result in
unjust enrichment for Wellpath’s creditors but would also set a dangerous
precedent. Such an outcome would effectively allow a non-debtor entity to
benefit from funds that rightfully belong to a physician, undermining the
protections afforded by both the CPOM doctrine and state law regarding fee-
splitting and independent medical practice. In the long run, this
misclassification could discourage physicians from participating in deferred
compensation programs, potentially harming the quality and stability of
healthcare services provided in correctional facilities and other public-private
partnerships.

C. Practical Considerations for the Reorganization

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It is important to note that releasing my deferred compensation will have no
adverse effect on the overall reorganization of Wellpath. The funds in
question were never part of the operational capital used by Weilpath to
support its creditors, as they originated solely from CFMG’s payroll.
Moreover, allowing the release of these funds is consistent with public policy,
which seeks to protect eamed wages from being diverted to satisfy corporate
liabilities that have no direct relation to the compensation obligations of a
non-debtor employer.

V. Detailed Legal and Policy Arguments Underpinning My Request

A. CPOM and Fee-Splitting: Statutory and Regulatory Foundations

Califomia’s CPOM doctrine is not merely a set of abstract guidelines but 2
statutory mandate designed to ensure that physicians retain full control over
their professional and financial affairs. The prohibition against fee-splitting
further cements the principle that no non-physician entity may derive benefit
from the earnings of a physician beyond a limited administrative fee.
Wellpath’s claim that my deferred compensation is part of its bankruptcy
estate runs directly counter to these well-established legal principles. In
essence, allowing Wellpath to assert any right to my deferred wages would
contravene both the letter and spirit of California law, which explicitly
requires that compensation arising from the practice of medicine remain
exclusively with the licensed provider and, by extension, the professional
corporation that employs that provider.

B. The Separation of Corporate Finances

The relationship between Wellpath and CFMG is characterized by a clear and
legally mandated separation of finances. CFMG’s operations, including its
payroll and deferred compensation obligations, are fimded entirely through
contracts with correctional facilities and other non-debtor revenue streams.
There is no basis in fact or law to assert that my deferred compensation
should be commingled with Wellpath’s assets or used to satisfy Wellpath’s
liabilities. This structural separation is a direct consequence of the CPOM
doctrine, which prohibits Wellpath, a non-physician entity, from exercising
any control over the practice or financial rewards of a medical professional.
Hence, my deferred compensation is properly classified as funds held in trust
by my true employer, CFMG.

C. Equitable Considerations and the Dectrine of Constructive Trust

In the event that any dispute arises regarding the classification of these funds,
equitable principles—specifically, the doctrine of constructive ttst—support
the view that my deferred compensation must remain with me. A constructive
trust is imposed to prevent unjust enrichment and to ensure that property
entrusted for a specific purpose is not misappropriated. Since my deferred
compensation was eamed as part of my employment at CMG, any atternpt
to use these funds to satisfy the claims of Wellpath’s creditors would
constitute a clear violation of equitable principles. The funds should therefore
be released from the automatic stay and restored te me, preserving the
integrity of my employment contract and the public policy underlying the
CPOM doctrine.

D. Policy Considerations and the Future of Physician Compensation

Beyond the immediate legal arguments, releasing my deferred compensation
carries significant public policy implications. If non-debtor physicians are
forced to forgo earned wages because of the improper inclusion of such funds
in a bankruptcy estate, it could deter qualified medical professionals from
engaging in innovative compensation arrangements designed to benefit both
the physicians and the healthcare-system, This would undermine the very
purpose of deferred compensation plans, which are intended to promote long-
term financial planning and stability for physicians. Maintaining strict
adherence to the CPOM doctrine and prohibitions on fee-splitting is essential
to preserving the autonomy of the medical profession and ensuring that
physicians remain insulated from corporate financial mismanagement.

VI. Conclusion and Prayer for Relief

For the reasons detailed above—-grounded in factual distinctions between
CFMG and Wellpath, the clear statutory and regulatory mandates of the
CPOM doctrine, the explicit prohibitions on fee-splitting, and the equitable
and public policy considerations—I respectfully demand that the Debtors:

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1. Immediately acknowledge that my deferred compensation funds
under the NQDCP do not belong to the Wellpath bankruptcy estate
but are the exclusive property of CFMG and, by extension, mine as 2
CFMG physician.

2. Remove my deferred compensation from the list of assets included in
the bankruptcy estate.

3. Promptly notify the Bankruptcy Court that these funds are not subject
to the automatic stay and are to be released for payment by CFMG or
any other appropriate non-debtor entity.

4. Confirm in writing that the automatic.stay does not apply to my
efforts to recover my deferred compensation.

1 trust that you will give this: matter your immediate attention. Should
Wellpath fail to take the necessary corrective actions, I will have no
alternative but to seek relief from the automatic stay through the Court in
order to protect my contractual and statutory rights.

T request a written response within ten (10) business days from the date of
this letter. Please feel free to contact me at (559) 447-8490 or via email at
kpsgill@kpsgill.cam to discuss this matter further.

Respectfully submitted,

Kanwar Partap Singh Gill, MD
Fresno County Detention Facility
Fresno, CA 93721

(559) 447-8490
kpsgiil@kpsgill.com

This message is a PRIVATE communication. This message and all attachments
are a private communication sent by a law firm and may be confidential or
protected by privilege, If you are not the intended recipient, you are hereby
notified that any disclosure,-copying, distribution or use of the information
contained in or attached to this message is strictly prohibited. Please notify the
sender of the delivery error by replying to this message, and then delete it from
your system. Our Privacy Policy explains how we may use your personal
information or data and any personal information or data provided or made
available to us. Thamk you.

Please visit htto:/Avww.mwe.com/ for more information about our Firm.

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KMPSGILL.COM Kanwar Partap Singh Gill <kpsgili@kpsgill.com>

Courtesy Notice _ Supplemental Brief Filed and Under Review
1 message :

Kanwar Gill MD <kpsgill@kpsgill.com> Fri, Apr 11, 2025 at 7:45 PM
To: Mare Goldstone <MGoldstone@welipath.us>, Felicia Periman <Fperlman@mwe.com>, "Marcus A. Heit"
<mhelt@mwe.com>, Steven Szanzer <sszanzer@mwe.com>, Carole Wurzelbacher <cwurzelbacher@mwe.com>, Grady J
Bazzel <JBazzel@zenovacare.com>, Richard Medrano <RMedrano@wellpath.us>, Scott Kennedy
<ScottKennedy@wellpath.us>, "Kerrie@MBC Webb" «Kerrie. Webb@mbc.ca.gov>, Susan Hersh <Susan.Hersh@usdoj.gov>,
Ha Nguyen <Ha.Nguyen@usdoj.gov>, lucas.schneider@stinson.com, USTPRegion07.HU.ECF @usdoj.gov,

bankruptcy mail@wellpath.us, ebarak@proskaver.com, brosen@proskauer.com, ddesatnik@proskauer.com,
Zachary.hemenway@stinson.com, letf@dir.ca.gov, DLSE2@dir.ca.gov, ueo@edd.ca.gov, Kanwar Gill <kagill@wellpath.us>

Subject: Courtesy Notice — Supplemental Brief Filed and Under Review

To:

Marc Goldstone — Chief Legal Officer, Wellpath
Felicia Perlman — McDermott Will & Emery
Marcus Helt — McDermott Will & Emery

Steven Szanzer — McDermott Will & Emery
Carole Wurzelbacher — McDermott Will & Emery
Angie Baldwin — Wellpath Employee Relations
Dr. Grady Judson Bazzel — CEO, CFMG

Dr. Richard Medrano — Secretary, CFMG

Dr. Scott Kennedy — CFO, CFMG

Kerrie Webb — Medical Board of California
U.S. Trustee — Southern District of Texas

Official Committee of Unsecured Creditors (via counsel)

From:

Dr. Kanwar P. Gill

Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533
Senior Physician — CFMG, Fresno County Adult Detention Facility

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 249

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This is to notify you that the Supplemental Brief in support of my previously filed
motions has been completed and express mailed to the U.S. Bankruptcy Court for the
Southern District of Texas, with guaranteed delivery no later than 9:00 AM Central
Time, Monday, April 14, 2025.

Due to technical limitations, I have not yet been able to scan and transmit the full brief
and its supporting materials electronically. That said, the content is consistent with, but
not limited to, the pre-filing legal notices previously provided to all counsel, parties,
and regulators. Additional disclosures, analyses, and declarations have been
incorporated where appropriate.

The document includes—but is not limited to—detailed structural observations,
employment governance anomalies, oversight mechanisms, and non-dischargeable
claim frameworks, as well as treatment pathways for certain categories of professional
services arrangements and compensation instruments. To the extent these issues
intersect with plan confirmation standards or post-confirmation oversight obligations,
they are addressed in a format tailored to the current procedural phase and framed to
preserve the legal and factual record.

It would be inappropriate at this stage to summarize the submission’s impact on
confirmation feasibility, voting mechanics, claim classifications, or stay-related relief,
though all of those areas were considered with reference to material facts now of
record. I will refrain from commenting further except to confirm that the brief does not
adopt a segmented or motion-by-motion structure, and instead presents an integrated
assessment of all plan-level and non-debtor enforcement issues raised to date.

You are advised to allocate sufficient internal and external resources for immediate
review upon filing, as time-sensitive decisions will likely follow—particularly where
jurisdictional clarity, professional licensure status, and administrative hierarchy
alignment are concerned. This will be especially important where estate asset treatment
intersects with operational governance models not fully disclosed in the Plan or
Disclosure Statement.

Given prior missed opportunities for direct resolution and internal misunderstanding of
jurisdictional triggers, I have taken the liberty of consolidating all outstanding matters
for judicial review. If any clarification is needed, the docketed version of the filing will
speak for itself.

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There will be no further advance disclosures.

Dr. Kanwar P. Gill

Pro Se Creditor — In re Wellpath Holdings, Inc.
Senior Physician — CFMG

Email: kpsgill@kpsgill.com

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privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic communication.

On Apr 10, 2025, at 9:38 PM, Kanwar Partap Singh Gill <kpsgill@kpsqgill.com> wrote:

Subject: Final Legal Notice - CPOM Violations, Misappropriated Compensation, and Plan Objection
Grounds

In re Wellpath Holdings, Inc. — Case No. 24-90533 (Bankr. S.D. Tex.)

To:

Marc Goldstone — Chief Legal Officer, Wellpath

Felicia Perlman — Counsel, McDermott Will & Emery

Marcus Helt - Counsel, McDermott Will & Emery

Steven Szanzer — Counsel, McDermott Will & Emery

Carole Wurzelbacher — McDermott Will & Emery

Angie Baldwin — Senior Employee Relations Manager, Wellpath
Dr. Grady Judson Bazzel — CEO, California Forensic Medical Group (CFMG)
Dr. Richard Medrano — Secretary, CFMG

Dr. Scott Kennedy — CFO, CFMG

Kerrie Webb — Staff Counsel, Medical Board of California
United States Trustee, Southern District of Texas

Official Committee of Unsecured Creditors (via counsel)

From: ‘
Dr. Kanwar P. Gill

Senior Physician, CFMG — Fresno County Adult Detention Facility

Pro Se Creditor — In re Wellpath Holdings, Inc., Case No, 24-90533

Dear Counsel, Officers, and Regulatory Authorities:

This message serves as formal and final pre-filing notice of legal, regulatory, and structural violations
relevant to the confirmation of the Chapter 11 Plan in the above-captioned case. The facts presented
herein will be incorporated into my April 14th supplemental filing and disseminated to state and federal
enforcement bodies. The issues are no longer speculative; they are supported by a factual and
documentary record, implicating multiple statutory and constitutional viclations across:

* California’s Corporate Practice of Medicine (CPOM) doctrine

e Business and Professions Code §§ 2400-2417

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Labor Code § 1102.5 (Whistleblower Retaliation)

* ADA and FEHA (Title 42, U.S.C. §§ 12101 et seq_; Cal. Gov. Code §§ 12900 et seq.)

« ERISA fiduciary standards and IRC § 409A

* Bankruptcy Code §§ 362(b)(4), 524(e), and 1129(a)
1. Non-Physician Control Over Physician Employment — CPOM Violations
Under People v. Cole, 38 Cal. 2d 99 (1951), and Conway v. State Bd. of Med. Exam’rs, 47 Cal. App. 2d
105 (1941), any lay control over the practice of medicine—including physician employment decisions—is
void as against public policy. Despite Wellpath’s MSO label, CFMG physician governance has been
functionally nullified by direct administrative interference.

Specifically:

¢ Angie Baldwin (Wellpath HR) is conducting disciplinary investigations into CFMG-employed
physicians without oversight by any California-licensed CFMG shareholder.

« Deanna Huff {HSA, Wellpath) has issued directives regarding physician productivity, scheduling,
and documentation priorities in violation of Cal. Bus. & Prof. Code §§ 2052, 2264, and 2400.

e Eric Krenz (DON, CFMG) has aligned with non-physician executives at Wellpath to unilaterally
reassign patient lists and direct triage workflows, violating Title 15 CCR § 1208 and § 1210.

« Linda Matlock (RDO, Wellpath) has issued clinical directives affecting physician operations despite
not holding a medical license.

These acts represent not only CPOM viclations but also potential grounds fer license revocation under In re
Basile and In re Mukerji (Medical Board of California precedent), and are reportable to the California
Attorney General for prosecution under Penal Code § 550.

I]. Deferred Compensation Misappropriation — Trust and Tax Violations

My compensation—earned through CFMG employment—was withheld and rerouted through a Non-
Qualified Deferred Compensation Plan (NQDCP) administered by Wellpath. Upon Wellpath’s bankruptcy
filing:

* My NQDCP funds were frozen and treated as property of the estate, in violation of 11 U.S.C. §
541(d).

e No legal authority existed for Wellpath to administer, seize, or condition the return of funds earned
under a non-debtor entity (CFIMG).

* This mismanagement exposes me to tax penalties under IRC § 409A and potential ERISA breaches
(see 29 U.S.C. § 1104).

This claim is non-dischargeable, non-negotiable, and must be carved out. | have formally demanded
return of funds with indemnity for all IRS and California FTB liabilities, as stated in correspondence on
record,

il. Whistleblower Retaliation and Constructive Termination Efforts

After raising legal concerns—including CPOM violations, wage theft, and administrative interference—l was:

* Investigated by Wellpath HR under Ms. Baldwin's direction with no oversight from CFMG physician-
shareholders;

* Removed from internal clinical leadership functions;
° Scheduled for meetings conflicting with patient care;

* Subject to a campaign of retaliation including pretextual efforts to terminate or sideline me,
corroborated by internal discussions noted by site staff.

These are textbook violations under Yanowitz v. L’Oreal, 36 Cal. 4th 1028 (2005) and Shephard v. Loyola
Marymount, 102 Cal. App. 4th 837 (2002). | have filed formal complaints with the Medical Board of

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California, Department of Labor, and EEOC, with additional filings to the California Department of Fair
Employment and Housing imminent.

IV. Plan Confirmation Barriers — Legal and Structural Defects
As currently proposed, the Plan:

« Relies on iiegal employment structures in California, and thus fails the § 1129(a)(3) good faith
requirement.

« Proposes non-consensual third-party releases for CFMG and individual officers, in direct violation
of § 524(e) and In re Pacific Lumber, 584 F.3d 229 (5th Cir. 2009).

* Invokes an improper extension of the automatic stay to non-debtor CFG, which the Fifth
Circuit does not permit absent clear, record-supported findings—none of which exist here.

The U.S. Supreme Court's ruling in Harrington v. Purdue Pharma, 603 U.S (2024) places additional
limitations on such non-consensual third-party releases. Wellpath cannot, through a bankruptcy plan,
discharge regulatery liability or misappropriate physician wages earned outside of the debtor entity.

V. Demand for Settlement or Carve-Out — Opportunity for Resolution

As outlined in prior communications, | remain open to settlement under the following non-negotiable
terms:

1. Immediate restoration of all deferred compensation and indemnification for all associated tax
liabilities;

. Employment protection against retaliatory termination, memorialized in a binding agreement;

. Cessation of HR investigations unless authorized by a California-licensed physician-officer;

mh WwW WN

. Structural reform ensuring CPOM compfiance through physician-governed oversight;

5. Affirmation of whistleblower protections, with standing to pursue injunctive relief if retaliated
against.

Absent agreement on these points, | will seek judicial relief and regulatory enforcement. No court can
confirm a plan that locks in an illegal, retaliatory, and structurally flawed corporate model.

Vi. Strategic Posture and Litigation Warning

If Wellpath attempts to oppose my pending motions and defends the current structure, it will be on record
affirming a CPOM-violating model, inviting enforcement from:

* Medical Board of California
e IRS and Department of Labor
« State Attorneys General and DOJ Civil Rights Division

This is not merely an employment dispute. It is a test of whether a national healthcare company may use
Chapter 11 to shield itself from state regulatory oversight, seize physician trust assets, and retaliate
against whistleblowers—all under federal court protection.

The answer, under law and policy, is no.

Conclusion

This email, and its supporting exhibits and communications, will be incorporated into my supplemental
filing, no later than April 14th 2025 unless immediate corrective action is taken. | urge Wellpath and its
counsel to act—nof only for your client's legal protection, but for the long-term sustainability of post-
confirmation operations in California and other CPOM jurisdictions.

Respectfully,
Dr. Kanwar P. Gill
Senior Physician, Fresno County Adult Detention Facility

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Email: kpsgill@kpsgill.com
Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533

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HPSGILL. COM Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

Subject: Concerns Regarding Retaliatory Actions & Increased Scrutiny - Request

for Immediate Resolution
1 message

Kanwar Gill MD <kpsgill@kpsgill.com> Fri, Mar 21, 2025 at 10:11 AM
To: Carole Wurzelbacher <cwurzelbacher@mwe.com>, "Marcus A. Helt" <mhelt@mwe.com>, Bradley Giordano
<Bgiordano@mwe.com>, Felicia Perlman <Fperiman@mwe.com>, Marcus Helt <Mhelt@mwe.com>

Carole, I appreciate your prompt responses and the willingness to discuss settlement.
However, I must express my deep concern over recent developments at my workplace
that go beyond our prior discussions about my deferred compensation claim.

Over the past two to three weeks, I have observed unprecedented scrutiny of my work
by nursing and administrative staff—individuals who, by law, do not have the authority
to supervise or direct a licensed physician’s clinical decisions. I have overheard
discussions suggesting an intent to find fault in my performance and even to terminate
my employment. Such behavior not only constitutes harassment and workplace
embarrassment but also appears designed to build a case for wrongful termination.

I want to make it clear that I am a licensed physician, and only fellow physicians may
supervise clinical practice. I am scheduled to meet with regional and local leadership
next week to address these issues directly. I take these matters extremely seriously; any
retaliatory action or wrongful termination will compel me to pursue every available
legal and regulatory remedy. This includes, but is not limited to, notifying the Medical
Board of California, the California Attorney General’s office, and the California Labor
Commissioner. I understand that the Medical Board’s burden of proof has been
modified since 2024 to “more likely than not,” and that investigations now carry
significant financial implications for the respondent. It is my firm belief that any such
investigation could result in severe penalties—including potential actions against the
licensed shareholders of CFMG—which would have far-reaching consequences on
Wellpath’s operations in California. —

I want to reiterate that my claim concerns my earned wages and property rights as a
physician employed by CFMG, not an ordinary creditor claim. While I remain open to
discussing a fair resolution for my deferred compensation, any settlement must not
force me to relinquish my claim or agree to restrictive confidentiality provisions.

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I stress, again and strongly, that any attempt to retaliate—either by increasing scrutiny,
engaging in wrongful termination, or any other adverse action—will leave me no
choice but to seek intervention from state regulatory agencies. I fully understand the
implications of Medical Board, Attorney General, and Labor Commissioner
involvement, and I am prepared to pursue those avenues if necessary.

I trust that you appreciate the gravity of these concerns. Please note that, moving
forward, I will respond solely via email regarding this matter. I will also provide a
Notice of Hearing within 24 hours of receiving the necessary court forms, as required
under the applicable federal and local rules (details are on the first two pages of my
motion).

I look forward to your prompt written response, confirming that you understand my
position and will take immediate steps to ensure that my rights are not compromised.

Sincerely,

Dr. Kanwar Partap Singh Gill
Pro Se Movant

8408 N Ann Ave

Fresno, CA 93720

Phone: (559) 447-8490
Email: kpsgill@kpsgill.com

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KPSGHLL. COM Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

Formal Request for Oversight Review — Structural and Fiduciary Irregularities in
Fifth Amended Plan of Reorganization (In re Welipath Holdings, Inc., Case No. 24-
90533)

4 message

Kanwar Gill MD <kpsgill@kpsgill.com> Sat, Apr 12, 2025 at 10:15 PM
To: Ha Nguyen <Ha.Nguyen@usdoj.gov>, Susan Hersh <susan.hersh@usdoj.gov>, Carole Wurzelbacher
<cwurzelbacher@mwe.com>, Felicia Periman <Fperlman@mwe.com>, Bradley Giordano <Bgiordano@mwe.com>, Marcus
Helt <Mhelt@mwe.cam>, "Kerrie@MBC Webb" <Kerrie. Vebb@mbc.ca.gov>, Marc Goldstone <MGoldstone@wellpath.us=,
Steven Szanzer <sszanzer@mwe.com>

Ce: Susan Hersh <Susan.Hersh@usdoj.gov>

Subject: Formal Request for Oversight Review — Structural and Fiduciary Irregularities
in Fifth Amended Plan of Reorganization (In re Wellpath Holdings, Inc., Case No. 24-
90533)

To:

Susan Rogers Her, Trial Attomey

Ha Nguyen, Trial Attorney

Office of the United States Trustee — Region 7

Southern District of Texas — Houston Division

Email: USTPRegion07.HU.ECF @usdoj.gov

From:

Dr. Kanwar Partap Singh Gill

Pro Se Creditor — In re Wellpath Holdings, Inc. (Case No. 24-90533)
Senior Staff Physician — California Forensic Medical Group

Fresno County Adult Detention Facility

Email: kpsgill@kpsgill.com

Date: April 12, 2025

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Dear Ms. Her and Ms. Nguyen,

I submit this memorandum in my capacity as a physician-creditor in the above-
referenced Chapter 11 matter, and in furtherance of the public interest functions
entrusted to your office under 28 U.S.C. § 586(a)(3) and Bankruptcy Code § 307. The
issues identified below merit prompt scrutiny and potential oversight intervention, as
they bear directly on the integrity of the plan confirmation process and the statutory
predicates of 11 U.S.C. §§ 1125 and 1129.

This correspondence arises from independent legal analysis and publicly docketed
materials, including the Fifth Amended Plan of Reorganization and associated
Disclosure Statement (Dkt. 1835). It is submitted in good faith and with full respect for
the procedural posture of the case.

I. Indicators of Regulatory Conflict Embedded in the Plan Structure

The Plan, as drafted, appears to entrench a governance model in which licensed
physicians remain under indirect control of non-physician holding companies. This
construct—while facially couched in “MSO” terminology—may operate in tension
with California’s corporate practice of medicine doctrine (Cal. Bus. & Prof. Code

§ 2400). No divestiture or professional corporation realignment has been disclosed. If
the Plan enables continued unlicensed control over medical practice, it risks post-
confirmation regulatory nullification and may render the Plan unconfirmable under

§ 1129(a)(3) as inconsistent with state law.

II. Deferred Compensation Reversion and IRC § 409A Exposure

Court-authorized termination of the Debtors’ non-qualified Deferred Compensation
Plan (NQDCP) has yielded a proposed treatment under which rabbi trust assets revert
to the estate and participants receive pro rata unsecured creditor distributions. There is
no indication of structured compliance with IRC § 409A or Treasury Reg § 1.409A-3(i)
(4), raising significant risk of adverse tax consequences to physicians and fiduciary
noncompliance. Such treatment may also offend ERISA-equivalent state wage statutes,
inviting downstream IRS or DOL review.

Il. Procedural Opt-Out Mechanics and Due Process Concerns

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The Plan’s opt-out framework for third-party releases—particularly in the context of
unrepresented incarcerated creditors—raises substantial due process concerns. Article
[X.D purports to deem silence as consent to release, notwithstanding the reality that
many affected claimants lack legal counsel, mail access, or comprehension of the
underlying documents. Under Mullane v. Central Hanover Bank, 339 U.S. 306 (1950),
notice must be “reasonably calculated” to inform. Where procedural structures convert
inaction into permanent legal forfeiture, constitutional adequacy is imperiled.

IV. Solicitation Ambiguity and Risk to Institutional Credibility

Beyond technical defects, the aggregate architecture of the Plan may be perceived as
structured opacity. Broad releases, self-referential exculpation, and undisclosed post-
confirmation ownership arrangements pose concerns under § 1125’s adequate
information standard. If solicitation was conducted on the basis of ambiguity, it may
have compromised creditor agency. The Office of the United States Trustee has
standing under § 307 to object where the process itself undermines the legitimacy of
the reorganization.

Requested Oversight Considerations:

In light of these factors, I respectfully request that the U.S. Trustee’s Office consider
the following:

° Formal inquiry into whether the current Plan construct adheres to the
confirmability requirements of §§ 1125 and 1129(a)(1)}+(3);

* Engagement with Debtors’ counsel to address whether affirmative carve-outs will
be made for: (1) whistleblower protections, (2) regulatory enforcement actions,
and (3) claims of constitutional magnitude;

e Assessment of solicitation fairness and sufficiency, particularly as it pertains to
non-consensual third-party releases and the rights of pro se, medically vulnerable,
and incarcerated creditors;

e Advisory intervention under § 307 should confirmation be pursued without
appropriate structural recalibration.

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J remain available to provide non-public documentation, statutory analyses, or
declarations upon request. My interest is not adversarial but fiduciary—ensuring that
the reorganization proceeds in a manner consonant with federal oversight obligations,
state regulatory integrity, and public confidence.

Thank you for your consideration and continued stewardship of the bankruptcy system.

With professional respect,

Dr. Kanwar Partap Singh Gill

Pro Se Creditor — In re Wellpath Holdings, Inc. (Case No. 24-90533)
Senior Staff Physician — California Forensic Medical Group

Fresno County Adult Detention Facility

Email: kpsgill@kpsgill.com

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privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic communication.

On Apr 10, 2025, at 1:09 PM, Nguyen, Ha (USTP) <Ha.Ngquyen@usdoj.gov> wrote:

Thank you Dr. Gill. | am confirming that the UST received this email.

From: Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

Sent: Thursday, April 10, 2025 2:06 PM

To: Hersh, Susan (USTP) <Susan.Hersh@usdoj.gov>; Nguyen, Ha (USTP) <Ha.Nguyen@usdoj.gov>
Subject: [EXTERNAL] In re Wellpath Holdings, Inc., et al., No. 24-90533 (Chapter 11)

Case Reference: In re Wellpath Holdings, Inc., et al., No. 24-90533 (Chapter 11)

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 260
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Subject: Request for Oversight and Intervention Regarding Conflict and Regulatory Violations - In re
Wellpath Holdings, Inc., Case No. 24-90533

To: U.S. Trustee’s Office - Southern District of Texas

Dear US Trustee.

| write in my capacity as a pro se physician-creditor in In re Wellpath Holdings, Inc., Case No. 24-90533
(Bankr. $.D, Tex.), to respectfully request that your office closely review certain structural issues that
have surfaced in connection with the Debtor’s plan, solicitation practices, and internal governance model
that implicates both bankruptcy and state law violations.

My claim arises from unpaid deferred compensation and related fiduciary breaches exceeding $375,000.
However, the broader concern now emerging involves:

1. Improper extension of the automatic stay to a non-debter entity (California Forensic Medical
Group, Inc. or CFMG), which is simultaneously being held out as independent in state regulatory
contexts while being subsumed into the Debtor’s operational structure through an aggressive
management services agreement.

2. Violations of California’s Corporate Practice of Medicine doctrine, which prohibit non-physician
control over medical employment and decision-making. The current governance model, as
reflected in the Debtor's communications and actions, raises significant concerns under state and
public contract law.

3. Retaliatory employment behavior and internal investigations being conducted by the Debtor
(Wellpath) against physicians employed by CFMG, including myself, while active litigation is
ongoing. This creates an active conflict of interest that is procedurally incompatible with the
Bankruptcy Code’s fiduciary principles and may give rise to whistleblower retaliation under both
ERISA and California Labor Code §1102.5.

4. Inclusion of trust property or misclassified deferred compensation in the estate in violation of
11 U.S.C. §541(d), which jeopardizes the integrity of the claims resolution process.

Given that these concerns intersect directly with public policy, regulatory integrity, and the fair
administration of this case, | respectfully request that your office:

» Review the Debtor’s filings and plan representations regarding CFMG’s independence versus
control;

* Consider filing a statement or limited objection to ensure the Court is fully informed on the
implications of physician-employment conflicts and state law governance restrictions;

* Scrutinize the procedural fairness of current solicitation and classification structures under Docket
Nos. 1897 and 2049, which I filed:

« Engage, if necessary, with the California Medical Board or relevant regulatory bodies to evaluate
the Debtor’s operational compliance posture.

! remain available to provide any supporting documentation, including HR-related communications,
regulatory complaints, and plan language that demonstrates the concerns outlined above.

Thank you for your time and your role in protecting the integrity of the bankruptcy process.

Sincerely,

Dr. Kanwar P, Gill

Senior Physician - Fresno County Adult Detention Facility
Email: kpsgii@kpsgill.com

Pro Se Creditor

Case No. 24-90533 (Bankr. S.D. Tex.)

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EXHIBIT 5 — Apri] 14 Supplemental Brief
Filed in Support of Dkts. 1897, 2049, 2075

Declarant: Dr. Kanwar Partap Singh Gill

Case: In re Wellpath Holdings, Inc., Case No. 24-90533 (S.D. Tex.)

Declaration Cross-Reference
Referenced in Sections: II, VI, IX

Cited in Paragraphs: If 14, 157-158

Description of Contents

This exhibit presents the April 14, 2025 Supplemental Brief, formally filed with the Court,
detailing structural Plan defects, non-consensual third-party releases, and embedded legal
violations.

Included Documents:

e -Final April 14 Supplemental Brief (PDF/Word)
° -Service confirmation emails or filing receipt

Legal Basis and Relevance
Statutes, regulations, and ethical rules implicated:

e -110U,S.C. §§ 1129(a)(1), (a) (3), 524(e)
e - Fifth Circuit case law: Zale, Pacific Lumber, Highland Capital

Authentication Status
Filed and docketed with the U.S. Bankruptcy Court for the $.D. of Texas. Preserved as part of
court record and internal legal files.

Evidentiary Purpose

Supports plan challenge, due process violations, and legal roadmap for Dkts. 1897, 2049,
2075.

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SUPPLEMENTAL MOTION FOR RELIEF FROM THE
AUTOMATIC STAY, EMERGENCY MOTION TO
STAY PLAN SOLICITATION AND VOTING, AND
MOTION TO STRIKE IMPROPER THIRD-PARTY

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Introduction and Preliminary Statement Nathan Ochsns

Dr. Kanwar Partap Singh Gill (“Movant”), a physician employed by California
forensic medical group (“CFMG”), an independent California professional medical
corporation. CFMG contracts with Wellpath (“Debtors”), a Tennessee based
managenient services organization (“MSO”). Movant submits this Supplemental
Brief in support of his (1) Motion for Relief from the Automatic Stay (the “Stay
Motion”) and (2) Emergency Motion to Stay Plan Solicitation and Voting and to
Strike Improper Third-Party Releases (the “Plan Motion”). This filing updates and
reinforces the Motions in light of recent legal developments and in anticipation of
arguments by Debtors’ counsel (McDermott Will & Emery) opposing the relief.
Movant’s aim is to preserve all judicial and regulatory rights and to present an
unassailable legal position prior to the confirmation hearing set for April 30, 2025,

in these Chapter 11 cases.
The core issues before the Court are straightforward:

° Impermissible Non-Debtor Releases: The Debtors’ proposed Plan
contains broad third-party release provisions that violate binding precedent
and fundamental bankruptcy law. In Harrington v. Purdue Pharma L.P., 144
S. Ct, 105 (2024) the U.S, Supreme Court held that the Bankruptcy Code

does not authorize non-consensual third-party releases in Chapter 11

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. plans. This landmark decision settles any doubt that a plan may not
extinguish claims against non-debtors without the affected claimants’ genuine
consent. The Fifth Circuit has long taken the same position (Jn re Pacific
Lumber Co., 584 F.3d 229 (5th Cir. 2009); In re Zale Corp., 62 F.3d 746 (5th
Cir. 1995)), prohibiting non-consensual releases of third-party liability.
Accordingly, the Plan’s third-party release provisions are unenforceable and
must be stricken as a matter of law.

. Plan Proposed by “Means Forbidden by Law” (11 U.S.C.

§ 1129(a)(3)): The Plan, as structured, would sanction ongoing violations of
law and public policy, rendering it unconfirmable for lack of good faith and
legality. Specifically, the Debtors’ business model raises red-flag compliance
issues under state corporate practice of medicine (“CPOM”) laws, which
prohibit corporations from unlawfully employing physicians or controlling
medical practice. Confirmation of a plan that perpetuates such violations
would contravene the requirement that a plan not be proposed by any means
forbidden by law. Furthermore, the Plan appears to shield insiders and
executives from accountability (through releases and otherwise) despite
credible allegations of whistleblower retaliation and potential breaches of
fiduciary duties (including under ERISA) and tax compliance failures (26
U.S.C. § 409A). Using Chapter 11 to cleanse or immunize such misconduct is
fundamentally inconsistent with the good faith requirement of § 1129(a)(3).
The Plan, in its current form, is thus unconfirmable as a matter of law and
public policy.

° Relief from Stay for Cause: Given the above, Movant seeks relief
from the automatic stay to pursue and preserve his rights and to allow
appropriate regulatory and legal processes to proceed. “Cause” exists to lift
the stay under 11 U.S.C. § 362(d)(1) because the automatic stay is being used

by the Debtors as a sword to halt Movant’s protected whistleblower activities

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and to impede enforcement of laws (such as state medical regulations and
federal benefit protections) that are not suspended by bankruptcy. The
Bankruptcy Code’s purpose is to give an honest debtor a fresh start within the
confines of law, not to act as a safe harbor for unlawful conduct or to preempt
valid police power enforcement. Allowing Movant (and relevant regulators) to
proceed will not prejudice the estate—indeed, it will ensure the
reorganization, if any, occurs on a lawful foundation—while continued
imposition of the stay gravely harms Movant and the public interest by

delaying or denying resolution of vital compliance issues.

Movant files this Supplemental Brief to assist the Court and parties by marshalling
the most pertinent legal authorities and factual context. The goal is to preempt
foreseeable opposition arguments and to demonstrate, in a professional and fact-
focused manner, why the relief sought is not only warranted but necessary to uphold
the integrity of the Chapter 11 process. Movant respectfully submits that granting
the Motions will preserve important rights and set appropriate boundaries in advance
of confirmation, thereby streamlining the issues for the April 22, 2025 hearing and

avoiding later reversals or interventions by appellate courts and regulators.
Factual and Procedural Background

1. The Chapter i] Case and Movant’s Involvement: Wellpath Holdings, Inc. and
its affiliates (“Wellpath” or “Debtors”) filed these Chapter 11 cases in late 2024
amid financial and legal distress in their healthcare operations. Wellpath does
business in medica] and behavioral health services in correctional and institutional
settings across multiple states. Dr. Kanwar Partap Singh Gill (“Dr. Gill”) is a
licensed California physician who currently serves as a senior staff physician with
California Forensic Medical Group (CFMG), a professional medical corporation, In

this role, Dr, Gill identified and formally reported systemic legal and regulatory

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violations within the Debtors’ operational model, including: the unlawful delegation
of clinical oversight to non-physicians; interference in medical decision-making; and
widespread breaches of California’s Corporate Practice of Medicine (CPOM)
doctrine, as codified in Business and Professions Code §§ 2400-2417. He raised
these concerns through internal channels, corporate leadership, and external
agencies, including the Medical Board of California. His reports alleged that
Wellpath—a management services organization without lawful physician ownership
in California—was exerting de facto control over physician employment,
disciplinary procedures, and clinical operations in direct violation of California law
and binding precedent (e.g., People v. Cole, 38 Cal. 2d 99 (1951); Conway v. State
Bd. of Med. Exam’rs, 47 Cal. App. 2d 105 (1941)).

Rather than investigate or address these concerns, the Debtors and their affiliates
engaged in escalating retaliation. This included HR investigations conducted by non-
physicians lacking California licensure or legal authority; removal from clinical
leadership responsibilities; exclusion from medical meetings; and scheduling
disruptions that interfered with patient care. These actions were part of a sustained
pattern of constructive termination. Nonetheless, Dr. Gill remains employed in his
role at the Fresno County Adult Detention Facility and has thoroughly documented
his protected activity in anticipation of regulatory and judicial proceedings. His
disclosures—concerning CPOM violations, misappropriated deferred compensation,
ERISA noncompliance, and administrative interference in patient care—are the
subject of ongoing complaints before the Medical Board of California, the U.S.
Department of Labor, and the Equal Employment Opportunity Commission. These
facts constitute clear violations of California Labor Code § 1102.5 and applicable
federal anti-retaliation laws and are central to Dr. Gill’s claims in this Chapter 11
case, as set forth in Docket Nos. 1897, 2049, and 2075.

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2. Dr. Gill’s Claims and Standing: As a result of these events, Dr. Gill holds
significant claims and rights in this case. While he remains employed by CFMG, he
has been subjected to ongoing retaliation and constructive termination efforts, giving
rise to an unsecured claim for damages related to retaliatory conduct, including
reputational harm, interference with employment conditions, and legal expenses. He
may also hold (or represent) claims based on breaches of fiduciary duty—such as
potential ERISA violations in the administration of deferred compensation—and |
statutory protections, including whistleblower and regulatory enforcement
provisions. As a physician with firsthand knowledge of ongoing legal violations, Dr.
Gill has standing as a party-in-interest to object to any Chapter 11 plan that would
perpetuate unlawful practices or release liable parties. His standing is reinforced by
the concurrent interest of the United States Trustee and state regulators in these
issues (including the U.S. Trustee’s lead role in Harrington v. Purdue Pharma). Dr.
Gill’s position as both a creditor and whistleblower uniquely qualifies him to raise

the objections asserted herein.

3. The Debtors’ Plan and Disclosure Statement: The Debtors have proposed a
Chapter 11 Plan (the “Plan”) which, according to the Disclosure Statement
conditionally approved on or about March 14, 2025, contemplates a reorganization
sponsored by the Debtors’ private-equity owners and management. The Plan, as
currently on file, contains extremely broad third-party release provisions. In
substance, it proposes to release and permanently enjoin any claims or causes of
action that third parties (such as Dr. Gill or other creditors, and potentially
governmental entities) might have against a host of non-debtor parties ~ including
the Debtors’ officers, directors, managers, investors, and affiliated entities — for any
acts or omissions occurring before the Plan’s effective date. These releases are to be
imposed on creditors regardless of whether a creditor affirmatively agrees. The

Plan’s mechanism is effectively an “opt-out” release: if a claimant does not object or

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return a form to opt out (or in some cases even if they do, per the breadth of the
injunction language), that claimant is deemed to consent to waiving all such claims.
Dr. Gill, along with certain other parties, objected strenuously to these provisions at
the disclosure stage. In response, the Debtors insisted on moving forward with

solicitation, effectively deferring the dispute to confirmation.

Additionally, the Plan does not appear to address or cure the CPOM issues
identified by Dr. Gill. The Debtors intend to continue their operations post-
confirmation in substantially the same corporate form, which would mean
continuing to employ physicians and other providers in states that prohibit such
arrangements absent specific exceptions. Nowhere do the Plan or Disclosure
Statement describe any restructuring of corporate entities or compliance measures to
resolve these known legal problems. The Plan similarly provides no dedicated
treatment or carve-out for potential liabilities under ERISA or Section 409A of the
Internal Revenue Code related to the Debtors’ executive compensation and benefit
programs. Dr, Gill is aware of, for example, certain deferred compensation, if not
timely honored or exempted, could trigger Section 409A penalties for Dr. Gill and
all similarly situated individuals. The Plan’s current treatment would effectively
cancel or indefinitely delay some of these payouts, an outcome that carries

significant tax consequences.

Finally, context is critical: internal communications (attached as part of Exhibit 2)
demonstrate that prior to bankruptcy, Dr. Gill and others internally raised alarms
about compliance problems — including formal reports to human resources and
management about the CPOM concerns and possibly unsafe or unethical practices.
Rather than act on these reports, the Debtors’ leadership (some of whom remain in
control during the Chapter 11) sought to suppress them. This pattern of behavior sets
the backdrop for Dr. Gill’s Motions. It shows that the Debtors entered bankruptcy

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with the intent to use the process to silence whistleblowers and shield insiders, rather

than to transparently address the company’s issues.

4. The Pending Motions: In light of the above, Dr. Gill filed the two Motions now

before the Court:

° The Stay Motion (Dkt. 1897) seeks relief from the automatic stay to
allow Dr. Gill to take actions that should not be stayed i and n the first place
or that constitute “cause” for lifting the stay. This includes permitting Dr. Gill
to (a) continue to pursue any pending whistleblower or retaliation litigation
against the Debtors (to liquidate his claim or obtain injunctive remedies), (b)
make necessary reports to regulatory and licensing authorities regarding
Debtors’ ongoing CPOM violations or other public safety concerns, and (c) if
appropriate, commence actions against individual wrongdoers (such as suits
against officers for ultra vires or willfully unlawful conduct) which the
Debtors’ Plan would otherwise improperly enjoin. The Stay Motion provided
notice of the police and regulatory powers exception under 11 U.S.C.

§ 362(b)(4), arguing that to whatever extent Dr. Gill’s efforts align with
enforcement of health and safety laws, they are outside the stay. In an
abundance of caution, however, the Stay Motion asks for an explicit order
confirming that Dr. Gill may proceed.

. The Plan Motion (Dkts. 2049 & 2075) seeks emergent relief to halt
the Plan solicitation/voting process and to strike the impermissible third-party
release provisions before votes are counted or the confirmation process
proceeds on a false premise. Dr. Gill filed this Motion because the inclusion
of unlawful releases in the Plan materials is highly prejudicial: it puts
creditors to a Hobson's choice (needing to opt out or object individually to
avoid losing rights) and creates confusion about creditors’ rights. Moreover,

moving forward with a plan that, on its face, contains provisions contrary to

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Supreme Court and Fifth Circuit law wastes estate resources and court time.
The Plan Motion thus urged the Court to pause solicitation until the offending
provisions are removed or, alternatively, to formally notify creditors that
those provisions will not be approved, thereby ensuring an informed and
lawful voting process. The Plan Motion also reiterates that the Plan as
proposed cannot be confirmed under § 1129{a)(3) due to its unlawful aspects
(releases, CPOM, etc.), and that proceeding with solicitation without curing

these defects undermines the integrity of the process.

5. Subsequent Developments: The United States Supreme Court’s decision in
Harrington v. Purdue Pharma L.P., 144 §. Ct. 105 (2024), issued in June 2024—
well before the filing of these Motions in March 2025—resoundingly confirms Dr.
Gill’s position regarding the impermissibility of non-consensual third-party releases
under the Bankruptcy Code. That decision is discussed in detail below and provides

binding authority relevant to the relief requested here.

On April 10, 2025, Dr. Gill (acting pro se) sent a comprehensive Legal Notice Email
(attached as Exhibit 1) to the Debtors, their counsel, the U.S. Trustee, and several
regulatory agencies. The notice outlined the structural and statutory violations
embedded in the proposed Plan and formally put all parties on notice of Dr. Gill’s
intent to assert and preserve these objections. Among other issues, the notice
emphasized that confirming the Plan in its current form could violate bankruptcy law
and trigger oversight or enforcement actions by agencies such as the Medical Board

of California, the U.S. Department of Labor, and the Internal Revenue Service.

With the confirmation hearing imminent (April 30, 2025), and the U.S. Trustee and
other creditors having also raised objections to the Plan’s non-debtor releases, the
issues are now fully joined, Rather than risk delay or reversal on appeal, Dr. Gill

respectfully urges the Court to grant the requested relief now: lift the stay for cause,

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strike the unlawful third-party releases, and ensure the Plan complies with governing
law before proceeding to confirmation. Doing so will conserve judicial resources

and uphold the integrity of the confirmation process.
Argument and Authorities

I. Relief from the Automatic Stay Should Be Granted for Cause to Allow

Enforcement of Important Rights and Laws

Under 11 U.S.C. § 362(d)(1), the Court “shal!” grant relief from the automatic stay
“for cause.” Cause is not rigidly defined in the Code; it is a flexible standard, left to
the Court’s discretion on the facts of each case. Here, ample cause exists to lift or
modify the stay so that Dr. Gill and pertinent regulatory authorities may proceed
with actions that are outside the proper scope of the bankruptcy stay and essential to

protect public interests.

A. The Stay Was Not Meant.to Shield Ongoing Legal Violations or Suppress
Regulatory Oversight

The automatic stay is a shield intended to protect the debtor’s estate from a chaotic
scramble by creditors for assets, thereby giving the debtor a breathing spell to
reorganize. It was never intended to be used as a sword to violate the law with
impunity. Bankruptcy does not grant a debtor a license to ignore non-bankruptcy
law. In fact, the Bankruptcy Code expressly excepts governmental police and
regulatory actions from the stay (11 U.S.C. § 362(b)(4)), recognizing that a debtor’s
operations must remain subject to the rule of law and public safety regulation even

during reorganization.

Here, the Debtors operate in a heavily regulated industry — healthcare — where

compliance with state medical licensing laws is paramount. Dr. Gill’s whistleblower

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reports (see Exhibits) include allegations that Wellpath’s corporate structure and
practices violate state CPOM doctrines. For example, California’s CPOM
prohibition “prevents corporations and other artificial entities from practicing
medicine” and from employing physicians directly to provide patient care. Many
other states have similar laws or regulations to ensure medical decisions remain in
the hands of licensed professionals, free of commercial conflicts. If Wellpath’s pre-
petition structure indeed ran afoul of such laws (a matter which Dr. Gill’s evidence
supports), then every day that it continues business-as-usual in bankruptcy is another
day of legal violation. The automatic stay should not be twisted into an injunction
that bars state authorities or whistleblowers from addressing these ongoing
violations. Cause exists to lift the stay to allow notification and involvement of the
appropriate regulators (e.g., state Medical Boards, state Attorneys General, or
Departments of Health) so that they may investigate and, if watranted, take action to
enforce their laws. To the extent regulators themselves choose to act, § 362(b)(4)
already permits it; to the extent Dr. Gill needs to assist or initiate the process by
providing information or even filing complaints, the stay should be modified to

permit that,

Likewise, any effort by the Debtors to use the Stay to stymie federal oversight must
be rejected. If there are potential ERISA violations (for instance, if the Debtors
mishandled employee health plan funds or pension contributions), the U.S.
Department of Labor could have an interest. If there are § 409A deferred
compensation implications, the IRS could be involved—notably, severe tax
consequences fall on employees if deferred compensation is not handled properly.
Under 26 U.S.C. § 409A, this includes immediate income inclusion of the deferred
amount, an additional 20% federal tax penalty, and penalties on interest for late tax
payments. In addition, the California Franchise Tax Board imposes a separate 5%

state tax penalty on nonqualified deferred compensation that violates § 409A. These

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cumulative federal and state penalties can result in substantial and unjust financial
harm to affected individuals. Dr. Gill seeks stay relief to ensure that informing and
coordinating with such agencies is allowed. The estate should not be hermetically

sealed off from lawful oversight.

‘'B. Cause Exists to Allow Whistleblower Claims and Related Litigation to

Proceed in a Competent Forum

Dr. Gill’s personal claim for whistleblower retaliation is a core element of his rights.
While liquidating that claim could occur in this Court, the nature of the claim
(involving factual issues of employment law, possibly discrimination or retaliation
statutes, and medical industry standards) may be more appropriately handled in a
specialized forum (for example, a federal district court or through an administrative
process if it implicates laws like the False Claims Act or state whistleblower
statutes). Courts often consider a variety of factors (“Curtis factors,” from In re
Curtis, 40 B.R. 795 (Bankr. D. Utah 1984), and adopted by many courts) when
deciding whether to lift the stay to allow pending litigation to continue: these
include judicial economy, whether specialized expertise is needed, whether
insurance or third parties are available to satisfy a judgment, and whether resolving

the outside litigation would aid the bankruptcy case by liquidating claims.
Here, those factors favor lifting the stay:

° Prejudice to the Estate if Stayed vs. Lifted: Keeping the stay in place
prejudices Dr. Gill severely — it delays his day in court and potentially
muzzles his claims until after plan confirmation (by which time Debtors hope
to extinguish them via releases). In contrast, allowing the litigation to proceed
would not materially prejudice the estate; if anything, it may expedite a
resolution (the claim could be liquidated to a judgment or settled, clarifying

Dr. Gill’s creditor status). The Debtors have been aware of his claims and can

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budget or insure for that contingency. There is no serious risk to

reorganization from litigating a single claimant’s lawsuit, particularly if

tailored stay relief is granted (e.g., allowing proceeding through judgment but

requiring enforcement actions to come back to this Court).

° A retaliation or whistleblower case brought by a California resident—

particularly under the California Whistleblower Protection Act, California

Labor Code §§ 1102.5 et seq,, or relevant FEHA provisions—may invoke

statutory frameworks that are distinct from those typically addressed under

the Bankruptcy Code. Additionally, federal statutes such as Title VI,

Sarbanes-Oxley, or Dodd-Frank may apply depending on the nature of the

protected activity (e.g., reporting of fraud, discrimination, or unsafe
conditions). These claims often provide for jury trial rights, statutory

damages, and non-bankruptcy remedies, and are. usually handled in state

superior courts or federal district courts with jurisdiction over civil rights

and labor matters.

. While the bankruptcy court has jurisdiction to address claims against

the estate, where a whistleblower retaliation claim involves non-bankruptcy

federal or state law, and requires factual development beyond the

bankruptcy record, cause exists to allow the matter to proceed in its natural

forum. Doing so protects due process, avoids procedural prejudice, and
ensures full and fair adjudication of rights under state public policy
protections for healthcare whistleblowers—especially where protected
activity relates to patient safety, medical licensing, or state corporate

practice of medicine (CPOM) violations.

° Overlapping Parties and Non-Debtor Interests: Dr. Gill’s allegations

likely involve not just Debtor entities but also individuals (e.g. specific
executives who retaliated, or the Debtors’ private equity owners if they

directed unlawful acts). Some of those individuals are not debtors in this

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Court. The automatic stay does not protect non-debtor third parties by default.

(Any extension of the stay or injunction to them would be an extraordinary

measure — effectively akin to the non-debtor releases that, as discussed below,

are not authorized under law except in narrow circumstances.) Thus, absent

the Plan’s attempted third-party injunction, Dr. Gill could sue those

individuals now. Judicial efficiency would counsel that all defendants (Debtor

and non-Debtor) be tried together. Continuing the stay only as to the Debtor

might result in duplicative proceedings — something that stay relief can cure

by allowing the entire case to move forward as one.

° Public Policy Favering Whistleblowers: Both Congress and the

courts have repeatedly emphasized strong public policy in favor of protecting

whistleblowers and allowing retaliation claims to be heard. In the context of a

bankruptcy, this policy translates to recognizing that silencing a

whistleblower by use of the automatic stay is an abuse of the stay’s purpose.

Dr. Gill’s role in highlighting healthcare compliance issues potentially

benefited patients and the integrity of the Debtors’ business. Courts should be

wary of any scenario in which a debtor might attempt to use the bankruptcy

stay as a tool to avoid accountability for retaliatory conduct. Granting stay

relief aligns with the broader statutory schemes that protect such employees.

(For example, Sarbanes-Oxley’s whistleblower provisions, while perhaps not

directly applicable to this private company, reflect a national policy that
whistleblowers should be able to report and, if retaliation occurs, to seek

redress swiftly.)

In sum, continuing to stay Dr. Gill’s ability to litigate his claims or pursue related

rights does not meaningfully advance the Debtors’ reorganization — it only serves to

postpone an inevitable reckoning and to give the Debtors procedural leverage to try

to eliminate those claims through a plan. That is not “breathing spell”; that is

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procedural warfare. Cause exists to lift the stay now so that Dr. Gill can proceed to

protect his interests and the public interest, while this Court retains oversight to

ensure no prejudice to the estate’s orderly administration. -

C. The Debtors’ Anticipated Objections to Stay Relief Lack Merit

Movant anticipates that the Debtors (through counsel, McDermott Will & Emery)

will oppose stay relief, perhaps arguing that Dr. Gill’s issues can or should be
addressed at confirmation or that the stay should remain in place to avoid

interference with the bankruptcy. Those arguments should be rejected:

° “Confirmation, not Stay Relief, is the Proper Stage”: Debtors may

say that Dr. Gill’s complaints about releases or plan provisions should be

dealt with at confirmation, not via a lift-stay motion. This misses the mark.

The Stay Motion is not asking the Court to decide plan confirmation now; it is

asking the Court to permit certain external processes to continue in parallel.

‘That is a distinct question. Indeed, even if the Court were to ultimately deny

confirmation (or if the Debtors withdraw the offending releases), Dr. Gill still

needs relief from stay to pursue claims that will survive or exist outside of

bankruptcy. Conversely, if the Plan were somehow confirmed with releases

intact, Dr. Gill would have lost his chance to press his rights. So, waiting until

confirmation effectively denies him any relief under § 362(d) when he is

entitled to it now,

° “Distraction and Cost to the Estate”: Debtors might argue that

allowing litigation or regulatory actions will distract management or impose

costs, harming the reorganization. The reality is, the greater distraction and

cost will come from not addressing these issues. If regulators are kept in the

dark now, they could come in post-confirmation and impose far more

draconian measures (including potentially revoking licenses or imposing

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fines) that could scuttle the reorganized company. If Dr. Gill’s claims are not
addressed now, they will result in appeals and collateral attacks later (for
example, a challenge to the confirmation order’s releases, which could
embroil the estate in protracted appellate litigation). By contrast, granting stay
relief and confronting the issues in the proper fora can reduce long-term costs.
The management is already spending estate resources to resist Dr, Gill
(through legal fees fighting these motions); those resources would be better
spent resolving his claims in earnest.

° “No Showing of Likely Success”: In some contexts, debtors argue that
a movant should show a likelihood of success on the merits of the litigation to
justify stay relief. To be clear, § 362(d)(1) does not explicitly require such a
showing — “cause” can exist for many reasons. Regardless, Dr. Gill’s
underlying claims are substantiated by documents and testimony (as will be
shown in the other forum). More importantly, the legal issues he raises
(CPOM, releases, etc.) are not speculative; they are concrete violations. The
Supreme Court’s decision in Purdue Pharma alone vindicates his stance that
third-party releases are illegal. The Court need not prejudge the entire
whistleblower case to see that there are serious questions deserving to be
tried. It suffices that Dr. Gill’s position is far from frivolous; it is meritorious
enough that multiple public authorities are interested (the U.S. Trustee’s
involvement in Purdue shows the gravity of release issues, and state
regulators have expressed concerns in similar cases of corporate medicine), In
any event, even if success were uncertain, the balancing of harms (immediate

irreparable harm to Dr. Gill vs. minimal harm to Debtors) supports lifting the
stay.

In conclusion on this point, Dr. Gill respectfully requests that the Court grant

relief from the automatic stay to the extent necessary to allow: (a) the

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commencement or continuation of any legal proceedings by Dr. Gill related to his
whistleblower retaliation claims or related causes of action against non-debtor
parties; (b) the reporting of, and cooperation with, any government or regulatory
entity in investigations of the Debtors’ conduct (including CPOM issues and any
other health/safety compliance matter); and (c) any actions by governmental units in
respect of the foregoing. By granting such relief, the Court will ensure that it is not
inadvertently sheltering wrongdoing under the umbrella of the stay and that any
reorganization will proceed in tandem with, not in contravention of, applicable law

and justice.

If. The Debtors’ Chapter 11 Plan Contains Impermissible Provisions —
Including Third-Party Releases — that Render it Unconfirmable under 11 U.S.C.
§ 1129(a)(1) and (a)(3) and Must Be Removed or Stricken

Perhaps the most urgent issue prompting this Supplemental Brief is the Debtors’
insistence on Plan provisions that are flatly inconsistent with the law. Chief among
these is the Plan’s broad non-debtor release (and related injunction) that would
force Dr. Gill and other stakeholders to relinquish claims against a host of third
parties without their affirmative consent. This section of the brief addresses why
those release provisions cannot stand (Part IJ.A) and then turns to other Plan
infirmities — specifically, violations of law such as CPOM (Part IT.B), potential
ERISA/409A problems (Part II.C), and the overall lack of good faith given the
context of whistleblower retaliation (Part II.D) — ali of which compel a conclusion
that the Plan as proposed violates § 1129(a)(3)’s mandate that a plan be proposed in
good faith and not by any means forbidden by law. In short, the Plan is
unconfirmable in its present form. Consequently, solicitation of votes on such a
Plan is improper, and the Court should require the Debtors to amend or strike the
offending provisions before moving forward. If the Debtors refuse, the only legally

correct outcome would be to deny confirmation on these grounds,

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A. The Plan’s Non-Consensual Third-Party Releases Are Prohibited by

Supreme Court and Fifth Circuit Precedent

The Plan’s release provisions seek to discharge non-debtor parties (insiders, owners,
and others) from liability for a wide array of claims, even if a creditor does not
consent. This is exactly the kind of overreach that courts at all levels have

condemned:

° Supreme Court (2024) — Harrington v. Purdue Pharma: In June
2024, the Supreme Court emphatically held that “the Bankruptcy Code does
not allow for the inclusion of non-consensual third-party releases in
chapter 11 plans.” The Court in Purdue Pharma reversed a confirmation
order that had granted releases to the Sackler family (non-debtor owners of
Purdue) as part of a settlement. It found no statutory authority in Chapter 11
for such releases outside the specific asbestos context. in § 524(g). The
Supreme Court clarified that a plan cannot “provide for the release of claims
against non-debtors without the consent of the claimants.” This decision
resolved a long-standing split among circuits. It aligned squarely with the
Fifth Circuit’s approach (more on Fifth Circuit law below) and rejected the
more lenient approach of other circuits (Second, Third, etc.). The Supreme
Court further underscored that plan proponents cannot do an “end-run” around
the Bankruptcy Code’s limits by simply labeling a discharge as a “release.” In
a particularly apt passage, the Court noted that in the Purdue plan, the
Sacklers were obtaining a benefit far beyond what the Code permits: they
“[sought] an order discharging a broad sweep of present and future claims
against them” even including fraud and willful misconduct claims, all while
not being debtors themselves and not surrendering all their assets. “Plan

proponents cannot evade [the Code’s] limitations simply by rebranding

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their discharge a ‘release,’”_{supremecourt.gov} That is precisely what. the

Debtors here attempt with their third-party release.

The Supreme Court’s ruling leaves no doubt that non-consensual releases

are not allowed. It did, however, make a point to say the decision was

“narrow” in that it does not prohibit truly consensual releases or certain forms
of settlement where creditors affirmatively agree_{supremecourt.gov}. The

Court expressly did not opine on what counts as “consent” in this context (for

example, it did not decide whether an “opt-out” mechanism can constitute

consent). This means that in situations like the present case, where the

Debtors will likely argue that silence or failure to opt-out equals consent,

there is a live legal question. But one thing is beyond dispute: any creditor

like Dr. Gill who objects to the release or opts out cannot be deemed to have

consented. For such a non-consenting creditor, a third-party release is

forbidden, full stop. And the Plan here would bind even those who object —

making it squarely a non-consensual release as to at least some creditors.

* Fifth Circuit — Longstanding Prohibition on Non-Debtor Releases:

Even before the Supreme Court spoke, the Fifth Circuit’s jurisprudence barred
what the Debtors attempt in their Plan. In In re Pacific Lumber Co., 584 F.3d
229 (5th Cir. 2009), the Fifth Circuit struck down a plan’s non-debtor release

and exculpation provisions, except as to a narrow class of estate fiduciaries.

The Court noted that, outside of the specific asbestos provision in § 524(g),

nothing in the Code permits a bankruptcy court to absolve non-debtors of

liability to third parties. It cited Bankruptcy Code § 524(e), which states that

the discharge of a debtor “does not affect the liability of any other entity

on, or the property of any other entity for, such debt.” 11 U.S.C. § 524(e).

The Fifth Circuit has repeatedly interpreted § 524(e) to mean exactly what it

says: a debtor’s bankruptcy cannot discharge the liabilities of third

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parties. As the Fifth Circuit explained in Pacific Lumber, “In a variety of
contexts, this court has held that Section 524(e) only releases the debtor,
not co-liable third parties.”. The court emphasized that the fresh start
provided to the debtor by bankruptcy law “is not intended to serve [the]
purpose” of wiping away the liabilities of others. Consequently, the Fifth
Circuit ordered that “the non-debtor releases must be struck” (except as to
the official Creditors’ Committee, which was given a limited exculpation for

its role in the case).

Even earlier, in In re Zale Corp., the Fifth Circuit warned that a bankruptcy
court cannot approve a release that effectively discharges the liability of a
non-debtor. In Za/e, an injunction was proposed to protect a settling third-
party, and the Fifth Circuit held that was beyond the bankruptcy court’s power
absent specific authorization. The court observed that “§ 524 prohibits the
discharge of debts of nondebtors” and that allowing such releases would
improperly extend bankruptcy benefits to entities who had not themselves
filed for relief.

The upshot is that within the Fifth Circuit, non-consensual third-party
releases have been generally impermissible for decades. Debtors’ counsel,
McDermott Will & Emery, is surely aware of this; yet the Plan they drafted
for Wellpath contains exactly such a release. The only arguable wiggle room
they might claim is that a creditor can opt out of the release. But an “opt-out”
scheme effectively binds everyone who doesn’t take affirmative action. Many
courts (including the Fifth Circuit in other cases) have expressed skepticism
that failing to opt out is true “consent.” After Purdue, that skepticism is even
stronger. The Supreme Court explicitly flagged the open question of whether
passive “deemed consent” via silence is valid. Given the constitutional due

process concerns and contractual nature of a release, consent should mean an

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affirmative agreement — a creditor’s express willingness to release claims in

exchange for negotiated consideration. The Debtors here did not negotiate

releases individually with Dr. Gill (or most creditors); they just inserted a

blanket release in the Plan. Dr. Gill, for his part, has not consented — he has

formally opted out and objected. Therefore, as to Dr. Gill (and others
_ Similarly situated), the Plan is unquestionably proposing a non-consens

release, which is illegal.

ual

° No Extraordinary Circumstances Exist to Justify 2 Non-Debtor

Release: Historically, even circuits that allowed some non-debtor releases did

so only in “extraordinary” cases, such as mass tort situations where the

injunction was integral to a global settlement (and even those: are now called

into doubt by Purdue). Here, there is nothing extraordinary to justify third-

party releases. This is not an asbestos case with a channeling trust authorized

by Congress. This is not a situation where, Say, a third-party is contributing an

astronomical sum in exchange for a release that is the linchpin of a victim

compensation fund (as was argued in Purdue — and even there the Supr
Court said that policy argument cannot override the statute
{supremecourt.gov}). To the contrary, here the releases seem designed
simply protect the Debtors’ shareholders, executives, and affiliated

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management companies from any accountability — essentially to launder away

potential state law fraud, breach of duty, or malpractice claims that creditors

or government agencies might have. There is no consideration to creditors

for these releases; they are one-sided gifts. They are not essential to the

reorganization — indeed, the Debtors have not articulated any scenario where,

for example, a particular insider will refuse to perform under the Plan absent a

release. Even if they had, that kind of coercion was rejected in Purdue:

the

Sacklers had said they wouldn’t contribute billions without a release, but the

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Supreme Court held that such policy leverage cannot overcome the lack of

legal authority_{supremecourt.gov}. The same logic applies: an unwilling
funder cannot force an illegal term into a plan.

Given the clear law, the conclusion is inescapable: the Court should refuse to
approve the Plan’s third-party releases. At a minimum, the Court should strike
those provisions or obtain the Debtors’ agreement to amend the Plan to remove
them. If the Debtors will not remove them, then the Plan cannot be confirmed under
11 U.S.C. § 1129(a)(1) (which requires the Plan to comply with the applicable
provisions of the Bankruptcy Code — here, the releases violate § 524(e) and the
confirmation standards) and § 1129(a)(3) (a plan proposing relief forbidden by law

is not proposed “in good faith”).

Anticipated Debtor Argument (and Rebuttal): Debtors may try to salvage the
releases by arguing: (1) they are consensual because creditors could opt out; (2) they
are fair or customary; or (3) the Court could confirm the Plan but simply not enforce
the releases as to objectors (i.e., sever the clause as to Dr. Gill but still bind others).

None of these hold water:

1. “Deemed Consent via Opt-Out” ~ Deeming consent from inaction is
highly dubious, especially post-Purdue. Many creditors might not understand
. the need to opt out (or might not even receive the solicitation package due to
outdated addresses, etc.), and treating them as if they signed a release is
arguably a violation of due process, The Supreme Court’s reservation of this
issue suggests caution: the safe approach for the Court is to require
affirmative consent (such as 2 vote and a checked box agreeing to the
release). Dr. Gill and others have not affirmatively consented — indeed, they
vehemently object ~ so as to them, the releases are non-consensual. The Plan

does not even provide a mechanism to exclude specific objectors from the

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telease; it’s an all-or-nothing proposition. Thus, it is non-consensual in design
and effect.

2. “Releases are Customary/Harmless” — While some debtors have
included boilerplate third-party releases in plans in recent years, that was a
risky practice even before Purdue and is now a largely defunct one. In the
Fifth Circuit, the custom was always constrained by Pacific Lumber:
typically, debtors here either did not include third-party releases or, if they
did, they limited them to parties who voted yes on the plan (affirmative
consent) or they provided an opt-in. The Debtors’ counsel coming from
outside jurisdictions might have been tempted to copy-paste a broader
Provision, but custom is not law. Moreover, releasing claims against non-
debtors is far from harmless — it could extinguish legitimate rights, For
instance, if Dr. Gill has a tort claim against an executive for fraudulent
inducement (hypothetically), the release would nullify it. If a patient’s family
had an independent claim against an cxecutive for a healthcare decision
(outside the bankruptcy claim against the corporate Debtor), the release might
cut that off too. Those are significant substantive rights being taken without
compensation. There is nothing equitable or benign about that.

3. “Sever or don’t enforce as to objector” ~ Debtors might fall back and
say, well, if Dr. Gill doesn’t consent, then he’s not released, but that shouldn’t
stop confirming the Plan for everyone else. But then one must ask: how is the
Pian in the best interests of creditors or fair and equitable if some get bound
and some don’t? More critically, if the Court fashions an opt-out for Dr. Gill
by judicial fiat, that is effectively re-writing the Plan’s terms on the fly. Other
creditors who maybe missed the opt-out might also deserve the same
treatment. It becomes unworkable and creates disparate outcomes. The cleaner
approach is to excise the non-debtor release provision entirely (or require the

Debtors to modify it to an opt-IN release where only those who knowingly

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and voluntarily sign on are bound). The Court has authority under § 105(a) to
strike improper provisions and under § 1127 to order modifications before

confirmation if necessary to comply with the law.

In summary, the Plan’s third-party release and injunction provisions violate the
Bankruptey Code and binding precedent. Dr. Gill requests that the Court rule,
prior to or at confirmation, that such provisions will not be approved. This relief is
sought in the Plan Motion and is necessary to avoid tainting the solicitation and
confirmation process with unlawful terms. It will also preserve the rights of Dr. Gill
and similarly situated parties to pursue claims against non-debtors after

confirmation, which, as shown, they are entitled to do.

B. The Plan Would Facilitate the Debtors’ Violation of State Corporate Practice
of Medicine (CPOM) Laws, Thus Being Proposed “By Means Forbidden By
Law” and Not in Good Faith

A bankruptcy reorganization plan cannot require participants to break the law, nor
can it legalize a debtor’s unlawful conduct. Section 1129(a)(3) explicitly conditions
confirmation on the plan being “proposed in good faith and not by any means
forbidden by law.” (Emphasis added.) This imposes a duty on the plan proponent to
ensure that implementation of the plan will not involve illegal acts. In this case, the
Debtors’ Plan fails that test because it does nothing to address — and indeed

implicitly condones — the Debtors’ ongoing CPOM violations.

To recap, “Corporate Practice of Medicine” doctrines are state laws that bar
corporations (especially non-professional corporations owned by laypersons or
private equity firms) from employing physicians or practicing medicine. The idea, as
codified for example in California, is that medical decisions should be made by
licensed professionals, not driven by corporate profit motives, and that lay

entities should not profit from providing physicians’ services except through

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statutorily authorized structures. California’s Business & Professions Code § 2400,
for instance, states that “corporations and other artificial entities shall have no
professional rights, privileges, or powers” in the practice of medicine,
effectively preventing them from employing doctors to treat patients (with only
harrow exceptions for certain clinic models or HMOs). Other states have similar
statutes or regulations, and some states’ medical boards actively enforce these rules,
Violation of CPOM can result in fines, injunctions, or loss of license for the

physicians involved.

Wellpath’s business — providing healthcare in correctional facilities — often involves
employing or contracting with doctors, nurses, and other health professionals to
deliver care inside jails, prisons, and psychiatric hospitals. If Wellpath operates in a
State with a strict CPOM doctrine (like California, Texas (which has CPOM for
certain practices), Hlinois, etc.), it typically must use a physician-owned professional
corporation or association to employ the doctors, or otherwise be structured to
comply (such as management services agreements that leave clinical control to
physicians). Dr. Gill’s contention, supported by internal documents (Exhibit 2)
and his firsthand experience, is that Wellpath was not fully compliant with
these requirements pre-petition. For example, Wellpath Holdings, Inc. (a lay
corporation) directly employed many clinical staff in certain states, and decisions
about hiring/firing medical personnel or approving treatments were made by non-
physician executives beholden to the corporate parent. These arrangements arguably
violated state law, meaning the Debtors were regularly engaging in “means

forbidden by law.”

Now, turning to the Plan: The Plan proposes to reorganize the Debtors and allow
them to continue operating the business going forward with a reduced debt load.
However, nowhere do the Debtors propose to alter the corporate form or structure of

their operations to come into CPOM compliance. One would expect, for instance, a

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plan provision that says: “On the Effective Date, the Reorganized Debtor shall
ensure that all physician services in CPOM-prohibited states are provided through
appropriately licensed physician entities, and the Debtors shall not employ
physicians in those states except through such entities.” There is no such provision.
There is not even an acknowledgment of the issue. This indicates that the Debtors
either (a) intend to keep violating those laws after emerging from bankruptcy, or (b)
have not taken the issue seriously, perhaps assuming (wrongly) that bankruptcy
shields them,

This is a critical problem under § 1129(a)(3). A plan that contemplates the
continuation of illegal conduct is a plan proposed by means forbidden by law. Courts
have refused to confirm plans on such grounds in analogous situations — for
example, plans involving marijuana-related businesses (which, though legal under
state law, violate federal law, thus flunking § 1129(a)(3)) have been denied
confirmation because the plan’s implementation required ongoing violation of the
Controlled Substances Act. By the same token, if Wellpath’s plan means it will
simply pick up where it left off, employing doctors illegally in some states, then the
plan is essentially a blueprint for continuing to break state law. The bankruptcy court
should not bless that.

The Debtors might argue that § 1 129(a)(3) refers to the proposal of the plan, not
the content (some courts have parsed “good faith” to focus on the plan process).
However, the Fifth Circuit and others have held that a plan which on its face or as a
matter of law violates non-bankruptcy law fails § 1129(a)(3). It’s not just about the
debior’s subjective intent; it’s also about what the plan is setting in motion, Here,
knowing what they know (because Dr, Gill has amply put them on notice), if the
Debtors proceed without addressing CPOM, that is a lack of good faith and a use of
forbidden means. The Debtors would effectively be asking this Court to assist them

in evading state law, which the Court should decline,

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To remedy this, the Debtors would need to amend the Plan to ensure compliance —
possibly by restructuring their provider arrangements or. including language that
voids any plan provision or release that would purport to excuse compliance with
medical practice laws. Absent such changes, confirmation must be denied, Dr. Gill
has no desire to sce the Debtors fail to reorganize; indeed, as a physician who cares
about patient care continuity, he would prefer the Debtors succeed legally, But a
legal reorganization must involve coming into compliance, not sweeping issues

under the rug.

It is also worth noting that this Court’s confirmation of a plan that ignores CPOM
could inadvertently entangle the Court in those violations. For instance, if post-
confirmation an issue arises, the Debtors might try to argue that the confirmation
order (a federal court order) somehow preempts or protects them from state
enforcement (they might assert concepts like conflict preemption). That would put
this Court’s order at odds with state law, raising federalism concerns. Far better to

avoid that by ensuring the plan itself is lawful and respects state law.

In summary on this point: The Plan in its current form cannot be confirmed
because it is inconsistent with fundamental state health care laws. The Court
should insist that the Debtors either cure this issue or face denial of confirmation
under § 1129(a)(3). Good faith in Chapter 11 inherently requires that the reorganized
business will be operated within the bounds of the law, especially where a concerned
party has brought the violation to light. Dr. Gil! stands ready to provide detailed
evidence of the CPOM issues at a hearing (including, if necessary, testimony and
documents showing how physicians were controlled or influenced by the corporate
parent). But even on a prima facie basis, the Debtors’ silence on this topic speaks

volumes: one cannot propose a plan in good faith while ignoring a known illegality.

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C. The Plan Fails to Adequately Address Potential ERISA and Section A09A
Liabilities, Exposing Participants to Penalties and the Estate to Continuing

Fiduciary Breach Claims

Another respect in which the Plan appears to be proposed by “means forbidden by
law” and in bad faith is its treatment (or lack of treatment) of the Debtors’
obligations under ERISA (Employee Retirement Income Security Act) and IRC
§ 409A relating to deferred compensation. These are highly technical areas, but the
bottom line is simple: the Debtors cannot use the Plan to wash away duties to

employees that federal law says cannot be washed away,

ERISA Issues: If the Debtors have any qualified retirement plans (e.g., a 401(k)
plan) or health plans, ERISA imposes fiduciary duties on the plan administrators and
sponsors. While.claims for monetary benefits under such plans can be handled in a
bankruptcy (they’d be claims against the estate, possibly priority if they are wage-
related contributions), what bankruptcy cannot do is allow a plan fiduciary to be
absolved of liability for breaching their duties in managing the plan’s assets. For
instance, if an officer of the Debtors misused employee 401(k) contributions, that
officer can’t get a release from ERISA liability via a plan. ERISA § 410(a) explicitly
states that any provision purporting to relieve a fiduciary of liability is void as
against public policy. Yet the Plan’s third-party release potentially covers “any
claim” including breach of fiduciary duty. This means confirmation of the Plan

could conflict with ERISA’s anti-exculpation rule.

Furthermore, the Plan contemplates reorganizing and continuing operations. If there
were any underfunded pension or benefits issues, the reorganized Debtor must
comply going forward. ERISA and the IRS impose excise taxes and penalties for
failure to make required contributions to retirement plans. The Plan should provide
for cure of any delinquent contributions (to avoid 26 U.S.C. § 4971, taxes or DOL

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enforcement). Dr. Gill is concerned that some physicians (including himself) had
nonqualified deferred compensation agreements that also implicate ERISA (some
severance or top-hat plans are subject to ERISA’s vesting and funding rules, albeit
more loosely), If those are simply wiped out, the individuals may claim breach of
contract (which becomes a claim in bankruptcy), but also potentially breach of
fiduciary duty if those plans were maintained improperly. The Plan provides no
clarity on this, which suggests the Debtors did not fully account for those
obligations. Ignoring them could mean post-confirmation lawsuits or regulatory

actions ~ again indicating a lack of comprehensive good faith planning.

409A Issues: Section 409A of the Internal Revenue Code governs nonqualified
deferred compensation (generally, compensation that an employee earns in one year
but that is payable in a future year). It imposes strict timing rules on when elections
are made and when payments can be paid. If a payment that was promised at a
certain time is delayed beyond a short grace period, or if it is eliminated, the
employee faces harsh tax consequences. Specifically, the deferred amount becomes
immediately taxable as ordinary income, an additional 20% federal tax penalty
is imposed under 26 U.S.C. § 409A, and interest accrues at a premium rate on the
underpaid taxes. Moreover, for California residents, the Franchise Tax Board
‘imposes an additional 5% state tax penalty on the deferred compensation, further
compounding the financial harm. These consequences are not discretionary—they
are automatically triggered by a violation and result in significant, multi-layered tax

liabilities even though the employee has not received the promised compensation.
Dr. Gill’s.

In a bankruptcy context, section 409A often comes into play if a company has
deferred salary or bonuses it cannot pay. The IRS does recognize a “going concern”

exception that allows delaying a payment if paying it would jeopardize the

company’s going concernproskauer.com (which often applies in bankruptcy), but

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that rule requires that the payment be made as soon as it no longer jeopardizes the
business (i.e., effectively, by the time the company is healthy post-reorg). If the Plan
simply cancels the obligation or never pays it even when able, then a 409A violation

occurs.

Dr. Gill’s personal situation illustrates the serious legal and tax implications caused
by the Debtors’ failure to account for lawful deferred compensation obligations. Dr.
Gill is employed by California Forensic Medical Group, Inc. (CFMG), an
independent physician-owned professional medical corporation based in California
and not a debtor in these proceedings. CFMG contracts with Wellpath Holdings, Inc.
and/or its subsidiaries through a Management Services Agreement (MSA), pursuant
to which Wellpath—acting as a Management Services Organization (MSO)—
provides only non-clinical administrative support. Under California law, such MSOs
are strictly limited to non-clinical functions (e.g., billing, HR, IT, office
management) and are expressly prohibited from influencing clinical decision-
making, hiring or firing medical personnel based on clinical performance,
determining treatment plans, or controlling patient medical records. These
restrictions are codified to enforce the Corporate Practice of Medicine (CPOM)
doctrine, ensuring that only licensed physicians within the PMC control medical

judgment and patient care.

Dr. Gill’s claim involves unpaid nonqualified deferred compensation that was
lawfully deducted from his regular earned Salary pursuant to an executed
compensation deferral. arrangement. The funds were not a severance, bonus, or
employer-contributed amount, but represented his own earned income—deferred for
legitimate planning purposes. The bankruptcy filing halted these scheduled
payments. Under Section 409A of the Internal Revenue Code, if such deferred
amounts are not paid within the statutory window—generally by the end of the tax

year in which the employer becomes able to pay, or within 2.5 months thereafter—

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they become immediately taxable as income, regardless of whether any funds are
actually received by the employee. This also triggers a mandatory 20% additional
federal tax penalty, interest on late taxes, and for California residents like Dr. Gill, a
further 5% penalty assessed by the California Franchise Tax Board, In short, Dr. Gill
may be penalized with tens of thousands of dollars in taxes and penalties on
compensation he never received—creating a disastrous and inequitable financial
outcome. The Plan, as currently drafted, fails to address or remedy this issue and
appeats to treat Dr. Gill’s deferred salary as a general unsecured claim subject to
partial or zero recovery. Other physicians and executives with similar deferred
compensation arrangements may face identical consequences unless corrective

action is taken.

Why is this a confirmation issue? Because proposing a plan that causes these
outcomes could be considered not in good faith. The Debtors know or should know
about their compensation arrangements. To cavalierly cancel them without
addressing 409A is to flout tax law and harm individuals beyond normal bankruptcy
consequences. A good faith plan proponent would, at minimum, disclose this and
possibly structure settlements to mitigate it (for example, paying those deferred
amounts upon emergence, or negotiating releases of claims in exchange for
something of value that offsets the tax). Doing nothing suggests the Debtors either
overlooked it or didn’t care because they assume people like Dr. Gill won’t have the

clout to object effectively.

Moreover, if any of the released parties in the Plan are fiduciaries or persons
who participated in making or breaking these compensation promises, releasing
them might itself violate law. The IRS could still pursue the employer or
responsible persons for withholding tax issues etc., but releasing them from creditor

claims might cut off employees’ ability to seek recompense.

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In sum, the Plan’s failure to address these employee compensation compliance
matters is another facet of it being “by means forbidden by law.” It is not that the
Plan document explicitly says “we violate 409A”; it’s that the result of confirmation
would be to ratify actions that trigger those legal penalties. The Court should insist
on clarity and compliance. Possibly, the Debtors could resolve this by carving out
from the releases any liability related to ERISA/409A breaches and by providing in
the Plan that any deferred comp will either be paid or not be deemed discharged
such that affected individuals can pursue the reorganized debtor for it when it’s able
to pay (consistent with 409A’s timing rules). Without such modifications, the Plan

as is runs afoul of federal tax law policies.

D. The Circumstances of Whistleblower Retaliation and Concealment of
Misconduct Indicate the Plan Was Not Proposed in Good Faith (11 U.S.C.

§ 1129(a)G3))

Good faith in proposing a plan generally means the plan is intended to achieve a
result consistent with the objectives and purposes of the Bankruptcy Code — which
are to rehabilitate the debtor while fairly treating creditors, not to be a vehicle for
fraud or illegitimate ends. When the architects of a plan have a personal stake in
using the plan to shield themselves from wrongdoing or to silence dissent, that calls

into question the plan’s good faith.

Here, Dr. Gill’s experience strongly suggests that one of the driving motives behind
the Debtors’ plan is to prevent exposure of, and accountability for, misconduct
by current or former insiders. Dr. Gill was a whistleblower — he internally
reported issues (CPOM problems, possibly patient care concerns, maybe financial
improprieties — details can be provided under seal if needed, as some involve patient
information). Instead of addressing these, the Debtors’ top management (who are

now shepherding this Chapter 11) retaliated against him, terminating his

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employment. When the Debtors later filed bankruptcy, they sought to cut off his
pending legal claims and, through this Plan, permanently bar him from ever suing
the people who wronged him. At the same time, they have not corrected the
underlying issues he raised (e.g., CPOM compliance), indicating the bankruptcy
process is being used as a cover — to discharge debts and also to wipe the slate clean

on their questionable practices without actually correcting them.

This pattern can be viewed as a lack of good faith in the bankruptcy sense. Chapter
f1 is intended as a shield for honest but unfortunate debtors ~ it is not intended as a
haven for wrongdoers to escape the consequences of their non-bankruptcy wrongs.
Courts have dismissed Chapter 1] cases or denied plan confirmation where the
debtor’s primary goal was to dodge a single big lawsuit or where there was evidence
of “new debtor syndrome” (creating an entity to dump liabilities), While this case is
a bit different (Wellpath is an ongoing business that truly was in financial distress),
the intent behind the plan is relevant. If the evidence shows (as Dr. Gill asserts) that
significant energy in plan negotiations was devoted to ensuring management and
owners get releases and protection, even more than to maximizing creditor
recoveries, that is a telltale sign of misplaced priorities — indicative of a plan
proposed not so/ely for reorganization but additionally for personal protection of

insiders.

The inclusion of such broad releases that extend to claims of “willful misconduct” or
“gross negligence” (the Plan’s definition likely attempts to carve out actual fraud
from release, but often not clearly) is evidence of that intent. Contrast: a prototypical
good-faith plan might include a limited exculpation covering estate fiduciaries for
acts in the bankruptcy (to encourage participation), but wouldn’t release pre-petition

malfeasance of management.

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Additionally, Dr. Gill’s internal communications and emails (Exhibit 2)
demonstrate that there were concerns raised up the chiain that were suppressed. For
example, an email from Dr. Gill to the then-Chief Clinical Officer outlines specific
regulatory violations and warns of consequences. The lack of any action on those
shows a mindset of sweeping problems under the rug. Now, that same management
team comes to this Court and effectively asks for trust and leniency in confirming a
plan that would insulate them. The Court is entitled to weigh this history when
evaluating § 1129(a)(3). Good faith is a fact-intensive standard. Here, the facts smell

of self-dealing and an attempt to subvert the fairness of the process.

To be clear, Dr. Gill is not making a personal attack for the sake. of it; he is
highlighting that from a structural perspective, the Plan is designed to benefit a
select few at the potential expense of law compliance and creditor rights. That is
inconsistent with the Code’s purpose of equitable distribution and fresh start for the
debtor (not a liability shield for non-debtors).

In a recent example of judicial skepticism: the confirmation of a plan for a company
called Highland Capital Management (in the Fifth Circuit) was affirmed except for
an overbroad exculpation clause that protected non-debtor insiders, which the Fifth
Circuit struck down in 2022, noting it went beyond what was necessary or
permissible. The courts are on guard against abuses of third-party protections. Dr.

Gill urges this Court to exercise similar vigilance.
E. Remedy: Denial of Confirmation or Required Modification
Given the multiple issues above, the Court has essentially two choices:

(1) Deny confirmation of the Plan if it remains unmodified, because it fails to meet
§ 1129(@)(1) (compliance with Code) and § 1129(a)(3) (good faith and legality). This

would be the outcome if Debtors insist on pressing forward without change. Such

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denial would preserve everyone’s rights — the Debtors could go back to the drawing
board and propose a lawful plan (or convert the case to Chapter 7 if reorganization
fails), and Dr. Gill (and others) would not have improperly lost any rights in the

interim,

(2) Condition confirmation on specific modifications to cure these defects. The

Court could, for example, state that it will confirm only if:

. All third-party release and injunction provisions (except perhaps a
narrow exculpation for estate fiduciaries for post-petition acts) are removed.
Creditors who voted for the Plan can separately execute releases if they
choose, but non-consenting parties will not be bound.

° The Plan or Confirmation Order is amended to explicitly require the
Reorganized Debtor to comply with all applicable healthcare laws (including
CPOM restrictions) and not to utilize the confirmation order as 2 defense
against enforcement of those laws. Possibly require the Debtors to file, within
a certain time, a compliance report or plan for restructuring their doctor
staffing arrangements in each state.

° The releases are narrowed to exclude any claims related to ERISA plan
fiduciary breaches or 409A violations, and to clarify that nothing in the Plan
discharges any liability that by law cannot be discharged (e.g., any
governmental fines or penalties that are non-dischargeable under § 523 if this
were Chapter 7, because although corporate debtors don’t get a discharge per
se, the plan’s injunction shouldn’t bar government from enforcing police
powers).

° Provide that any deferred compensation or similar obligations to
employees that were delayed due to the bankruptcy will be paid as soon as the
Reorganized Debtor is able to do so without jeopardizing its operations,

consistent with the “going concern” exception under Section 409A of the

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Internal Revenue Code. In the alternative, the Plan must expressly preserve
the affected employees’ rights to seek appropriate relief if the Debtors fail to
pay such amounts when able. This provision is necessary to avoid subjecting
employees to severe adverse tax consequences—including immediate federal
income inclusion, an additional 20% federal tax penalty under 26 U.S.C.

§ 409A, accrued interest on unpaid taxes, and potential penalties imposed by
State taxing authorities such as the California Franchise Tax Board—arising
solely from the Debtors’ failure to timely fulfill deferred compensation
obligations.

© Remove any language that could be construed as retaliation against Dr.
Gill or others (for instance, if the Plan had any gag order or non-
disparagement clause buried in it — we did not see one, but just to cover

bases).

If the Debtors accept such conditions, the plan can potentially be salvaged in a
lawful form, If they resist, that itself speaks to priorities (why would a Debtor push
so hard for releases unless to protect individuals? If they truly believe releases are
unimportant or just a bonus, they should be willing to drop them to save the

reorganization).
Iil. Preservation of Rights and Reservation of Regulatory Powers

Finally, although not a separate argument: for relief, Dr. Gill wishes to underscore
the importance of preserving certain rights no matter what happens with the Plan.
The U.S. Trustee and other regulators should note that Dr. Gill, through this filing
and his prior actions, has done everything in his power to preserve judicial and
regulatory rights. He has put the Debtors and all parties on notice of the issues.
Should, for any reason, the Court disagree with Dr. Gill and confirm the Plan as is,

Dr. Gill hereby preserves his right to appeal that confirmation order on the grounds

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stated above (and any other grounds raised in his pleadings). Likewise, if somehow
the releases were approved, Dr. Gill intends to contest their enforceability in any
appropriate forum (consistent with the narrow path the Supreme Court left for such

issues, possibly arguing lack of consent or due process).

Additionally, nothing in the Plan or confirmation order should be construed to bar
government agencies from taking action. The Court should, in fact, explicitly
provide in the order that no provision of the Plan or confirmation order shall impair
or enjoin a governmental entity from enforcing its police or regulatory powers (this
is a common carve-out). This would ensure, for example, that if a State Medical
Board finds cause to discipline a Wellpath entity or affiliated physician for CPOM
violations, the confirmation does not stop that. Or if the Department of Labor needs

to investigate a pension issue, it can.

The best outcome, however, is for the Court to grant the Motions: lift the stay so
matters can proceed in their proper venues, and halt or reform the Plan so that only a
lawful plan goes forward, That will minimize conflict between the bankruptcy

resolution and external legal requirements.
Conclusion and Prayer

For the foregoing reasons, Dr. Gill respectfully requests that the Court grant the

relief requested in his Motions, as supplemented herein, as follows:

Relief from Stay Movant respectfully requests that the Court enter an order
modifying the automatic Stay pursuant to 11 U.S.C. § 362 to permit Dr. Kanwar
Partap Singh Gill to pursue, continue, or commence any and all claims, actions, or
proceedings—whether pending or prospective—arising out of or related to
allegations of whistleblower retaliation, discrimination, harassment, regulatory or

statutory violations, defamation, wrongful termination, breach of contract, ERISA or

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tax-related grievances, or any other monetary or equitable claims for which he may

have standing or a legal interest.

Such relief shall expressly include, but not be limited to: (i) the continuation or
initiation of any lawsuit or administrative action against non-debtor entities and
individuals, including but not limited to California Forensic Medical Group, Inc.
(CFMG) and other affiliates or co-liable parties; (ii) the continuation of any pending
litigation or claims (including any proceeding titled Gill v. Wellpath or its
equivalent); and (iii) the provision of testimony, evidence, or reports to
governmental, licensing, or regulatory authorities regarding the pre- and post-

petition conduct of the Debtors, their subsidiaries, agents, or affiliated entities.

To the extent necessary, Movant further seeks limited stay relief to permit the
nominal inclusion of the Debtors in any such proceedings solely for the purpose of
preserving claims or asserting liability against non-debtor parties, without
enforcement of any judgment or recovery against the Debtors except as authorized

by this Court.

Movant further requests that such relief be effective immediately, with a waiver of
the 14-day stay under Bankruptcy Rule 4001(a)(3), due to the time-sensitive nature

of the claims and the irreparable harm that may result from continued delay.

1. Stay of Plan Solicitation/Confirmation Proceedings (as needed) &
Striking of Third-Party Releases: Issue an order (a) declaring that the third-
party release and injunction provisions of the Debtors’ Plan are not
permissible and will not be approved by the Court; (b) directing the Debtors
to amend the Plan and solicitation materials to remove or modify those
provisions consistent with the law (or deeming them stricken); and (c) if
necessary, staying or extending any plan voting deadline or delaying the

confirmation hearing briefly to allow re-solicitation or corrective notices to

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creditors informing them that non-debtor releases will not be imposed without
their affirmative consent. If votes have already been solicited and cast, the
order should clarify that no creditor will be deemed to have consented to
releasing non-debtors unless they have explicitly opted in to such release after
full disclosure.

2. Denial of Confirmation if Not Remedied: To the extent the
confirmation hearing proceeds on April 30, 2025, Dr. Gill asks the Court to
deny confirmation of the Plan unless and until the Debtors demonstrate full
compliance with all applicable provisions of the Bankruptcy Code and other
law as outlined above. Specifically, confirmation should be denied if the Plan
retains non-consensual third-party releases, or if it fails to address the CPOM
compliance issues, or if it still purports to absolve parties from liability in
violation of laws like ERISA or tax Jaws. In short, the Plan in its current form
should not be confirmed under § 1129. Only a modified, lawful plan is
confirmable.

3. Reservation of Rights: The Court’s order should acknowledge that Dr.
Gill (and other parties in interest) have preserved their rights to object to
confirmation and to appeal or seek stay of any confirmation order that
overrules their objections. Additionally, the order should preserve the rights
of regulatory authorities as noted,

4, Further Relief: Grant such other and further relief as may be just and
proper. This could include, for example, ordering the Debtors to provide
additional information or reports concerning their compliance plans, or
scheduling a status conference post-confirmation to monitor the issues raised

(if the case proceeds to effective date).

Dr. Gill appreciates the Court’s consideration of these serious matters. He

approaches this Court with respect for the bankruptcy process and with the intent to

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improve, not derail, the outcome. By addressing these issues head-on and in
accordance with the law, the Court will ensure that any reorganization of Wellpath
will be durable, legitimate, and free from the taint of legal error. Conversely,
ignoring these issues would only postpone an inevitable reckoning—either in the
form of appellate reversal (given the clear Supreme Court directive on releases) or in
the form of regulatory enforcement (given the CPOM and related concems). The
relief requested is aimed at avoiding such turbulence by keeping this reorganization

on the straight and narrow path of legality and fairness.

WHEREFORE, Dr. Kanwar Partap Singh Gill, Movant, prays that this Court grant
the Motion for Relief from Stay and the Emergency Motion to Stay/Strike Plan
Provisions, as supplemented, enter the orders described above, and grant Movant

such other and further relief to which he may be justly entitled.

Dated: April 11, 2025

Respectfully Berua’ Pat afl Jl Zz a

Dr. Gane Partap Singh Gill, M.D.
Pro Se Movant

8408 N Ann Ave

Fresno, CA 93720

Phone: (559) 447-8490

Email: kpsgill@kpsgill.com

Statement Regarding Pro Se Representation

Dr. Kanwar Partap Singh Gill, the Movant and a licensed physician duly practicing
in the State of California, respectfully submits this Supplemental Brief in a pro se
capacity. While not an attorney, Dr. Gill has undertaken extensive independent legal

research and analysis to represent his own interests in these proceedings. His

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First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 301

Case 24-90533 Document 2339 Filed 11 TXSB rr 04/4t25—Pacge-30s-eheec=

decision to proceed pre se is not by preference but necessity: due to conflicts of
interest, he was unable to secure legal representation from counsel admitted to
practice in the Southern District of Texas who was free of disqualifying conflicts

related to the Debtors or their affiliates.

Dr. Gill respectfully requests that the Court exercise its discretion to consider this
filing in light of his status as a non-lawyer and self-represented party, and to
afford appropriate latitude for any procedural or formatting deficiencies. He
earnestly submits that the substance of the arguments and authorities presented
herein have been prepared in good faith, grounded in law and fact, and deserve full

consideration on their merits.

EXHIBIT 1
Pre-Filing Legal Notice and Regulatory Objection (April 10, 2025)
This exhibit includes the final legal notice emailed by Dr. Kanwar Partap Singh
Gill on April 10, 2025, to the Debtors’ counsel, executive leadership, the U.S.
Trustee, Creditors’ Committee, and regulatory agencies. The notice
summarized the following key objections to the proposed Chapter 11 Plan:
+ CPOM violations in California and other states;
¢ Misappropriation of deferred compensation, triggering tax liability under
26 U.S.C. § 409A and California tax law;
« Whistleblower retaliation and constructive termination efforts;
+ Violations of 11 U.S.C. §§ 1129(a)(3), 524(e), and governing precedent
(Harrington v. Purdue Pharma).
This pre-filing notice was intended to resolve issues without litigation and is

now submitted as part of the Supplemental Brief record.

EXHIBIT 2

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First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 302

Case 24-90533 ee

Internal Records Showing CPOM Violations and Interference in Clinical
Judgment
This exhibit contains internal communications supporting Dr. Gill’s allegations
that non-physician administrators interfered in medical decision-making and
physician employment, in violation of CPOM law. It includes:
° Directives from non-physicians to clinical staff;
* HR actions against CFMG-employed physicians lacking physician
oversight;
- Interference in protected whistleblower roles and patient care
responsibilities.
These documents substantiate claims of regulatory violations and improper
control by laypersons over clinical operations.
LEXI BIT 82 zestyoon ~Disfioairru
CERTIFICATE OF CONFERENCE LeLtes
I certify that on April 10, 2025, I issued a comprehensive pre-filing legal notice

by email to:
¢ Debtors’ counsel (McDermott Will & Emery);
¢ Executive officers of the Debtors and CFMG;
¢ The U.S. Trustee;
¢ The Official Committee of Unsecured Creditors; and
« State and federal regulators.
The subject line was:
"Final Legal Notice -CPOM Violations, Misappropriated Compensation, and

Plag Obj ection Grounds — Wellpath Holdings, Inc. ~ Case No. 24-90533 (Bankr.
S.D. Tex.)"

This notice detailed:
*» CPOM violations;

¢ Deferred compensation misappropriation and resulting tax liabilities;

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First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 303

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+ Whistleblower retaliation; and
¢ Structural flaws in the Plan, including illegal third-party releases.
It also proposed settlement terms including restoration of compensation,

whistleblower protections, and structural compliance. No resolution was

reached prior to filing. These issues are now before the Court for resolution at

the April 22, 2025 hearing.
I declare under penalty of perjury that the above is true and correct.
Executed on: April 11, 2025

Location: Fresno, California

Respectfully we Lc tye
Santen avg
/s/ Dr. Kanwar Partap er Gill .
Dr. Kanwar P. 8. Gill crctl. oe
Pro Se Movant and Creditor "
8408 N. Ann Ave
Fresno, CA 93720
Phone: (559) 447-8490

Email: kpsgill@kpsgill.com

‘CERTIFICATE OF SERVICE

I hereby certify that on April 11, 2025, I served a true and correct copy of the:

Supplemental Brief in Support of
(1) Motion for Relief from Automatic Stay (Dkt. 1897),

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Case 24-90533 Document 2339 FitedTi1 TXSB ur 64fAt125-—Page 36eto Seam =a:

(2) Emergency Motion to Stay Plan Solicitation and Voting (Dkt. 2049), and
(3) Motion to Strike Improper Third-Party Releases (Dkt. 2075),

together with all accompanying Exhibits, via First-Class U.S. Mail and/or

Electronic Mail (where available), to the following parties:

Debtors’ Counsel — McDermott Will & Emery LLP

« Marcus Alan Helt, Esq.
2501 North Harwood Street, Suite 1900
Dallas, TX 75201
Email: mhelt@mwe.com

« Carolee W. Wurzelbacher, Esq.

444 West Lake Street, Suite 4000
Chicago, IL 60606
Email: cwurzelbacher@mwe.com
* Darren Azman, Esq.
One Vanderbilt Avenue
New York, NY 10017
Email: dazman@mwe.com
« Felicia Perlman, Esq.; Steven Szanzer, Esq.; Bradley Giordano, Esq.

(Same office addresses as above)

Official Committee of Unsecured Creditors — Stinson LLP

* Zachary Hemenway, Esq.
1201 Walnut Street, Suite 2900

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Kansas City, MO 64106
Email: zachary.hemenway@stinson.com
* Nicholas Zluticky, Esq.
Email: nicholas.zluticky@stinson.com
¢ Lucas Lyle Schneider, Esq.
1144 Fifteenth Street, Suite 2400
Denver, CO 80202

Email: lucas.schneider@stinson.com

Office of the United States Trustee (Region 7, SDTX)

* Susan Rogers Her, Trial Attorney
° Ha Nguyen, Trial Attorney
515 Rusk Street, Suite 3516
Houston, TX 77002
Email: USTPRegion07.HU.ECF @usdoj .20V

Wellpath Holdings, Inc. — Executive Team (Debtor)

¢ Ben Slocum, Chief Executive Officer

+ Marc Goldstone, Chief Legal Officer

¢ Dr. Dheeraj Taranath, D.O., Interim Chief Clinical Officer
3340 Perimeter Hill Drive
Nashville, TN 37211
Email: bankruptcymail@wellpath.us

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First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized)

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California Forensic Medical Group, Inc. (CFMG) — Non-Debtor Affiliate

e Grady J. Bazzel, Chief Executive Officer
+ Scott Kennedy, Chief Financial Officer
e Richard J. Medrano, Secretary

Primary Address:
3340 Perimeter Hil] Drive
Nashville, TN 37211

California Office:
1325 J Street, Suite 1550
Sacramento, CA 95814

Regulatory Authorities

¢ Medical Board of California ~ Enforcement Division
2005 Evergreen Street, Suite 1200
Sacramento, CA 95815
+ California Attorney General Rob Bonta
Health Quality Enforcement Section
1300 I Street
Sacramento, CA 95814
¢ California Labor Commissioner — Lilia Garcia-Brower
Department of Industrial Relations
1315 Clay Street, Suite 801
Oakland, CA 94612
Email: LCOServiceRequests@dir.ca.gov

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First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 18th, 2025 (Notarized)

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Case 24-90533 Document 2339 Filechin

« Internal Revenue Service (IRS) — Examination & Fraud Enforcement
PO Box 3801
Ogden, UT 84409
° U.S. Department of Labor
Wage and Hour Division (WHD)
Employee Benefits Security Administration (EBSA)
200 Constitution Ave., NW
Washington, DC 20210
+ U.S. Department of Justice — Executive Office for U.S. Trustees (EOUST)
441 G Street, NW, Suite 6150
Washington, DC 20530
Email: USTrustee.Program@usdoj.gov

Additional Governmental Agency Served

* Fresno County Counsel — Daniel C. Cederborg
Office of the County Counsel
2220 Tulare Street, Suite 500
Fresno, CA 93721

Email: dcederborg@fresnocountyca.gov

I certify under penalty of perjury that the foregoing is true and correct.

Executed on: April 11, 2025

Location: Fresno, California

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Respectfully submitted, .
Larnaniyy p Cte OGeg>
/s/ Dr. Kanwar Partap Singh Gill

Dr. Kanwar P. S. Gill

Pro Se Movant and Creditor
8408 N. Ann Ave

Fresno, CA 93720

Phone: (559) 447-8490
Email: kpsgill@kpsgill.com

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EXHIBIT 1

Pre-Filing Legal Notice and Regulatory Objection
Dated: April 10, 2025

This exhibit contains the final legal notice emailed by Dr. Kanwar Partap
Singh Gill on April 10, 2025, to the Debtors’ counsel, executive leadership,
the Office of the United States Trustee, the Official Committee of

Unsecured Creditors, and state and federal regulatory authorities.

The notice outlines key legal and structural objections to the proposed

Chapter 11 Plan, including:

» Corporate Practice of Medicine (CPOM) violations in California and
other states;

« Misappropriation of deferred compensation, with resulting liability
under 26 U.S.C. § 409A and California tax law;

¢ Whistleblower retaliation and constructive termination efforts;

« Plan confirmation issues under 11 U.S.C. §§ 1129(a)(3), 524(e), and

controlling precedent, including Harrington y. Purdue Pharma.

This pre-filing legal notice was intended to facilitate resolution prior to
litigation and is now submitted as part of the evidentiary record supporting the

Supplemental Brief.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 310

HPSGILL. COM Kanwar Partap Singh Gill <kpsgill@kpsgili.com>

Final Legal Notice - CPOM Violations, Misappropriated Compensation, and Plan
Objection Grounds - Wellpath Holdings, Inc, — Case No. 24-90533 (Bankr. S.D. Tex.)

1 message

Kanwar Partap Singh Gill <kpsgili@kpsgill.com> Thu, Apr 10, 2025 at 9:38 PM
To: Marc Goldstone <MGoldstone@wellpath.us>, Felicla Perlman <fperlman@mwe.cam>, "Marcus A. Helt"
<mhelt@mwe.com>, Steven Szanzer <sszanzer@mwe,com>, Carole Wurzelbacher <cwurzelbacher@mwe.com>, Grady J
Bazzel <JBazzel@zenovacare.com>, Richard Medrano <RMedrano@wellpath.us>, Scott Kennedy
<ScottKennedy@wellpath.us>, “Webb, Kerrie@MBC" “Kerrie. Webb@mbc,ca.gov>, Susan Hersh <susan.hersh@usdoj.gov>,
Ha Nguyen <ha,nguyen@usdoj.gov>, lucas.schneider@stinson.com, USTPRegion07.HU.ECF@usdoj.gov,
bankruptcymail@wellpath.us, ebarak@proskauer.com, brasen@proskauer.com, ddesatnik@proskauer.com,
Zachary.hemenway@stinson.com, letf@dir.ca.gov, “DLSE2@dir.ca.gov” <DLSE2@dir.ca.gov>, ueo@edd.ca.gov, Kanwar Gill
skagill@wellpath.us>

Subject: Final Legal Notice - CPOM Violations, Misappropriated Compensation, and Plan Objection Grounds
In re Wellpath Holdings, Inc. — Case No. 24-90533 (Bankr. S.D. Tex.)

To:

Marc Goldstone — Chief Legal Officer, Wellpath

Felicia Perlman — Counsel, McDermott Will & Emery

Marcus Helt— Counsel, McDermott Will & Emery

Steven Szanzer — Counsel, McDermott Will & Emery

Carole Wurzelbacher — McDermott Will & Emery

Angie Baldwin — Senior Employee Relations Manager, Wellpath
Dr. Grady Judson Bazzel — CEO, Califomia Forensic Medical Group (CFMG)
Dr. Richard Medrano — Secretary, CPMG

Dr. Scott Kennedy -— CFO, CFMG

Kerrie Webb — Staff Counsel, Medical Board of California
United States Trustee, Southern District of Texas

Official Committee of Unsecured Creditors (via‘counsel)

From:

Dr. Kanwar P. Gill

Senior Physician, CFMG — Fresno County Adult Detention Facility
Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533

Dear Counsel, Officers, and Regulatory Authorities:

This message serves as formal and final pre-filing notice of legal, regulatory, and structural violations relevant to the
confirmation of the Chapter 11 Plan in the above-captioned case. The facts presented herein will be incorporated into
my April 14th supplemental fillng and disseminated to state and federal enforcement bodies, The issues are no longer
speculative; they are supported by a factual and documentary record, implicating multiple statutory and constitutional
violations across:

* California's Corporate Practice of Medicine {CPOM) doctrine

* Business and Professions Code §§ 2400-2417

° Labor Code § 1102.5 (Whistleblower Retaliation}

* ADA and FEHA (Title 42, U.S.C. §§ 12101 et seq.; Cal. Gov. Code §§ 12900 et seq.)

ERISA fiduciary standards and IRC § 4094
° Bankruptcy Code §§ 362(b){4), 524(e), and 1 129(a)
I. Non-Physician Control Over Physician Employment — CPOM Vlolations

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Case 24-90533 Document 2339 Filed in-FXSB-er-04/24/25—Pege-314+-o-e62

Under People v. Cole, 38 Cal. 2d 99 (1951), and Conway v. State Bd. of Med. Exam’rs, 47 Cal. App. 2d 105 (1944),
any lay control over the practice of medicine—including physiclan employment decisions—is void as against public policy.
Despite Wellpath’s MSO label, CFMG physician governance has been functionally nullified by direct administrative
interference.

Specifically:

* Angie Baldwin (Wellpath HR) is conducting disciplinary investigations into CFMG-empioyed physicians without
oversight by any California-licansed CFMG shareholder.

* Deanna Huff (HSA, Wellpath) has issued directives Tegarding physician productivity, scheduling, and
documentation priorities in violation of Cal, Bus. & Prof. Code §§ 2052, 2264, and 2400.

» Eric Krenz (DON, CFMG) has aligned with non-physician executives at Wellpath to unilaterally reassign patient
lists and direct triage workflows, violating Title 15 CCR § 1208 and § 1210.

+ Linda Matlock (RDO, Weilpath) has issued clinical directives affecting physician operations despite not holding a
medical license.

These acts represent not only CPOM violations but also potential grounds for license revocation under In re Basile and In
re Mukerji (Medical Board of California precedent), and are reportable to the California Attomey General for prosecution
under Penal Code § 550.

Il. Deferred Compensation Misappropriation — Trust and Tax Violations

My compensation—eamed through CFMG employment—was withheld and rerouted through a Non-Qualifled
Deferred Compensation Plan (NQDCP) administered by Wellpath. Upon Wellpath's bankruptcy filing:

* My NQDCP funds were frozen and traated as property of the estate, in violation of 11 U.S.C. § 541 (d).

No legal authority existed for Wellpath to administer, seize, or condition the retum of funds earned under a non-
debtor entity (CFMG). ‘

* This mismanagement exposes me to tax penalties under IRC § 409A and potential ERISA breaches (see 29
ULS.C. § 1104).

This claim Is non-dischargeable, non-negotiable, and must be carved out. | have formally demanded return of
funds with indemnity for all IRS and California FTB liabilities, as stated in correspondence on record.

it. Whistleblower Retaliation and Constructive Termination Efforts

After raising legal foncerns—including CPOM violations, wage theft, and administrative interference—I was:
* investigated by Wellpath HR under Ms. Baldwin's direction with no oversight from CFMG physician-shareholders;
* Removed from internal clinical leadership functions;
* Scheduled for meetings conflicting with patient care;

* Subject to a campaign of retaliation inciuding pretextual efforts to terminate or sideline me, corroborated by
internal discussions noted by site staff.

These are textbook violations under Yanowitz v. L’Oreal, 36 Cal. 4th 1028 (2005) and Shephard v. Loyola Marymount,
102 Cal. App. 4th 837 (2002), i have filed formal complaints with the Medical Board of California, Department of Labor,
and EEOC, with additional filings to the California Department of Ealr Employment and Housing imminent.
IV. Plan Confirmation Barriers — Legal and Structural Defects
As currently proposed, the Plan:

* Relies on ifegal employment structures In California, and thus fails the § 1129(a)(3) good faith requirement.

* Proposes non-consensual third-party releases for CFMG and Individual officers, In direct violation of § 524(e)
and In re Pacific Lumber, 584 F.3d 229 (5th Cir, 2009),

* Invokes an Improper extension of the automatic stay to non-debtor CFMG, which the Fifth Circuit does not
permit absent clear, record-supported findings—none of which exist here.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 312

Case 24-90533 Document 23397 Fited tT TASB on O4724125-—Page-d+6-6-363

The U.S. Supreme Court's tuling in Harrington v. Purdue Pharma, 603 U.S (2024) places additional limitations on
Such non-consensua! third-party releases, Wellpath cannot, through a bankruptcy plan, discharge regulatory liability or
misappropriate physician wages eamed outside of the debtor entity.
V. Demand for Settlement or Carve-Out — Opportunity for Resolution
As outlined in prior communications, } remain open to settlement under the following non-negotiable terms:

1. Immediate restoration of all deferred compensation and indemnification for all associated tax liabilities;

2. Employment protection against retaliatory termination, memorialized in a binding agreement:

3. Cessation of HR investigations unless authorized by a California-licensed physician-officer:

4. Structural reform ensuring CPOM compliance through physician-governed oversight;

5. Affirmation of whistleblower protections, with standing to pursue injunctive relief if retaliated against.

Absent agreement on these points, | will seek judicial relief and regulatory enforcement. No court can confirm a plan
that locks in an illegal, retaliatory, and structurally flawed corporate model.

VI. Strategic Posture and Litigation Warning

If Wellpath attempts to oppose my pending motions and defends the current structure, it will be on record affirming a
CPOM-violating model, inviting enforcement from:

Medical Board of California

* IRS and Department of Labor

° State Attorneys General and DOJ Civil Rights Division
This is not merely an employment d ispute, It Is a test of whether a national healthcare company may use Chapter 11 to
shield itself from state regulatory oversight, seize physician trust assets, and retaliate against whistlebiowers—all

under federal court protection.

The answer, under law and policy, is no.

Conclusion

This email, and its supporting exhibits and communications, will be incorporated into my supplemental filing, no later
than April 14th 2025 unless Immediate corrective action is taken. | urge Wellpath and its counsel to act—not only for your
client's legal protection, but for the long-term sustainability of post-confirmation operations in California and other CPOM
jurisdictions.

Respectfully,

Dr. Kanwar P. Gill

Senior Physician, Fresno County Adult Detention Facility

Email: kpsgill@kpsgill.com

Pro Se Creditor — In re Wellpath Holdings, Inc., Case No. 24-90533

*

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 313

Case 24-90533 Document 2339 Filed in TXSB on 04/21/25 Page 316 of 353

EXHIBIT 2

Internal Records Demonstrating CPOM Violations and Clinical

Interference

This exhibit includes internal communications and operational documents
supporting Dr. Gill’s allegations that non-physician administrators exerted
_ unlawful control over physician decision-making and employment

conditions, in direct violation of California’s CPOM doctrine.
The materials illustrate:

- Administrative directives from non-licensed personnel issued to
clinical staff;

¢ HR disciplinary actions taken against CFMG-employed physicians
without physician-governed oversight;

- Disruption of protected whistleblower roles, professional autonomy,

and patient care functions.

These internal records corroborate the regulatory and structural violations
raised in the Supplemental Brief, supporting claims of improper layperson

interference in medical operations.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 314

Case 24-90533 Document2339 :Fitec in-FXSB-or- 04/24/25 Page 317 6f353-—___——_—__

KPSGILE. COM Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

Fwd: Formal Notice of Legal Conflict and Demand for CFMG-Led, Independent HR
Oversight

1 message

Kanwar Gill MD <kpsgill@kpsgill.com> Thu, Apr 10, 2025 at 8:02 AM
To: "Kerrie@MBC Webb" <Kerrie. Webb@mbc.ca.gov>
Cc: “webmaster@mbc.ca.gov" <webmaster@mbec.ca.gov>

Regarding current complaint against the following - please add to file.

Dr. Grady Judson Bazzel — California P&S License No. C 53908, Chief Executive Officer, CFMG

* Dr. Richard M. Medrano — California P&S License No. A 103477, Secretary, CFMG

» Dr. Scott Herbert Kennedy — California P&S License No. C 171808, Chief Financial Officer, CFMG

Best Regards,

Kanwar Gill MD

IMPORTANT CONFIDENTIALITY NOTICE:

Transmission of this message does not waive doctor-patient, attorney-client, work product, or intellectual property
privileges, Title 18 U.S. Code§ 2511 prohibits Interception and disclosure of this electronic communleation.

Begin forwarded message:

From: Kanwar Gill MD <kpsgill@kpsqill.com>

Date: April 9, 2025 at 9:08:15 PM PDT

To: Angie Baldwin <ARBaldwin@wellpath.us>, Marc Goldstone <MGoldstone@wellpath.us>

Gc: "Marcus A. Helt" <mhelt@mwe.com>, Felicia Perlman <Fperlman@mwe.com>, Steven Szanzer
<sszanzer@mwe.com>, Carolé Wurzelbacher <cwurzelbacher@mwe.com>, cdingman@mwe.com
Subject: Formal Notice of Legal Conflict and Demand for CFMG-Led, Independent HR Oversight

Subject: Formal Notice of Legal Conflict and Demand for CF MG-Led,
Independent HR Oversight

To: Angie Baldwin, PHR, SPHR

From: Dr. Kanwar P. Gill, Senior Physician, Fresno County Adult Detention
Facility

Case Reference: In re Wellpath Holdings, Inc. , Case No. 24-90533 (Bankr. S.D.
Tex.)

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 315

Case 24-90533 Document2339— FiettrTXASBE-or 04/24725—Page 316-6353: |

Dear Ms. Baldwin,

Tam writing to formally and comprehensively address the issues surrounding the
HR investigation currently led by Wellpath regarding my employment with
California Forensic Medical Group (CFMG). The purpose of this letter is to
ensure that you, and all relevant corporate and legal stakeholders, are placed on.
full legal notice regarding the structural, legal, and procedural conflicts now
impacting this matter.

This is not a refusal to participate in any fact-finding process. Rather, it is a
demand that any such process comply with California law, respect my status as a
CFMG-employed physician, and avoid entanglement with ongoing federal
litigation in which Wellpath is an adversarial party. .

I. California Professional Medical Corporation Rules and Non-Delegable
Oversight

Tam a salaried employee of California Forensic Medical Group (CFMG), a
California-registered professional medical corporation governed under Business
and Professions Code §§ 2400-2417. These statutes strictly prohibit delegation
of employment oversight, clinical disciplinary authority, or employment
governance over licensed physicians to non-physician entities or non-California
personnel, including out-of-state management services organizations like
Wellpath.

Any employment-related action—including disciplinary interviews, remediation,
ADA accommodations, or terminations—must be initiated, led, or ratified by a
California-licensed physician-shareholder of CFMG.

If. Ongoing Bankruptcy Litigation and Adversarial Conflict of Interest

Wellpath is currently opposing me in active bankruptcy litigation pending in the
Southern District of Texas (In re Wellpath Holdings, Inc., Case No. 24-90533).

My legal claims currently exceed $375 ,000 and they keep mounting. My relate
to:

« Misappropriated deferred compensation,
First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 316

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* ERISA violations,
¢eCPOM violations, and

+ Interference with employment and regulatory protections.

This proceeding is ongoing and contested, and Wellpath’s legal counsel has
sought to extend a stay over non-debtor CFMG while asserting that my claims
are directed solely against CFMG. These conflicting positions intensify the
appearance of bad faith and create a direct, lasting legal conflict that renders any
Wellpath-led HR investigation procedurally tainted.

II. Request for Reassignment to Independent or CFMG-Led Oversight

Accordingly, I formaily request that this matter be reassigned to:

1. A qualified third-party HR investigator with no direct or indirect employment
ties to Wellpath; or

2. An internal HR representative directly overseen by a California-licensed
physictan-officer or shareholder of CFMG, consistent with Business &
Professions Code §§ 2400 et seq.

Additionally, I respectfully request written clarification regarding the following:

* Name, license number, and authority of any California-licensed physician
currently supervising this investigation;

* Whether this HR inquiry is authorized by the CFMG board or its physician-
shareholders;

¢ Whether findings from this inquiry will be used to inform CFMG employment
decisions;

* Whether Wellpath asserts that its current involvement satisfies California’s HR
oversight standards applicable to professional medical corporations.

IV. ADA, FEHA, and Whistleblower Protections

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 317

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Iam a known ADA-covered employee with a long-standing history of medical
accommodation that has been acknowledged by the employer. My complaints
include, among other issues:

* Racial and national origin discrimination,

« Constructive retaliation,

¢ Administrative interference with medical meetings,
¢ Discriminatory scheduling changes,

¢ And unlawful handling of earned wages.

Any disciplinary inquiry without independent oversight poses serious legal risk
of:

¢ Retaliation under California Labor Code §1102.5,

¢ Disability discrimination under the ADA and FEHA,

* Violations of the California Medical Practice Act,

¢ And potential claims under ERISA and bankruptcy whistleblower statutes.

V. Supporting Legal Precedents

The following cases support the underlying legal position:

* Conway v. State_Bd. of Med. Exam’rs, 47 Cal. App. 2d 105 (1941);
» People v. Pacific Health Corp., 12 Cal. 2d 156 (1938);

People v. Cole, 38 Cal. 2d 99 (1951);

° Shephard v. Loyola Marymount Univ., 102 Cal. App. 4th 837 (2002)
(retaliation and wrongful termination);

* Yanowitz v. L’Oreal USA, Inc., 36 Cal. 4th 1028 (2005) (whistleblower
retaliation under § 1102.5).

VI. Conclusion and Reservation of Rights

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 18th, 2025 (Notarized) Page 318

Case 24-90533 Document 2338 _Frechin FXSB on 04/24/25 Page 324 6f353-——-—____—_

Given the scale of my legal claims, the adversarial nature of the relationship with
Wellpath, and the absence of lawful physician-led oversight, I must treat any
further attempt by Wellpath to conduct or advance this HR review as
procedurally invalid.

I remain fully committed to good-faith participation in a fair, lawful, and
independently conducted inquiry consistent with state and federal legal
standards. This letter serves as formal notice of the conflict, my continued legal
objections, and my reservation of all rights.

Sincerely,

Dr. Kanwar P. Gill

Senior Physician, CFMG

Fresno County Adult Detention Facility

Email: kpsgill@kpsgill.com

Sent from personal account for independence and documentation

Best Regards,

Kanwar Gill MD

IMPORTANT CONFIDENTIALITY NOTICE:

Transmission of this message does not waive doctor-patient, attorney-client, work product, or intellectual

property privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic
communication.

On Apr 9, 2025, at 11:11 AM, Kanwar Partap Singh Gil! <kpsgill@kpsgill.com> wrote:

Subject: Request to Reschedule HR Meeting Due to Active Litigation and
Oversight Requirements Under California Law

Dear Ms. Baldwin,

Thank you for your message and the ongoing communication regarding the HR/ER
meeting originally scheduled for April 15, 2025.

" As you may be aware, Iam currently an active litigant in Jn re Wellpath Holdings,
Inc., Case No. 24-90533 (Bankr. 8.D. Tex.), where I have raised substantial legal
claims involving physician compensation, corporate practice of medicine violations,
ERISA noncompliance, and improper wage deferral involving California Forensic
Medical Group (CFMG). These claims are legally and factually supported in Docket

First Declaration of Dr Kanwar Partap Singh Gil! MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 319

Case 24-90533" DOCUMEer 2339 Fited 1 TXSB or 04721725 Page 322 of 353-——______——-

Nos. [897 and 2049. The deadline for opposition filings in this matter is April 15,
2025, and I am presently preparing and finalizing legal pleadings in that context,

The amount at stake exceeds $375,000, and includes not only unpaid deferred
compensation but also tax liabilities, penalty exposure, accrued interest, and the
substantial opportunity cost associated with legal drafting, research, and case
management since March 4, 2025. These losses arise entirely from the
mishandling of my deferred compensation by CFMG, which permitted Wellpath
—its management services contractor—to assume control over funds that
constituted my earned wages and were never intended to be subject to corporate
commingling or bankruptcy risk. The reckless failure to safeguard these wages ina
separate trust or protected account—as required under ERISA principles and
Califomia compensation law—has resulted in extraordinary financial harm, It is this
harm that I am seeking to remedy through the ongoing bankruptcy proceedings.

Given this context, I must respectfully request that our HR meeting be
rescheduled until after April 22, 2025, the date of the bankruptcy court’s
scheduled hearing. This is not a refusal to engage—it is a legally necessary measure
to:

e Prevent any procedural or substantive prejudice to my pending federal
litigation;

+ Avoid crossover risks between an internal HR fact-finding process and
external judicial proceedings;

e Maintain compliance with the Americans with Disabilities Act (ADA)
and California’s Fair Employment and Housing Act (FEHA), including
protections related to workplace accommodations and clinical scheduling;

¢ Ensure that California’s Corporate Practice of Medicine (CPOM)
doctrine, as codified in Business & Professions Code §§ 2400 et seq,, is
fully respected, including with respect to physician oversight of disciplinary
or employment matters.

In light of my current role as a salaried physician employed by CFMG—a
California professional medical corporation—any employment-related investigation
involving my conduct must be directly authorized or supervised by a California-
licensed physician-officer of CFMG. I have not received such confirmation, and
as raised in prior correspondence, I respectfully request that the following be
clarified in writing:

1. Whether this investigation is being carried out under the formal
delegation or supervision of any CFMG physician-officer, such as Dr. Grady
Bazzel;

2. Whether any findings made through this process will be used to support,
justify, or inform CFMG employment actions, including discipline,
remediation, or termination;

3. Whether any emergent employment issue presently exists that cannot be
deferred until after April 22;

4. Whether Wellpath is asserting that this HR review satisfies the standards
applicable to California professional medical corporations regarding

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 320

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physician employment governance.

This request is submitted out of an abundance of caution, and with a view toward
avoiding any perception of interference, délay, or noncooperation, If a critical
matter arises before April 22 requiring urgent discussion, I remain available for
timely coordination—as long as the meeting is convened under appropriate
physician-led oversight and legal safeguards.

To reiterate, this limited postponement is necessary to avoid undue hardship, protect
procedural rights, and preserve a clean record in ongoing federal and regulatory
proceedings. I appreciate your continued professionalism, and I remain committed
to resolving all outstanding issues through lawful, cooperative, and structured
channels.

Sincerely,

Dr. Kanwar P. Gill

Senior Physician — Fresno County Adult Detention Facility

Email: kpsgill@kpsgill.com | Sent from personal account for independence and
documentation purposes

On Wed, Apr 9, 2025 at 8:39 AM Angie Baldwin <ARBaldwin@wellpath.us> wrote:
Dr. Gill,

You have raised concerns that fall under different disciplines. CFMG has
received your email alleging a number of serious matters. Compliance
will be reaching out to you to separately investigate your compliance-
related concerns. As you know, | have been tasked with conducting an
investigation of your workplace discrimination and retaliation allegations.
Wellpath is contracted to perform this function on behalf of CFMG, and |
am the designated investigator for these concerns. As it relates to the
HR/ER investigation, | ask that you refrain from including others on
communications related to this investigation, as that could adversely
impact the integrity of the investigation.

We are still scheduled to meet on the 15" to discuss issues you've raised
within the scope of this investigation. The main purpose of this initial
meeting is to gather information from you. Please direct any additional
concerns or questions about the investigation into your allegations of
workplace discrimination and retaliation solely to my attention. After we
meet, | will identify witnesses or other appropriate people to interview and
plan the next steps in the investigation. If you are aware of additional
facts or evidence relevant to your allegations, please send them to me. It
goes without saying that interference with the investigation fs not
permitted and will only serve to will slow the process down and potentially
damage the integrity of the investigation. Thank you for your
cooperation, and | hope to speak with you soon.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 321

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ANGIE BALDWIN, PHR, SPHR

Sr. Employee Relations Manager

3340 Perimeter Hill Dr., Nashville, TN 37211
PH 615-312-7272/] CELL 615-636-7045

WellpathCare.com

From: Kanwar Partap Singh Gill <kpsgill@kpsqill.com>

Sent: Tuesday, April 8, 2025 4:09 PM

To: Dheeraj Taranath <DTaranath@wellpath.us>; Angie Baldwin
<ARBaldwin@wellpath.us>

Cc: webmaster@mbc.ca.gov

Subject: [EXT] Re: Urgent Request for CFMG-Led HR Oversight:

CAUTION: This Email is from an EXTERNAL source. Do not click links or open
attachments unless you recognize the sender and know the content is
safe. Report suspicious messages to SPAN @Wellpath.us

Subject: Clarification of HR Jurisdiction and Demand for Physician-Led Oversight of CFMG
Employment Matters

* Dr. Grady Judson Bazzel — California P&S License No. C 53908, Chief Executive Officer, CFMG
* Dr. Richard M. Medrano — California P&S License No. A 103477, Secretary, CFMG

* Dr. Scott Herbert Kennedy — California P&S License No. C 17] 808, Chief Financial Officer,
CFMG

In re Wellpath Holdings, Inc., Case No. 24-90533 (Bankr. 8.D.
Tex.)

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 322

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Dear Ms. Baldwin,

Thank you for acknowledging receipt of my recent emails and for including them in your
investigative file.

Let me respectfully and unequivocally state that it is my continuing intent to
communicate with California Forensic Medical Group (CFMG) leadership and request that
any human resources investigation into my employment as a CFMG-employed physician be
conducted either:

1. By an HR representative employed and directly supervised by a California-licensed
physician within CFMG, or

2. Under the exclusive oversight of a physician-led panel consistent with the
mandates of the California Medical Practice Act and the corporate practice of
medicine (CPGM) doctrine.

[ must also ask you to clearly identify your role in this matter:

* Are you conducting this HR investigation under the direction of CFMG or Wellpath?

* Do any of CFMG’s physician-officers (such as Dr. Bazzel) formally supervise or
approve your actions?

° Will your findings be considered binding for purposes of CFMG employment
discipline, remediation, or termination?

These are critical threshald questions, particularly given your recent statement that | do
not need to include Dr. Grady Bazzel-CFMG’s CEO—in these communications. With
respect, | must request a written confirmation of that assertion, as this statement will
heed to be forwarded to the Medical Board of Califomia in connection with the active
investigation into CFMG’s HR governance structure and its compliance with California law.

As you are aware, | have made extensive disclosures concerning the misclassification of

_ my wages, interference with patient care, retaliatory administrative behavior, and race-
and national origin-based discrimination—all of which occurred under CFMG’s direct
authority. To that end, | am compelled to reiterate that these are not Wellpath matters.
These are physician employment grievances governed under California law, requiring
physicfan-led adjudication.

Your role as a Wellpath-employed HR professional may create an inherent conflict of
interest when reviewing concerns that implicate CFMG’s legal structure and California-
specific employment protections. Without a clear delegation of investigatory authority
from a CFMG physician-officer, any HR process led exclusively by you may be legally
insufficient and procedurally invalid under California Business f Professions Code §52400
et seq.

As a reminder, | previously addressed these issues in my April 3, 2025 letter to Wellpath’s
Chief Legal Officer Marc Goldstone, which was copied to Kerrie Webb, Staff Counsel for
the Medical Board of Califomia. That letter outlines how Wellpath’s HR and corporate
structure continue to violate CPOM restrictions, ERISA standards, and IRC $409A deferred
compensation laws~—ail of which are now under regulatory scrutiny.

Additionally, | have communicated the urgency of these concerns to Dr. Dheeraj Taranath
and CFMG leadership, including in my April 3 email regarding the April 71 meeting. | have
Clearly laid out the binding physician-led resolution terms that must be finalized in that
meeting to avoid external escalation. These terms include employment protections,
compensation parity, deferred compensation recovery, and full whistleblower safeguards
~all of which are grounded in California’s statutory protections for physicians and
employees.

In light of the above, please confirm the following:

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 323

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1. Whether your investigation is authorized by any of the California-licensed
physician-officers of CFMG.

2. Whether your findings will be used to support or justify any future CFMG
disciplinary actions,

3. Whether you have any direct reporting obligations to CFMG leadership.

4, Whether CFMG’s physician-shareholders have delegated their non-delegable duties
(under Califarnia law) to Wellpath’s HR.

5. Whether Wellpath is asserting that your investigation satisfies California HR
standards for professional medical corporations.

Absent affirmative and documented answers to these questions, | must regard the current
HR review process as procedurally flawed and noncompliant with state law.

For the record, ! am still fully open to an internal resolution—as emphasized in my prior
correspondence. However, if this process continues without physician oversight, or if Dr.
Bazzel is excluded from further communication, | will be obligated to report this as
further evidence of CFMG’s failure to retain legally required physician control over
employment matters.

| respectfully await your clarification and look forward to a transparent discussion that
complies with both California labor protections and our ethical duty to uphold physician
autonomy in correctional healthcare.

Best regards,

Dr. Kanwar P. Singh Gill

Senior Physician

Fresno County Adult Detention Facitity

Email: kpsgill@kpsgill.com

Sent from my personal email account for documentation and independence purposes

On Tue, Apr 8, 2025 at 12:04 PM Kanwar Partap Singh Gill <kpsgill@kpsgill.com> wrote:

Subject: Urgent Request for CFMG-Led HR Oversight: Wellpath’s Interference with
CFMG Physician Employment Matters

* Dr. Grady Judson Bazzel — California P&S License No. C 53908, Chief Executive Officer,
CFMG

* Dr. Richard M. Medrano — California P&S License No. A 103477, Secretary, CFMG

» Dr. Scott Herbert Kennedy — California P&S License No. C 171808, Chief Financial Officer,
CFMG

Dear Dr. Bazzel, Dr. Medrano, and Dr, Kennedy,

I write to you today not just as a colleague and long-standing CFMG physician, but as a
party directly affected by what | must assert is an unlawful and inappropriate
delegation of human resources oversight to Wellpath—a non-California management
services organization. This matter demands urgent attention by CFMG’s licensed
physician leadership.

As you are aware, | am employed by California Forensic Medical Group (CFMG). Yet,
all current internal HR investigations into my employment-related grievances are being
handled solely by Angie Baldwin, a human resources officer of a Management
Services Organization (WellPath) based in Tennessee. While Ms. Baldwin has been
communicative, she is not employed by CFMG and js not licensed to oversee or
adjudicate employment matters involving California-licensed physicians governed
under the Medical Practice Act and associated state labor protections.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 324

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Let me be clear: these are not Wellpath matters. These are employment-related
grievances between a physician and CFMG—a California professional medical
corporation. The decision to delegate this process to Wellpath, which is not licensed
to engage in the practice of medicine or employ physicians under California law,
amounts to a violation of the corporate practice of medicine (CPOM) doctrine,
Calffornia Business & Professions Code §§ 2400 et seq., and likely exposes CFMG to civil
and criminal liability,

Summary of Concerns Raised (HR in Nature and CFMG-Specific):

1. Race-Based Discrimination in Leadership

© | am the only brawn physician remaining in senior leadership at our site.

© Despite more than five years of dedicated service with CFMG and having
been licensed to practice medicine since 2009, | was passed over for the
Medical Director position at the juvenile facility in favor of a physician
who obtained their license in 2018. This decision raises significant
concerns, particularly given the substantial difference in clinical
experience and leadership tenure. | had formally expressed my interest
in the role and engaged in direct dialogue with the Regional Director of
Operations regarding this opportunity. However, after several discussions
and assurances, the role was ultimately awarded to someone with
markedly less experience. Based on this and several prior interactions, |
must express—in the most professional but clear terms—that | do not
have confidence in the Regional Director’s judgment or impartiality. Her
track record of unfulfilled commitments and lack of transparency
Temains one of my greatest concerns moving forward.

« The ongoing pattern of replacing physicians of color—particularly those of
South Asian descent—with less experienced individuals raises serious
concerns under the California Fair Employment and Housing Act (FEHA),
particularly regarding discriminatory practices in leadership
appointments based on beth race and national origin.

2. Constructive Termination and Retaliation

® | received credible reports that the RDO, HSA, and DON have discussed
“getting rid of me.” ‘

@ My repeated whistleblower reports (on deferred compensation,
administrative interference, and discrimination) have been met with
hostility and coercive tactics,

3. Misclassification and Mishandling of Deferred Compensation

° My CFMG-earned deferred compensation has been wrongfully absorbed
into the Wellpath bankruptcy estate.

o Wellpath HR staff (e.g., Donald White) have conflated CFMG and
Wellpath wages, which undermines legal distinctions that must be
Maintained between the two entities.

4, Clinical Interference by Nonphysicians

© | was removed from control of a weekly patient care meeting (which |
chair), which was rescheduled by non-physician staff to conflict with
high-volume patient activity.

© These decisions have compromised patient care and violated my
obligations under the Medical Practice Act.

§. Lack of CFMG-Led HR Grievance Process

© Since November 2024, | have raised concerns internally without any
action by a CFMG-based HR or physician-leader,

© The current investigation led by Wellpath HR—without CFMG physician
oversight—invalidates the entire process, particularly given the scope and
substance of the allegations.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA.93720 April 49th, 2025 (Notarized) Page 325

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My Formal Request to CFMG Shareholders

| am now formally requesting that a human resources representative employed by
CFMG—and reporting to a Californfa-licensed physician-officer of CFMG—be assigned
to aversee and adjudicate the investigation of my grievances. This includes the
alleged:

Racial discrimination;

Constructive and retaliatory conduct;

Compensation misappropriation; and

Workplace interference that affects patient care and my medical ticense.

Any continued reliance on a Wellpath investigator for this matter will be viewed as a
continued violation of CPOM and a dereliction of CFMG'’s non-delegable duties as a
professional medical corporation under California law.

Legal Exposure if Not Addressed

Should any adverse action—up to and including termination—be taken against me while
Wellpath is improperly handling what are clearly CFMG physician HR issues, | would
have no option but to assert my rights under:

California Labor Code §1102.5 (whistleblower retaliation);

« California Fair Employment and Housing Act (FEHA);

California Medical Practice Act (Business & Professions Code §§2052 et seq.);
* Federal ERISA and bankruptcy whistleblower provisions.

Such a termination, under the present circumstances and timeline of protected
activity, would appear overtly retaliatory and discriminatory on its face.

Closing

| have dedicated over five years of service to CFMG, consistently delivering exceptional
clinical outcomes, financial savings, and professional leadership. | have made every
effort to resolve these concerns internally and respectfully, It is now incumbent on you
—as CFMG’s licensed shareholders and physician leaders—to reclaim your statutory
responsibilities and immediately assign a proper, physician-governed HR process for
this matter.

Please confirm that this request is being escalated appropriately within CFMG, and
that a CFMG-based HR professional—answering to physician leadership—will be assigned
immediately to review and address my concerns.

Sincerely,

Dr. Kanwar P. Gill

Senior Physician, Fresno County Adult Detention Facitity

Sent from my personal account to preserve independence and documentation

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 Aprif 19th, 2025 (Notarized) Page 326

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KPSGILEL.COM Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

Re: Clarification on HR Oversight, HR scope and Direction for Non-Bankruptcy
Matters

1 message

Kanwar Partap Singh Gill <kpsgill@kpsgill.com> Wed, Apr 9, 2025 at 12:56 PM
To: Dheeraj Taranath <DTaranath@wellpath.us>, Angie Baldwin <ARBaldwin@wellpath.us>

Cc: Kanwar Gill <KaGill@wellpath.us>, Grady J Bazzel <JBazzel@zenovacare.com>, "Richard M. Medrano"
<RMedrano@wellpath.us>, Scott Kennedy <ScottKennedy@wellpath.us>, "webmaster@mbc.ca.gov"
<webmaster@mbc.ca.gov>, "Webb, Kerrie@MBC" <Kerris. Webb@mbc.ca.gov>

Subject: Final Direct Communication — Legal Reservation of Rights and Termination of Contact
Dear Dr. Taranath,

Thank you for your Aprii 10, 2025 correspondence. | acknowledge receipt and confirm my understanding of the positions
you have taken therein.

To summarize and clarify for the record:

= You have asserted that no offer regarding resolution of my deferred compensation claims currently exists, and that
any suggestion of a prior offer is not acknowledged.

* You have rejected my assertion that CFMG and/or Wellpath have declined a legally compliant resolution process.

* You deny the legal validity of the physician governance and CPOM-related concerns ! have raised.regarding
CFMSG's oversight obligations under California law.

» You have encouraged me to direct all inquiries to designated investigators and legal representatives and requested
that | refrain from further direct communication with you.

Please be advised that | categorically preserve all legal rights, defenses, and remedies available to me under
applicable state and federal law, Including but not limited to:

* California Business and Professions Code §§ 2400-2417, which prohibit non-physician corporate control over
the practice of medicine in California and render void any delegation of physician employment or disciplinary
authority to non-licensed, out-of-state personne!;

° Labor Code §1102.5, FEHA, and related retaliation and whistleblower protections;

° ERISA, the ADA, and applicable provisions of the Bankruptey Code, including in in re Weillpath Holdings, Inc.,
Case No. 24-90533 (Bankr. $.D. Tex.).

Furthermore, for the purpose of litigation preservation and regulatory reporting, | am formaily placing on record that all
prior communications, including text messages, emails (both business and personal accounts), voicemails, and
written correspondence between us will be retained and may ba presented to the appropriate legal or regulatory forums
as needed, This includes all interactions pertaining to compensation, govemance, administrative interference, and HR
procedural matters.

As of the date of this email, | will not be participating in any human resources investigation, disciplinary meeting,
or administrative interview that is not formally led, supervised, or expileltly authorized by a California-licensed
physictan-shareholder of CFMG, consistent with the non-delegable legal obligations imposed by California law on
professional medical corporations.

Given the procedural posture of my legal filings, and to avold even the appearance of Informal discovery or unauthorized
influence, | must now take the additional step of ceasing all direct contact with you. This message shall constitute my
final direct communication via email, phone, or text. | will be blocking your personal number from my mobile device
effective immediately, If further communication is required, it must be routed through the proper legal or regulatory
authorities or a duty authorized California-licensed CFMG officer.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 327

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This action is not personal, but rather a necessary legal safeguard in view of the active litigation involving over $375,000
in deferred wages, penalties, and related losses, and to ensure the Integrity of all proceedings leading into the April 22,
2025 bankruptcy hearing.

Thank you for your prior communication. This matter is now within the exclusive purview of counsel, investigators, and
appropriate regulatory bodies.

Sincerely,
Dr. Kanwar P. Gill
Senior Physician — Fresno County Adult Detention Facility
Email: kpsgill@kpsgill.com
’ Sent from personal account for documentation and independence purposes

On Wed, Apr 9, 2025 at 12:43 PM Dheeraj Taranath <DTaranath@wellpath.us> wrote:
Dr. Gill,

As you are aware, Wellpath is the Management Services Organization contracted to provide the full range of
administrative services to CFMG, As such, | am responding to your email below.

l am not going to debate whether any offers to resolve your deferred compensation plan claims were made. You have
confirmed that you rejected anything that even resembled an offer. We are in agreement that no offers are on the table.

[ disagree with your assertion that there has been any rejection of a “legally compliant resolution process,” whatever
that might mean. If you want to engage in a legal discussion, please engage counsel and have them contact our
lawyers, Your allegations relating to CFMG’s obligations under the Califamia Medical Practice Act are both
unsupported and baseless, and simply have no merit.

Your various allegations will be addressed by the appropriate parties. | understand you have already been in contact
with Ms. Angie Baldwin regarding the HR-related issues.

With respect to the laundry list of questions and issues in your email, you can direct them to the investigator(s) when
they contact you. | encourage you to engage counsel as you are making serious allegations that we believe are legally
inaccurate and the defamatory statements you are making may be actionable.

| ask that you stop sending repetitious emails stating your complaints and unsupported allegations. It is not a
productive use of either your time or mine.

Respectfully,

Dheeraj Taranath, DO, MBA, MS
Chief Medical Officer

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 328

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= wellpath
Ae hope and Healing:
3340 Perimeter Hill Dr., Nashville, TN 37211

M 304-376-4036
Linkedin // Facebook // Twitter

WelipathCare.com

From: Kanwar Gill <KaGill@Wellpath.us>

Sent: Tuesday, April 8, 2025 6:53 PM

To: Dheeraj Taranath <DTaranath@Wellpath.us>; Kanwar Gill MD <kpsgill@kpsgill.com>;

Kerrie. Webb@mbc.ca.gov

Cc: Grady J Bazzel <JBazzel@Zenovacare.com>; Richard M. Medrano <RMedrano@Wellpath.us>; Scott Kennedy
<ScottKennedy@Wellpath.us>; Angie Baldwin <ARBaldwin@Wellpath.us>

Subject: Clarification on HR Oversight, HR scope and Direction for Non-Bankruptcy Matters

Importance: High

Subject: Clarification on Oversight, HR Scope, and Direction for Non-Bankruptcy Issues
To; Dr, Dheeraj Taranath

cc: Ms. Angie Baldwin, Dr. Grady Bazzel

From: Dr. Kanwar Gill

Date: April 8, 2025

In Complaint/Matter Before Medical Board of California regarding:
»* Dr. Grady Judson Bazzel — California P&S License No. C 53908, Chief Executive Officer, CFMG
* Dr, Richard M. Medrano — California P&S License No. A 103477, Secretary, CFMG

* Dr. Scott Herbert Kennedy — Califomia P&S License No. C 171808, Chief Financial Officer, CFMG

Dear Dr. Taranath,

Thank you for your message. | acknowledge your update confirming that Wellpath, in its role as Management Services
Organization for CFMG, has communicated with CFMG leadership regarding the matters | raised. | also understand
that, based on your joint assessment with CFMG leadership, the previously scheduled April 11 in-person meeting has
now been unilaterally canceled by CFMG. Additionally, you've stated that any prior communications that could be
construed as settlement offers are withdrawn and that the bankruptcy proceedings will now solely govern my deferred
compensation claim, with further communication directed to McDermott Will & Emery.

For the record, | must clarify that at no point have | discussed or negotiated any dollar amount related to my deferred
compensation claim with you personally. | categorically reject any suggestion that | was ever extended a legitimate or
authorized offer through you, The only communications that resembled “offers” came from bankruptcy counsel at
McDermott Will & Emery around March 20, 2025, Those proposals were unequivocally rejected by me at the time, as
they were coercive in nature, conditioned on the withdrawal of legal filings, and accompanied by inappropriate non-
disclosure requirements. They were not offered in good faith and were inconsistent with both bankruptcy ethics and
California regulatory obligations.

More Importantly, CFMG’s uniateral cancellation of the April 11 meeting—an opportunity | explicitly requested for the
presence of a California-licensed physician-officer with authority to resolve the matter intermally—must be viewed as a
willful rejection of a legally compliant resolution process. This decision eliminates CFMG's remaining opportunity ta
resolve my claims in accordance with California law, and it reinforces the concem that the organization is continuing in
willful defiance of its tegal obligations under the California Medical Practice Act.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 329

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As | have stated previously, | may ultimately lose my motions before the U.S. Bankruptcy Court in the Southern District
of Texas. However, such an outcome does not absolve any party of its obligations under California law, nor does it
preclude regulatory or civil enforcement at the state level. A loss in bankruptcy court does not equate to legal validation
of the practices | have challenged—it simply reflects the narrow jurisdiction and procedural limits of that venue.

In light of these developments, | request immediate clarification on the following two key areas:

1. Direction for Non-Bankruptcy Matters:

While | understand that my deferred compensation claim is now being handied through the bankruptcy process, lask
for a clear directive as to how Wellpath and CFMG intend to address the other issues | have ralsed—specifically:

Employment-related grievances

Allegations of racia! discrimination

Constructive termination efforts

Interference in clinical workflows

* Misappropriation of medical decision-making authority

Please advise whether these issues are still under the purview of Wellpath HR or CFMG physician leadership, or
bankruptcy counsel. | request written clarification on the appropriate channels moving forward for each category of
concer.

2. Scope and Oversight of the HR Investigation:

1 understand Ms. Baldwin is currently reviewing relevant HR and employee relations matters. However, many of the
issues raised fall outside a traditional HR framework and directly implicate:

Violations of the California Medical Practice Act

Fee-splitting concerns under Gal. Bus. & Prof. Code § 650
improper clinical Interference by nonphysician administrators
Racial bias and discriminatory promotion practices

® Retaliatory conduct targeting a whistleblower

. . @ .

As an employee of CFMG, a physician-owned and physician-controlled California medical corporation, any HR review
touching on clinical governance, compensation, or disciplinary action must Include oversight by a Callfornlaticensed
physician-officer. Please confirm whether such oversight will be provided, and whether HR findings involving clinical
decision-making will be subject to co-review and formal ratification by a CFMG shareholder physician.

For the record, | reaffirm the following points:

» | have maintained an unblemished clinical record over the past 5.5 years, consistantly improving outcomes and
reducing costs.

* [have formally reported wage misclassification, improper deferred compensation handling, and administrative
interference to multiple regulatory bodies,

* | have filed a pending complaint with the Medical Board of Califomia regarding fallures by three CFMG
shareholder physicians to protect physician autonomy.

© | had called for an April 1 internal resolution meeting, which was a final opportunity to address these matters
lawfully. That meeting has now been unilaterally canceled by CFMG.

Outstanding Clarification Requests:
| respectfully request your timely response to the following:

2 Will Ms. Baldwin's HR review include the racial discrimination, retaliation, and clinical interference allegations |
have outlined?

* Will CFMG assign a California-licensed physician-officer with decision-making authority to co-lead or oversee
HR matters affecting licensed medical practice?

* What internal pathway remains for resolution of non-bankruptcy issues, including clinical interference and
professional governance?

* Do you require any further documentation from me at this stage?

» Will the delayed APAP procurement for patient #0059555—an incident emblematic of Improper administrative
obstruction—be Incorporated inte the ongoing review?

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 330
Case 24-9059S—Bocunent 23839—_Fredim TXSB on 04/21/25 Page 333 of 353

Thank you again for your attention. | remain committed to pursuing a Jawful and good faith resolution wherever possible
and look forward to receiving your response and clarification on next steps.

Respectfully,

Dr. Kanwar Gill

Senior Physician, Fresno County Adult Detention Facility
1225 M Street, Fresno, CA 93721

Office: (559) 600-9365 | Email: KaGill@wellpath.us

IMPORTANT CONFIDENTIALITY NOTICE:

Transmission of this message does not waive doctor-patient, attorney-client, work product, or intellectual property
privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic communication.

- From: Dheeraj Taranath <DTaranath@Wellpath.us>
Sent: Tuesday, April 8, 2025 2:54 PM
To: Kanwar Gill MD <kpsgill @kpsgill.com>; Kanwar Gill <KaGill@Wellpath.us>
Cc: Grady J Bazzel <JBazzel@Zenovacare.com>; Richard M. Medrano <RMedrano@Wellpath.us>; Scott Kennedy
<ScottKennedy@Wellpath.us>
Subject: Resolution response

Dr. Gill,

As you are aware, Wellpath is the Management Services Organization contracted to provide the full range of
administrative services to CFMG. As such, we have reviewed the matters you have raised with CFMG leadership, and
we continue to communicate with you with their knowledge and approval.

As previously noted, Cindy and ! were planning to come out to California to meet with you in a good faith attempt to
resolve the disagraement regarding your claim for deferred compensation. In light of the numerous false stataments in
your correspondence, we have recommended to CFMG leadership, and they have agreed that a meeting would not be
productive: therefore, please be advised that the meeting is now canceled. To the extent that any prior correspondence
could be interpreted as an offer to resolve your claim, any such offer is withdrawn.

The bankruptcy proceedings will determine the results of your claim. Our counsel has advised us that your arguments

are legally invalid and they believe they will be summarily rejected by the court. Please direct all future

correspondence regarding the matter to the court or to our lawyers with McDermott, Will & Emery; you may contact
David Genender (dgenender@mwe.com).

Regards,

Dheeraj Taranath, DO, MBA, MS

Chief Medical Officer
First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 331

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vad i.» s = 99 ; = * 2 ph
a Wellpath
To. hope and healing.
3340 Perimeter Hill Dr., Nashville, TN 37211
Mi 304-376-4036
Linkedln // Facebook // Twitter

WellpathCare.com

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 332

B-or-04/21/25 Page 335 of 353

KPSGHLE. COR Kanwar Partap Singh Gill <kpsgill@kpsgill.com>

Updated Submission Re: Drs. Bazzel (C 53908), Medrano (A 103477), Kennedy (C
171808) — Request for Vertical Enforcement

1 message

Kanwar Gill MD <kpsgili@kpsgill.com> Sat, Apr 5, 2025 at 1:58 PM
To: "Kerrle@MBC Webb" <Kerrie. Webb@mbe.ca.gov>
Gc: "webmaster@mbc.ca.gov” <webmaster@mbc.ca.gov>

To: Central Complaint Unit, Medical Board of California
Cc: Kerrie Dargine Webb, Staff Counsel — Kerrie. Webb@mbc.ca.gov

Subject: Updated Submission Re: Drs. Bazzel (C 53908), Medrano (A 103477),
Kennedy (C 171808) — Request for Vertical Enforcement

Dear Central Complaint Unit,

I write to provide an important update to a prior communication sent regarding the
following California-licensed physicians, all of whom are senior officers at California
Forensic Medical Group (CFMG):

* Dr. Grady Judson Bazzel — License No. C 53908, Chief Executive Officer, CFMG
¢ Dr. Richard M. Medrano — License No. A 103477, Secretary, CFMG
* Dr. Scott Herbert Kennedy — License No. C 171808, Chief Financial Officer, CFMG

Please find re-attached the relevant forwarded email and, for reference, the Third
Monthly Fee Statement (Docket 2081) filed April 3, 2025, in the Wellpath Holdings
bankruptcy case (TXSB 24-90533). This docket entry significantly clarifies and
reinforces the concerns I previously raised.

Summary of Concerns — Clarified Findings from Docket 2081

Upon further analysis of Docket 2081, it is now evident that:

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 333

Case 24-90533 Document 2339 Fitechin FXS Bor OPPS Pate SS eG SS tren

1. Deferred Physician Compensation Was Explicitly Reviewed Yet I gnored:

McDermott Will & Emery attorneys billed for time reviewing deferred physician
compensation on February 6, 2025, acknowledging it as a legal issue of concern. Yet,
no meaningful disclosure or remedy appears in the reorganization plan (Docket 1770)
or accompanying disclosures.

2. Executive Compensation Was Aggressively Prioritized:

Legal time entries show robust, coordinated efforts to protect and enhance executive
bonuses (KEIP/KERP) while compensation owed to practicing physicians—including
those licensed in California—remained structurally deprioritized.

3. Wellpath Assumed Control Over CFMG Physician Payments:

It is evident that Wellpath executives and attomeys—not CFMG—are managing,
renegotiating, and restructuring physician financial obligations. This raises grave
concems under California’s Corporate Practice of Medicine (CPOM) doctrine and —
suggests an unlawful fee-splitting arrangement between non-physician entities and
physicians.

4, The Restructuring Plan Actively Obscures Accountability:

The Fourth Amended Plan fails to identify or isolate CFMG-specific liabilities,
effectively shielding non-debtor insiders while placing California patients, especially
those in correctional health environments, at risk.

Request for Medical Board Consideration

I understand the Medical Board does not act on demand from third parties, and I am
not directing any specific action. However, as a physician, I do not have standing to
pursue these structural and regulatory violations alone. I respectfully submit that this
situation merits direct intervention by the Medical Board, as the corporate practice of
medicine prohibition is squarely implicated, and fee-splitting risks patient safety and _
undermines professional independence.

Additionally, based on your website’s stated mandate to uphold CPOM standards and
safeguard patient welfare, I believe this matter warrants a strong vertical enforcement
referral to the Office of the Attorney General. Given the legal direction of the
bankruptcy proceedings, this issue will likely escalate to that level regardless.

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 334

Case 24-90533 Document 2339 “Bitechi RX SB or Ot tes Paes Sa Raeee
Conclusion

[ request that this submission be added to the existing complaint file involving Drs.
Bazzel, Medrano, and Kennedy. The newly analyzed materials provide a far more
comprehensive and documented basis than my prior message and should be considered
as clarifying and supplementing that submission.

I appreciate your time and continued review of this matter.

Sincerely,
Kanwar Gill, MD

[kpsgill@kpsgill.com]

Attachments:
* Forwarded email (originally sent April 5, 2025)
- Docket 2081 — Third Monthly Fee Statement (TXSB 24-90533)

Best Regards,
Kanwar Gill MD

IMPORTANT CONFIDENTIALITY NOTICE:

Transmission of this message does not waive doctor-patient, attorney-client, work preduct, or Intellectual property
privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic communication.

Begin forwarded message:

From: Kanwar Gill MD <kpsgill@kpsgill.com>

Date: April 5, 2025 at 1:18:58 PM PDT

To: Richard Medrano <RMedrano@wellpath.us>, Scott Kennedy <ScottKennedy@wellpath.us>, Marc
Goldstone <MGoldstone@wellpath.us>, Bradley Giordano <Bgiordano@mwe.com>, Steven Szanzer
<sszanzer@mwe.com>, Felicia Perlman <Fperlman@mwe.com>, J Bazzel <jbazzel@wellpath.us>

Ce: webmaster@mbc.ca.gov

Subject: Fwd: Concerning Evidence of Deferred Compensation Neglect & Executive Compensation
Prioritization — April 3 Filing (Docket 2081)

» Regarding:

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 335

» Dr. Grady Judson Bazzel — License Number: C 53908
Chief Executive Officer, CFMG

e Dr. Richard M. Medrano — License Number: A 103477
Secretary, CFMG

» Dr. Scott Herbert Kennedy — License Number: C 171808
Chief Financial Officer, CFMG

| request medical board of California Central complaint unit file this with existing complaint file and consider
this message for vertical enforcement by attorney general ‘s office. | understand the burden of proof is now
preponderance of evidence, and it is my belief that burden has been met. | request Medical Board to
expedite this investigation and revoke the licenses of all the physicians as there is imminent danger to the
people of California if they continue to practice medicine in the state of California. Please take this issue on
an emergent basis And please have these vertically general's , Office issue Cease practice order. All these
three individual physician are interfering with delivery of care and their continuous interference at this time is
causing significant permanent injury to the people of California especially the incarcerated individuals.

Forwarded message attached.

Best Regards,
Kanwar Gill MD

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property privileges. Title 18 U.S. Code§ 2511 prohibits interception and disclosure of this electronic
communication.

Begin forwarded message:

From; Kanwar Gill MD <kpsgill@kpsgill.com>

Date: April 5, 2025 at 12:38:58 PM PDT

To: Dheeraj Taranath <DTaranath@wellpath.us>, J Bazzel </bazzel@wellpath.us>,
"Kerrle@MBC Webb" <Kerrie. Webb@mbc.ca.gov>, Steven Szanzer <sszanzer@mwe.com>,
Marcus Helt <Mheit@mwe.com>, Felicia Perlman <Fperiman@mwe.com>, Bradley Giordano
<Bgiordano@mwe.com>

Ce: “Kerrie@MBC Webb" <Kerrie. Webb@mbc.ca.gov>

Subject: Concerning Evidence of Deferred Compensation Neglect & Executive
Compensation Prioritization — April 3 Filing (Docket 2081}

Subject: Concerning Evidence of Deferred Compensation Neglect

& Executive Compensation Prioritization — April 3 Filing (Docket
2081)

Email Copied to Medical Board -

e Kerrie Dargine Webb, Staff Counsel
Medical Board of California, 2005 Evergreen St Ste 1200, Sacramento, CA
95815-5401

Phone: 916-263-2389 | Fax: 916-263-2387

* .
» Regarding:
First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 336

Case 24-90533 Document 2339 Fitecin-FxSB-orr 64/2425 Page 38S ursss

« Dr. Grady Judson Bazzel — License Number: C 53908
Chief Executive Officer, CPMG

e Dr. Richard M. Medrano — License Number: A
103477
Secretary, CFMG

« Dr. Scott Herbert Kennedy — License Number: C
171808
Chief Financial Officer, CFMG

Dear California Licensed Medical Doctors:

I hope this message finds you well. I am reaching out today to
share a very recent and significant development in the bankruptcy
case of Wellpath Holdings, Inc. (TXSB 24-90533) that directly
impacts physicians, including those who rendered services under
CFMG agreements.

On April 3, 2025, McDermott Will & Emery LLP—counsel to
Wellpath—filed their Third Monthly Fee Statement (Docket 2081 -
attached). Upon close analysis of the time entries disclosed, I want
to bring to your attention what appears to be a coordinated, internal
legal effort to address executive compensation (KERP/KEIP) while
failing to resolve, disclose, or account for unpaid deferred
compensation owed to physicians, including California-licensed
doctors working through CFMG contracts.

Key Findings from Docket 2081:

1. Acknowledged Deferred Compensation Exposure — But No
Resolution

On February 6, 2025, attorney Carmen Dingman billed time to:

“Review, analyze deferred compensation issues (.6); correspond with Company, FTI team re same
(3); review wages motion re same (.4)” [See Docket 2081, p. 74].

This shows that deferred compensation was being actively
reviewed at high levels, but there is no indication in the Disclosure

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 337

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Statement (Docket 1770) or the Plan that this issue was addressed
in terms of legal obligations or protections for physicians.

2. Misplaced Priorities: Executive Bonuses vs. Physician
Compensation

The same docket reflects significant hours spent by senior
restructuring counsel (Szanzer, Giordano, Perlman, etc.) designing
and defending executive compensation packages (KEIP/KERP)
through deiailed analysis, drafting declarations, and negotiating
retention terms. Meanwhile, deferred compensation owed to
physicians remained unremedied.

3. Wellpath Unilaterally Controlling CFMG Physician
Compensation

Based on docketed internal discussions and filings, it is clear that
Wellpath attorneys—not CFMG—have assumed authority over
compensation structures originating from CFMG-contracted
physicians. Yet the plan of reorganization (Docket 1770) fails to
distinguish CFMG-specific liabilities or obligations to California-
licensed physicians from those of other corporate affiliates,
effectively consolidating responsibility while eliminating
traceability or direct accountability.

This unilateral treatment raises serious concerns under California’s
corporate practice of medicine laws and creates exposure for
CFMG in allowing a third party (Wellpath) to manage and
restructure financial liabilities tied to professional services
rendered by California-licensed physicians.

4. Non-Disclosure in the Plan and Disclosure Statement

Despite internal acknowledgment of these issues, the Fourth
Amended Disclosure Statement and Plan omit any mention of:

° Deferred compensation Liabilities,
* The legal basis for releasing non-debtor entities,

* Regulatory risks under California CPOM doctrine.

Why This Matters Ahead of April 14

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This April 3 filing is critical because it reflects what is happening
behind the scenes—a deliberate legal strategy that deprioritizes
deferred physician earnings while fully protecting insiders and
executives. This occurs without clear direction or opt-in consent
from CFMG, despite the direct impact on your contracted medical
workforce.

As we prepare for our in-person meeting on April 14, I urge both
of you to review this docket carefully. It evidences a systemic
failure to equitably and transparently resolve compensation
obligations to physicians, many of whom have been frontline
caregivers in county and correctional systems under CFMG
contracts,

Please let me know if you would like me to forward the full docket
entry or compile specific highlighted time records in advance of
our meeting. I would welcome the opportunity to discuss this
further and work toward a legally compliant and ethically '
grounded resolution.

Best Regards,

Kanwar Gill MD

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TXSB 24-90533 2081 - Statement Third Monthly Fee Statement of McDermott Will &.pdf
2655K

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized)

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EXHIBIT 3

IRC § 409A — DISCLOSURE STATEMENT PURSUANT TO IRS FORM 8275

STANDARDS
Submitted by Dr. Kanwar Partap Singh Gill, Pro Se Movant

United States Bankruptcy Court - Southern District of Texas - Houston Division
Case No. 24-90533 - in re Wellpath Holdings, Inc.

1. Taxpayer Information

Taxpayer Name: Dr. Kanwar Partap Singh Gill
Filing Status: Married Filing Jointly

Tax Year(s) Affected: 2022, 2023, and 2024
Address: 8408 N. Ann Ave, Fresno, CA 93720

2. Nature of Disclosure and Legal Basis

This statement is submitted pursuant to the principles of IRS Form 8275 to disclose a
position that may affect the income tax liability of the taxpayer under Internal Revenue
Code (IRC) § 409A. The disclosure is made in good faith to avoid potential underpayment
penalties under IRC §§ 6662 and 409A, The taxpayer seeks to demonstrate that there is a
reasonable basis for the tax position taken regarding nonqualified deferred compensation
(NQDC) deferred but not paid due to a third-party bankruptcy.

3. Factual Background

Dr. Kanwar Partap Singh Gill, a California resident and licensed physictan, began deferring a
portion of his earned wages into a nonqualified deferred compensation plan beginning
January 1, 2022. The deferred amounts were solely funded from his own salary as an
employee of California Forensic Medical Group, Inc. (CFMG), a non-debtor, physician-owned
corporation. There were no employer contributions, bonuses, or severance components
included in the deferrals,

As of November 12, 2024, the taxpayer's NQDC account balance totaled $162,597.08. These
funds were administered by Wellpath Holdings, Inc., a management services organization
that subsequently filed for Chapter 11 bankruptcy. Due to the bankruptcy filing, the funds
became frozen and inaccessible to the taxpayer.

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4. Issue Presented

Whether the taxpayer should be subject to immediate income inclusion and penalties under
IRC § 409A(a)(1)(B) due to nonpayment of deferred compensation that was properly
deferred but rendered inaccessible by the bankruptcy of a third-party administrator
(Wellpath Holdings, Inc.).

5. Legal Position and Authorities

The taxpayer asserts that the failure to distribute deferred compensation is attributable
solely to the unforeseen and involuntary bankruptcy of the administrator and not due to
any election failure, operational error, or impermissible acceleration on the part of the
taxpayer.

Under the 409A Treasury Regulations (26 C.F.R. § 1.409A-3(g)(5)), a distribution can be
delayed if the employer's ability to make the payment would jeopardize the ability of the
employer to continue as a going concern, The taxpayer respectfully asserts that the delay in
payment due to bankruptcy satisfies this condition.

Additionally, the taxpayer has taken proactive steps to seek relief from the automatic stay in
the bankruptcy case to obtain these funds, as documented in Docket Nos. 1897, 2049, and
2075 of the referenced case.

6. Penalty Relief Requested

The taxpayer respectfully submits this disclosure to demonstrate reasonable cause and
good faith pursuant to Treasury Reg. § 1.6662-4(e) and IRS Form 8275 guidance. The
taxpayer requests relief from any:

e Immediate gross income inclusion under IRC § 409A{a}{1)(A);

» Additional 20% tax under IRC § 409A(a)(1)(B) (ii);

* Accuracy-related penalty under IRC § 6662;

- Interest penalties for underpayment or late payment arising from delayed inclusion;
° California Franchise Tax Board 5% penalty conforming to IRC § 409A.

7, Supporting Documentation

» Account Summary dated November 12, 2024 (showing vested balance of $162,597.08);
«April 10, 2025 Legal Notice (Exhibit 1);
+ Supplemental Brief filed April 14, 2025 (referencing Dkts, 1897, 2049, 2075).

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 344

Case 24-90533 Document 2333-Fiecm TASB or 04/21725_ Page 344 UF 353

Executed this 11th day of April, 2025

ye,

Respectfully submitted,

/s/ ELLE Gill 7 ° eo

Dr. Kanwar Partap Singh Gill, M.D.
Pro Se Movant and Creditor

8408 N. Ann Ave

Fresno, CA 93720

Phone: (559) 447-8490

Email: kpsgill@kpsgill.com

First Declaration of Or Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 342

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS — HOUSTON DIVISION

In re:

_Wellpath Holdings, Inc., et al.,
Debtors.
Case No.: 24-90533
Chapter 11

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UTM

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PROOF OF SERVICE

, Dr. Kanwar Partap Singh Gill, declare that | am over the age of 18 and competent to testify. On April
11, 2025, | served a true and correct copy of the following document:

Supplemental Brief in Support of (1) Motion for Rellef from Automatic Stay (Dkt. 1897), (2) Emergency
Motion to Stay Plan Solicitation and Voting (Dkt. 2049), and (3) Motion to Strike Improper Third-Party
Releases (Dkt. 2075}

This document and all accompanying exhibits were served via First-Class U.S. Mail and/or Electronic
Mail (where available} to the following parties:

Debtors’ Counsel — McDermott Will & Emery LLP

Marcus Alan Helt, Esq.

2501 Narth Harwocd Street, Suite 1900
Dallas, TX 75201

Email: mhelt@mwe.com

Carolee W. Wurzelbacher, Esq.

444 West Lake Street, Suite 4000
Chicago, IL 60606

Email: cwurzelbacher@mwe.com
Darren Azman, Esq.

One Vanderbilt Avenue

New York, N¥ 10017

Email: dazman@mwe.com

Felicia Perlman, Esq.; Steven Szanzer, Esq.; Bradley Glordano, Esq,
(same addresses as above)

Unsecured Creditors’ Committee Counsel — Stinson LLP

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized)

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Zachary Hemenway, Esq.

1201 Walnut Street, Suite 2900

Kansas City, MO 64106

Email: zachary. hemenway@stinson.com
Nicholas Zluticky, Esq.

Email: nicholas.zluticky@stinson.com
Lucas Lyle Schneider, Esq.

1144 Fifteenth Street, Suite 2400
Denver, CO 80202

Email: lucas.schneider@stinson.com

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Office of the United States Trustee (Region 7, Southern District of Texas)

Susan Rogers Her, Trial Attorney

Ka Nguyen, Trial Attorney

515 Rusk Street, Suite 3516

Houston, TX 77002

Email: USTPRegion07.HU.ECF@usdoj.gov

Welipath Holdings, Inc. — Debtor Executives

Ben Slocum, CEO

Niare Goldstone, Chief Legal Officer

Dr. Dheeraj Taranath, tnterim Chief Clinical Officer
3340 Perimeter Hill Drive

Nashville, TN 37211

Email: bankruptcymail@wellpath.us

California Forensic Medical Group, Inc. — Non-Debtor Affiliate

Grady J. Bazzel, CEO

Seott Kennedy, CFO

Richard J. Medrano, Secretary

Primary Address: 3340 Perimeter Hill Orive, Nashville, TN 37211
California Office: 1325 J Street, Suite 1550, Sacramento, CA 95314

Regulatory & Enforcement Authorities

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized)

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¢ Medical Board of California — Enforcement Division
2005 Evergreen Street, Suite 1200
Sacramento, CA 95815
* California Attorney Genera! Rob Bonta
Health Quality Enforcement Section
1300 | Street
Sacramento, CA 95814
« California Labor Commissioner — Lilia Garcla-Brower
Dept. of Industrial Relations
1515 Clay Street, Suite 801
Oakland, CA 94612
Email: LCOServiceRequests@dir.ca.gov
* Internal Revenue Service — Fraud & Enforcement
PO Box 3801
Ogden, UT 84409
e U.S. Department of Labor
Wage and Hour Division (WHD)
Employee Benefits Security Administration (EBSA)
200 Constitution Ave., NW
Washington, DC 20210
e U.S. Department of Justice ~ Executive Office for U.S. Trustees (EOUST)
441 G Street NW, Suite 6150
Washington, DC 20530
Email: USTrustee.Program@usdoj.gov

Additional Governmental Agency Served

* Fresno County Counsel — Daniel C. Cederborg
Office of the County Counsel
2220 Tulare Street, Suite 500
Fresno, CA 93721
Email: deederborg@fresnocountyca.gov

Declaration of Service

| certify under penalty of perjury under the laws of the United States that the foregoing is true and
correct. The above-listed parties were served on April 11, 2025, as described above. This declaration
was executed in Fresno, California.

Respectfully submitted,

/s/ Or. Kanwar Partap Singh Gill - 1A. / f f Pa
CAH TE gs

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 18th, 2025 (Notarized) Page 345

Page 348 of 353

koe mG),

Dr. Kanwar P. §. Gill

Pro Se Movant and Creditor for~ rf Ls
8408 N. Ann Ave 2
Fresno, CA 93720 2 A

Phone: (559) 447-8490 .

Email: kpsgill@kpsgill.com

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 18th, 2025 (Notarized) Page 345 /

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IN UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
In re: & Lh ie
Wellpath Holdings, Inc., et al., Fie Cou
Debtors. A Ap 14 DO Prag
§ "ethan Oop lps
§ Chapter il "ep Cer oy
§ Case No. 24-90533 (ARP) ee

NOTICE OF HEARING ON SUPPLEMENTAL BRIEF

(This Supplemental Brief in Support of (1) Motion for Relief from the
Automatic Stay (Dkt. 1897), (2) Emergency Motion to Stay Plan Solicitation and
Voting (Dkt. 2049), and (3) Motion to Strike Improper Third-Party Releases
(Dkt. 2075) (collectively, the “Supplemental Motion”) has been filed by Dr.
Kanwar Partap Singh Gill, pro se Movant.

The Court has set a hearing on these matters before the Honorable Judge Alfredo
_R. Pérez, United States Bankruptcy Judge for the Southern District of Texas, _

Houston Division, as follows:

- DATE: Tuesday, April 22, 2025
. TIME: 2:00 p.m. (Central Time)
* COURTROOM: Courtroom 400

1|Page

First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 (Notarized) Page 347

Case 24-90533 Document 2339 -

o LOCATION: United States Bankruptcy Court
Southern District of Texas — Houston Division
515 Rusk Street, Houston, TX 77002

REMOTE PARTICIPATION OPTIONS

Video Participation (GoToMeeting):

. Join via: https://meet.goto.com/JudgePerez

Access restricted to parties and counsel of record
Telephonic Participation:

° Dial: (832) 917-1510
° Conference Code: 282694

All video participants must maintain an active phone connection.

NOTICE TO PARTIES IN INTEREST

This Supplemental Brief contains additional factual and legal support for

previously filed motions. The relief requested includes:

* Relief from the automatic stay pursuant to 11 U.S.C. § 362(d)(1), to
allow Movant to assert regulatory, employment, and non-estate claims outside
of the bankruptcy process;

* Authorization to recover deferred compensation from non-debtor
sources, including California Forensic Medical Group, Inc. (CFMG), and

related fiduciary or trust accounts;

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° Striking of non-consensual third-party releases under binding
precedent from the U.S. Supreme Court (Harrington v. Purdue Pharma L.P.,
603 U.S. (2024)) and the Fifth Circuit (in re Pacific Lumber Co., 584

F.3d 229 (5th Cir. 2009));

° Temporary stay or corrective relief regarding plan solicitation and

confirmation to ensure compliance with 11 U.S.C. § 1129(a)(3) and prevent

improper confirmation of a plan proposed by means forbidden by law.

OPPOSITION PROCEDURES

Any party who opposes the relief sought is encouraged to file a written response at

least seven (7) days before the hearing, consistent with the Local Rules of the

Southern District of Texas. The Court may grant the requested relief without

further notice if no objection is timely filed or raised at hearing.

All parties must appear at the hearing and be prepared to present evidence.

Represented parties must appear through counsel.

Court Contact Information

° Case Manager: Tyler Laws

Email: Tyler_Laws@txs.uscourts.gov | Phone: (713) 250-5421

° Courtroom Deputy: Akcita House

Email: Akeita_House@txs.uscourts.gov | Phone: (713) 250-5713

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Dated: April.11, 2025
Respectfully submitted,

five Pet Sey Cole

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Pro Se Movant:

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First Declaration of Dr Kanwar Partap Singh Gill MD, 8408 N Ann Ave Fresno CA 93720 April 19th, 2025 ( )

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